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HOUGHTON MIFFLIN HARCOURT PUBLISHING COMPANY,
  HOUGHTON MIFFLIN HARCOURT PUBLISHERS INC.,
       HMH HOLDINGS (DELAWARE), INC.,
             HMH PUBLISHERS LLC
       AND CERTAIN OF THEIR AFFILIATES
             Disclosure Statement for Solicitation of Acceptances of a Prepackaged Plan of Reorganization

  SOLICITATION OF ACCEPTANCES OF THE PREPACKAGED PLAN FOR THE FIRST LIEN BANK
  LENDERS (AS DEFINED HEREIN) WILL EXPIRE AT 5:00 P.M., NEW YORK CITY TIME, ON MAY
  18, 2012, AND AT 5:00 P.M., NEW YORK CITY TIME, ON JUNE 11, 2012 FOR THE BONDHOLDERS
  AND THE EXISTING COMMON STOCKHOLDERS (EACH AS DEFINED HEREIN) UNLESS
  EXTENDED BY US (SUCH DATE AND TIME, AS THE SAME MAY BE EXTENDED, THE
  “EXPIRATION DATE”). SENIOR CREDITORS (AS DEFINED HEREIN) AND EXISTING COMMON
  STOCKHOLDERS SHOULD REFER TO THE BALLOTS ATTACHED HERETO FOR
  INSTRUCTIONS ON HOW TO TENDER AND VOTE ON THE PLAN OF REORGANIZATION.

        Upon the terms and subject to the conditions set forth in this disclosure statement (as it may be supplemented and amended
 from time to time, collectively, the “Disclosure Statement”) with respect to the solicitation of acceptances of a prepackaged plan
 of reorganization, attached hereto as Appendix A (the “Plan”), Houghton Mifflin Harcourt Publishing Company (“HMH”),
 Houghton Mifflin Harcourt Publishers Inc. (“HMH Publishers Inc.”), HMH Publishers LLC (“HMH Publishers LLC” and
 together with HMH Publishers Inc. and HMH, “Houghton Mifflin Harcourt”) and certain of their affiliates, including Houghton
 Mifflin Holding Company, Inc., Houghton Mifflin, LLC, Houghton Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc., HM
 Publishing Corp., Riverdeep Inc., a Limited Liability Company (“Riverdeep”), Broderbund LLC, RVDP, Inc., HRW Distributors,
 Inc., Greenwood Publishing Group, Inc., Classroom Connect, Inc., ACHIEVE! Data Solutions, LLC, Steck-Vaughn Publishing
 LLC, HMH Supplemental Publishers Inc., HMH Holdings (Delaware), Inc. (“HMH Holdings”), Sentry Realty Corporation,
 Houghton Mifflin Company International, Inc., The Riverside Publishing Company, Classwell Learning Group Inc., Cognitive
 Concepts, Inc., Edusoft, Advanced Learning Centers, Inc. and HM Receivables Co. II, LLC, intend to restructure the following
 indebtedness: (i) $300 million in principal amount of 10.5% Senior Secured Notes due 2019 (as amended and supplemented, the
 “10.5% Notes” and the holders thereof, the “Bondholders”); (ii) indebtedness outstanding under the Receivables Funding and
 Administration Agreement dated as of August 4, 2010 (as amended from time to time) among HM Receivables Co. II, LLC, the
 financial institutions party thereto and JPMorgan Chase Bank, N.A., as administrative agent (the “Receivables Facility”);
 (iii) indebtedness outstanding under the First Lien Credit Agreement dated as of December 12, 2007 (as amended from time to
 time) including a term loan and a fully funded revolving credit facility (the “First Lien Credit Facility” and the lenders
 thereunder, the “First Lien Bank Lenders”); and (iv) a $50 million standby letter of credit facility dated as of October 26, 2010,
 with Wells Fargo Bank, National Association, as issuer (as amended from time to time, the “Letter of Credit Facility”). All
 capitalized terms not otherwise defined herein shall have the meanings set forth in the Plan, which is attached hereto as Appendix
 A.

      If the requisite votes with respect to the Plan are received, HMH, HMH Publishers Inc., HMH Publishers LLC, Houghton
 Mifflin Holding Company, Inc., Houghton Mifflin, LLC, Houghton Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc., HM
 Publishing Corp., Riverdeep Inc., a Limited Liability Company, Broderbund LLC, RVDP, Inc., HRW Distributors, Inc.,
 Greenwood Publishing Group, Inc., Classroom Connect, Inc., ACHIEVE! Data Solutions, LLC, Steck-Vaughn Publishing LLC,
 HMH Supplemental Publishers Inc., HMH Holdings, Sentry Realty Corporation, Houghton Mifflin Company International, Inc.,
 The Riverside Publishing Company, Classwell Learning Group Inc., Cognitive Concepts, Inc., Edusoft, and Advanced Learning
 Centers, Inc. (each, a “Debtor” and collectively, the “Debtors” or the “Company”) expect to file cases under chapter 11 of title
 11 of the United States Code (the “Bankruptcy Code”) to consummate the restructuring described in this Disclosure Statement,
 although no decision has been made to pursue a chapter 11 filing at this time. Only those parties who actually vote are counted
 for purposes of this solicitation and therefore it is important that you vote. Consummation of the Plan is subject to the conditions
 described herein. The Debtors will be tabulating the voting results during the solicitation period and may decide to file for relief
 under chapter 11 of the Bankruptcy Code at any time, including prior to the expiration of the solicitation period. In such event,
 your vote will be counted and utilized to confirm the Plan. In the event that the Debtors pursue a chapter 11 filing and
 consummate the Plan, the Bondholders and the First Lien Bank Lenders (collectively, the “Senior Creditors”) will collectively
 receive 100% of the common stock to be issued by HMH Holdings (the “New Common Stock”), subject to dilution for New
 Common Stock to be issued pursuant to the Management Incentive Plan and New Common Stock to be issued upon exercise of
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the New Warrants, and $30.3 million in Cash. If the Class of holders of shares of common stock issued by HMH Holdings (the
“Existing Common Stock” and the holders thereof, the “Existing Common Stockholders”) votes to accept the Plan, the Existing
Common Stockholders will receive their pro rata share of the New Warrants (as defined herein); if such Class votes to reject the
Plan, the Existing Common Stockholders will receive no distributions. The Existing Common Stock and Other Holdings Equity
Interests (as defined herein) will be canceled on the Effective Date as part of the Restructuring.

     THIS SOLICITATION OF ACCEPTANCES OF THE PLAN IS BEING CONDUCTED TO, AMONG OTHER THINGS, OBTAIN
SUFFICIENT ACCEPTANCES OF THE PLAN PRIOR TO THE FILING OF VOLUNTARY CASES UNDER CHAPTER 11 OF THE
BANKRUPTCY CODE. BECAUSE NO CHAPTER 11 CASES HAVE YET BEEN COMMENCED, THIS DISCLOSURE STATEMENT HAS
NOT BEEN APPROVED BY ANY COURT AS CONTAINING ADEQUATE INFORMATION WITHIN THE MEANING OF SECTION
1125(a) OF THE BANKRUPTCY CODE. THE DEBTORS HAVE NOT AT THIS TIME TAKEN ANY ACTION APPROVING ANY
CHAPTER 11 FILING.

   YOU SHOULD CONSIDER THE RISK FACTORS BEGINNING ON PAGE 71 OF THIS DISCLOSURE
STATEMENT BEFORE YOU DECIDE WHETHER TO VOTE TO ACCEPT OR REJECT THE PLAN.
     If the Plan is approved, the New Common Stock will not be registered under the Securities Act of 1933, as amended
(the “Securities Act”). The Debtors are relying on Section 4(2) of the Securities Act and similar “blue sky” law provisions
in connection with the solicitation of votes on the Plan and as well as, to the extent applicable, the exemption from the
Securities Act and equivalent state law registration requirements provided by section 1145(a) of the Bankruptcy Code, to
exempt from registration under the Securities Act and “blue sky” law the issuance of the New Common Stock and the
New Warrants (if any) in connection with the Plan. The New Common Stock will not be listed or quoted on any stock
exchange upon consummation of the Plan. This solicitation is being made only to those Senior Creditors and Existing
Common Stockholders who are accredited investors as defined in Regulation D under the Securities Act.

     The New Common Stock and the New Warrants (if any) to be issued on the Effective Date have not been approved or
disapproved by the Securities and Exchange Commission or by any state securities commission or similar public, governmental,
or regulatory authority, and neither the Securities and Exchange Commission nor any such authority has passed upon the
accuracy or adequacy of the information contained in this Disclosure Statement or upon the merits of the Plan. Any
representation to the contrary is a criminal offense.

     Subject to applicable securities laws and the terms set forth in this Disclosure Statement, the Debtors, with the
consent of the Requisite Participating Lenders, reserve the right to extend or terminate the voting deadlines with respect
to the Plan, which may be for any or no reason, and otherwise to amend the Plan in any respect.

                                                                                                               May 11, 2012




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    Prior to voting on the Plan, Senior Creditors and Existing Common Stockholders are encouraged to read
and consider carefully this entire Disclosure Statement, including the Plan annexed hereto as Appendix A and
the matters described in this Disclosure Statement and the Ballots (as defined below).

    In making a decision in connection with the Plan, Senior Creditors and Existing Common Stockholders
must rely on their own examination of the Debtors, the restructuring transactions, and the Plan, including the
merits and risks involved. Senior Creditors and Existing Common Stockholders should not construe the
contents of this Disclosure Statement as providing any legal, business, financial or tax advice. Senior
Creditors and Existing Common Stockholders should consult with their own legal, business, financial and tax
advisors with respect to any such matters concerning this Disclosure Statement, the Plan and the
restructuring transactions contemplated hereby and thereby.




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            NOTICE TO SENIOR CREDITORS AND EXISTING COMMON STOCKHOLDERS

     The information contained in this Disclosure Statement is as of the date of this Disclosure Statement and is
subject to change, completion or amendment without notice. Neither the delivery of this Disclosure Statement at
any time nor the exchange or delivery of any security hereunder shall, under any circumstances, create any
implication that there has been no change in the information set forth in this Disclosure Statement or in the Debtors’
affairs since the date of this Disclosure Statement.

     No person is authorized to give any information or to make any representation not contained in this Disclosure
Statement, and, if given or made, such other information or representation must not be relied upon as having been
authorized by the Debtors.

     Neither the Securities and Exchange Commission (the “SEC”) nor any other securities commission or other
regulatory authority, has approved or disapproved the Plan, the New Common Stock, or the New Warrants (if any),
nor have any of the foregoing authorities passed upon or endorsed the accuracy or adequacy of this Disclosure
Statement. Any representation to the contrary is a criminal offense.

      The solicitation of votes in respect of the Plan is being made on the basis of this Disclosure Statement and is
subject to the terms described in this Disclosure Statement. Any decision to vote to accept or reject the Plan must be
based on the information contained in this document. In making a decision, Senior Creditors and Existing Common
Stockholders must rely on their own examination of the Debtors and the terms of the Plan and the New Common
Stock and the New Warrants (if any), including the merits and risks involved. Senior Creditors and Existing
Common Stockholders should not construe anything in this Disclosure Statement as legal, business, financial or tax
advice. Each Senior Creditor or Existing Common Stockholder should consult its own advisors as needed to make
its investment decision.

     Each Senior Creditor and Existing Common Stockholder must comply with all applicable laws and regulations
in force in any jurisdiction in which it votes to accept or reject the Plan and must comply with all applicable laws
and regulations in force in any jurisdiction in which it possesses or distributes this Disclosure Statement and must
obtain any consent, approval or permission required by it for voting to accept or reject the Plan under the laws and
regulations in force in any jurisdiction to which it is subject, and none of the Debtors nor any of their representatives
shall have any responsibility therefor.

     The Debtors, with the written consent of the Requisite Participating Lenders, reserve the right to amend, modify
or supplement the Plan at any time, and the prior written consent of each member of the Informal Creditor Group is
required for modifications to the treatment of Senior Creditors. The Debtors reserve the right to reject, in whole or
in part, with the consent of the Requisite Participating Lenders, any vote that does not adhere to the voting
requirements set forth herein.

     This Disclosure Statement contains summaries believed to be accurate with respect to certain documents, but
reference is made to the actual documents for complete information. All of those summaries are qualified in their
entirety by this reference. Copies of documents referred to herein will be made available to Senior Creditors and
Existing Common Stockholders upon request to the Debtors or the Voting Agent (as defined below).

    This Disclosure Statement, including the documents incorporated by reference herein and the
attachments hereto, the Ballot and the Plan contain important information that should be read before any
decision is made with respect to the acceptance or rejection of the Plan.

     The delivery of this Disclosure Statement shall not under any circumstances create any implication that
the information contained or incorporated by reference herein or attached hereto is correct as of any time
subsequent to the date hereof or date thereof or that there has been no change in the information set forth
herein or in any attachments hereto or in the affairs of the Debtors or any of their subsidiaries or affiliates
since the date hereof or thereof.




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                                 NOTICE TO NEW HAMPSHIRE RESIDENTS

    NEITHER THE FACT THAT A REGISTRATION STATEMENT OR AN APPLICATION FOR A LICENSE
HAS BEEN FILED UNDER CHAPTER 421-B OF THE NEW HAMPSHIRE UNIFORM SECURITIES ACT,
1955, AS AMENDED, WITH THE STATE OF NEW HAMPSHIRE NOR THE FACT THAT A SECURITY IS
EFFECTIVELY REGISTERED OR A PERSON IS LICENSED IN THE STATE OF NEW HAMPSHIRE
CONSTITUTES A FINDING BY THE SECRETARY OF STATE OF NEW HAMPSHIRE THAT ANY
DOCUMENT FILED UNDER RSA 421-B IS TRUE, COMPLETE AND NOT MISLEADING. NEITHER ANY
SUCH FACT NOR THE FACT THAT AN EXEMPTION OR EXCEPTION IS AVAILABLE FOR A SECURITY
OR A TRANSACTION MEANS THAT THE SECRETARY OF STATE HAS PASSED IN ANY WAY UPON
THE MERITS OR QUALIFICATIONS OF, OR RECOMMENDED OR GIVEN APPROVAL TO, ANY PERSON,
SECURITY OR TRANSACTION. IT IS UNLAWFUL TO MAKE, OR CAUSE TO BE MADE, TO ANY
PROSPECTIVE PURCHASER, CUSTOMER, OR CLIENT ANY REPRESENTATION INCONSISTENT WITH
THE PROVISIONS OF THIS PARAGRAPH.

                                                   _____________________

           CAUTIONARY STATEMENT REGARDING FORWARD-LOOKING STATEMENTS

     Certain statements contained in this Disclosure Statement are “forward-looking statements” within the meaning
of applicable federal securities laws. All statements contained herein that are not clearly historical in nature are
forward-looking and the words “anticipate,” “believe,” “could,” “expect,” “estimate,” “forecast,” “intend,” “plan,”
“potential,” “project,” “target” and similar expressions are generally intended to identify forward-looking
statements. All statements contained in this Disclosure Statement, other than statements of historical fact, including
without limitation, statements about the Debtors’ plans, strategies, prospects and expectations regarding future
events and the Debtors’ financial performance, are forward-looking statements that involve certain risks and
uncertainties. While these statements represent the Debtors’ current judgment on what the future may hold, and the
Debtors believe these judgments are reasonable in the circumstances, these statements are not guarantees of any
events or financial results, and the Debtors’ actual results may differ materially. You are urged to consider these
factors carefully in evaluating the forward-looking statements and are cautioned not to place undue reliance on these
forward-looking statements. The forward-looking statements included in this Disclosure Statement, including the
Projections of Certain Financial Data Following Consummation of Plan and the Liquidation Analysis attached as
Appendix B hereto, are made only as of the date of this Disclosure Statement. All subsequent written and oral
forward-looking statements attributable to the Debtors or any person acting on their behalf are expressly qualified in
their entirety by the cautionary statements contained or referred to in this section. The Debtors undertake no
obligation to update publicly these forward-looking statements to reflect new information, future events or
otherwise, except as required by law. All forward-looking statements involve risks and uncertainties, many of
which are beyond the Debtors’ control, which may cause actual results, performance or achievements to differ
materially from anticipated results, performance or achievements. The Debtors cannot assure you that projected
results or events will be achieved. Factors that could cause our actual results to be materially different from the
Debtors’ expectations include those factors described herein under the caption “Risk — Risks Related to the
Chapter 11 Cases and the Plan” and in documents incorporated herein by reference, including, among others, the
following:

    •    risks of a further economic recession;

    •    industry cycles and trends;

    •    adequacy of reserves for credit losses;

    •    risks that the Debtors will be unsuccessful in their efforts to effectuate a comprehensive restructuring of
         their debt structure;

    •    risks if non-U.S. related companies were required to seek bankruptcy protection;



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    •    conditions and/or changes in the publishing industry;

    •    application of goodwill accounting in a recessionary economy;

    •    changes in laws or regulations governing the Debtors’ businesses and operations;

    •    risks that a chapter 11 filing will harm customer relationships and cause the loss of revenues;

    •    changes in competitive factors;

    •    inability to retain management or hire employees during the restructuring;

    •    changes in consumer demand for, and acceptance of, products produced by the Debtors; and

    •    demographic trends.

                                        INDUSTRY AND MARKET DATA

     In this Disclosure Statement, the Debtors rely on and refer to information and statistics regarding their industry.
The Debtors obtained this market data from independent industry publications or other publicly available
information. Although the Debtors believe that these sources are reliable, the Debtors have not independently
verified and do not guarantee the accuracy and completeness of this information.

                                           ADDITIONAL INFORMATION

    The Audited Financial Statements for the year ended December 31, 2011 are attached hereto as Appendix D.




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                                                        SUMMARY

     You should carefully read this Disclosure Statement to understand fully the terms of the Plan, as well as the
information incorporated by reference herein. You should pay special attention to the information in the sections
entitled “Risk Factors” and “Cautionary Statement Regarding Forward-Looking Statements.”

    Unless otherwise indicated or the context otherwise requires, “the Company,” “we,” “us” and “our” refer to
the Debtors and their direct and indirect subsidiaries on a consolidated basis.

     Through the consummation of the Plan, the Debtors intend to reduce indebtedness, improve their liquidity
position, enhance capital levels, and accelerate a return to profitability, while providing adequate time to execute
their business restructuring strategy. Upon the terms and subject to the conditions set forth in this Disclosure
Statement and the Ballots, the Plan provides that among other things, (i) Senior Creditors shall receive their pro rata
share of (a) 100% of New Common Stock, subject to dilution for (x) New Common Stock to be issued pursuant to
the Management Incentive Plan and (y) to the extent applicable, New Common Stock to be issued upon exercise of
the New Warrants, and (b) $30.3 million in Cash; (ii) except to the extent that a holder of an Allowed Letter of
Credit Facility Claim and the Debtors with the consent of the Requisite Participating Lenders agree to a different
treatment, the outstanding letters of credit issued under the Letter of Credit Facility shall either continue unaffected
upon consummation of the Plan or be replaced by the Exit Facility and the Letter of Credit Facility shall be deemed
terminated; (iii) holders of Allowed General Unsecured Claims shall receive Cash in amount equal to such holder’s
Allowed General Unsecured Claim plus accrued and unpaid Post-Petition Interest or shall otherwise continue
unaffected upon consummation of the Plan, to be paid in the ordinary course of business; and (iv) if the Class of
Existing Common Stockholders votes to accept the Plan, the Existing Common Stockholders shall be entitled to
receive their pro rata share of the New Warrants; if such Class votes to reject the Plan, the Existing Common
Stockholders shall not be entitled to a distribution under the Plan. The Receivables Facility shall be paid in full from
the proceeds of the debtor in possession financing that will be provided to the Debtors in the Chapter 11 Cases.
    Consummation of the Plan is subject to the following conditions, among others:

    •    The Plan shall be in form and substance acceptable to the Debtors and the Requisite Participating Lenders
         and, with respect to the treatment of Senior Creditors, each of the members of the Informal Creditor Group;

    •    the Confirmation Order shall have been entered in form and substance acceptable to the Debtors and the
         Requisite Participating Lenders, and no stay or injunction shall be in effect precluding the consummation of
         the transactions contemplated by the Plan; and

    •    the Exit Facility, which shall be in form and substance acceptable to the Debtors and the Requisite
         Participating Lenders, shall have been entered into by the Debtors and the other parties thereto and all
         conditions to the initial borrowings under the Exit Facility shall have been satisfied in accordance with the
         terms thereof (but for the occurrence of the Effective Date).

     In connection with the transactions contemplated by the Plan, you may elect to (i) vote to accept the Plan,
or (ii) vote to reject the Plan.
    If the Plan is not accepted, the Debtors expect that it will likely be necessary for them to file for chapter 11
protection at some time in the near future without the benefit of a pre-negotiated Plan, which would likely have
adverse effects on the Debtors’ businesses.




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                                 COMPANY BACKGROUND AND OVERVIEW

Houghton Mifflin Harcourt Business Overview

     The formation of the current group of operating entities originated when HM Rivergroup PLC, which operated
several entities using the Riverdeep trade name, acquired Houghton Mifflin Holding Company, Inc. from a
consortium of private equity owners in December 2006. Houghton Mifflin Holding Company, Inc. was a premier
publisher in the U.S. public school market (known as Kindergarten to Grade 12 or “K-12”), offering a diverse
portfolio of products and services, including textbooks, workbooks, supplemental materials, teaching guides, various
types of standardized and customized tests, professional assessment products, a range of trade and reference titles, as
well as educational software programs.

     In 2007, the combined entity operating primarily under the Houghton Mifflin name (“Houghton Mifflin”)
acquired certain assets of Harcourt Education Inc. and shares of certain sister companies (“Harcourt Education”)
from Reed Elsevier plc to form the current group of legacy Riverdeep, Houghton Mifflin and Harcourt Education
businesses now operating under the Houghton Mifflin Harcourt brand. At the time, Harcourt Education was also a
leading publisher of K-12 educational content, providing a full range of basal and supplemental programs to U.S.
classrooms. Harcourt Education had a long-standing reputation for expertise in pedagogic design and the creation of
new instructional materials across all grade levels. The combination of Houghton Mifflin and Harcourt Education
united two of the most successful and established educational book publishers in the United States, forming the
second largest player in the K-12 publishing segment based on revenue. Both Houghton Mifflin and Harcourt
Education demonstrated strong track records in capturing market share, growing their product bases and
streamlining operations. Over the years each has invested significant capital to update and expand the range of their
textbooks and printed and digital supplemental product offerings. During this same period, the businesses invested
in significant research and development to upgrade and expand their book bags as well as increase their ability to
cost-effectively customize their products.

     Today, the HMH group of companies is the leading provider, with an estimated addressable market share of
over 41%, of educational content, technology and professional services to the elementary and secondary school
market in the United States, including a full range of comprehensive curriculum, supplemental and service offerings.
We have a long-standing expertise in teaching and instructional strategy and the design and creation of print and
electronic learning materials across all grade levels. We distribute our solutions in multiple formats, including print
and digital curriculum, technology platforms, assessment tools and services. We believe our solutions are a mission
critical tool for school systems as they increasingly focus on outcomes-based learning and teaching solutions that
reach students both in the classroom and at home. We believe we are a leader in the transformation of the traditional
educational materials market and have the opportunity to increase revenue and profitability by selling our innovative
solutions through a comprehensive and integrated approach to educating children. For the year ended December 31,
2011, HMH revenue and adjusted EBITDA were approximately $1.295 billion and $238 million, respectively.

      We offer a diverse portfolio of digital and print products and services, including textbooks, digital learning
content, assessment tools, technology platforms, related social media and mobile applications, standardized and
customized tests, professional development and school reform services, and a wide range of trade and reference
titles. Our portfolio includes well-known brands such as Curious George, The Lord of the Rings, Polar Express and
Peterson Field Guides, and we publish our content under widely-recognized trade names including Holt McDougal,
Rigby, Harcourt, Great Source, Earobics, SkillsTutor, Steck-Vaughn, Riverside Publishing, Edusoft, Heinemann,
Riverdeep, Broderbund, McDougal Littell and Saxon. To maximize our reach and ability to connect with parents
and students who are increasingly focused on the digital world, we also distribute our content through consumer
websites such as Amazon and through mobile applications.

     We are organized along two business divisions: Education and Trade and Reference. As of December 31, 2011,
we employed approximately 3,600 full time employees. The Education business is the largest division, and
represented approximately 90% of our total revenue for the year ended December 31, 2011. The Education offices
are located in Boston, MA, Orlando, FL, Evanston, IL, Austin, TX, Wilmington, MA, Rolling Meadows, IL,
Portsmouth, NH and Dublin, Ireland. Trade and Reference sells and licenses book rights to paperback publishers,
book clubs, web sites, and other publishers and electronic businesses in the U.S. and abroad. The Trade and
Reference main offices are located in New York and Boston.

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2010 Restructuring and Reorganization

     On March 9, 2010, we completed a restructuring of certain indebtedness and an upper-tier reorganization. As
part of the reorganization, Riverdeep Interactive Learning, an Irish company and our previous parent company
(“RIL”), entered into a series of transactions, including a $650 million rights offering, that ultimately resulted in
HMH Holdings and its subsidiaries no longer being subsidiaries of RIL. In the out-of-court restructuring, the then-
existing first lien lenders received approximately 90% of the equity of HMH Holdings (pre-dilution from the rights
offering) in exchange for converting $2 billion of debt and the then-existing mezzanine lenders received
approximately 10% of the equity and warrants to purchase up to an additional 12.5% of the incremental value above
a specified equity value (in each case, pre-dilution from the rights offering) in exchange for converting $2 billion of
debt. In addition, HMH used the proceeds from the rights offering in which certain then-existing first lien lenders
and mezzanine lenders participated to pay transaction fees, accrued cash interest and fund cash on the balance sheet.

The following is a current corporate structure chart:


                                                                                                             Borrower under the Credit Agreement

                                                                                                                                                                    HM Receivables
                                                                                                            Guarantor under the Credit Agreement
                                                                                                                                                                      Co. II, LLC
                                                                                                                 Originator under A/R Facility

                                                 Stockholders
                                                                                                                      Possible Guarantor
                                                                                                         (60 days) Post Amendment No. 5 Effective Date    Houghton Mifflin Holdings,
                                                                                                                                                                    Inc.
                                      HMH Holdings (Delaware), Inc.                                                                                                (DE)
                                                 (DE)
                                                                                                                                                             HM Publishing Corp.
                                                                                                                                                                    (DE)
        HMH Intermediate Holdings             99%

          (Delaw are), LLC (DE)                                                                                                                            Houghton Mifflin Harcourt
                      1%                                 3100                                                                                                Publishing Company
                                                        Regular
                                                        Shares
                                                                                                                                                                    (MA)
         HMH Publishing Company
             (IOM) Unlim ited
            (Isle of Man Co.)                                                                                                                             Sentry Realty Corporation
                                           1 Deferred                                                                                                                (IL)
                                             Share


                                         HMH Publishing Company                                                                                           Houghton Mifflin Company
                                                (Ireland)                                                                                                    International, Inc.
                                                                                                                                                                   (MA)
     HMH Education              HMH IP                  HMH Consumer          Houghton Mifflin                                    Houghton Mifflin
                                                                                                     Riverdeep UK                                          The Riverside Publishing
       Com pany                Com pany                   Com pany               Harcourt
                                                                                                                                 Harcourt (Asia) Pte.
                                                                                                     Lim ited (UK)                Ltd. (Singapore)                Company
       (Ireland)               (Ireland)                   (Ireland)           Publishers Inc.                                                                       (DE)
                                                                                    (DE)

                                                                                                                                                         Classwell Learning Group Inc.
                                                                                                                                                                     (DE)


                                                                                                                                                           Cognitive Concepts, Inc.
                             Riverdeep Inc., a Lim ited                                                                  Houghton Mifflin
                                                                                  HMH Publishers LLC                                                                 (IL)
                                Liability Com pany                                                                    Holding Com pany, Inc.
                                                                                        (DE)
                                        (DE)                                                                                   (DE)
                                                                                                                                                                   Edusoft
                Broderbund LLC                          RVDP, Inc.                                                     Houghton Mifflin, LLC                        (CA)
                     (DE)                                 (DE)                                                                (DE)

                                                                                                                                                             Houghton Mifflin PLC
                                                                                                                           Houghton Mifflin
                                                                                                                                                                    (UK)
                                                                                                                           Finance, Inc. (DE)

                                                                                                                                                           Houghton Mifflin Harcourt
                                                                                                                                                             Foundation, Inc. (MA)
          HRW               Greenwood             Classroom          ACHIEVE! Data    Steck-Vaughn             Foundation for Marine
      Distributors,          Publishing          Connect, Inc.       Solutions, LLC   Publishing LLC         Animal Husbandry, Inc. (FL)
        Inc. (DE)          Group, Inc. (DE)          (DE)                 (CA)              (DE)                                                         Advanced Learning Centers,
                                                                                                                                                                Inc . (WY)
                                                                              HMH Supplemental Publishers Inc
                                                                                          (DE)




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Senior Management Overview

Name                    Position                                                                  Experience
Linda K. Zecher         President, CEO, and Director                                               33 years
Eric Shuman             Executive Vice President and CFO                                           35 years
William Bayers          Executive Vice President, General Counsel                                  19 years
Gary Gentel             President of HMH Trade and Reference Publishers                            29 years
Tim Cannon              Executive Vice President, Strategy and Alliances                           34 years
Bethlam Forsa           Executive Vice President, Global Product and Content Development           20 years
John Dragoon            Executive Vice President and Chief Marketing Officer                       28 years

Mary Cullinane          Executive Vice President, Corporate Affairs and Social                     12 years
                        Responsibility
Joanne Karimi          Executive Vice President, Human Resources                                   25 years


Linda K. Zecher joined HMH in September 2011 as President, Chief Executive Officer and Director. Previously,
she served as Corporate Vice President of Microsoft’s $8 billion Worldwide Public Sector organization, where she
led a team of nearly 2,000 sales and marketing professionals serving government, education and healthcare
customers in more than 100 countries. Prior to joining Microsoft in 2003, Linda held leadership positions with
Texas Instruments, Bank of America, PeopleSoft, Oracle and Evolve Corp. She currently serves on the U.S. State
Department′s Board for Overseas Schools, the Focused Ultrasound Surgery Foundation Advisory Council, and the
Emily Couric Leadership Forum. Linda is also a former member of the Intelligence National Security Association,
the Virginia Piedmont Technology Council, and James Madison University’s Board of Visitors.
Eric Shuman is Executive Vice President and Chief Financial Officer of HMH. Prior to being named CFO, Eric had
assumed the role of interim CFO from November 2011 through January 2012. Until that time, Eric had served as
Executive Vice President and Chief Operating Officer of HMH. Eric joined HMH in 2009 from Thomson Lifelong
Learning Group, a division of Thomson Corporation, where he most recently served as Chief Executive Officer.
Previously, Eric was Senior Vice President and Chief Financial Officer for Thomson Learning and Chief Financial
Officer for Thomson Newspapers. Eric also served as a general practice partner at Coopers and Lybrand. In these
capacities, he led several business integrations, restructurings, and significant mergers and acquisitions activity. He
is a graduate of Boston College and is based in the Boston office.
William Bayers is Executive Vice President and General Counsel of HMH. Bill joined the HMH in May of 2007 as
Senior Vice President and General Counsel. Previously, he served as Vice President and General Counsel of
Harcourt Education Group. He oversees all legal matters and government relations for the Debtors. He is a
graduate of Harvard College and Harvard Law School.

Gary Gentel is President of the Houghton Mifflin Harcourt Trade and Reference Publishers division. He leads the
division’s strategic direction with the support of his Trade and Reference management team. Gary joined Houghton
Mifflin in October of 2003 as Corporate Vice President and Director of Trade Sales and was promoted to Interim
President of the combined Trade Group in July 2007. He was given the permanent position in December of that
year. Previously, he served as President of Candlewick Press—a children’s publisher based in Cambridge, SVP of
Trade Sales at Scholastic Books, and SVP and Publisher of The Grosset and Dunlap Group at GP Putnam’s Sons-
now a division of Penguin Books. Gary started his publishing career as a Sales Representative at Random House in
1980, rising to VP of Children’s Sales by 1990.

Tim Cannon is Executive Vice President, Strategy and Alliances. Tim’s career in business, organizational and IT
strategy spans nearly three decades. Before joining HMH, Tim was Senior Director of Business Strategy for
Microsoft’s Worldwide Public Sector organization, where he oversaw the development and execution of business
strategies to better serve Government, Education and Health customers and partners worldwide. He has also held
leadership roles at companies like Digital Equipment Corporation and Oracle, and helped many large organizations
cope with the dynamics of change by implementing responses to maximize shareholder value. Tim serves on the



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board of the Center for Entrepreneurship and Innovation at the University of Florida and on the advisory board for
the School of Engineering at George Mason University.

Bethlam Forsa is Executive Vice President Global Product and Content Development. Bethlam previously served
as Senior Vice President of Publishing and Operations for School Publishers. In that role she helped to standardize
and optimize our print publishing operations. Previously, Bethlam was a partner at Accenture, a leading
management consulting firm, where she led programs to improve sales, financial performance, and market
capitalization for publishing companies around the world.

John Dragoon is Executive Vice President and Chief Marketing Officer. Prior to joining HMH, he served as Chief
Marketing Officer and Channel Chief of Novell where he led all aspects of the company’s marketing and partner
programs. Before joining Novell, John was the Senior Vice President of Marketing and Product Management at Art
Technology Group and previously served as Vice President, Operations at Internet Capital Group, where he was on
the board of nine partner companies providing guidance on strategy, marketing, business development, financing,
and product development. John spent more than 16 years at IBM, where he held a number of marketing and sales
positions. He holds an MBA from Cornell University and a BS from Union College.

Mary Cullinane is Executive Vice President, Corporate Affairs and Social Responsibility. Prior to joining HMH ,
Mary spent 11 years spearheading Microsoft’s education-related innovation programs as Worldwide Senior Director
of Innovation and Strategic Initiatives. Before working with Microsoft, Mary was an educator, director of
technology and administrator in the public sector. Mary holds a Master of Public Policy and Administration from
Columbia University and a BA from the College of New Jersey.

Joanne Karimi is Senior Vice President, Human Resources. Prior to joining HMH Joanne served as Leader of
Human Capital for PacifiCord, the US subsidiary of the biotechnology company Health Banks and held other key
global human resources roles in the banking and technology sectors, as well as with The Walt Disney Company.
Joanne holds an MBA and BS from the University of West Florida and a Masters certificate in Organizational
Development from Chapman University.




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                   UNAUDITED SELECTED HISTORICAL CONSOLIDATED FINANCIAL DATA

The following table sets forth the Debtors’ summary historical financials for the fiscal years ended December 31,
2011 and 2010 and for the three month period ended March 31, 2012. This information should be read in
conjunction with the financial statements attached hereto as Appendix D.

Summary historical financials ($ in thousands)

                                                                     Fiscal year ended                  Three months
                                                                       December 31                         ended
                                                                                                        March 31, 2012
                                                                                                    3
                                                                       2011                  2010
    Statement of Operations Data:
    Net sales                                                  $1,295,295              $1,507,047               $165,229
    Cost of sales, excluding pre-publication and
    publishing rights amortization                                512,612                  604,863                81,317
    Publishing rights amortization                                230,624                  284,313                50,604
    Pre-publication amortization                                  176,829                  219,444                32,577
    Cost of sales                                                 920,065                1,108,620               164,498
    Selling and administrative                                    640,023                  717,846               139,942
    Other intangible asset amortization                            67,372                   59,607                13,138
    Impairment charge for goodwill, intangible
      assets, pre-publication costs and fixed assets             1,674,164                 107,961                     -
    Severance and other charges                                      32,801               (11,243)                     -
    Gain on sale of assets                                          (2,000)                 (1,179)                    -
    Operating income (loss)                                    (2,037,130)               (474,565)             (152,349)
    Other income (expense)
    Net interest expense                                         (244,582)              (416,121)               (66,800)
    Other income (loss), net                                             -                      3                      -
    Change in fair value of derivative instruments                   (811)                 82,889                  1,006
    Income (loss) from operations before taxes                 (2,282,523)              (807,794)              (218,143)
    Income tax expense (benefit)                                 (100,153)                 11,709                  7,204
    Net income (loss)                                         $(2,182,370)             $(819,503)             $(225,347)

    Cash Flow Data:
    Cash flows from (used in) operating activities                $132,796                $141,670            $(175,042)
    Cash flows used in investing activities                      (195,300)               (257,738)              (37,305)
    Cash flows from (used in) financing activities                  96,041                 402,139              (10,875)
    Net increase (decrease) in cash and cash
    equivalents                                                   $33,537                $286,071             $(223,222)

    Selected Other Financial Metrics:
                       1
    Adjusted EBITDA                                             $238,198                 $440,738              $(38,187)
    Cash and cash equivalents                                     413,610                  380,073               190,388
                    2
    Long term debt                                              3,117,441                3,010,941             3,106,566
    Plate capital expenditure                                     122,592                  118,670                27,437
    Non-plate capital expenditures                                107,409                   80,522                 9,883
    Total debt to pre-plate EBITDA                                   13.1                      6.8                    n/a
    Total debt to post-plate EBITDA                                  27.0                      9.3                    n/a


1
     Defined by adjusting net income (loss) to exclude interest, income taxes, depreciation and amortization, non-cash impairment
     charges, non-cash interest related charges from debt extinguishment and hedging arrangements, gains and losses on disposition
     of assets not in the ordinary course of business, stock compensation costs, costs related to restructuring our capital structure,
     costs incurred with merging Houghton Mifflin and Harcourt (i.e., severance, program, facility and system integration),
     purchasing accounting adjustments, costs associated with acquisitions, and certain former parent company costs.



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2
    Includes current portion of long-term debt; excludes original issuance discount.
3
    The 2010 financial information included within the statement of operations data and cash flow data include the combined
    amounts for the periods January 1, 2010 to March 9, 2010 and March 10, 2010 to December 31, 2010.




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             DESCRIPTION OF CURRENT MATERIAL INDEBTEDNESS OF THE COMPANY

Receivables Facility

      On August 4, 2010, HM Receivables Co. II, LLC, a non-Debtor Delaware limited liability company and direct
wholly-owned special purpose subsidiary of HM Publishing Corp. (the “Receivables Subsidiary”), entered into the
Receivables Funding and Administration Agreement (the “Receivables Facility”) with certain lenders party thereto
and JP Morgan Chase Bank, N.A., as administrative agent (in such capacity, the “Receivables Facility Agent”). The
Receivables Facility provides for revolving credit financing of up to $250 million (the “Aggregate Commitment”)
subject to borrowing base availability, which terminates on August 4, 2014; provided that such termination date may
be accelerated to a day that is 90 days prior to the maturity of the First Lien Revolving Facility (as defined below) or
First Lien Term Facility (as defined below) if such facilities are not (i) repaid or (ii) exchanged, extended,
refinanced, renewed, replaced, defeased, or refunded with indebtedness having a stated maturity after August 4,
2014. The obligations under the Receivables Facility are non-recourse (except for standard representations,
warranties, covenants, servicing and indemnities made in connection with such facility) to HMH Holdings and its
subsidiaries, other than the Receivables Subsidiary, and the assets of the Receivables Subsidiary are not available to
satisfy the obligations of other subsidiaries of HMH Holdings. Proceeds of the financing are used, primarily, to
purchase accounts receivable (the “Receivables”) from HMH and certain indirect wholly-owned subsidiaries of
HMH1 pursuant to a sales and servicing agreement (the “Sales Agreement”) by and among the Receivables
Subsidiary, as buyer, the Originators, as sellers, and HMH, as servicer. The Receivables Facility borrowing base at
any time equals the lesser of (i) the Aggregate Commitment, (ii) the net receivables balance multiplied by an
applicable advance rate based on current dilution, minus certain applicable reserves and an availability block and
(iii) the net receivable balance multiplied by 85%, minus certain applicable reserves and an availability block. All
advances under the Receivables Facility are subject to the satisfaction of customary conditions, including absence of
a default and accuracy of representations and warranties. The principal amount outstanding under the Receivables
Facility is $0.

First Lien Credit Facility

     Our existing senior secured credit facilities with a syndicate of lenders and Citibank, N.A., as administrative
agent, and as collateral agent, provide a (i) fully funded revolving credit facility in the outstanding principal amount
of $235.8 million that matures on December 12, 2013, under which the commitments have been terminated and the
outstanding loans have been effectively converted into term loans (the “First Lien Revolving Facility”), and (ii) a
term loan facility in the outstanding principal amount of $2.571 billion that currently matures on June 12, 2014 (the
“First Lien Term Facility” and, together with the First Lien Revolving Facility, the “First Lien Credit Facility”).
The First Lien Credit Facility is fully drawn with no further borrowings available thereunder. Borrowings under our
First Lien Credit Facility bear interest at a rate per annum equal to, at our option, either (a) a base rate determined by
reference to the higher of (1) the prime rate and (2) the federal funds effective rate plus 0.5%, or (b) the eurodollar
rate determined by reference to the costs of funds for U.S. dollar deposits for the interest period relevant to such
borrowing adjusted for certain additional costs, in each case plus an applicable margin. The current applicable
margin for loans under the First Lien Credit Facility is 6.25% per annum for base rate borrowings and LIBOR
borrowings and increases by 0.25% per annum each August and February to a maximum applicable margin of
6.50%.

    The First Lien Credit Facility is guaranteed by HMH Holdings, and certain of its subsidiaries, and secured by
substantially all of the assets of certain members of the group of operating companies.

10.5% Notes

    On May 26, 2011, HMH Publishers, Inc. and HMH issued $300 million of 8-year 10.5% Notes. The 10.5%
Notes mature on June 1, 2019. The notes are senior secured obligations that rank equally in right of payment with

1
    Such indirect wholly-owned subsidiaries are: ACHIEVE! Data Solutions, LLC; Edusoft; Greenwood Publishing
    Group, Inc; Cognitive Concepts, Inc.; and The Riverside Publishing Company (collectively, the “Originators”).


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the First Lien Credit Facility and all of our other existing and future senior indebtedness and are senior in right of
payment to any of our existing and future subordinated indebtedness. The notes are guaranteed on a senior secured
basis by HMH Holdings, its subsidiary, HMH Publishing Company, and all of the direct and indirect subsidiaries of
HMH Publishing Company that guarantee, or act as co-borrowers under, the First Lien Credit Facility. The notes
are structurally subordinated to all of the liabilities and preferred stock of each of our subsidiaries that do not
guarantee or co-issue the notes. The outstanding principal amount of the 10.5% Notes is $300 million.

Letter of Credit Facility

      On October 26, 2010, HMH Publishers Inc. entered into the Letter of Credit Facility pursuant to which Wells
Fargo Bank, National Association (“Wells Fargo”) has agreed to issue up to $50 million of standby letters of credit.
The Letter of Credit Facility is scheduled to expire on June 1, 2013. All letters of credit when issued pursuant to the
Letter of Credit Facility are required to be cash collateralized at 100% of their face amount, and Wells Fargo has a
first-priority security interest in, and exclusive control over, the account in which cash collateral is posted by HMH
Publishers Inc. in connection with each letter of credit. The current aggregate amount of letters of credit outstanding
under the Letter of Credit Facility is $26,829,718.53.




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                                     BACKGROUND TO RESTRUCTURING

     The global financial crisis and the following economic downturn have negatively affected the Debtors’
operational performance. Notwithstanding a leading market share and strong product feedback, the Debtors
experienced weaker financial performance in 2011 relative to their original business plan as a result of this difficult
operating environment. As the institutional school market depends largely on state and local funding, the current
lack of certainty regarding state budgets and local tax receipts have impacted customers’ willingness to make new
purchases, and the outlook for the remainder of 2012 remains uncertain.

First Lien and Receivables Facility Amendments

     Houghton Mifflin Harcourt successfully negotiated an amendment to the First Lien Credit Facility on December
22, 2011, and to the Receivables Facility on December 29, 2011, which provided for greater operating flexibility by
widening certain financial covenants through March 2013. The successful negotiation of these amendments was
key to enabling Houghton Mifflin Harcourt to avoid an event of default under, among other debt instruments, the
First Lien Credit Facility, the 10.5% Notes, and the Receivables Facility.

Events Necessitating the Current Restructuring Plan

     The Debtors have continued to experience financial difficulties due mainly to exogenous macroeconomic
factors. The Debtors experienced substantial revenue decline in 2011, largely due to recession-driven decreases in
adoption, open territory and supplemental spending. Significant purchase deferrals in key adoption states coupled
with purchase cancellations led to material reductions in the overall size of the Debtors’ key K-12 market. Sustained
weakness in the Debtors’ market and a lack of federal stimulus support has caused the Debtors’ financial outlook to
become increasingly negative over the course of 2012. In or about March 2012, significant holders of claims under
the First Lien Credit Agreement and the 10.5% Notes formed an informal creditor group (the “Informal Creditor
Group”) and engaged Houlihan Lokey as their financial advisor and Akin Gump Strauss Hauer & Feld LLP as legal
counsel. The members of the Informal Creditor Group are set forth in the Restructuring Support Agreement
annexed hereto as Appendix E. Since its formation, the Informal Creditor Group and its advisors have engaged in
constructive dialogue with the Debtors regarding potential structures for a comprehensive restructuring. After
weeks of intensive good faith and arm’s length negotiations, the Debtors and the Informal Creditor Group recently
agreed to a restructuring to be effectuated through the Plan that will completely eliminate the Debtors’ outstanding
indebtedness and result in a complete deleveraging of the Debtors’ balance sheet while providing sufficient liquidity
to meet the Debtors projected long term cash needs (the “Restructuring Plan”). On May 10, 2012, the Debtors and
their affiliates entered into the Restructuring Support Agreement with holders of 71.01% of the aggregate
indebtedness under the First Lien Credit Facility and the 10.5% Notes (collectively, the “First Lien Facilities”)
pursuant to which such holders have agreed, subject to certain terms and conditions, to vote in favor of the Plan
when solicited to do so.

Forbearance in Favor of Foreign Affiliate Guarantors

     In connection with the solicitation of acceptances of the Plan prior to a chapter 11 filing, the Senior Creditors
have been asked to agree to the forbearance of any action against all of the guarantors of the First Lien Facilities,
including the Debtors’ foreign affiliates, HMH Publishing Company, a company organized under the laws of the
Republic of Ireland, HMH Consumer Company, a company organized under the laws of the Republic of Ireland,
HMH Education Company, a company organized under the laws of the Republic of Ireland, HMH IP Company, a
company organized under the laws of the Republic of Ireland, Riverdeep UK Limited, a company organized under
the laws of England and Wales, Houghton Mifflin Harcourt (Asia) Pte. Ltd., a private limited company organized
under the laws of Singapore, and Houghton Mifflin PLC, a public limited company organized under the laws of
England and Wales, to avoid the need for additional insolvency proceedings. Upon the consummation of the Plan,
pursuant to the terms of the Plan, the First Lien Administrative Agent, the First Lien Collateral Agent and the 10.5%
Indenture Trustee shall release any and all collateral and guarantees with respect to the First Lien Credit Facility and
the 10.5% Notes, respectively.




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                   SUMMARY OF TREATMENT OF CLAIMS AND EQUITY INTERESTS

Class                                                           Treatment Under the Plan
Senior Creditors                       On the Initial Distribution Date, each holder of an Allowed Senior Creditor
                                       Claim shall receive, in full and final satisfaction of such Claim, its pro rata
                                       share of (i) 100% of the New Common Stock, subject to dilution for the
                                       New Common Stock to be issued pursuant to the Management Incentive
                                       Plan and the exercise of the New Warrants and (ii) $30.3 million in Cash.

General Unsecured Claims               Each holder of an Allowed General Unsecured Claim shall receive, in full
                                       and final satisfaction of such claim, Cash in amount equal to such holder’s
                                       Allowed General Unsecured Claim plus accrued and unpaid Post-Petition
                                       Interest or such Claim shall otherwise continue unaffected upon
                                       consummation of the Plan, to be paid in the ordinary course of business.

Letter of Credit Facility              Except to the extent that a holder of an Allowed Letter of Credit Facility
                                       Claim and the Debtors with the consent of the Requisite Participating
                                       Lenders agree to a different treatment, the outstanding letters of credit issued
                                       under the Letter of Credit Facility shall either continue unaffected upon
                                       consummation of the Plan or be replaced by the proceeds of the Exit Facility
                                       and the Letter of Credit Facility shall be deemed terminated.

Existing Common Stock                  If the Class of Existing Common Stockholders votes to accept the Plan, the
                                       Existing Common Stockholders shall be entitled to receive their pro rata
                                       share of the New Warrants; if such Class votes to reject the Plan, the
                                       Existing Common Stockholders shall neither receive distributions nor retain
                                       any property under the Plan on account of such Existing Common Stock.

Other Holdings Equity Interests        Other Holdings Equity Interest Holders will not receive or retain any
                                       property under the Plan.



                               ESTIMATED RECOVERIES UNDER THE PLAN
Class                                                       Recoveries Under the Plan
Senior Creditors (Class 3           Class 3 is Impaired under the Plan. Each holder of an Allowed Senior
under the Plan)                     Creditor Claim in Class 3 is entitled to vote to accept or reject the Plan.
Estimated Amount:
approximately $3.142 billion           Estimated Recovery: 54.4%


Letter of Credit Facility              Class 4 is unimpaired under the Plan. Each holder of an Allowed Letter of
Lenders (Class 4 under the             Credit Facility Claim in Class 4 is not entitled to vote and will be deemed to
Plan)                                  accept the Plan.
Estimated Amount:
approximately $26.83 million           Estimated Recovery: 100%


General Unsecured Creditors            Class 5 is unimpaired under the Plan. Each holder of an Allowed General
(Class 5 under the Plan)               Unsecured Claim in Class 5 is not entitled to vote and will be deemed to
                                       accept the Plan.

                                       Estimated Recovery: 100%



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Existing Common Stock                    Class 8 is Impaired under the Plan. Each holder of an Existing Common
(Class 8 under the Plan)                 Stock in Class 8 is entitled to vote to accept or reject the Plan.

Other Holdings Equity                    Class 9 is Impaired under the Plan. Each holder of an Other Holdings Equity
Interests (Class 9 under the             Interest is not entitled to vote to accept or reject the Plan and is deemed to
Plan)                                    reject the Plan.

The existing equity interests in HMH, HMH Publishers LLC, HMH Publishers, Inc., Houghton Mifflin Holding
Company, Inc., Houghton Mifflin, LLC, Houghton Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc., HM
Publishing Corp., Riverdeep Inc., a Limited Liability Company, Broderbund LLC, RVDP, Inc., HRW Distributors,
Inc., Greenwood Publishing Group, Inc., Classroom Connect, Inc., ACHIEVE! Data Solutions, LLC, Steck-Vaughn
Publishing LLC, HMH Supplemental Publishers Inc., Sentry Realty Corporation, Houghton Mifflin Company
International, Inc., The Riverside Publishing Company, Classwell Learning Group Inc., Cognitive Concepts, Inc.,
Edusoft, and Advanced Learning Centers, Inc. shall remain unimpaired and unaffected upon consummation of the
Plan.

The Restructuring Plan

     The Debtors’ principal objective in restructuring their debt structure through the Restructuring Plan is to
deleverage the Debtors’ balance sheets while providing sufficient liquidity to meet their projected, long-term cash
needs. The Debtors believe that consummation of the Restructuring Plan through the Plan provides several benefits,
including:

    •    significantly reducing leverage by eliminating the Debtors’ current debt balances and thereby becoming
         more competitive among their peers in the industry;

    •    minimizing business disruptions and potential customer defections by limiting uncertainty as to the
         viability of the Debtors as a going concern and the period of time during which the Debtors are subject to
         such uncertainty;

    •    providing the Debtors with sufficient operational and financial flexibility to execute the balance of the
         Debtors’ ongoing business restructuring strategy;

    •    preserving significantly higher value for the Debtors than a liquidation of the Debtors or a chapter 11
         filings without a “pre-packaged” Plan; and

    •    employing the Exit Facility to provide significant liquidity and support a stable foundation for business.

The Restructuring Plan

         It is the Debtors’ intention to pursue the Restructuring Plan through the Plan. If, however, the Plan is not
accepted by the creditors entitled to vote on the Plan, the Debtors expect they will likely need to file for chapter 11
protection without the benefit of a “pre-packaged” Plan. In the event of a chapter 11 filing without a “pre-
packaged” Plan, the Debtors would likely be subject to a lengthy and costly chapter 11 process, and such a filing
may cause substantial damage to the Debtors’ business and reputation. Such a chapter 11 filing would present
obstacles to conducting the Debtors’ business, including the inability to insulate the Debtors’ operating units from
the proceedings and additional uncertainty and constraints with respect to the Debtors’ liquidity. In addition, such a
filing could have the effect of significantly eroding our customers’ confidence in our business. Employees could be
distracted or more easily attracted to other career opportunities, and it may be more difficult to attract or replace key
employees. Furthermore, creditors and other partners could seek to terminate their relationships with us, require
financial assurances or enhanced returns, or refuse to provide credit or other services on the same terms as prior to
filing. See, pages 71-81, “Risk Factors — Risks Related to Failure to Consummate the Restructuring Plan.”



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                                             PRO FORMA CAPITALIZATION

      The following table sets forth the pro forma capitalization of the Debtors after giving effect to the Plan:

Illustrative Pro Forma Capital Structure ($ in millions)



                                       Status Quo           Conversion to Equity           New Facilities         Pro Forma


First Lien Revolver                               $ 236                      $ (236)                        $-               $-
First Lien Term Loan                              2,571                      (2,571)                          -               -
Receivables Facility                                   -                            -                         -               -
10.5% Secured Notes                                 300                        (300)                          -               -
New Revolving Credit                                   -                            -                         -               -
Facility1
New Term Loan                                          -                            -                       250           250
Total Debt                                      $ 3,107                    $ (3,107)                   $ 250            $ 250


1
    New Revolving Credit Facility will have capacity of $250 million to support seasonal working capital.




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                                                     THE PLAN

   THE DEBTORS HAVE NOT COMMENCED CHAPTER 11 CASES UNDER THE BANKRUPTCY
CODE, NOR HAVE THEY TAKEN ANY CORPORATE ACTION AUTHORIZING THE
COMMENCEMENT OF SUCH CASES. THIS DISCLOSURE STATEMENT SOLICITS YOUR
ADVANCE ACCEPTANCE OF THE PLAN, A COPY OF WHICH IS ATTACHED TO THIS
DISCLOSURE STATEMENT AS APPENDIX A, AND WHICH CONTAINS IMPORTANT
INFORMATION RELEVANT TO YOUR DECISION WHEN VOTING ON THE PLAN. PLEASE READ
THE PLAN COMPLETELY AND CAREFULLY.

     To enhance the likelihood that we will succeed in our restructuring efforts, we have formulated the Plan for our
reorganization under chapter 11 of the Bankruptcy Code. The Plan covers the Debtors and provides the treatment
set forth below to holders of claims against and interests in the Debtors. If the Plan is confirmed and consummated,
all holders of claims against and interests in the Debtors would receive the treatment described in this Disclosure
Statement.

     The statements contained in this Disclosure Statement include summaries of the provisions contained in the
Plan and in documents referred to therein. The statements contained in this Disclosure Statement do not purport to
be precise or complete statements of all the terms and provisions of the Plan or documents referred to therein, and
reference is made to the Plan and to such documents for the full and complete statements of such terms and
provisions.

    In the event of any conflict between this Disclosure Statement, on the one hand, and the Plan or any other
operative document thereunder, on the other hand, the terms of the Plan and such other operative document(s) are
controlling. To the extent not defined in this section or otherwise defined in this Disclosure Statement, capitalized
terms used in the description of the Plan have the meanings ascribed to them in Article I of the Plan attached hereto
as Appendix A.

   WE HAVE NOT MADE ANY DECISION AT THIS TIME TO COMMENCE ANY CHAPTER 11 CASES,
AND RESERVE ALL OF OUR RIGHTS TO PURSUE ANY AND ALL OF OUR STRATEGIC
ALTERNATIVES.

Reasons for the Solicitation

     The solicitation is being conducted at this time to obtain (prior to the filing of voluntary petitions for
reorganization of the Debtors under chapter 11 of the Bankruptcy Code) the requisite acceptances of the Plan. We
anticipate that by conducting the solicitation in advance of commencing any Chapter 11 Cases, if Chapter 11 Cases
were commenced, the duration of the Chapter 11 Cases will be significantly shortened, and the administration of the
cases, which otherwise could be lengthy, complex, and extremely expensive, will be greatly simplified and much
less costly. The Bankruptcy Code defines “acceptance” of a plan by a class of claims as acceptance by creditors in
that class that hold at least two-thirds in dollar amount and more than one-half in number of the claims that cast
ballots for acceptance or rejection of the plan. Acceptance of a plan by a class of interests requires acceptance by at
least two-thirds of the amount of interests of such class that cast ballots for acceptance or rejection of the plan.

Anticipated Events During the Chapter 11 Cases

    If the requisite votes for acceptance of the Plan are received from the Senior Creditors, the Debtors may file
voluntary petitions for relief under chapter 11 of the Bankruptcy Code. At that time, all actions and proceedings
against the Debtors and all acts to obtain property from the Debtors will be stayed under section 362 of the
Bankruptcy Code. The Debtors will continue to operate their businesses and manage their property as debtors in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

    The Debtors do not expect the Chapter 11 Cases to be protracted. To expedite their emergence from chapter 11,
the Debtors on the Petition Date, in addition to filing this Disclosure Statement and the Plan, would file motions
seeking the relief described below, among other relief, from the Court. Such relief, if granted, will facilitate the


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administration of the Chapter 11 Cases; there can be no assurance, however, that the Court will grant the relief
sought.

Applications For Retention Of The Debtors’ Professionals

     The Debtors intend to seek retention of certain professionals to represent them and assist them in connection
with the Chapter 11 Cases. These professionals were intimately involved with the negotiation and development of
the restructuring transactions and the Plan. These professionals include, among others, Paul, Weiss, Rifkind,
Wharton & Garrison LLP, as bankruptcy counsel, and Blackstone Advisory Partners LP (“Blackstone”), as financial
advisor.

Motion To Approve Combined Disclosure Statement And Confirmation Hearing

     The Debtors intend to seek an order scheduling a combined hearing on this Disclosure Statement and
confirmation of the Plan (the “Confirmation Hearing”) for a date not more than forty-five (45) days following the
Petition Date. At the Confirmation Hearing, the Debtors will seek approval of this Disclosure Statement and
confirmation of the Plan pursuant to sections 1125, 1128 and 1129 of the Bankruptcy Code. At that time, the
Debtors will also request that the Court approve the prepetition solicitation of votes on the Plan. There can be no
assurance that the Court will grant the requested relief, including the Debtors’ request to schedule the Confirmation
Hearing within forty-five (45) days of the Petition Date.

Motion To Continue Using Existing Cash Management Systems

     Because the Debtors expect the Chapter 11 Cases to be pending for less than two (2) months, and because of the
administrative hardship that any operating changes would impose, the Debtors intend to seek authority to continue
using their existing cash management system, bank accounts and business forms and to follow their internal
investment and deposit guidelines. Absent the Court’s authorization of the continued use of the cash management
system, the Debtors’ cash flow could be impaired to the detriment of the Debtors’ Estates and creditors.

     Continued use of their existing cash management system will facilitate the Debtors’ smooth and orderly
transition into the Chapter 11 Cases, minimize the disruption of their businesses while in chapter 11, and expedite
their emergence from chapter 11. As a result of set-up time and expenses, requiring the Debtors to adopt and
implement a new cash management system would likely increase the costs of the Chapter 11 Cases. For the same
reasons, requiring the Debtors to close their existing bank accounts and establish new accounts or requiring them to
create new business forms would frustrate their efforts to reorganize expeditiously.

Motion For Authority To Pay Prepetition Employee Wages And Associated Benefits

     The Debtors believe that they have a valuable asset in their work force and that any delay in paying prepetition
compensation or benefits to their employees would damage significantly their relationships with employees and
irreparably harm employee morale at a time when the continued dedication, confidence and cooperation of their
employees is most critical. The Debtors are grateful to their employees for their help, without which a restructuring
would not be possible. Accordingly, the Debtors will seek authority to pay compensation and benefits which were
accrued but unpaid as of the Petition Date.

Motion To Approve DIP/Exit Financing

     On the first day of their Chapter 11 Cases, the Debtors intend to seek approval of DIP Facility from Citibank,
N.A. in the amount of $500 million (the “DIP Facility”). Approval of the DIP Facility will enable the Debtors to
address their funding and other commitments while in chapter 11 and to otherwise maintain normal operations and
strong relationships with their vendors, customers, and suppliers during the Chapter 11 Cases. The structure of the
DIP Facility will allow the Debtors to convert the DIP Facility into permanent financing upon their exit from their
Chapter 11 Cases. The Debtors intend that a portion of the DIP proceeds will be used to repay the Receivables
Facility in full to the extent there is an outstanding funded balance on the Petition Date and to replace or backstop
the letters of credit under the Letter of Credit Facility. In addition, the Debtors intend to provide to the Senior


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Creditors as adequate protection for, among other things, the priming of their liens, any diminution in value of the
collateral securing their Claims and the imposition of the automatic stay, pursuant to sections 105, 361 and 364 of
the Bankruptcy Code, $69.7 million in Cash (the “Adequate Protection Payments”), which will be (i) allocated 6.2%
to holders of the First Lien Revolver Claims, 67.6% to holders of the First Lien Term Loan Claims and 26.2% to
holders of the 10.5% Notes Claims and (ii) indefeasibly payable upon entry of the Interim DIP Order. The Interim
DIP Order and any final order will be in form and substance acceptable to the Requisite Participating Lenders and
the Debtors.

Motion For Authorization to Pay Prepetition Unsecured Claims As They Become Due

     All prepetition general unsecured claims against the Debtors arising from or with respect to the operation of the
Debtors in the ordinary course of business are the Class of Claims denominated “Class 5 General Unsecured
Claims.” Notwithstanding provisions of the Bankruptcy Code that would otherwise require the Debtors to defer
payment of such prepetition general unsecured claims until the Effective Date, the Debtors intend to seek authority
from the Court to pay such claims in the ordinary course of business. The Debtors also intend to seek permission to
condition payments to be made on account of prepetition obligations on the agreement of the recipient of such
payment to continue supplying goods and/or services to the Debtors on terms that are at least as favorable to the
Debtors as the most favorable trade terms in effect between such party and the Debtors in the twelve (12) months
before the Petition Date or such other trade terms as are agreed to by the Debtors and such party. Because certain
goods and services are essential to the businesses of the Debtors, the relief sought in this motion is critical to
uninterrupted operations during the Chapter 11 Cases and is otherwise appropriate because such payments will not
affect relative distributions to creditors under the Plan.

  Motion To Waive Filing Of Schedules And Statement Of Financial Affairs

     Bankruptcy Code section 521 and Bankruptcy Rule 1007 direct that, unless otherwise ordered by the court, a
debtor must prepare and file certain schedules of claims, executory contracts and unexpired leases and related
information (the “Schedules”) and a statement of financial affairs (the “Statement”) within fifteen (15) days of the
commencement of a chapter 11 case. The purpose of these requirements is to provide a debtor’s creditors, equity
security holders and other interested parties with sufficient information to make informed decisions with respect to
the debtor’s reorganization. In appropriate circumstances, however, a bankruptcy court may modify or dispense
with the filing of the Schedules and the Statement pursuant to section 521 of the Bankruptcy Code. The Debtors
believe that such circumstances would exist in the Chapter 11 Cases, and that they should not be required to file the
Schedules and the Statement. The Debtors thus intend to request that the Court waive the necessity of filing the
Schedules and the Statement but can give no assurances that the Court will grant such a waiver.

Timetable for Chapter 11 Cases

    Assuming that the Court approves the Disclosure Statement and confirms the Plan on the schedule requested by
the Debtors, the Debtors would seek to emerge from chapter 11 within approximately one (1) month of the Petition
Date. There can be no assurance, however, that the Court’s calendar or orders will permit the Chapter 11 Cases to
proceed as expeditiously as anticipated.

                                                Summary of the Plan

Overview of Chapter 11

     Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. Under chapter 11 of the
Bankruptcy Code, a debtor is authorized to reorganize its business for the benefit of itself, its creditors and interest
holders. Another goal of chapter 11 is to promote equality of treatment for similarly situated creditors and similarly
situated interest holders with respect to the distribution of a debtor’s assets.

     The commencement of a chapter 11 case creates an estate that is comprised of all of the legal and equitable
interests of the debtor as of the filing date. The Bankruptcy Code provides that the debtor may continue to operate
its business and remain in possession of its property as a “debtor in possession.”


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      The consummation of a plan of reorganization is the principal objective of a chapter 11 case. A plan sets forth
the means for satisfying claims against and interests in a debtor. Confirmation of a plan by the Court makes the plan
binding upon the debtor, any issuer of securities under the plan, any person or entity acquiring property under the
plan and any creditor of or equity security holder in the debtor, whether or not such creditor or equity security holder
(i) is impaired under or has accepted the plan or (ii) receives or retains any property under the plan. Subject to
certain limited exceptions and other than as provided in the plan itself or the confirmation order, the confirmation
order discharges the debtor from any debt that arose prior to the date of confirmation of the plan and substitutes
therefor the obligations specified under the confirmed plan, and terminates all rights and interests of equity security
holders.

   THE REMAINDER OF THIS SECTION PROVIDES A SUMMARY OF THE STRUCTURE AND MEANS
FOR IMPLEMENTATION OF THE PLAN, AND OF THE CLASSIFICATION AND TREATMENT OF CLAIMS
AND EQUITY INTERESTS UNDER THE PLAN, AND IS QUALIFIED IN ITS ENTIRETY BY REFERENCE
TO THE PLAN (AS WELL AS THE EXHIBITS THERETO AND DEFINITIONS THEREIN).

   THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT INCLUDE SUMMARIES OF
THE PROVISIONS CONTAINED IN THE PLAN AND IN DOCUMENTS REFERRED TO THEREIN. THE
STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT DO NOT PURPORT TO BE PRECISE OR
COMPLETE STATEMENTS OF ALL THE TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS
REFERRED TO THEREIN, AND REFERENCE IS MADE TO THE PLAN AND TO SUCH DOCUMENTS FOR
THE FULL AND COMPLETE STATEMENTS OF SUCH TERMS AND PROVISIONS.

   THE PLAN ITSELF AND THE DOCUMENTS REFERRED TO THEREIN CONTROL THE ACTUAL
TREATMENT OF CLAIMS AGAINST AND EQUITY INTERESTS IN THE DEBTORS UNDER THE PLAN
AND WILL, UPON OCCURRENCE OF THE EFFECTIVE DATE, BE BINDING UPON ALL HOLDERS OF
CLAIMS AGAINST AND EQUITY INTERESTS IN THE DEBTORS, THE ESTATES, THE REORGANIZED
DEBTORS, ALL PARTIES RECEIVING PROPERTY UNDER THE PLAN, AND OTHER PARTIES IN
INTEREST. IN THE EVENT OF ANY CONFLICT BETWEEN THIS DISCLOSURE STATEMENT, ON THE
ONE HAND, AND THE PLAN OR ANY OTHER OPERATIVE DOCUMENT, ON THE OTHER HAND, THE
TERMS OF THE PLAN OR SUCH OTHER OPERATIVE DOCUMENT WILL CONTROL.

Overall Structure of the Plan

     The Plan described herein provides for the restructuring of the Debtors’ liabilities in a manner designed to
maximize recoveries to holders of claims against and interests in the Debtors. In particular, the Plan contemplates
that (i) each Senior Creditor will receive its pro rata share of 100% of New Common Stock, subject to dilution for
New Common Stock to be issued pursuant to the Management Incentive Plan and, if applicable, New Common
Stock to be issued upon exercise of the New Warrants, and $30.3 million in Cash and (ii) if Class 8 (Existing
Common Stock) votes to accept the Plan, the Existing Common Stockholders will receive their pro rata share of the
New Warrants; if such Class votes to reject the Plan, the Existing Common Stockholders will not receive a
distribution on account of the Existing Common Stock.

     The Debtors believe that (i) through the Plan, holders of Allowed Claims and Existing Common Stockholders
(if Class 8 votes to accept the Plan) will obtain a substantially greater recovery from the Estates than the recovery
they would receive if (a) the Debtors filed chapter 11 petitions without the pre-packaged Plan or (b) the Debtors
filed for liquidation relief under chapter 7 of the Bankruptcy Code, and (ii) the Plan will, among other things, afford
the Debtors the opportunity and ability to continue their business as viable going concerns and preserve ongoing
employment for the Debtors’ employees.

    The Classes of Claims against and Equity Interests in the Debtors created under the Plan, the treatment of those
Classes under the Plan and distributions, if any, to be made under the Plan are described below.




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Adequate Information; Creditors Entitled to Vote on the Plan

     As more fully described below, the Plan designates separate classes of Claims against and Equity Interests in
the Debtors (other than Administrative Claims, Fee Claims, Priority Tax Claims and DIP Financing Claims, which
are unclassified). In addition to holders of unclassified Claims, holders of Class 1 Claims (Other Priority Claims),
Class 2 Claims (Other Secured Claims), Class 4 (Letter of Credit Facility Claims), Class 5 Claims (General
Unsecured Claims), Class 6 Claims (Intercompany Claims) and Class 7 (Equity Interests in Debtors other than HMH
Holdings) are unimpaired by the Plan, will not be entitled to vote to accept or reject the Plan, and will be deemed to
have accepted the Plan. Holders of Class 9 Equity Interests (Other Holdings Equity Interests) are Impaired under
the Plan, will not receive or retain any property under the Plan, are not entitled to vote to accept or reject the Plan
and are deemed to reject the Plan. Holders of Class 3 Claims (Senior Creditor Claims) and Class 8 Equity Interests
(Existing Common Stock) are Impaired under the Plan and only the votes of such Classes will be solicited.

     Bankruptcy Rule 3018(b) prescribes the conditions that must be satisfied to count the ballots solicited with
respect to a Plan prior to the commencement of a chapter 11 case. Bankruptcy Rule 3018(b) requires that (i) the
chapter 11 Plan must have been disseminated to substantially all impaired creditors and equity security holders in
the class(es) entitled to vote, (ii) the time prescribed for voting on the Plan must be sufficient and (iii) the solicitation
must have been conducted in accordance with section 1126(b) of the Bankruptcy Code, which requires compliance
with all applicable non-bankruptcy laws, rules, or regulations or, if there are no such applicable laws, rules or
regulations, that the disclosure with respect to the Plan contains “adequate information” as defined in section
1125(a) of the Bankruptcy Code. Section 1125(a)(1) defines “adequate information” as information of a kind and in
sufficient detail as far as is reasonably practicable in light of the nature and history of a company and the condition
of such company’s books and records, as would enable a hypothetical reasonable investor typical of holders of
claims or equity interests of the relevant class to make an informed judgment about the Plan.

    The Debtors believe that all of the requirements of Bankruptcy Rule 3018(b) will be satisfied in the event that
the Debtors seek confirmation of the Plan. This Disclosure Statement and the Plan, together with all of the
accompanying materials, are being transmitted to holders of Class 3 Senior Creditor Claims and Class 8 Existing
Common Stock. The Debtors believe that this Disclosure Statement contains adequate information (within the
meaning of section 1125(a)(1) of the Bankruptcy Code) to enable holders of such Claims and Equity Interests to
vote to accept or reject the Plan.

Certain Matters Regarding Classification and Treatment of Claims and Equity Interests

     Section 1123 of the Bankruptcy Code provides that a Plan must classify the claims and interests of a debtor’s
creditors and equity interest holders. In accordance with section 1123, the Plan divides Claims and Equity Interests
into Classes and sets forth the treatment for each Class (other than Administrative Claims, Priority Tax Claims and
DIP Financing Claims which, pursuant to section 1123(a)(1), need not be and have not been classified).

     The Debtors are required, under section 1122 of the Bankruptcy Code, to classify Claims against and Equity
Interests in the Debtors into Classes, each of which contain Claims and Equity Interests that are substantially similar
to the other Claims and Equity Interests in such Class. The Debtors believe that the Plan has classified all Claims
and Equity Interests in compliance with the provisions of section 1122, but if Chapter 11 Cases were to be
commenced, it is possible that a holder of a Claim or Equity Interest may challenge the classification of Claims and
Equity Interests and that the Court may find that a different classification is required for the Plan to be confirmed.
In that event, to the extent permitted by the Bankruptcy Code, the Plan and the Court, the Debtors would intend to
make such reasonable modifications to the classification scheme under the Plan as to permit confirmation and to use
the acceptances of the Plan that are marked on the Ballots received in the Solicitation Package for purposes of
obtaining the approval of the reconstituted Class or Classes of which each accepting holder ultimately would be
deemed to be a member. Any such reclassification could adversely affect the Class in which such holder initially
was a member, or any other Class under the Plan, by changing the composition of such class and the vote required of
that Class for acceptance of the Plan. Furthermore, a reclassification of a Claim or Equity Interest after acceptance
of the Plan could necessitate a resolicitation of acceptances of the Plan.

   The classification of Claims and Equity Interests and the nature of distributions to members of each Class are
summarized below. The Debtors believe that the consideration, if any, that would be provided under the Plan to

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holders of Claims and Equity Interests would reflect an appropriate resolution of their Claims and Equity Interests,
and would take into account the differing nature and priority of such Claims and Equity Interests. The Court would
be required to find, however, that a number of statutory tests are met before it could confirm the Plan. Many of
these tests are designed to protect the interests of holders of Claims or Equity Interests who would not be entitled to
vote on the Plan, or would not vote to accept the Plan, but who would be bound by the provisions of the Plan if it
were confirmed by the Court. The “cramdown” provisions of section 1129(b) of the Bankruptcy Code, for example,
permit confirmation of the Plan in certain circumstances even if the Plan has not been accepted by all Impaired
Classes of Claims and Equity Interests. Although the Debtors believe that, as long as Class 3 votes to accept the
Plan, the Plan could be confirmed under section 1129(b), there can be no assurance that the requirements of such
section would be satisfied.

                                            Material Terms of the Plan

      Treatment of Administrative Claims, Fee Claims, Priority Tax Claims and DIP Financing Claims

     In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims (including Fee Claims),
Priority Tax Claims and DIP Financing Claims are not classified and holders of such Claims are not entitled to vote
on the Plan. The treatment of such Claims is set forth immediately below.

Administrative Claims

       Subject to the provisions of sections 330(a) and 331 of the Bankruptcy Code, as applicable, each holder of an
Allowed Administrative Claim shall receive in full and final satisfaction of such Claim, (a) Cash in the full amount
of such Allowed Claim, without interest, or (b) such amount at such other date and upon such other terms as may be
agreed upon in writing by such holder and the Debtors with the consent of the Requisite Participating Lenders or
otherwise approved by Final Order of the Court on or as soon as practicable after the later of (i) the Effective Date,
(ii) the date on which such Administrative Claim becomes Allowed, (iii) the date on which such Allowed
Administrative Claim is due to be paid in the ordinary course of business with the Debtors, and (iv) the date on
which the holder of such Administrative Claim and the Debtors, with the consent of the Requisite Participating
Lenders otherwise agree in writing. Notwithstanding anything herein to the contrary, except with respect to Fee
Claims and except with respect to subsection (iv) hereof, the Debtors or Reorganized Debtors, as applicable, shall
object to any Allowed Administrative Claim before the later of (x) sixty (60) days after the Effective Date and
(y) sixty (60) days after the filing of the request for payment of an Administrative Claim.

Fee Claims

     All requests for compensation or reimbursement of Fee Claims pursuant to sections 327, 328, 330, 331, 503 or
1103 of the Bankruptcy Code for services rendered prior to the Effective Date shall be filed and served on the
Reorganized Debtors and their counsel, the United States Trustee, counsel to the Creditors’ Committee (if any),
counsel to the Informal Creditor Group and such other entities who are designated by the Bankruptcy Rules, the
Confirmation Order or any other order(s) of the Court, no later than forty-five (45) days after the Effective Date.
Holders of Fee Claims that are required to file and serve applications for final allowance of their Fee Claims and that
do not file and serve such applications by the required deadline shall be forever barred from asserting such Fee
Claims against the Debtors, the Reorganized Debtors or their respective properties, and such Fee Claims shall be
deemed discharged as of the Effective Date. Objections to any Fee Claims must be filed and served on the
Reorganized Debtors and their counsel and the requesting party no later than seventy-five (75) days (or such longer
period as may be allowed by order of the Court) after the Effective Date.

Priority Tax Claims

      Except to the extent that a holder of an Allowed Priority Tax Claim and the Debtors, with the consent of the
Requisite Participating Lenders, agree to a different treatment, each holder of an Allowed Priority Tax Claim shall
receive Cash in an amount equal to such Allowed Priority Tax Claim plus Post-Petition Interest on the later of the
Initial Distribution Date and the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, or as soon
thereafter as is practicable. All Allowed Priority Tax Claims that are not due and payable on or before the Effective
Date shall be paid in the ordinary course of business without Post-Petition Interest.

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DIP Financing Claims

     On the Effective Date, except to the extent that the holders of the DIP Financing Claims and the Debtors, with
the consent of the Requisite Participating Lenders, agree to a different treatment, in full and final satisfaction of such
Claims, the DIP Financing Claims shall be satisfied as provided under the Exit Facility.

                                     Treatment of Claims and Equity Interests

Class 1 — Other Priority Claims

    Distributions

     Except to the extent that a holder of an Allowed Other Priority Claim and the Debtors with the consent of the
Requisite Participating Lenders agree to a different treatment, each holder of an Allowed Other Priority Claim shall
receive, in full and final satisfaction of such Claim, payment in full in Cash in an amount equal to such Allowed
Other Priority Claim plus Post-Petition Interest on or as soon as practicable after the later of the Initial Distribution
Date and the date when such Other Priority Claim becomes an Allowed Other Priority Claim. All Allowed Other
Priority Claims that are not due and payable on or before the Effective Date shall be paid in the ordinary course of
business without Post-Petition Interest.

     Impairment and Voting

    Class 1 is unimpaired under the Plan. Holders of Allowed Other Priority Claims in Class 1 are presumed to
accept the Plan and are not entitled to vote to accept or reject the Plan.

Class 2 — Other Secured Claims

    Distributions

      Except to the extent that a holder of an Allowed Other Secured Claim and the Debtors with the consent of the
Requisite Participating Lenders agree to a different treatment, in full and final satisfaction of such Claim, (i) each
Allowed Other Secured Claim shall be reinstated and rendered unimpaired in accordance with section 1124(2) of the
Bankruptcy Code, notwithstanding any contractual provision or applicable nonbankruptcy law that entitles the
holder of an Allowed Other Secured Claim to demand or to receive payment of such Allowed Other Secured Claim
prior to the stated maturity of such Allowed Other Secured Claim from and after the occurrence of a default,
(ii) each holder of an Allowed Other Secured Claim shall receive Cash in an amount equal to such Allowed Other
Secured Claim plus Post-Petition Interest in full and complete satisfaction of such Allowed Other Secured Claim on
the later of the Initial Distribution Date and the date such Other Secured Claim becomes an Allowed Other Secured
Claim, or as soon thereafter as is practicable, or (iii) each holder of an Allowed Other Secured Claim shall receive
the Collateral securing its Allowed Other Secured Claim plus Post-Petition Interest in full and complete satisfaction
of such Allowed Other Secured Claim on the later of the Initial Distribution Date and the date such Other Secured
Claim becomes an Allowed Other Secured Claim, or as soon thereafter as is practicable, in each case as determined
by the Debtors, with the consent of the Requisite Participating Lenders.

    Impairment and Voting

    Class 2 is unimpaired under the Plan. The holders of Allowed Other Secured Claims in Class 2 are presumed to
accept the Plan and are not entitled to vote to accept or reject the Plan.




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Class 3 — Senior Creditor Claims

    Distributions

      Senior Creditor Claims shall be deemed Allowed in the following amounts: (a) the First Lien Term Loan
Claims shall be deemed Allowed in the amount of $2.571 billion plus accrued interest as of the Petition Date; (b) the
First Lien Revolver Claims shall be deemed Allowed in the amount of $235.8 million plus accrued interest as of the
Petition Date; and (c) the 10.5% Notes Claims shall be Allowed in the amount of $300 million plus accrued interest
as of the Petition Date. On the Initial Distribution Date, subject to the occurrence of the Restructuring, each holder
of an Allowed Senior Creditor Claim shall receive, in full and final satisfaction of such Claim, its pro rata share of
(i) 100% of the New Common Stock, subject to dilution for the New Common Stock to be issued pursuant to the
Management Incentive Plan and exercise of the New Warrants and (ii) $30.3 million in Cash.

    Impairment and Voting

    Class 3 is Impaired under the Plan. Each holder of an Allowed Senior Creditor Claim in Class 3 is entitled to
vote to accept or reject the Plan.

Class 4 – Letter of Credit Facility Claims

    Distributions

     Except to the extent that a holder of an Allowed Letter of Credit Facility Claim and the Debtors with the
consent of the Requisite Participating Lenders agree to a different treatment, the outstanding letters of credit issued
under the Letter of Credit Facility shall either continue unaffected upon consummation of the Plan or be replaced by
the Exit Facility and the Letter of Credit Facility shall be deemed terminated.

    Impairment and Voting

    Class 4 is unimpaired under the Plan. Each holder of an Allowed Letter of Credit Facility Claim in Class 4 is
presumed to accept the Plan and is not entitled to vote to accept or reject the Plan.

Class 5 — General Unsecured Claims

    Distributions

     Each holder of an Allowed General Unsecured Claim shall receive, in full and final satisfaction of such Claims,
Cash in amount equal to such holder’s Allowed General Unsecured Claim plus accrued and unpaid Post-Petition
Interest; provided, however, that the Debtors may, with the consent of the Requisite Participating Lenders, seek
authority from the Court to pay certain General Unsecured Claims in advance of the Effective Date pursuant to
certain “first day motions” the Debtors intend to file in the Chapter 11 Cases, as described in the Disclosure
Statement; provided, further, that any General Unsecured Claim that becomes due and owing after the Effective
Date shall be paid in the ordinary course of business when such claim is due and owing, without Post-Petition
Interest

    Impairment and Voting

     Class 5 is unimpaired under the Plan. Each holder of an Allowed General Unsecured Claim in Class 5 is
presumed to accept the Plan and is not entitled to vote to accept or reject the Plan.




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Class 6 — Intercompany Claims

    Distributions

     On or as soon as practicable after the Effective Date, all Allowed Intercompany Claims shall be adjusted,
continued, or discharged to the extent determined appropriate by the Debtors, with the consent of the Requisite
Participating Lenders.

    Impairment and Voting

    Class 6 is unimpaired under the Plan. Holders of Intercompany Claims in Class 6 are presumed to accept the
Plan and are not entitled to vote to accept or reject the Plan.

Class 7 — Equity Interests in Debtors other than HMH Holdings

     Distributions

    The holders of Equity Interests in Debtors other than HMH Holdings shall retain such Equity Interests.

     Impairment and Voting

     Class 7 is unimpaired under the Plan. The holders of Equity Interests in Debtors other than HMH Holdings in
Class 7 are presumed to accept the Plan and are not entitled to vote to accept or reject the Plan.

Class 8 — Existing Common Stock

     Distributions

    If the Class 8 Existing Common Stock votes to accept the Plan, each holder of Existing Common Stock shall
receive its pro rata share of the New Warrants. If the Class 8 Existing Common Stock votes to reject the Plan, the
holders of the Existing Common Stock shall neither receive distributions nor retain any property under the Plan on
account of such Existing Common Stock.

     Impairment and Voting

     Class 8 is Impaired under the Plan. Each Existing Common Stockholder is entitled to vote to accept or reject
the Plan.

Class 9 – Other Holdings Equity Interests

     Distributions

    Each Other Holdings Equity Interest Holder shall neither receive distributions nor retain any property under the
Plan on account of such Other Holdings Equity Interest.

    Impairment and Voting

    Class 9 is Impaired under the Plan. Each Other Holdings Equity Interest Holder is deemed to reject the Plan
and is not entitled to vote to accept or reject the Plan.




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   Provisions Regarding Voting, Distributions, And Treatment Of Disputed, Contingent And Unliquidated
                       Administrative Expense Claims, Claims And Equity Interests

Voting on the Plan

      Each holder of an Allowed Claim in Class 3 and each Existing Common Stockholder in Class 8 is Impaired and
is entitled to vote to accept or reject the Plan. Holders of Claims or Equity Interests in Classes 1, 2, 4, 5, 6, and 7 are
unimpaired and are not to entitled to vote to accept or reject the Plan, as they are presumed to accept the Plan. Class
9 is Impaired, will not receive or retain any property under the Plan, and is not entitled to vote to accept or reject the
Plan as it is deemed to reject the Plan.

Distributions

    Delivery of Distributions

    Distributions under the Plan shall be made by the Reorganized Debtors or their designee to the holders of
Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed Other
Secured Claims, and Allowed General Unsecured Claims at the addresses set forth in the Debtors’ books and
records, unless such addresses are superseded by proofs of claim or transfers of claim filed pursuant to Bankruptcy
Rule 3001 on or prior to the Voting Record Date (or at the last known addresses of such holders if the Debtors or the
Reorganized Debtors have been notified in writing of a change of address). Distributions on account of the Allowed
Senior Creditor Claims shall be made initially to the First Lien Administrative Agent and the 10.5% Indenture
Trustee, or to such other entity(ies) as may be determined by the First Lien Administrative Agent and/or the 10.5%
Indenture Trustee, for distribution to holders of Allowed Senior Creditor Claims. Distributions on account of the
Existing Common Stock, if any, shall be made to the Debtors’ transfer agent, for distribution to Existing Common
Stockholders.

    Distribution of Cash

     Any payment of Cash by the Reorganized Debtors pursuant to the Plan shall be made at the option and in the
sole discretion of the Reorganized Debtors by (i) a check drawn on, or (ii) wire transfer from, a domestic bank
selected by the Reorganized Debtors.

    Fractional Cents

    Any other provision of the Plan to the contrary notwithstanding, no payment of fractions of cents will be made.
Whenever any payment of a fraction of a cent would otherwise be called for, the actual payment shall reflect a
rounding down of such fraction to the nearest whole cent.

    Fractional Securities

    Any other provision of the Plan to the contrary notwithstanding, no distributions of fractional shares of New
Common Stock or fractional New Warrants will be made. Whenever any distribution of a fraction of a share of New
Common Stock or a fraction of a New Warrant would otherwise be called for, the actual distribution shall reflect a
rounding down of such fraction to the nearest whole share of New Common Stock or New Warrant.

     Unclaimed Distributions

     Any Distribution of Cash under the Plan to the holder of an Allowed Claim which remains unclaimed for a
period of ninety (90) days after it has been delivered (or attempted to be delivered) in accordance with the Plan shall
be transferred to and become property of the Reorganized Debtors notwithstanding state or other escheat or similar
laws to the contrary, and any and all entitlement by the holder of such Claim to such Distribution shall be
extinguished and forever barred. The failure by a holder of the Senior Creditor Claims to execute the Registration
Rights Agreement within 180 days of the Effective Date shall result in the forfeiture of such holder’s allocation of



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New Common Stock. After such date, all forfeited New Common Stock shall revert to the Reorganized Debtors and
the Senior Creditor Claim of such holder to such New Common Stock shall be discharged and forever barred.

    Saturdays, Sundays, or Legal Holidays

    If any payment or act under the Plan is required to be made or performed on a date that is not a Business Day,
then the making of such payment or the performance of such act may be completed on the next succeeding Business
Day, and shall be deemed to have been completed as of the required date.

     Distributions to Holders of Allowed Claims as of the Distribution Record Date

    As of the close of business on the Distribution Record Date, the Claims register shall be closed, and there shall
be no further changes in the record holders of any Claims. The Debtors and the Reorganized Debtors shall have no
obligation to recognize any Claim filed or transfer of any Claims occurring after the Distribution Record Date. The
Debtors and the Reorganized Debtors shall instead be entitled to recognize and deal for purposes under the Plan with
only those record holders stated on the Claims register as of the close of business on the Distribution Record Date.

    Third Party Agreements; Subordination.

     Distributions shall be subject to and modified by any Final Order directing distributions other than as provided
in the Plan. The right of the Debtors to seek subordination of any Claim or Equity Interest pursuant to section 510
of the Bankruptcy Code is fully reserved, and the treatment afforded any Claim or Equity Interest that becomes a
subordinated Claim or subordinated Equity Interest at any time shall be modified to reflect such subordination.
Unless the Confirmation Order provides otherwise, no Distributions shall be made on account of any subordinated
Claim or subordinated Equity Interest.

Objections to and Resolution of Claims

    Objections to and Resolution of Administrative Claims and Claims

    The Reorganized Debtors shall have the exclusive right to make and to file objections to Administrative Claims
(other than Fee Claims) and Claims subsequent to the Effective Date. Unless otherwise ordered by the Court,
objections to Administrative Claims and Claims shall be filed and served upon the holders of the Administrative
Claims or Claims as to which the objection is made as soon as practicable. Objections to Fee Claims shall be filed
and served within seventy-five (75) days (or such longer period as may be allowed by order of the Court) after the
Effective Date.

    Objections to Administrative Claims and Claims may be litigated to judgment, settled or withdrawn, in the
Reorganized Debtors’ sole discretion. The Reorganized Debtors may settle any such objections without Court
approval.

Estimation

      The Debtors or the Reorganized Debtors, as the case may be, may at any time request that the Court estimate,
subject to 28 U.S.C. § 157, any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of
whether the Debtors or the Reorganized Debtors have previously objected to such Claim. The Court will retain
jurisdiction to estimate any Claim at any time, including during proceedings concerning any objection to such
Claim. In the event that the Court estimates any Disputed Claim, such estimated amount may constitute either
(a) the Allowed amount of such Claim, (b) the estimate to be used by the Debtors in calculating potential
Distributions under the Plan, or (c) a maximum limitation on such Claim, as determined by the Court. In the case of
Claims arising from personal injury tort or wrongful death actions, the Court may estimate such Claims for the
purpose of confirming the Plan. If the estimated amount constitutes a maximum limitation on such Claim, the
Debtors or the Reorganized Debtors may elect to object to ultimate payment of such Claim. All of the
aforementioned Claims objection, estimation and resolution procedures are cumulative and not necessarily exclusive
of one another.


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Indenture Trustee Expenses and First Lien Agent Expenses

     In addition to any other Claim that may be filed by the 10.5% Indenture Trustee or the First Lien Agents
pursuant to the provisions set forth herein, the 10.5% Indenture Trustee and the First Lien Agents shall have an
Allowed Administrative Claim in an amount equal to the Indenture Trustee Expenses or the First Lien Agent
Expenses, respectively. If the Debtors or the Reorganized Debtors dispute the reasonableness of the Indenture
Trustee Expenses or the First Lien Agent Expenses, the Debtors, the Reorganized Debtors, or the 10.5% Indenture
Trustee or the First Lien Agents, as applicable, may submit such dispute to the Court for a determination of the
reasonableness of such fees or expenses and the disputed portion of the Indenture Trustee Expenses or the First Lien
Agent Expenses shall not be paid until the dispute is resolved. The undisputed portion of the Indenture Trustee
Expenses or the First Lien Agent Expenses shall be paid as provided herein. The 10.5% Indenture Trustee shall not
be entitled to payment of or assertion of its Indenture Trustee Charging Lien for any disputed Indenture Trustee
Expenses to the extent the Court determines that such Indenture Trustee Expenses are unreasonable under the terms
of the 10.5% Notes Indenture. Nothing contained herein shall otherwise affect the right of the 10.5% Indenture
Trustee from asserting its Indenture Trustee Charging Lien, to the extent applicable under the terms of the 10.5%
Notes Indenture, provided, however, that upon the full and indefeasible payment of the Indenture Trustee Expenses,
the Indenture Trustee Charging Lien shall be deemed released and discharged in full.

Nonconsensual Confirmation

     Classes 3 and 8 are Impaired and are entitled to vote to accept or reject the Plan. Class 9 is Impaired, is not
entitled to vote to accept or reject the Plan, and is deemed to reject the Plan. As such, the Debtors will seek to have
the Court confirm the Plan under section 1129(b) of the Bankruptcy Code with respect to Class 8 if it votes to reject
the Plan and Class 9.

                                     Substantive Consolidation of the Debtors

     Substantive consolidation is an equitable remedy that the Court may be asked to apply in chapter 11 cases
involving affiliated debtors. Substantive consolidation involves the pooling and merging of the assets and liabilities
of the affected debtors. All of the debtors in the substantively consolidated group are treated as if they were a single
corporate and economic entity. Consequently, a creditor of one of the substantively consolidated group of debtors
and issues of individual corporate ownership of property and individual corporate liability are ignored.

     Substantive consolidation of two or more debtors’ estates generally results in the deemed consolidation of the
assets and liabilities of the debtors, the deemed elimination of intercompany claims, subsidiary equity or ownership
interests, multiple and duplicative creditor claims, joint and several liability claims and guarantees, and the payment
of allowed claims from a common fund.

     The Plan is predicated upon, and it is a condition precedent to confirmation of the Plan, that the Court provide in
the Substantive Consolidation Order for the substantive consolidation of the Chapter 11 Cases of the Debtors into a
single Chapter 11 Case for purposes of the Plan and the Distributions thereunder. Pursuant to such Substantive
Consolidation Order (i) all assets and liabilities of the Substantively Consolidated Debtors will be merged, (ii) the
obligations of each Debtor will be deemed to be the obligations of the Substantively Consolidated Debtors, (iii) any
Claims filed or to be filed in connection with any such obligations will be deemed Claims against the Substantively
Consolidated Debtors, (iv) each Claim filed in the Chapter 11 Cases of any Debtor will be deemed filed against the
Debtors in the consolidated Chapter 11 Cases in accordance with the substantive consolidation of the assets and
liabilities of the Debtors, (v) all transfers, disbursements and distributions made by any Debtor under the Plan will
be deemed to be made by the Substantively Consolidated Debtors, and (vi) all guarantees of the Debtors of the
obligations of any other Debtors shall be deemed eliminated so that any Claim against any Debtor and any guarantee
thereof executed by any other Debtor and any joint or several liability of any of the Debtors shall be deemed to be
one obligation of the Substantively Consolidated Debtors. Holders of Allowed Claims in each Class shall be
entitled to their share of assets available for distribution to such Class without regard to which Debtor was originally
liable for such Claim. Such substantive consolidation shall not (other than for purposes related to the Plan) affect
(a) the legal and corporate structure of the Reorganized Debtors (b) Intercompany Claims or (c) other pre- and post-
Petition Date guarantees that are required to be maintained (i) in connection with executory contracts or unexpired
leases that were entered into during the Chapter 11 Cases or that have been, or will be, assumed, (ii) pursuant to the

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express terms of the Plan, or (iii) in connection with the Exit Facility. The proposed substantive consolidation shall
not affect each Debtor’s obligation to file the necessary operating reports and pay any required fees pursuant to
28 U.S.C. § 1930(a)(6) and such obligations shall continue until an order is entered closing, dismissing or converting
such Debtor’s Chapter 11 Case.

     Unless the Court has approved the substantive consolidation of the Estates by a prior order, the Plan shall serve
as, and shall be deemed to be, a motion for entry of an order substantively consolidating the Debtors’ estates. If no
objection to substantive consolidation is timely filed and served, then the proposed substantive consolidation of the
Substantively Consolidated Debtors may be approved by the Court. If any such objection is timely filed and served,
a hearing with respect to the substantive consolidation of the Debtors’ estates and the objections thereto shall be
scheduled by the Court, which hearing may coincide with the Confirmation Hearing.

     The Debtors believe that substantive consolidation is warranted here because, among other reasons, the Debtors
historically operated on a consolidated basis. All Debtors have essentially the same officers and directors. For
purposes of the Debtors’ negotiation of secured and certain unsecured financing, the Debtors believe the parties to
such financing arrangements treated the Debtors’ operations as unitary. Customers and others identified the Debtors
by their trade names as opposed to their corporate identities. However, the trade names do not reliably correlate to
the corporate entity that owns each name. The Debtors’ unsecured creditors viewed the Debtors as a single entity
when extending credit terms, as such negotiations and agreements customarily provided for services to be rendered
to multiple Debtors, and the Debtors capitalized upon the scale and operations of the entirety of the Debtors’
business operations to negotiate such agreements and maximize value. Further, nearly all accounts payable
functions were performed from one centralized location, by the same administrative staff working on behalf of all
Debtors, and nearly all debts were centralized and paid by one Debtor entity. Additionally, while the Debtors’
financial systems did track intercompany transactions and debts in the aggregate, such amounts customarily were
simply forgiven and written off at varying intervals by the Debtors’ boards of directors as a matter of administrative
and accounting convenience. Determining the sources of the Debtors’ pre-petition assets and liabilities on a per-
entity basis would involve the nearly impossible task of reviewing and categorizing records of millions of individual
transactions to trace such transactions back to the appropriate entity.

     Indeed, given the nominal amount of assets held by various of the Debtors, and the expense of generating
separate plans of reorganization for each of the Debtors, the Debtors believe that the overall effect of substantive
consolidation will be more beneficial than harmful to creditors and will allow for greater efficiencies and
simplification in administering the Plan. Accordingly, the Debtors believe that substantive consolidation of the
Debtors’ Estates under the terms of the Plan will not adversely impact the treatment of any of the Debtors’ creditors,
but rather will reduce administrative expenses by automatically eliminating duplicative claims asserted against more
than one of the Debtors, decreasing the administrative difficulties and costs related to the administration of twenty-
five (25) separate Debtors’ Estates separately, as well as eliminating the need to determine professional fees on a
case-by-case basis and streamlining the administration of the Plan.

    In the event the Court determines not to approve the substantive consolidation of the Substantively
Consolidated Debtors, the Plan shall constitute a separate chapter 11 plan of reorganization for each Debtor, each of
which shall include the classifications set forth herein. For the avoidance of doubt, to the extent a Class contains
Allowed Claims or Equity Interests with respect to a particular Debtor, such Class is designated with respect to such
Debtor. To the extent there are no Allowed Claims or Equity Interests with respect to a particular Debtor, such
Class is deemed to be omitted with respect to such Debtor.

                                            Implementation of the Plan

Exit Facility

     The Debtors shall have closed on the Exit Facility on or prior to the Effective Date, to be entered into by the
Reorganized Debtors, the administrative agent and the lenders party thereto with the consent of the Requisite
Participating Lenders, and all ancillary agreements, substantially in the form included in the Plan Supplement which
must be acceptable to the Requisite Participating Lenders. On the Effective Date, the Reorganized Debtors are
authorized to execute and deliver those documents necessary or appropriate to obtain the Exit Facility without


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further notice to or order of the Court, act or action under applicable law, regulation, order, or rule or vote, consent,
authorization, or approval of any person.

     The amounts borrowed under the Exit Facility shall be used to make the required Distributions under the Plan,
to satisfy certain plan-related expenses and to fund the Reorganized Debtors’ working capital needs.

The Restructuring

     To implement the Plan, on the Effective Date, the Debtors will undergo a restructuring, that will include the
following steps (the “Restructuring”):

     Step (1): HMH Holdings will contribute the New Common Stock (through intermediate subsidiaries) to HMH
Publishers Inc. (on its own behalf and on behalf of HMH Publishers LLC) and to HMH, so that HMH Publishers
Inc. and HMH own the New Common Stock of HMH Holdings. HMH Publishers Inc. (on its own behalf and on
behalf of HMH Publishers LLC) and HMH will receive New Common Stock in proportion to the benefit each
derived from the proceeds of the indebtedness under the First Lien Credit Agreement and the 10.5% Notes (the “Co-
Borrower Percentages”). The Debtors will contribute or distribute (through intermediate subsidiaries or parent
entities), as necessary, an aggregate amount of $30.3 million of Cash to HMH and HMH Publishers Inc. (on its own
behalf and on behalf of HMH Publishers LLC) so that each holds Cash (in proportion to the Co-Borrower
Percentages) necessary to engage in the exchanges described in Step 2.

    Step (2):

         (A) The Senior Creditor Claims will be transferred to HMH Publishers Inc. (on its own behalf and on
behalf of HMH Publishers LLC) and to HMH in accordance with the Co-Borrower Percentages and the Senior
Creditor Claims will be cancelled.

          (B) In exchange for their Senior Creditor Claims, Senior Creditors will receive from each of HMH
Publishers Inc. and HMH, a pro rata share of the New Common Stock that HMH Publishers Inc. and HMH held
after Step (1) of the Restructuring and $30.3 million of Cash. HMH Publishers Inc. and HMH shall hold no New
Common Stock after this Step (2).

     Step (3): The Existing Common Stock will be cancelled, either (x) in exchange for the New Warrants if Class 8
votes to approve the Plan, or (z) for no consideration if Class 8 votes to reject the Plan. All Other Holdings Equity
Interests will be cancelled.

     For U.S. federal income tax purposes, and for state, local, and non-U.S. tax purposes, to the extent applicable,
(x) the Senior Creditors and the Debtors shall report the transactions described in Step 1 and Step 2 (taken together)
as a taxable exchange of the Senior Creditor Claims for New Common Stock and Cash, and (y) the Existing
Common Stockholders and the Debtors shall report the transactions described in Step (3), to the extent the Existing
Common Stockholders receive New Warrants, as a taxable exchange of their Existing Common Stock for New
Warrants.

Sources of Cash for Plan Distribution and Transfers of Funds Among Debtors

     All consideration necessary for the Reorganized Debtors to make payments or distributions pursuant to the Plan
shall be obtained from the Exit Facility or other Cash from the Debtors, including Cash from business operations.
Further, the Debtors, the Foreign Affiliates and the Reorganized Debtors will be entitled to transfer funds between
and among themselves as they determine to be necessary or appropriate to enable the Reorganized Debtors to satisfy
their obligations under the Plan. Except as set forth in the Plan, any changes in intercompany account balances
resulting from such transfers will be accounted for and settled in accordance with the Debtors’ historical
intercompany account settlement practices and will not violate the terms of the Plan.




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Securities to Be Issued Pursuant to the Plan

   The New Common Stock offered under the Plan shall be the common stock in Reorganized HMH Holdings.
Computershare Limited will be the transfer agent, registrar and redemption agent for the New Common Stock.

   Reorganized HMH Holdings shall authorize and issue or reserve for issuance such number of shares of New
Common Stock as may be necessary to be issued upon exercise of the New Warrants or to effectuate the
Management Incentive Plan.

Corporate Governance and Management of Reorganized HMH Holdings and the Reorganized Debtors

     This is a summary of certain of the corporate governance documents. The Reorganized HMH Holdings
Certificate of Incorporation, Reorganized HMH Holdings Bylaws, and the Registration Rights Agreement will be
attached as an exhibit to the Plan Supplement. Each holder of Senior Creditor Claims must register its New
Common Stock with Reorganized HMH Holdings and execute a signature page to and be bound by the Registration
Rights Agreement as a condition precedent to receiving its allocation of New Common Stock.

    The Initial Board of Directors

     Immediately following the Effective Date, the Reorganized HMH Holdings Board of Directors shall be
comprised of nine (9) members, one (1) of whom shall be the chief executive officer and eight (8) of whom,
including the chairperson, shall be initially chosen by the Informal Creditor Group with the participation and input
of the chief executive officer, provided, that, Paulson & Co. Inc. (“Paulson”) shall have the right to designate two
(2) initial directors, one of whom will be “independent” and selected from the pool of candidates identified with the
assistance of a consultant. All initial members of the Reorganized HMH Holdings Board of Directors (other than
the two (2) nominated by Paulson, one of whom shall be chosen from the pool of independent director candidates),
whether designated prior to or after the Effective Date, will be designated for an initial term of one (1) year by the
consensus of the Informal Creditor Group from a pool of director candidates that has been generated by the Informal
Creditor Group with the participation and input of the chief executive officer and an outside consulting firm selected
by the Informal Creditor Group. The pool of director candidates may include existing directors as well as new
director candidates. Thereafter, all members of the Reorganized HMH Holdings Board of Directors (until an IPO,
other than those directors nominated pursuant to a Nomination Agreement) will be designated by the nominating
committee of the Reorganized HMH Holdings Board of Directors or the holders of a majority of outstanding shares
of New Common Stock. After the Effective Date, in any uncontested election for directors, a director must receive
the approval of a majority of the shares of New Common Stock voted at the meeting.

    A majority of the Reorganized HMH Holdings Board of Directors, including the Chairperson, will be
“independent” under NYSE standards. The Reorganized HMH Holdings Board of Directors will have an audit
committee, a compensation committee, a nominating committee and an ethics and governance committee, whose
members will comply with NYSE and SEC requirements.

     The identities, affiliations and the nature of compensation of the directors shall be disclosed in the Plan
Supplement. The directors of each Debtor on the day immediately preceding the Effective Date that are not
otherwise appointed as members of the initial board of directors or the equivalent governing body for the
corresponding Reorganized Debtor shall be deemed to have resigned from the board of directors of such Debtor as
of the Effective Date. To the extent there are open seats on the Reorganized HMH Holdings Board of Directors on
the Effective Date, the nominating committee, which shall consist of the members of the Informal Creditor Group,
shall be empowered to appoint new members of the Reorganized HMH Holdings Board of Directors and the board
of directors for the other Reorganized Debtors to fill the empty seats on and after the Effective Date.

    Nomination Agreements

   On the Effective Date, Paulson and Reorganized HMH Holdings will enter into a Nomination Agreement. Any
Nominating Holder (as defined below) is also entitled to enter into a Nomination Agreement with Reorganized
HMH Holdings upon the terms and conditions described below. The two initial Paulson nominees will be


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nominated by Paulson as set forth - one of whom will be chosen from the pool of independent director candidates
(the “Independent Director”) and the other nominated by Paulson (the “Holder Director”). The initial Holder
Director will be Sheru Chowdhry. Any vacancy in the Independent Director position shall be nominated by Paulson
in consultation with the nominating committee of the Board of Directors and shall be subject to approval by a
majority of the Reorganized HMH Holdings Board of Directors; any vacancy in the Holder Director shall be
nominated by Paulson and (i) filled with a full-time Paulson employee or (ii) selected in consultation with the
nominating committee and approved by a majority of the Reorganized HMH Holdings Board of Directors
(excluding the Independent Director). The right to nominate the Independent Director terminates if Paulson holds
less than 20% of the issued and outstanding New Common Stock and the right to nominate the Holder Director
terminates if Paulson holds less than 15% of the issued and outstanding New Common Stock. All nominating rights
terminate upon an IPO. If Paulson transfers at least 20% of the issued and outstanding New Common Stock to a
Transferee, the nominating rights with respect to only the Holder Director (and any successor in the event of a
vacancy) may be assigned to the Transferee (subject to the same termination events – 15% ownership threshold or
an IPO). If any holder acquires 20% or more of the issued and outstanding New Common Stock (a “Nominating
Holder”), such Nominating Holder will also be entitled to nominate one director to the Reorganized HMH Holdings
Board of Directors immediately pursuant to a nomination agreement (which Reorganized HMH Holdings shall be
required to enter into if the Nominating Holder so elects) in form and substance substantially similar to the Paulson
nomination agreement. If the Nominating Holder became a Nominating Holder other than by acquiring the stock of
an existing 20% Holder, the size of the Reorganized HMH Holdings Board of Directors will be increased in order to
elect the director chosen by such Nominating Holder. As with the Paulson nomination agreement, the Nominating
Holder nomination agreement will terminate upon an IPO or if the Nominating Holder owns less than 15% of the
outstanding common stock. As long as Paulson or a Nominating Holder does not hold less than 20% of the issued
and outstanding New Common Stock, respectively, the directors nominated by Paulson or such Holder, respectively,
will be eligible for re-election at each annual meeting until an IPO.

    DGCL 203

    The Reorganized HMH Holdings Certificate of Incorporation will contain a provision that opts out of the
Delaware General Corporation Law Section 203 on Business Combinations with Interested Stockholders.

    Special Meetings

    Holders of at least 15% of the outstanding shares of New Common Stock may call a special meeting of the
stockholders.

    Written Consent

    Stockholders shall be permitted to act by written consent in accordance with Delaware law.

    Certain Actions Requiring Approval of 66 2/3% of All Directors Prior to an IPO

     The Reorganized HMH Holdings Bylaws will contain a provision that prior to an IPO, unless 66 2/3% of
directors comprising the entire Reorganized HMH Holdings Board of Directors (other than any directors recused
due to a conflict of interest) approves, Reorganized HMH Holdings may not take, or permit any of its subsidiaries to
take certain specified actions, including:

         •   Adoption of an annual budget including the capital expenditure budget for plate and non-plate capital
             expenditure;

         •   Approval of any sale of all or substantially all of the assets of Reorganized HMH Holdings and its
             subsidiaries;

         •   Approval of any mergers, acquisitions and divestitures having a value in excess of $50 million;

         •   Issuance of equity securities;


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         •   Approval of any dividends or stock repurchases;

         •   Incurrence of debt;

         •   Approval of any affiliate transactions;

         •   Approval of any amendment to the Management Incentive Plan and approval of or amendment to any
             senior executive (e.g., CEO and direct reports to the CEO) compensation arrangements;

         •   Approval of amendments to the Reorganized HMH Holdings Certificate of Incorporation or Bylaws;

         •   Approval of executive officer changes; and

         •   Approval of any plan of liquidation or bankruptcy filing.

    Information Rights

     Reorganized HMH Holdings will make publicly available on a website the following information, which need
not be Sarbanes-Oxley compliant:

         •   Within 45 days after the end of each calendar quarter, quarterly management reports and unaudited
             financial statements, all in reasonable detail, together with a “Management’s Discussion and Analysis
             of Financial Condition and Results of Operations” that describes the financial condition and results of
             operations of Reorganized HMH Holdings and its consolidated subsidiaries similar to Form 10-Q
             information.

         •   Within 90 days after each calendar year end, audited GAAP financial statements all in reasonable
             detail, together with a “Management’s Discussion and Analysis of Financial Condition and Results of
             Operations” that describes the financial condition and results of operations of Reorganized HMH
             Holdings and its consolidated subsidiaries similar to Form 10-K information.

         •   All current reports that would be required to be filed with the SEC on Form 8-K if Reorganized HMH
             Holdings were required to file such reports, in each case, within the time periods required for filing
             such forms and reports as specified in the SEC’s rules and regulations, subject to customary carveouts
             from such reporting.

     Prior to the occurrence of an IPO, Reorganized HMH Holdings will use its commercially reasonable efforts to
become a voluntary filer with the SEC (but not file a Form 10 with the SEC to register the New Common Stock) by
March 31, 2013, if an IPO Demand Right (as defined below) has not been exercised prior to such date. If
Reorganized HMH Holdings does not become a voluntary filer by such date, it shall post on its website the same
information that it would be required to file if it were a filer with the SEC.

     Transfers

     Holders of shares of New Common Stock will not be subject to limitations on transferability, except to comply
with applicable securities laws and except as described below regarding executing a joinder to the Registration
Rights Agreement and Reorganized HMH Holdings Board of Directors’ ability to impose certain restrictions on
trading to preserve certain tax attributes of Reorganized HMH Holdings and its subsidiaries. The New Common
Stock will not be DTC eligible and will be book-entry only, held on the records of Reorganized HMH Holdings’
transfer agent. On or about the Effective Date, Reorganized HMH Holdings will use commercially reasonable
efforts to obtain a market maker to have the New Common Stock quoted on the OTCQX so long as the New
Common Stock remains in book-entry only form. Prior to the New Common Stock becoming DTC eligible, any
transferee will be required to execute a joinder to the Registration Rights Agreement in order to complete a transfer
of New Common Stock. A transferor will be able to share material non-public information regarding Reorganized
HMH Holdings with a prospective transferee if such transferee is not a competitor of Reorganized HMH Holdings

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and has entered into a confidentiality agreement with Reorganized HMH Holdings with terms that are reasonably
acceptable to Reorganized HMH Holdings. Reorganized HMH Holdings will cooperate with any holder of shares of
New Common Stock to facilitate any permitted transfer, including entering into such confidentiality agreements
with prospective transferees.

     The Reorganized HMH Holdings Certificate of Incorporation will include provisions that, upon the occurrence
of certain events, will permit the Reorganized HMH Holdings Board of Directors to meet on an expedited basis to
impose trading restrictions on the New Common Stock and certain other securities of Reorganized HMH Holdings if
the Reorganized HMH Holdings Board of Directors determines to impose trading restrictions to protect certain
valuable tax assets of Reorganized HMH Holdings. The details of the trading restrictions (if they were to be
imposed) will be described in the Plan Supplement.

     Registration Rights Agreement

     Each holder of the outstanding shares of New Common Stock will be a party to the Registration Rights
Agreement and will be required to execute a signature page to such Registration Rights Agreement in order to
receive their distribution of New Common Stock.

     Anytime after January 1, 2013, any holder or holders who hold at least 25% of the outstanding shares of New
Common Stock will be able to cause Reorganized HMH Holdings to consummate an underwritten initial public
offering pursuant to an registration statement on a Form S-1 Registration Statement (or, if Reorganized HMH
Holdings is eligible, a Form S-3 registration statement) after April 1, 2013 pursuant to the exercise of demand
registration rights on a secondary basis so long as the total proposed offering size is at least $150 million (an “IPO
Demand Right”).

      If an IPO Demand Right is exercised, such holders may also, at their option, require all other stockholders to
sell in such IPO their pro rata share of the New Common Stock being sold, not to exceed 15% (including any
underwriters over-allotment option) of the shares of the New Common Stock held by such holder; but only if the
IPO price of the New Common Stock equates to a total equity value of Reorganized HMH Holdings of not less than
$1.5 billion (an “IPO Drag Right”). The IPO price of the New Common Stock to be issued pursuant to the IPO
Demand Right and, if applicable, the IPO Drag Right will be determined by a pricing committee comprised of
members of the Reorganized HMH Holdings Board of Directors.

       On October 1, 2013, unless an IPO (whether pursuant to an IPO Demand Right, IPO Drag Right or otherwise)
has been consummated prior thereto, Reorganized HMH Holdings will (i) file a Form 10 to register the New
Common Stock under the Securities Exchange Act of 1934, as amended (the “Exchange Act”), (ii) timely apply to
list the New Common Stock on the New York Stock Exchange or Nasdaq and (iii) timely apply for the New
Common Stock to be made DTC eligible (collectively, the “Exchange Act Registration Filings”), such Exchange
Act Registration Filings to be effective in each instance, on but not before December 1, 2013; it being understood
that at any time prior to such December 1, 2013 date (unless Reorganized HMH Holdings has consummated an IPO
prior to such date), holders of a majority of the outstanding shares of New Common Stock (the “Majority Holders”)
may direct Reorganized HMH Holdings to withdraw or delay the effectiveness of all such applications relating to
the Exchange Act Registration Filings and have the New Common Stock remain book-entry only. If the Majority
Holders direct Reorganized HMH Holdings to withdraw or delay the Exchange Act Registration Filings, then such
Majority Holders shall also determine a new date for proceeding with the Exchange Act Registration Filings, at
which time Reorganized HMH Holdings will proceed with and diligently pursue the effectiveness of the Exchange
Act Registration Filings unless prior to such date the Majority Holders determine to further extend the date of filing
the Exchange Act Registration Filings.

     Any time after Reorganized HMH Holdings becomes an Exchange Act public reporting company, Reorganized
HMH Holdings shall use commercially reasonable efforts to cause to become effective a shelf registration statement
(on Form S-3 if permitted) for the benefit of all holders party to the Registration Rights Agreement and any
individual holder of 15% or more can demand an unlimited number of “takedowns” off the shelf so long as the total
offering size exceeds $100 million.

     Each holder or holders who hold in the aggregate at least 15% of the outstanding shares of New Common

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Stock will have, after an initial public offering (i) one S-1 demand registration right per annum which may be an
underwritten offering, and provided that any underwritten offering must have a total offering price of $100 million;
and (ii) unlimited S-3 registration rights and S-3 shelf registration rights, which may be underwritten offerings if the
total offering price is at least $100 million, each subject to customary cutback provisions.

     Any holder’s participation in one demand registration will not preclude such holder from participating in
another demand registration.

     Each party to the Registration Rights Agreement will have unlimited piggyback registration rights with respect
to underwritten offerings (including with respect to the IPO Demand).

     Each holder that holds greater than 15% of the outstanding shares of New Common Stock will have a second
S-1 demand registration right per annum and will be entitled to unlimited S-3 registration rights, which may be an
underwritten offering if the total offering size exceeds $100 million, each subject to customary cutback provisions.

     Cutbacks on registration rights will reflect (i) Reorganized HMH Holdings having priority on the initial public
offering and piggybacks on primary offerings; and (ii) the holders of New Common Stock exercising demand
registration rights having priority on any secondary offerings (other than the initial public offering) on a pro rata
basis based on ownership.

     Each party to the Registration Rights Agreement will be subject to lock-ups in connection with public
offerings, not to exceed 180 days in the case of the initial public offering and 90 days in the case of other
underwritten public offerings (but only for stockholders who exercise their piggyback rights to participate in such
post-IPO offerings).

     Registration rights will also contain customary suspension/blackout provisions.

     Subject to the conditions set forth in the Registration Rights Agreement, the rights under the Registration
Rights Agreement may be transferred on a pro rata basis in connection with any transfer, assignment, or other
conveyance of the New Common Stock to any transferee or assignee. Prior to the New Common Stock being made
DTC eligible, any transferee of New Common Stock will be required to execute a joinder to the Registration Rights
Agreement. After the New Common Stock is made DTC eligible, no joinder shall be required.

    Reorganized HMH Holdings will pay the underwriting fees and commissions on the first two underwritten
demand registrations.

    Pre-emptive Rights.
     The Registration Rights Agreement will provide that, prior to Reorganized HMH Holdings becoming a public
reporting company under the Exchange Act, each holder of shares of New Common Stock that holds at least 3% of
the outstanding shares of New Common Stock will receive the right to participate in future equity financings;
Reorganized HMH Holdings on a pro rata basis (subject to customary exceptions, such as issuance of options to
employees) based on the number of shares of New Common Stock owned by such holders relative to the total
number of outstanding shares of New Common Stock owned by all holders having pre-emptive rights.

    Management of Reorganized Debtors

     Upon the Effective Date, the officers of the Reorganized Debtors shall be substantially the same as the officers
of the Debtors on the Petition Date. The Reorganized Debtors’ officers shall serve in accordance with any
employment agreement with the Reorganized Debtors and applicable nonbankruptcy law. The Debtors will disclose
the identities of senior management and any related employment agreements in the Plan Supplement.




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    Reorganized HMH Holdings Certificate of Incorporation, Reorganized HMH Holdings Bylaws and Other
    Amended and Restated Governing Documents

     The adoption of the Amended and Restated Governing Documents shall be deemed to have occurred and be
effective as of the Effective Date without any further action by the directors, stockholders, partners or members (as
the case may be) of the Debtors or Reorganized Debtors. The Amended and Restated Governing Documents will,
among other things, contain appropriate provisions prohibiting the issuance of nonvoting equity securities to the
extent required by section 1123(a)(6) of the Bankruptcy Code. On or prior to the Effective Date, the Debtors will, if
required by applicable state law, file with the Secretary of State of the appropriate jurisdiction the Amended and
Restated Governing Documents.

Reorganized Debtors’ Management Incentive Plan

     On the Effective Date of the Plan, the Management Incentive Plan will be implemented and will be comprised
of options to acquire up to ten (10) percent of the total number of fully diluted shares of New Common Stock to be
outstanding after the Restructuring (the “Management Options”). The terms of the Management Incentive Plan and
the Management Options, each of which shall be acceptable to the Debtors and the Requisite Participating Lenders,
will be set forth in the Plan Supplement.

Informal Creditor Group Professionals Fees

     On the Effective Date, the Reorganized Debtors shall pay the reasonable fees and expenses of the Informal
Creditor Group Professionals, whether incurred prior to or after the Petition Date, in full in Cash without the need
for application to, or approval of, the Court.

Cancellation and Surrender of Existing Securities and Agreements

      On the Effective Date, except as otherwise specifically provided for in the Plan, after the Restructuring, the
obligations under the 10.5% Notes Indenture and the First Lien Credit Agreement and any other certificate, share,
note, bond, indenture, purchase right, option, warrant or other instrument or document directly or indirectly
evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors giving rise to any
Claim, including Equity Interests , shall be deemed cancelled and the obligations of the Debtors pursuant, relating,
or pertaining to any agreements, indentures, certificates of designation, bylaws or certificate or articles of
incorporation or similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights,
options, warrants or other instruments or documents evidencing or creating any indebtedness or obligations of the
Debtors shall be released and discharged, provided, however, notwithstanding Confirmation or the occurrence of the
Effective Date, any agreement that governs the rights of the holder of a Claim shall continue in effect solely for
purposes of allowing holders to receive distributions under the Plan as provided in the Plan; provided, however, that
(a) the 10.5% Notes Indenture and the First Lien Credit Agreement shall continue to survive and be in full force and
effect only for the purposes of (i) making distributions under the Plan, (ii) asserting any Indenture Trustee Charging
Lien thereunder, (iii) permitting the 10.5% Indenture Trustee to appear in the Chapter 11 Cases, and (iv) any
function necessary in connection with the forgoing clauses (a)(i)-(a)(iii) and (b) the First Lien Credit Agreement
shall continue to survive and be in full force and effect only for purposes of (i) making distributions under the Plan;
(ii) permitting the First Lien Agents to appear in the Chapter 11 Cases and (iii) any function necessary in connection
with the foregoing clauses (b)(i) and (b)(ii); provided, however, that for the avoidance of doubt, the 10.5% Notes
Indenture shall be deemed to be fully and completely terminated and discharged upon the making of all of the
distributions set forth in clause (a)(i) and (b)(i).

Corporate Action

     Each of the matters provided for by the Plan involving the corporate structure of the Debtors or corporate
related actions to be taken by or required of the Reorganized Debtors shall, as of the Effective Date, have occurred
and be effective as provided in the Plan (except to the extent otherwise indicated), and shall be authorized, approved,
and, to the extent taken prior to the Effective Date, ratified in all respects without any requirement of further action
by holders of Claims or Equity Interests, directors of the Debtors, or any other entity.


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Effectuating Documents; Further Transactions

     On and after the Effective Date, the Reorganized Debtors and the officers and members of the boards of
directors thereof, are authorized to and may issue, execute, deliver, file, or record such contracts, securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate
to effectuate, implement, and further evidence the terms and conditions of the Plan and the securities issued pursuant
to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for any approvals,
authorization, or consents except for those expressly required pursuant to the Plan.

Exemption from Certain Taxes and Fees

     Pursuant to section 1146(a) of the Bankruptcy Code, any transfer from a Debtor to a Reorganized Debtor or to
any entity pursuant to, in contemplation of, or in connection with the Plan or pursuant to: (a) the issuance,
distribution, transfer, or exchange of any debt, equity security, or other interest in the Debtors or the Reorganized
Debtors; (b) the creation, modification, consolidation, or recording of any mortgage, deed of trust, or other security
interest, or the securing of additional indebtedness by such or other means; (c) the making, assignment, or recording
of any lease or sublease; or (d) the making, delivery, or recording of any deed or other instrument of transfer under,
in furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument
of transfer executed in connection with any transaction arising out of, contemplated by, or in any way related to the
Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles, or similar tax,
mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, or
other similar tax or governmental assessment, and the Confirmation Order shall direct the appropriate state or local
governmental officials or agents to forego the collection of any such tax or governmental assessment and to accept
for filing and recordation any of the foregoing instruments or other documents without the payment of any such tax
or governmental assessment.

Powers of Officers

    The officers of the Debtors or the Reorganized Debtors, as the case may be, shall have the power to enter into
and to execute any Plan Supplement Document to which the Debtors, or the Reorganized Debtors are to be a party
and to take such other or further action as they deem reasonable and appropriate to effectuate the terms of the Plan.


                                    Confirmation and Effectiveness of the Plan

Conditions Precedent to Confirmation

    The Plan will not be confirmed by the Court unless and until the following conditions have been satisfied in full
or waived pursuant to Article XIII.C of the Plan:

         1.   The Plan shall be in form and substance acceptable to the Debtors and the Requisite Participating
              Lenders and, with respect to the treatment of Senior Creditors, each of the members of the Informal
              Creditor Group;

         2.   The Debtors shall have submitted to the Court a proposed Confirmation Order, in form and substance
              acceptable to the Debtors and the Requisite Participating Lenders;

         3.   The Interim DIP Order shall have been entered in form and substance acceptable to the Debtors and
              the Requisite Participating Lenders, and the Debtors shall have indefeasibly paid the Adequate
              Protection Payments to the Senior Creditors; and

         4.   All documents to be executed, delivered or filed pursuant to the Plan, including all Plan Supplement
              Documents, shall be in form and substance acceptable to the Debtors and the Requisite Participating
              Lenders.



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 Conditions Precedent to Effectiveness

     The Plan shall not become effective unless and until it has been confirmed and the following conditions have
 been satisfied in full or waived pursuant to Article XIII.C of the Plan:

          1.   The Plan shall be in form and substance acceptable to the Debtors and the Requisite Participating
               Lenders and, with respect to the treatment of Senior Creditors, each of the members of the Informal
               Creditor Group;

          2.   The Confirmation Order shall have been entered in form and substance acceptable to the Debtors and
               the Requisite Participating Lenders, and no stay or injunction shall be in effect precluding the
               consummation of the transactions contemplated by the Plan;

          3.   The Exit Facility, which shall be in form and substance acceptable to the Debtors and the Requisite
               Participating Lenders, shall have been entered into by the Reorganized Debtors and the other parties
               thereto and all conditions to the initial borrowings under the Exit Facility shall have been satisfied in
               accordance with the terms thereof (but for the occurrence of the Effective Date);

          4.   All undisputed statutory fees then due and payable to the United States Trustee shall have been paid in
               full;

          5.   All documents to be executed, delivered or filed pursuant to the Plan, including all Plan Supplement
               Documents, shall be in form and substance acceptable to the Debtors and the Requisite Participating
               Lenders and such documents shall be executed, delivered or filed, as the case may be; and

          6.   All actions, authorizations, filings, consents and regulatory approvals required (if any) shall have been
               obtained, effected or executed in a manner acceptable to the Debtors and the Requisite Participating
               Lenders and shall remain in full force and effect.

Waiver of Conditions

      The Debtors may waive any or all of the conditions set forth in Articles XIII.A. or XIII.B. (other than XIII.B.2.)
 of the Plan at any time, with the prior written consent of the Requisite Participating Lenders, without leave or order
 of the Court and without any formal action; provided that the prior written consent of each member of the Informal
 Creditor group shall be required to waive the conditions in XIII.A.1 and XIII.B.1 of the Plan.

 Effect of Failure of Conditions

      In the event that the Effective Date does not occur on or prior to thirty (30) days after the Confirmation Order is
 entered by the Court or such later date as may be agreed to by the Debtors and the Requisite Participating Lenders
 upon notification submitted by the Debtors to the Court: (a) the Confirmation Order shall be vacated, (b) no
 Distributions under the Plan shall be made, (c) the Debtors and all holders of Claims and Equity Interests shall be
 restored to the status quo ante as of the day immediately preceding the Confirmation Date as though the
 Confirmation Date had never occurred, and (d) the Debtors’ obligations with respect to the Claims and Equity
 Interests shall remain unchanged and nothing contained in the Plan shall constitute or be deemed a waiver or release
 of any Claims or Equity Interests by or against the Debtors or any other person or to prejudice in any manner the
 rights of the Debtors or any person in any further proceedings involving the Debtors.

 Denial of Confirmation/Vacatur of Confirmation Order

      If a Final Order denying confirmation of the Plan is entered, or if the Confirmation Order is vacated, then the
 Plan shall be null and void in all respects, and nothing contained in the Plan shall (a) constitute a waiver or release of
 any Claims against or Equity Interests in the Debtors; (b) prejudice in any manner the rights of the holder of any
 Claim against, or Equity Interest in, the Debtors; (c) prejudice in any manner any right, remedy or claim of the
 Debtors; or (d) be deemed an admission against interest by the Debtors.


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Revocation, Withdrawal, or Non-Consummation

    Right to Revoke or Withdraw

     The Debtors reserve the right to revoke or withdraw the Plan in accordance with their fiduciary duties or
otherwise with the consent of the Requisite Participating Lenders at any time prior to the Effective Date.

     Effect of Withdrawal, Revocation, or Non-Consummation

     If the Debtors revoke or withdraw the Plan prior to the Effective Date, or if the Confirmation Date or the
Effective Date does not occur, the Plan, any settlement or compromise embodied in the Plan (including the fixing or
limiting to an amount certain any Claim or Equity Interest or Class of Claims or Equity Interests), the assumption or
rejection of executory contracts, unexpired leases, insurance policies or benefit plans effected by the Plan, any
release, exculpation or indemnification provided for in the Plan, and any document or agreement executed pursuant
to the Plan shall be null and void. In such event, nothing contained in the Plan or herein, and no acts taken in
preparation for consummation of the Plan, shall be deemed to constitute a waiver or release of any Claims by or
against or Equity Interests in the Debtors or any other Person, to prejudice in any manner the rights of the Debtors or
any Person in any further proceedings involving the Debtors, or to constitute an admission of any sort by the
Debtors or any other Person.

                                        Effect Of Confirmation Of the Plan

Continued Corporate Existence

     The Debtors, as Reorganized Debtors, shall continue to exist after the Effective Date with all of the powers of a
corporation, partnership or limited liability company, as the case may be, under the laws of the State of Delaware or
their state of incorporation or formation and without prejudice to any right to alter or terminate such existence
(whether by merger or otherwise) under such applicable state law, except as such rights may be limited and
conditioned by the Plan and the documents and instruments executed and delivered in connection therewith. In
addition, the Reorganized Debtors may operate their businesses free of any restrictions imposed by the Bankruptcy
Code, the Bankruptcy Rules or by the Court, subject only to the terms and conditions of the Plan, the Confirmation
Order, and the documents and instruments executed and delivered in connection with the Plan, including without
limitation, the documents and instruments included in the Plan Supplement. Notwithstanding the foregoing, on or as
of the Effective Date or as soon as practicable thereafter and without need for any further action, the Reorganized
Debtors (with the consent of the Requisite Participating Lenders) may (a) cause any or all of the Reorganized
Debtors or Foreign Affiliates to be merged into one or more of the Reorganized Debtors or Foreign Affiliates,
dissolved or otherwise consolidated; (b) cause the transfer of assets between or among the Reorganized Debtors or
Foreign Affiliates; or (c) engage in any other transaction in furtherance of the Plan.

Releases of Guarantees and Collateral

     Upon the Effective Date, the First Lien Agents and the 10.5% Indenture Trustee shall release any and all
collateral and guarantees with respect to the First Lien Credit Facility and the 10.5% Notes.

Dissolution of Creditors’ Committee

      The Creditors’ Committee (if one is appointed) shall continue in existence until the Effective Date and shall
continue to exercise those powers and perform those duties specified in section 1103 of the Bankruptcy Code and
shall perform such other duties as it may have been assigned by the Court prior to the Effective Date. On the
Effective Date, the Creditors’ Committee shall be dissolved and its members shall be deemed released of all of their
duties, responsibilities and obligations in connection with the Chapter 11 Cases or the Plan and its implementation,
and the retention or employment of the Creditors’ Committee’s attorneys, financial advisors, and other agents, if
any, shall terminate except that the Creditors’ Committee shall continue to have standing and a right to be heard
with respect to (i) all Fee Claims, (ii) any appeals of the Confirmation Order, (iii) any adversary proceedings
pending as of the Effective Date to which it may be a party and (iv) post-Effective Date modifications to the Plan.


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Vesting of Property

     Except as otherwise expressly provided in the Plan, on the Effective Date, or as soon as practicable thereafter,
the Reorganized Debtors shall be vested with all of the property of the Debtors’ estates free and clear of all Claims,
Liens, encumbrances, charges and other interests of creditors and equity security holders.

Discharge of the Debtors

     Except as otherwise provided in the Plan, the rights afforded in the Plan, and the treatment of all Claims
and Equity Interests under the Plan shall be in exchange for and in complete satisfaction, discharge, and
release of all Claims or Equity Interests of any kind or nature whatsoever, whether known or unknown,
including any interest accrued or expenses incurred thereon, against or in the Debtors, the Reorganized
Debtors or any of their respective assets or properties, arising prior to the Effective Date. Except as
otherwise expressly specified in the Plan, the Confirmation Order shall act as of the Effective Date as a
discharge of all debts of, Claims against, Liens on, and Equity Interests in the Debtors, their respective assets
and properties, arising at any time before the Effective Date, regardless of whether a proof of Claim or
Equity Interest with respect thereto was filed, whether the Claim or Equity Interest is Allowed, or whether
the holder thereof votes to accept the Plan or is entitled to receive a Distribution thereunder. Except as
otherwise expressly specified in the Plan, after the Effective Date, any holder of such discharged Claim or
Equity Interest shall be precluded from asserting any other or further Claim against, or Equity Interest in,
the Debtors, the Reorganized Debtors, or any of their respective assets or properties, based on any document,
instrument, act, omission, transaction, or other activity of any kind or nature that occurred before the
Effective Date. Notwithstanding any provision in the Plan to the contrary, the distribution on account, and
discharge of Allowed 10.5% Notes Claims will not be dependent on the surrender or cancellation of the
10.5% Notes. The 10.5% Indenture Trustee will send such notices and take such other actions as are
reasonably requested by the Debtors to effect the cancellation of the 10.5% Notes held by Cede & Co.

Injunction

     Except as otherwise expressly provided in the Plan, the Confirmation Order, the Plan Supplement
Documents, or a separate order of the Court, all Persons who have held, hold, or may hold Claims against, or
Equity Interests in, the Debtors that arose before or were held as of the Effective Date, shall be permanently
enjoined, on and after the Effective Date, from (a) commencing or continuing in any manner any action or
other proceeding of any kind against the Debtors or the Reorganized Debtors with respect to any such Claim
or Equity Interest, (b) the enforcement, attachment, collection, or recovery by any manner or means of any
judgment, award, decree, or order against the Debtors or the Reorganized Debtors on account of any such
Claim or Equity Interest, (c) creating, perfecting, or enforcing any encumbrance of any kind against the
Debtors or the Reorganized Debtors or against the property or interests in property of the Debtors or the
Reorganized Debtors on account of any such Claim or Equity Interest and (d) asserting any right of setoff or
subrogation of any kind against any obligation due from the Debtors or the Reorganized Debtors or against
the property or interests in property of the Debtors or the Reorganized Debtors on account of any such Claim
or Equity Interest. Such injunction shall extend to successors of the Debtors (including, without limitation,
the Reorganized Debtors) and their respective properties and interests in property.

Preservation of Causes of Action

      The Reorganized Debtors shall retain all rights and all Causes of Action accruing to them and their estates,
including but not limited to, those arising under sections 505, 544, 547, 548, 549, 550, 551, 553 and 1123(b)(3)(B)
of the Bankruptcy Code, including all tax setoff and refund rights arising under section 505, other than as expressly
provided below. Except as expressly provided in the Plan or the Confirmation Order, nothing contained in the Plan
or the Confirmation Order shall be deemed to be a waiver or relinquishment of any such rights or Causes of Action.
Nothing contained in the Plan or the Confirmation Order shall be deemed a waiver or relinquishment of any Claim,
Cause of Action, right of setoff, or other legal or equitable defense that the Debtors have that is not specifically
waived or relinquished by the Plan. The Reorganized Debtors shall have, retain, reserve and be entitled to assert all
such Claims, Causes of Action, rights of setoff and other legal or equitable defenses that the Debtors have as fully as
if the Chapter 11 Cases had not been commenced, and all of the Reorganized Debtors’ legal and equitable rights

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respecting any Claim that are not specifically waived or relinquished by the Plan may be asserted after the Effective
Date to the same extent as if the Chapter 11 Cases had not been commenced.

Votes Solicited in Good Faith

      The Debtors have, and upon confirmation of the Plan shall be deemed to have, solicited acceptances of the Plan
in good faith and in compliance with the applicable provisions of the Bankruptcy Code. The Debtors (and each of
their respective affiliates, agents, directors, officers, members, employees, advisors and attorneys) have participated
in good faith and in compliance with the applicable provisions of the Bankruptcy Code in connection with the
Distributions contemplated and therefore have not been, and on account thereof will not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan
or the Distributions contemplated thereunder.

Mutual Releases

      On the Effective Date, (a) the Debtors and any non-Debtor guarantors under the First Lien Credit
Agreement and the 10.5% Notes Indenture, (b) the Senior Creditors in their capacity as a First Lien Bank
Lender and/or a Bondholder, as applicable, (c) the members of the Creditors’ Committee (if any), (d) the
DIP Lenders and DIP Agents, (e) the First Lien Agents, (f) the 10.5% Indenture Trustee, (g) the Existing
Equity Holders and (h) each of the respective current and former direct and indirect equity holders,
members, partners, subsidiaries, affiliates, funds, managers, managing members, officers, directors,
employees, advisors, principals, attorneys, professionals, accountants, investment bankers, consultants,
agents, and other representatives (including their respective equity holders, members, partners, subsidiaries,
affiliates, funds, managers, managing members, officers, directors, employees, advisors, principals, attorneys,
professionals, accountants, investment bankers, consultants, agents, and other representatives) and other
professionals of the parties listed in clauses (a) through (g), including the Informal Creditor Group
Professionals, in each case, in their respective capacities as such, (collectively clauses (a) through (g) being the
“Released Parties,” and each a “Released Party”) shall be deemed to and hereby unconditionally release and
irrevocably discharge each other from any and all claims, obligations, suits, judgments, damages, rights,
Causes of Action and liabilities whatsoever, whether known or unknown, foreseen or unforeseen, existing or
hereafter arising, in law, equity or otherwise, based in whole or in part on any act, omission, transaction or
occurrence from the beginning of time through the Effective Date except that (i) no Released Party shall be
released from any act or omission that constitutes gross negligence, fraud or willful misconduct, (ii) the
foregoing release shall not apply to (a) any obligations under existing contracts and other agreements
between any of the Released Parties that are not being terminated, extinguished or cancelled pursuant to, in
connection with, or contemplated by, the Plan and (b) any obligations arising under any contract or
agreement entered into between any of the Released Parties pursuant to, in connection with, or contemplated
by, the Plan.

Releases by Non-Debtors

    On and as of the Effective Date, all Persons who directly or indirectly have held, hold or may hold Claims
or Equity Interests and do not, on their Ballots, opt out of providing the releases contemplated by this section,
shall be deemed, by virtue of their treatment contemplated under the Plan, to have forever released and
covenanted with the Reorganized Debtors and the other Released Parties not to (y) sue or otherwise seek
recovery from any of the Reorganized Debtors or any other Released Party on account of any Claims or
Equity Interests, including but not limited to any claim based upon tort, breach of contract, violations of
federal, state or foreign securities laws or otherwise, based upon any act, occurrence, or failure to act from
the beginning of time through the Effective Date in any way relating to the Debtors or their businesses and
affairs or (z) assert against any of the Reorganized Debtors or any other Released Party any claim, obligation,
right, Cause of Action or liability that any holder of Claims or Equity Interests may be entitled to assert,
whether known or unknown, foreseen or unforeseen, existing or hereafter arising, based in whole or in part
on any act or omission, transaction, or occurrence from the beginning of time through the Effective Date in
any way relating to the Debtors, the Restructuring Support Agreement, the Chapter 11 Cases, or the Plan;
provided, however, that (i) none of the Released Parties shall be released from any act or omission that
constitutes gross negligence, fraud or willful misconduct, (ii) the foregoing release shall not apply to (a) any

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obligations under existing contracts and other agreements between any of the Released Parties that are not
being terminated, extinguished or cancelled pursuant to, in connection with, or contemplated by, the Plan
and (b) any obligations arising under any contract or agreement entered into between any of the Released
Parties pursuant to, in connection with, or contemplated by, the Plan, and (iii) the foregoing release shall not
be construed to prohibit a party in interest from seeking to enforce the terms of the Plan or any contract or
agreement entered into pursuant to, in connection with, or contemplated by, the Plan. Notwithstanding
anything to the contrary in the Plan, the releases of the Released Parties shall extend only to claims arising
against such Released Parties in their capacities as parties in interest in the Chapter 11 Cases.
Notwithstanding anything to the contrary in the Plan, to the extent a holder of a Claim or Equity Interest
elects on its Ballot not to grant the releases of the Released Parties, such holder of a Claim or Equity Interest
will not be deemed to be a Released Party to the extent it would have otherwise qualified as such.

Exculpation

    Exculpation and Limitation of Liability

      The Debtors, the Reorganized Debtors and the other Released Parties (i) shall have no liability
whatsoever to any holder or purported holder of a Claim, or Equity Interest for any act or omission in
connection with, or arising out of, the Plan, the Disclosure Statement, the Restructuring Support Agreement,
the negotiation of the Plan and the Restructuring Support Agreement, the negotiation of the Plan Supplement
Documents, the Exit Facility, the pursuit of approval of the Disclosure Statement or the solicitation of votes
for confirmation of the Plan, the Chapter 11 Cases, the consummation of the Plan, the administration of the
Plan or the property to be distributed under the Plan, or any transaction contemplated by the Plan, the
Restructuring Support Agreement or Disclosure Statement or in furtherance thereof except for any act or
omission that constitutes fraud, willful misconduct or gross negligence as determined by a Final Order, and
(ii) in all respects, shall be entitled to rely upon the advice of counsel with respect to their duties and
responsibilities under or in connection with the Plan. This exculpation shall be in addition to, and not in
limitation of, all other releases, indemnities, exculpations and any other applicable law or rules protecting
such Released Parties from liability.

    Limitation of Governmental Releases

     Notwithstanding Articles VIII.J and VIII.K.1 of the Plan, the Plan shall not release, discharge, or
exculpate any non-Debtor party from any debt owed to the United States Government ( the “Government”)
and/or its agencies, including the Pension Benefit Guaranty Corporation (the “PBGC”), or from any liability
arising under the Internal Revenue Code, the Employee Retirement Income Security Act of 1974, as amended
(“ERISA”), or the environmental laws, securities laws or criminal laws of the United States. In addition,
notwithstanding Articles VIII.J and VIII.K.1 of the Plan, the Plan shall not enjoin or prevent the
Government from collecting any such liability from any such non-Debtor party under the provisions of
applicable law.

Term of Bankruptcy Injunction or Stays

     All injunctions or stays provided for in the Chapter 11 Cases under sections 105 or 362 of the Bankruptcy
Code, or otherwise, and in existence on the Confirmation Date, shall remain in full force and effect until the
Effective Date.

Preservation of Insurance

    Limitations on Amounts to Be Distributed to Holders of Allowed Insured Claims

     Distributions under the Plan to each holder of an Allowed Claim that is an Insured Claim shall be in accordance
with the treatment provided under the Plan for the Class in which such Allowed Claim is classified, but solely to the
extent that such Allowed Claim is not satisfied from proceeds payable to the holder thereof under any pertinent
insurance policies and applicable law. Nothing in Article VIII.M.1 of the Plan shall constitute a waiver of any


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claims, obligations, suits, judgments, damages, demands, debts, rights, causes of action or liabilities that any Person
may hold against any other Person, including the Debtors’ insurance carriers.

     Reinstatement and Continuation of Insurance Policies

     Unless otherwise assumed during the pendency of the Chapter 11 Cases, from and after the Effective Date, each
of the Debtors’ insurance policies in existence on and as of the Effective Date shall be reinstated and continued in
accordance with its terms and, to the extent applicable, shall be deemed assumed by the applicable Reorganized
Debtor pursuant to section 365 of the Bankruptcy Code.

     The Debtors’ discharge and release from all Claims and Equity Interests, under the Plan, shall not diminish or
impair the enforceability of any insurance policy that may cover Claims against the Debtors, the Reorganized
Debtors (including, without limitation, its officers and directors) or any other person or entity. Notwithstanding any
other provision of the Plan or the Confirmation Order, nothing in the Plan shall (i) impair (w) the right of any insurer
to defend against any claim asserted against such insurer, (x) an insurer’s status as a secured creditor to the extent
applicable under the terms of the Plan, including the right to recover from any Collateral (in accordance with the
applicable insurance policy), (y) an insurer’s right to draw on third-party letters of credit (in accordance with the
terms of the applicable insurance policy and letter of credit) or (z) any insurer’s right of setoff pursuant to section
553 of the Bankruptcy Code to the extent applicable and/or (ii) affect an insurer’s right to seek arbitration of
disputes between the Debtors and such insurer to the extent provided for under the terms of the applicable insurance
agreement.

Officers’ and Directors’ Indemnification Rights and Insurance

     Notwithstanding any other provisions of the Plan, the obligations of the Debtors to indemnify their directors,
officers, managers, and employees against any obligations, liabilities, costs or expenses pursuant to the articles of
incorporation, bylaws, partnership agreements or limited liability company operating agreements of the Debtors, as
the case may be, applicable state law, specific agreement, or any combination of the foregoing, shall survive the
Effective Date in all respects.

                                    Executory Contracts And Unexpired Leases

Assumption and Rejection of Executory Contracts and Unexpired Leases

    Except as otherwise provided in the Plan, or in any contract, instrument, release, indenture, or other agreement
or document entered into in connection with the Plan, as of the Effective Date, the Debtors shall be deemed to have
assumed each executory contract and unexpired lease to which they are party, unless such contract or lease (i) was
previously assumed or rejected by the Debtors, (ii) previously expired or terminated pursuant to its terms, (iii) is the
subject of a motion to reject filed by the Debtors on or before the Confirmation Date, or (iv) is set forth in a
schedule, as an executory contract or unexpired lease to be rejected, if any, filed by the Debtors as part of the Plan
Supplement. The Confirmation Order shall constitute an order of the Court under sections 365 and 1123(b) of the
Bankruptcy Code approving the contract and lease assumptions or rejections described above, as of the Effective
Date. For the avoidance of doubt, as described herein, the forgoing does not apply to (x) benefit plans, which are
specifically dealt with in Article XII of the Plan, or (y) insurance policies, which are specifically dealt with in
Article VIII.M of the Plan.

          Each executory contract and unexpired lease that is assumed and relates to the use, ability to acquire, or
occupancy of real property shall include (a) all modifications, amendments, supplements, restatements, or other
agreements made directly or indirectly by any agreement, instrument or other document that in any manner affects
such executory contract or unexpired lease and (b) all executory contracts or unexpired leases appurtenant to the
premises, including all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal,
powers, uses, usufructs, reciprocal easement agreements, vaults, tunnel or bridge agreements or franchises, and any
other interests in real estate or rights in rem related to such premises, unless any of the foregoing agreements have
been rejected pursuant to an order of the Court.



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Cure

    Any monetary amounts by which any executory contract or unexpired lease to be assumed under the Plan is in
default shall be satisfied, under section 365(b)(1) of the Bankruptcy Code, by the Reorganized Debtors upon
assumption thereof or as soon as practicable thereafter. If there is a dispute regarding (i) the nature or amount of any
cure, (ii) the ability of the Debtors or any assignee to provide “adequate assurance of future performance” (within
the meaning of section 365 of the Bankruptcy Code) under the contract or lease to be assumed or (iii) any other
matter pertaining to assumption, any cure shall occur following the entry of a Final Order resolving the dispute and
approving the assumption or assumption and assignment, as applicable.

Rejection Damage Claims

      All Claims for damages arising from the rejection of executory contracts or unexpired leases must be served
upon the Debtors and their counsel within thirty (30) days after the date of entry of an order of the Court approving
such rejection. Any Claims not filed within such time shall be forever barred from assertion against the Debtors,
their respective estates and the Reorganized Debtors and their respective property. All Allowed Claims arising from
the rejection of executory contracts or unexpired leases shall be treated as Class 5 –General Unsecured Claims.

                                                    Benefit Plans

     As, and subject to the occurrence, of the Effective Date, all employee compensation and benefit plans, policies
and programs of the Debtors applicable generally to their employees, including agreements and programs subject to
section 1114 of the Bankruptcy Code, as in effect on the Effective Date, including, without limitation, all savings
plans, retirement plans, health care plans, disability plans, severance benefit plans, incentive plans, and life,
accidental death, and dismemberment insurance plans and workers’ compensation programs, shall be deemed to be,
and shall be treated as though they are, executory contracts that are assumed under the Plan, and the Debtors’
obligations under such agreements and programs shall survive the Effective Date of the Plan, without prejudice to
the Reorganized Debtors’ rights under applicable non-bankruptcy law to modify, amend, or terminate the foregoing
arrangements, except for (i) such executory contracts or plans specifically rejected pursuant to the Plan (to the extent
such rejection does not violate section 1114 of the Bankruptcy Code) and (ii) such executory contracts or plans that
have previously been terminated or rejected, pursuant to a Final Order, or specifically waived by the beneficiaries of
such plans, contracts or programs.

     The Debtors and the Reorganized Debtors, as the case may be, will continue to be the contributing sponsors of
all pension plans which are defined as benefit pension plans by the PBGC under Title IV of ERISA. The
Confirmation Order shall provide that (i) such pension plans are subject to minimum funding requirements of
ERISA and section 412 of the Internal Revenue Code, (ii) no provision of the Plan, the Confirmation Order, or
section 1141 of the Bankruptcy Code, shall, or shall be construed to, discharge, release or relieve the Debtors or any
other party, in any capacity, from any liability with respect to such pension plans under ERISA or under Internal
Revenue Code section 412 and (iii) neither the PBGC nor such pension plans shall be enjoined from enforcing such
liability as a result of the Plan’s provisions for satisfaction, release and discharge of Claims.




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                                       Summary of Other Provisions of Plan

Modification of the Plan

    Pre-Confirmation Modifications

     The Debtors may, with the written consent of the Requisite Participating Lenders, amend, modify or
supplement the Plan before the Confirmation Date as provided for in section 1127 of the Bankruptcy Code;
provided, however, that with respect to the treatment of Senior Creditors, the prior written consent of each member
of the Informal Creditor Group shall be required.

    Post-Confirmation Immaterial Modifications

    After the Confirmation Date, the Debtors may, with the written consent of the Requisite Participating Lenders,
and with the approval of the Court, and without notice to all holders of Claims or Equity Interests, insofar as it does
not materially and adversely affect the holders of Claims or Equity Interests, correct any defect, omission or
inconsistency in the Plan in such manner and to such extent as may be necessary to expedite consummation of the
Plan; provided, however, that with respect to the treatment of Senior Creditors, the prior written consent of each
member of the Informal Creditor Group shall be required

    Post-Confirmation Material Modifications

     After the Confirmation Date, the Debtors may, with the written consent of the Requisite Participating Lenders,
alter, amend or modify the Plan in a manner which, as determined by the Court, materially and adversely affects
holders of Claims or Equity Interests; provided that such alteration, amendment or modification is made after a
hearing as provided in section 1127 of the Bankruptcy Code; provided further that with respect to the treatment of
Senior Creditors, the prior written consent of each member of the Informal Creditor Group shall be required.

    Waiver of Bankruptcy Rule 3020(e) and Federal Rule of Civil Procedure 62(a)

     The Debtors may, with the consent of the Requisite Participating Lenders, request that the Confirmation Order
include (a) a finding that Bankruptcy Rule 3020(e) and Fed. R. Civ. P. 62(a) shall not apply to the Confirmation
Order and (b) authorization for the Debtors to consummate the Plan immediately after entry of the Confirmation
Order.

                                             The Confirmation Hearing

    If the Debtors commence the Chapter 11 Cases, the Court would schedule a hearing on the confirmation of the
Plan. At the Confirmation Hearing, the Court would consider whether the Plan satisfies the various requirements of
the Bankruptcy Code, including whether the Plan is feasible and whether the Plan is in the best interests of the
holders of Claims against and Equity Interests in the Debtors. At that time, the Debtors would submit a report to the
Court concerning the votes for acceptance or rejection of the Plan by the parties entitled to vote thereon.

    Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to confirmation of the
Plan. Any objection to confirmation of the Plan would have to be made in writing and filed with the Court and
served on all required parties by the objection deadlines set by the Court. Unless an objection to confirmation is
timely served and filed, it may not be considered by the Court.

                                                    Confirmation

     At the Confirmation Hearing, the Court could confirm the Plan only if all of the requirements of section 1129 of
the Bankruptcy Code are met. Among the requirements for confirmation of a Plan are that the plan is (i) accepted
by all impaired classes of claims and equity interests or, if rejected by an impaired class, that the plan “does not
discriminate unfairly” and is “fair and equitable” as to such class, (ii) feasible and (iii) in the “best interests” of
creditors and interest holders that are impaired under the Plan.


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Confirmation Without Acceptance of All Impaired Classes: The “Cramdown” Alternative

    Because Class 9 (Other Holdings Equity Interests) is deemed to reject the Plan, the Debtors will seek
confirmation of the Plan pursuant to the “cramdown” provisions of the Bankruptcy Code.

    Specifically, Bankruptcy Code section 1129(b) provides that a plan can be confirmed even if the plan is not
accepted by all impaired classes, as long as at least one impaired class of claims has accepted it. A bankruptcy court
may confirm a plan at the request of the debtors if the plan “does not discriminate unfairly” and is “fair and
equitable” as to each impaired class that has not accepted the Plan.

    A plan does not discriminate unfairly within the meaning of the Bankruptcy Code if a dissenting class is treated
equally with respect to other classes of equal rank.

     A plan is fair and equitable as to a class of secured claims that rejects a plan if the plan provides either: (a) each
impaired creditor retains its liens securing its secured claim and receives on account of its secured claim deferred
cash payments having a present value equal to the amount of its allowed secured claim; (b) each impaired secured
creditor realizes the “indubitable equivalent” of its allowed secured claim or (c) the property securing the claim is
sold free and clear of liens with such liens to attach to the proceeds of the sale and the treatment of such liens on
proceeds to be as provided in clause (a) or (b) of this subparagraph.

     A plan is fair and equitable as to a class of unsecured claims that rejects a plan if the plan provides (a) for each
holder of a claim included in the rejecting class to receive or retain on account of that claim property that has a
value, as of the effective date of the plan, equal to the allowed amount of such claim; or (b) that the holder of any
claim or interest that is junior to the claims of such class will not receive or retain on account of such junior claim or
interest any property at all.

     A plan is fair and equitable as to a class of equity interests that rejects a plan if the plan provides (a) that each
holder of an interest included in the rejecting class receive or retain on account of that interest property that has a
value, as of the effective date of the plan, equal to the greatest of the allowed amount of any fixed liquidation
preference to which such holder is entitled, any fixed redemption price to which such holder is entitled, or the value
of such interest; or (b) that the holder of any interest that is junior to the interests of such class will not receive or
retain any property at all on account of such junior interest under the plan.

     As set forth in “Reorganization Valuation Analysis” of the Disclosure Statement, the valuation of the Debtors is
such that, on an absolute priority basis, holders of Equity Interests in Classes 8 and 9 would not be entitled to receive
or retain any recovery under the Plan. Accordingly, the Debtors believe that the Plan can be confirmed over the
objection of such Equity Interests under section 1129(b).

Feasibility of the Plan

     The Bankruptcy Code requires that the Court determine that confirmation of the Plan is not likely to be
followed by liquidation or the need for further financial reorganization of the Debtors. For purposes of showing that
the Plan meets this feasibility standard, the Debtors have analyzed the ability of the Reorganized Debtors to meet
their obligations under the Plan and retain sufficient liquidity and capital resources to conduct their business.

     The Debtors believe that with a deleveraged capital structure and the issuance of the New Common Stock, the
Debtors will be able to meet their financial projections set forth in Appendix B attached hereto (the “Projections”).
Based on the terms of the Plan, (it is assumed that the Effective Date will occur approximately 60 days following the
Petition Date) at emergence the Reorganized Debtors shall have been released from more than $3 billion in debt
obligations.

     Holders of Claims against and Equity Interests in the Debtors are advised, however, that the Projections were
not prepared with a view toward compliance with the published guidelines of the American Institute of Certified
Public Accountants or any other regulatory or professional agency or body or generally accepted accounting
principles. FURTHERMORE, THE DEBTORS’ INDEPENDENT AUDITORS HAVE NOT COMPILED,


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EXAMINED OR PERFORMED ANY OTHER PROCEDURES ON THE PROJECTIONS AND ACCORDINGLY
DO NOT EXPRESS ANY OPINION OR ANY OTHER FORM OF ASSURANCE WITH RESPECT THERETO
AND ASSUME NO RESPONSIBILITY FOR THE PROJECTIONS.

     In addition to the assumptions footnoted in the Projections themselves, the Projections also assume that (i) the
Plan will be confirmed and consummated in accordance with its terms, (ii) there will be no material adverse change
in legislation or regulations, or the administration thereof, including environmental legislation or regulations that
will have an unexpected effect on the operations of the Reorganized Debtors, (iii) there will be no change in United
States generally accepted accounting principles that will have a material effect on the reported financial results of
the Reorganized Debtors, and (iv) there will be no material contingent or unliquidated litigation or indemnity claims
applicable to the Reorganized Debtors. To the extent that the assumptions inherent in the Projections are based upon
future business decisions and objectives, they are subject to change. In addition, although they are presented with
numerical specificity and considered reasonable by the Debtors when taken as a whole, the assumptions and
estimates underlying the Projections are subject to significant business, economic and competitive uncertainties and
contingencies, many of which will be beyond the control of the Reorganized Debtors.

     Accordingly, the Projections are only estimates that are necessarily speculative in nature. It can be expected
that some or all of the assumptions in the Projections will not be realized and that actual results will vary from the
Projections, which variations may be material and are likely to increase over time. The Projections should therefore
not be regarded as a representation by the Debtors or any other person that the results set forth in the Projections will
be achieved. In light of the foregoing, readers are cautioned not to place undue reliance on the Projections. The
Projections should be read together with the information in the sections of this Disclosure Statement entitled “Risk
Factors” and “The Plan — Risks Associated with Plan” which set forth important factors that could cause actual
results to differ from those in the Projections.

     The Debtors do not intend to update or otherwise revise the Projections, including any revisions to reflect events
or circumstances existing or arising after the date of this Disclosure Statement or to reflect the occurrence of
unanticipated events, even if any or all of the underlying assumptions do not come to fruition. Furthermore, the
Debtors do not intend to update or revise the Projections to reflect changes in general economic or industry
conditions. Whether actual results will conform to the Projections is subject to a number of risks and uncertainties,
including:

    •    the high degree of competition in the Debtors’ business;

    •    the susceptibility of the Debtors’ business to general economic conditions;

    •    discovery of unknown contingent liabilities;

    •    the interest rate environment;

    •    the ability to retain client base; and

    •    the effect of tightened liquidity markets on the Debtors and their customers.

Reorganization Valuation Analysis

Overview

     The Debtors have been advised by Blackstone Advisory Partners L.P. (“Blackstone”), with respect to the
reorganization enterprise value of the Reorganized Debtors on a going concern basis. Blackstone has determined the
estimated range of reorganization enterprise value of the Reorganized Debtors, excluding cash on hand, to be
approximately $1.6 billion to $1.9 billion (with a mid-point estimate of approximately $1.75 billion) as of an
assumed Effective Date of June 30, 2012. The reorganization valuation analysis includes all the Debtor entities as
well as non-Debtor domestic entities including HM Receivables Co. II, LLC, HMH Intermediate Holdings
(Delaware), LLC, Houghton Mifflin Harcourt Foundation Inc. and Foundation for Marine Animal Husbandry, Inc.


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The non-Debtor domestic entities had no revenue or EBITDA for FY 2011. In addition, there are real estate assets
with de minimus market value at the non-Debtor domestic entities. The analysis also includes the assets of the non-
Debtor Foreign Affiliates including HMH Publishing Company, HMH Consumer Company, HMH Education
Company, HMH IP Company, Riverdeep UK Limited, Houghton Mifflin Harcourt (Asia) Pte. Ltd. and Houghton
Mifflin PLC, which are all guarantors under the First Lien Credit Agreement and 10.5% Notes Indenture, and HMH
Publishing Company (IOM) Unlimited – the assets of these foreign non-Debtor entities are considered immaterial
relative to the total value of the estate and, as such, are not being provided separately.

     The estimated range of the reorganization enterprise value of the Reorganized Debtors, as of an assumed
Effective Date of the “Valuation Date”, reflects work performed by Blackstone on the basis of information in
respect of the business and assets of the Debtors provided to Blackstone as of March 25, 2012. Changes in
facts and circumstances between the date hereof and the Effective Date, including, without limitation, a delay
in the Effective Date, may result in changes to the reorganization enterprise value of the Reorganized
Debtors. Blackstone will consider any such changes in facts and circumstances and may modify its estimate
of the reorganization enterprise value prior to the Effective Date but will have no obligation to do so or to file
such update with the court.

     The foregoing estimates of the reorganization enterprise value of the Reorganized Debtors is based on a number
of assumptions, including a successful reorganization of the Debtors’ business and finances in a timely manner, the
successful implementation of the Reorganized Debtors’ business plan (the “Business Plan”), the achievement of the
forecasts reflected in the Business Plan projections, access to adequate exit financing, continuity of a qualified
management team, market conditions through the period covered by the Projections, and the Plan becoming
effective in accordance with the estimates and other assumptions discussed below.

     With respect to the Debtor’s projected financial information (the “Projections”), which were prepared by the
management of the Debtors, and are included as Appendix B to this Disclosure Statement, Blackstone has assumed
that the Projections have been reasonably prepared in good faith and on a basis reflecting the best currently available
estimates and judgments of the management of the Debtors as to the future operating and financial performance of
the Reorganized Debtors. Blackstone’s estimate of a range of reorganization enterprise values assumes that
operating results projected by the Debtors will be achieved by the Reorganized Debtors in all material respects,
including revenue growth and improvements in operating margins, earnings and cash flow. Certain of the results
forecast by the management of the Debtors may be materially better than the recent historical results of operations of
the Debtors. The estimate of reorganization enterprise values is dependent upon the Reorganized Debtors
performing at the levels set forth in the Projections. If the business performs at levels above or below those set forth
in the Projections, such performance may have a material impact on the Projections and on the estimated range of
values derived therefrom.

     In estimating the range of the reorganization enterprise value of the Reorganized Debtors, Blackstone:
(1) reviewed certain historical financial information of the Debtors beginning in 2010; (2) reviewed certain
internal financial and operating data of the Debtors, including the Projections, which were prepared and
provided to Blackstone by the Debtors’ management and which relate to the Debtors’ business and its
prospects; (3) met with certain members of management of the Debtors to discuss the Debtors’ operations
and future prospects; (4) reviewed publicly available financial data and considered the market value of public
companies that Blackstone deemed generally comparable to the operating businesses of the Debtors; (5)
considered relevant precedent transactions in the industry most comparable to the Debtors’ operating
businesses; (6) considered certain economic and industry information relevant to the operating businesses;
and (7) conducted such other studies, analyses, inquiries, and investigations as it deemed appropriate.
Blackstone assumed and relied on the accuracy and completeness of all financial and other information
furnished to it by the Debtors, as well as publicly available information.

     Blackstone did not independently verify management’s Projections in connection with such estimates of
the reorganization enterprise value of the Reorganized Debtors, and no independent valuations or appraisals
of the Debtors were sought or obtained in connection herewith.




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     Estimates of the reorganization enterprise value of the Reorganized Debtors do not purport to be
appraisals or necessarily reflect the values that may be realized if assets are sold as a going concern, in
liquidation, or otherwise.

     In the case of the Reorganized Debtors, the estimates of the reorganization enterprise value prepared by
Blackstone represent the hypothetical reorganization enterprise value of the Reorganized Debtors. The
reorganization enterprise value includes all the Debtor entities as well as non-Debtor domestic entities
including HM Receivables Co. II, LLC, HMH Intermediate Holdings (Delaware), LLC, Houghton Mifflin
Harcourt Foundation Inc. and Foundation for Marine Animal Husbandry, Inc. The non-Debtor domestic
entities had no revenue or EBITDA for FY 2011. In addition, there are real estate assets with de minimus
market value at the non-Debtor domestic entities. The analysis also includes the assets of the non-Debtor
Foreign Affiliates including HMH Publishing Company, HMH Consumer Company, HMH Education
Company, HMH IP Company, Riverdeep UK Limited, Houghton Mifflin Harcourt (Asia) Pte. Ltd. and
Houghton Mifflin PLC, which are all guarantors under the Secured Credit Agreement and 10.5% Notes
Indenture, and HMH Publishing Company (IOM) Unlimited – the assets of these foreign non-Debtor entities
are considered immaterial relative to the total value of the estate and, as such, are not being provided
separately. Such estimates reflect computations of the range of the estimated reorganization enterprise value
of the Reorganized Debtors through the application of various valuation techniques and do not purport to
reflect or constitute appraisals, liquidation values or estimates of the actual market value that may be realized
through the sale of any securities issued pursuant to the Plan, which may be significantly different than the
amounts set forth herein.

     The value of an operating business is subject to numerous uncertainties and contingencies which are
difficult to predict and will fluctuate with changes in factors affecting the financial condition and prospects of
such a business. As a result, the estimate of the ranges of the reorganization enterprise value of the
Reorganized Debtors set forth herein is not necessarily indicative of actual outcomes, which may be
significantly more or less favorable than those set forth herein. Because such estimates are inherently subject
to uncertainties, none of the Debtors, Blackstone, the Debtors’ other advisors or any other person assumes
responsibility for their accuracy. In addition, the valuation of newly issued Securities is subject to additional
uncertainties and contingencies, all of which are difficult to predict. Actual market prices of such securities
at issuance will depend upon, among other things, prevailing interest rates, consistent availability of willing
buyers and sellers, conditions in the financial markets, the anticipated initial securities holdings of prepetition
creditors, some of which may prefer to liquidate their investment rather than hold it on a long-term basis,
and other factors which generally influence the prices of securities. The valuation analysis does not consider
how the securities will or will not trade, given a lack of public market at emergence.

Valuation Methodology

     Blackstone performed a variety of analyses and considered a variety of factors in preparing the reorganization
enterprise value of the Reorganized Debtors. Blackstone primarily relied on a market multiples-based approach and
a discounted cash flow (“DCF”) approach. Blackstone made judgments as to the relative significance of each
analysis in determining the Debtors’ indicative reorganization enterprise value range. The valuation must be
considered as a whole, and selecting just one methodology or portions of the analyses, without considering the
analyses as a whole, could create a misleading or incomplete conclusion as to the Reorganized Debtors’
reorganization enterprise value.

    The following summary does not purport to be a complete description of the analyses and factors undertaken to
support Blackstone’s conclusions. The preparation of a valuation is a complex process involving various
determinations as to the most appropriate analyses and factors to consider, as well as the application of those
analyses and factors under the particular circumstances. As a result, the process involved in preparing a valuation is
more complex than the summary provided below.

     1. Market Multiples-Based Approach

    The market multiples-based approach incorporates analysis of (i) comparable public company trading multiples
and (ii) precedent transactions.

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    (i) Comparable Public Company Trading Multiples Analysis

     A comparable public company trading multiples analysis estimates value based on a comparison of the target
company’s financial statistics with the financial statistics of public companies that are similar to the target company.
It establishes a benchmark for asset valuation by deriving the value of “comparable” assets through a standardized
approach that uses a common variable such as revenues, earnings or cash flows. The analysis includes a comparison
of each company’s income statement, balance sheet and cash flow statement. In addition, each company’s
performance, profitability, margins, leverage and business trends are also examined. Based on these analyses, a
number of financial multiples and ratios are calculated to gauge each company’s relative performance and valuation.

     A key factor to this approach is the selection of companies with relatively similar business and operational
characteristics to the target company. Criteria for selecting comparable companies include, among other relevant
characteristics, similar lines of businesses, business risks, target market segments, growth prospects, maturity of
businesses, market presence, size and scale of operations. The selection of truly comparable companies is often
difficult and subject to interpretation. However, the underlying concept is to develop a premise for relative value,
which, when coupled with other approaches, presents a foundation for determining reorganization enterprise value.

      While calculating the current trading value for the comparable companies, Blackstone utilized two separate
methods. Blackstone analyzed the current enterprise values for the comparable companies as a multiple of historical
last twelve months and projected fiscal year end 2012 earnings before interest, taxes, depreciation and amortization
(“EBITDA”).

      Blackstone also analyzed the current enterprise values for the comparable companies as a multiple of historical
last twelve months and projected fiscal year end 2012 EBITDA less capital expenditures (“EBITDA less CapEx”).

   These multiples were then applied to the Debtors’ fiscal year end 2011 and 2012 forecasted EBITDA and
EBITDA less CapEx to determine a range of reorganization enterprise values.

    (ii) Precedent Transactions Analysis

     Precedent transactions analysis estimates value by examining publicly available information about recent
merger and acquisition transactions. An analysis of the disclosed purchase price as a multiple of various operating
statistics reveals industry acquisition multiples for companies in similar lines of businesses to the Debtors. These
transaction multiples are calculated based on the purchase price (including any debt assumed) paid to acquire
companies that are comparable to the Debtors. Blackstone specifically focused on prices paid as a multiple of
EBITDA in determining a range of values for the Debtors. These multiples were then applied to the Debtors’
EBITDA to determine reorganization enterprise values or value to a potential strategic buyer assuming the purchase
of the Debtors in a single transaction.

     Unlike the comparable public company analysis, the valuation in the precedent transactions methodology is
assumed to include a “control” premium, representing the purchase of a majority or control position in a company’s
assets. Thus, the precedent transactions methodology generally produces higher valuations than the comparable
public company analysis though timing and other factors sometimes offset this effect. Other factors that impact
value in the precedent transactions analysis include, but are not limited to, the following:

              1. The operating, financing and market environments and their attendant impact on an acquirers’
         ability to finance acquisitions;

             2. Circumstances surrounding a specific merger transaction, including the financial position of the
         acquisition targets and potential buyers, which may significantly impact the valuation of the transaction;
         and

             3. Perceived synergies and tax benefits that buyers can obtain and their willingness to pay for or
         share such synergies and benefits with the seller.



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     As with the comparable company analysis, because no acquisition used in any analysis is identical to any other
transaction, valuation conclusions cannot be based solely on quantitative results. The reasons for and circumstances
surrounding each acquisition transaction are specific to such transaction, and there are inherent differences between
the businesses, operations and prospects of each. Therefore, qualitative judgments must be made concerning the
differences between the characteristics of these transactions and other factors and issues that could affect the price
an acquirer is willing to pay in an acquisition. The number of completed transactions during a relevant timeframe
for which public data is available also limits this analysis.

    Blackstone considered the precedent transaction analysis to be less relevant than other methods in preparing the
reorganization enterprise value assessment of the Reorganized Debtors. Further, given limited disclosure with
respect to the selected transactions, Blackstone determined that there were too few recent data points available to
draw conclusions from the precedent transaction analysis.

     2. Discounted Cash Flow Approach

     The DCF valuation methodology assesses the value of an asset or business based on the present value of
expected future cash flows to be generated by that asset or business. The DCF methodology is a “forward looking”
approach that discounts the expected future cash flows by a theoretical or observed discount rate determined by
calculating the average cost of debt and equity for publicly traded companies that are similar to the Debtors. The
expected future cash flows have two components: the present value of the projected unlevered after-tax free cash
flows for a determined period and the present value of the terminal value of cash flows (representing firm value
beyond the time horizon of the Projections). Blackstone’s discounted cash flow valuation is based on a five and
one-half year fiscal year end projection of the Debtors’ operating results (2H2012E to FY2017E). Blackstone
discounted the projected cash flows using the Debtors’ estimated weighted average cost of capital, and calculated
the terminal value of the Debtors using both the EBITDA less CapEx multiples and the perpetual growth method.

     The DCF approach relies on a company’s ability to project future cash flows with some degree of accuracy.
Because the Projections reflect significant assumptions made by the Debtors’ management concerning anticipated
results, the assumptions and judgments used in the Projections may or may not prove correct and, therefore, no
assurance can be provided that projected results are attainable or will be realized. Blackstone cannot and does not
make any representations or warranties as to the accuracy or completeness of the Projections.

     To each of the comparable public company analysis and DCF analysis, Blackstone added in the present value of
tax attributes that it deemed to be unique to the Reorganized Debtors. Specifically, the Reorganized Debtors are
projected to shield taxes as a result of (i) net operating losses accumulated by the Reorganized Debtors and (ii)
earnings stripping associated with previous interest expense that was not previously deducted for tax purposes. The
present value of these tax benefits was calculated by applying the weighted average cost of capital for the Debtors to
tax payments that would be otherwise required over the projection period.

     The estimates of the reorganization enterprise value of the Reorganized Debtors determined by Blackstone
represent estimated reorganization enterprise values and do not reflect values that could be attainable in public or
private markets. The reorganization enterprise value includes all the Debtor entities as well as non-Debtor domestic
entities includes all the Debtor entities as well as non-Debtor domestic entities including HM Receivables Co. II,
LLC, HMH Intermediate Holdings (Delaware), LLC, Houghton Mifflin Harcourt Foundation Inc. and Foundation
for Marine Animal Husbandry, Inc. The non-Debtor domestic entities had no revenue or EBITDA for FY 2011. In
addition, there are real estate assets with de minimus market value at the non-Debtor domestic entities. The analysis
also includes the assets of the non-Debtor Foreign Affiliates including HMH Publishing Company, HMH Consumer
Company, HMH Education Company, HMH IP Company, Riverdeep UK Limited, Houghton Mifflin Harcourt
(Asia) Pte. Ltd. and Houghton Mifflin PLC, which are all guarantors under the First Lien Credit Agreement and
10.5% Notes Indenture, and HMH Publishing Company (IOM) Unlimited – the assets of these foreign non-Debtor
entities are considered immaterial relative to the total value of the estate and, as such, are not being provided
separately. The estimate of the range of the reorganization enterprise value of the Reorganized Debtors ascribed in
the analysis does not purport to be an estimate of the post-reorganized market trading value. Any such trading value
may be materially different from the estimate of the reorganization enterprise value range for the Reorganized
Debtors associated with the Blackstone’s valuation analysis.


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Best Interests Test

     With respect to each Impaired Class of Claims and Equity Interests, confirmation of the Plan requires that each
holder of a Claim or Equity Interest either (a) accept the Plan or (b) receive or retain under the Plan property of a
value, as of the Effective Date, that is not less than the value such holder would receive or retain if the Debtors were
liquidated under chapter 7 of the Bankruptcy Code. To calculate the probable distribution to holders of each
Impaired Class of Claims and Equity Interests if the Debtors were liquidated under chapter 7, the Court must first
determine the aggregate dollar amount that would be generated from the Debtors’ assets if their Chapter 11 Cases
were converted to chapter 7 cases under the Bankruptcy Code. This “liquidation value” would consist primarily of
the proceeds from a forced sale of the Debtors’ assets by a chapter 7 trustee.

     The amount of liquidation value available to unsecured creditors would be reduced by, first, the claims of
secured creditors to the extent of the value of their collateral, and, second, by the costs and expenses of liquidation,
as well as by other administrative expenses and costs of both the chapter 7 cases and chapter 11 cases. Costs of
liquidation under chapter 7 of the Bankruptcy Code would include the compensation of a trustee, as well as of
counsel and other professionals retained by the trustee, asset disposition expenses, all unpaid expenses incurred by
the Debtors in their Chapter 11 Cases (such as compensation of attorneys, financial advisors and accountants) that
are allowed in the chapter 7 cases, litigation costs, and claims arising from the operations of the Debtors during the
pendency of the Chapter 11 Cases. The liquidation itself would trigger certain Tax and Other Priority Claims
(collectively, “Priority Claims”) that otherwise would be due in the ordinary course of business. Those Priority
Claims would be paid in full from the liquidation proceeds before the balance would be made available to pay
General Unsecured Claims or to make any distribution in respect of equity interests. The liquidation would also
prompt the rejection of most, if not all, of the Debtors’ executory contracts and unexpired leases, thereby creating a
significant increase in General Unsecured Claims.

Liquidation Analysis

     In order to determine the amount of liquidation value available to creditors, the Debtors prepared a liquidation
analysis that provides an estimate of the proceeds that may be generated as a result of a hypothetical chapter 7
liquidation for the Debtors. While the Debtors believe that the assumptions underlying the Liquidation Analysis are
reasonable, it is possible that certain of those assumptions would not be realized in an actual liquidation. The
Liquidation Analysis is set forth as Appendix C to the Disclosure Statement.

     Notwithstanding the foregoing, the Debtors believe that any liquidation analysis with respect to the Debtors is
inherently speculative. The liquidation analysis for the Debtors necessarily contains estimates of the net proceeds
that would be received from a forced sale of assets and/or business units, as well as the amount of Claims that will
ultimately become Allowed Claims. The estimate of the amount of Allowed Claims set forth in the liquidation
analysis should not be relied on for any other purpose, including, without limitation, any determination of the value
of any distribution to be made on account of Allowed Claims under the Plan.

Application of the ‘Best Interests’ of Creditors Test to the Liquidation Analyses and the Valuation

     Under the Plan, with respect to Classes 3 and 8, it is impossible to determine with any specificity the value that
will be distributed to holders of such Claims and Existing Common Stock. This difficulty in estimating the value of
recoveries is due to the lack of any public market for the New Common Stock and the New Warrants.

     Notwithstanding the difficulty in quantifying recoveries to holders of Allowed Senior Creditor Claims and
Existing Common Stock in Classes 3 and 8, respectively with precision, the Debtors believe that the financial
disclosures and Projections contained herein imply a greater recovery to holders of Claims and Equity Interests in
Classes 3 and 8 than the recovery available in a chapter 7 liquidation. As set forth in the Liquidation Analysis,
holders of Allowed Claims in Class 3 are estimated to receive a recovery of 19% (low value) to 25% (high value) in
a chapter 7 liquidation, while holders of Existing Common Stock in Class 8 would not receive a recovery. See
Appendix B. In contrast, under the Plan, holders of Allowed Class 3 Claims will receive a 54.4% recovery and
holders of Class 8 Existing Common Stock would receive $12.25 million. See Appendix C. Therefore, holders of
such Claims and Existing Common Stock will receive substantially more under the Plan than in a liquidation.


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    The foregoing recoveries assume that New Common Stock is valued based on the mid-point of the equity value
range set forth in the section above titled “Reorganization Valuation Analysis.”

     Accordingly, the Debtors believe that the “best interests” test of section 1129 of the Bankruptcy Code is
satisfied because the Debtors believe that the members of each Impaired Class will receive greater or equal value
under the Plan than they would in a chapter 7 liquidation of the Debtors.

   Although the Debtors believe that the Plan meets the “best interests test” of section 1129(a)(7) of the
Bankruptcy Code, there can be no assurance that the Court will determine that the Plan meets this test. THESE
ESTIMATES OF VALUE ARE SUBJECT TO A NUMBER OF ASSUMPTIONS AND SIGNIFICANT
QUALIFYING CONDITIONS. ACTUAL VALUES AND RECOVERIES COULD VARY MATERIALLY
FROM THE ESTIMATES SET FORTH HEREIN. See “The Plan — Reorganization Valuation Analysis.”

                                        Risk Factors Associated with the Plan

     Holders of Claims and Equity Interests against the Debtors should read and consider carefully the information
set forth in the section entitled “Risk Factors” starting on page 71, as well as the other information set forth in this
Disclosure Statement (and the documents delivered together herewith and/or incorporated by reference), prior to
voting to accept or reject the Plan.

                           Alternatives to Confirmation and Consummation of the Plan

     The Debtors believe that the Plan affords holders of Claims and Existing Common Stock, to the extent that the
Class of Existing Common Stockholders votes to accept the Plan, the potential for the greatest recovery and,
therefore, is in the best interests of such holders. The Plan as presented is the result of considerable negotiations
between the Debtors and the Informal Creditor Group.

     If, however, the requisite acceptances are not received, or the Plan is not confirmed and consummated, the
theoretical alternatives include: (i) formulation of an alternative Plan or (ii) liquidation of the Debtors under chapter
7 or 11 of the Bankruptcy Code.

Alternative Plan(s) of Reorganization

     If the requisite acceptances are not received or if the Plan is not confirmed, the Debtors may file chapter 11
petitions and attempt to formulate and propose a different plan or plans of reorganization. Such a plan or plan(s)
might involve either a reorganization and continuation of the Debtors’ businesses or an orderly liquidation of assets.

     The Debtors’ businesses could suffer from increased costs, erosion of customer confidence and liquidity
difficulties if the Debtors remained Debtors in possession during a lengthy chapter 11 process while trying to
negotiate a Plan.

    The Debtors believe that the Plan, which is the result of extensive negotiations between the Debtors and the
Informal Creditor Group, enables creditors to realize the greatest possible value under the circumstances and that,
compared to any later alternative Plan, the Plan has the greatest chance to be confirmed and consummated.

 Liquidation Under Chapter 7 or Chapter 11

    If no plan is confirmed, the Debtors may be forced to liquidate under chapter 7 of the Bankruptcy Code,
pursuant to which a trustee would be elected or appointed to liquidate the Debtors’ assets for distribution to creditors
and equity holders in accordance with the priorities established by the Bankruptcy Code. It is impossible to predict
precisely how the proceeds of the liquidation would be distributed to the respective holders of Claims against or
Equity Interests in the Debtors.

   The Debtors believe that in a liquidation under chapter 7, before creditors received any distribution, additional
administrative expenses involved in the appointment of a trustee or trustees and attorneys, accountants and other


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professionals to assist such trustees would cause a substantial diminution in the value of the Debtors’ Estates.
Outstanding letters of credit (if any) which would otherwise not be drawn would be drawn. The assets available for
distribution to creditors would be reduced by such additional expenses and by Claims, some of which would be
entitled to priority, which would arise by reason of the liquidation and from the rejection of leases and other
executory contracts in connection with the cessation of operations and the failure to realize the greater going concern
value of the Debtors’ assets.

     The Debtors could also be liquidated pursuant to the provisions of a chapter 11 plan of liquidation. In a
liquidation under chapter 11, the Debtors’ assets could be sold in an orderly fashion over a more extended period of
time than in a liquidation under chapter 7. Thus, a chapter 11 liquidation might result in larger recoveries than in a
chapter 7 liquidation, but the delay in distributions could result in lower present values received and higher
administrative costs. Any distribution to the holders of Claims under a chapter 11 liquidation plan probably would
be delayed substantially.

     The Debtors believe that any alternative liquidation under chapter 7 or chapter 11 is a much less attractive
alternative to creditors and interest holders than the Plan because of the greater return the Debtors believe is
provided to creditors and interest holders under the Plan.




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                        CERTAIN U.S. FEDERAL INCOME TAX CONSIDERATIONS

    TREASURY DEPARTMENT CIRCULAR 230. TO ENSURE COMPLIANCE W ITH TREASURY
DEPARTMENT CIRCULAR 230, EACH HOLDER IS HEREBY NOTIFIED THAT: (A) ANY
DISCUSSION OF TAX ISSUES HEREIN IS NOT INTENDED OR W RITTEN TO BE RELIED UPON,
AND CANNOT BE RELIED UPON, BY A HOLDER FOR THE PURPOSE OF AVOIDING PENALTIES
THAT MAY BE IMPOSED ON SUCH HOLDER UNDER APPLICABLE TAX LAW ; (B) SUCH
DISCUSSION IS INCLUDED HEREIN IN CONNECTION W ITH THE PROMOTION OR MARK ETING
(W ITHIN THE MEANING OF CIRCULAR 230) OF THE TRANSACTIONS DESCRIBED HEREIN; AND
(C) EACH HOLDER SHOULD SEEK ADVICE BASED ON ITS PARTICULAR CIRCUMSTANCES
FROM AN INDEPENDENT ADVISOR.

     A summary description of certain United States (“U.S.”) federal income tax consequences of the restructuring
of the indebtedness outstanding under the First Lien Credit Agreement and the 10.5% Notes (the 10.5% Notes,
together with the indebtedness outstanding under the First Lien Credit Agreement, the “Debt”) is provided below.
This description applies to a reorganization that occurs in a title 11 reorganization in bankruptcy court pursuant to
the Plan (a “Restructuring”).

     This description is for informational purposes only and, due to a lack of certain facts and of definitive judicial
or administrative authority or interpretation, substantial uncertainties exist with respect to various tax consequences
of a Restructuring, as discussed herein. Only the principal consequences of the Restructuring for HMH Holdings
and certain of its U.S. subsidiaries (HMH Holdings and such subsidiaries, collectively, for purposes of this section,
the “Company” or “Companies,” as appropriate) and holders of the Debt (such holders, the “Holders”) are described
below.

     The following discussion is based upon the U.S. Internal Revenue Code of 1986, as amended (the “Tax Code”),
U.S. judicial decisions, administrative pronouncements and existing and proposed Treasury Regulations, all as in
effect as of the date hereof. All of the preceding authorities are subject to change, possibly with retroactive effect,
which may result in U.S. federal income tax consequences different from those discussed below. No opinion of
counsel has been sought or obtained with respect to any tax consequences of the Restructuring. No rulings or
determinations of the U.S. Internal Revenue Service (the “IRS”) or any other tax authorities have been sought or
obtained with respect to any tax consequences of the Restructuring, and the discussion below is not binding on the
IRS or such other authorities. In addition, events occurring after the date of the Disclosure Statement, including
changes in law and changes in administrative positions, could affect the U.S. federal income tax consequences of the
Restructuring. No representations are being made regarding the particular tax consequences of the confirmation and
consummation of the Plan to the Company or any Holder. No assurance can be given that the IRS would not assert,
or that a court would not sustain, a different position from any discussed herein.

     Except as otherwise specifically stated herein, this summary does not address any estate, gift, state, local, or
foreign law tax consequences of the Restructuring. Furthermore, this discussion does not address all tax
considerations that might be relevant to particular Holders in light of their personal circumstances or to persons that
are subject to special tax rules. In addition, this description of the material U.S. federal income tax consequences
does not address the tax treatment of special classes of Holders, such as financial institutions, regulated investment
companies, real estate investment trusts, tax-exempt entities, insurance companies, persons holding Debt as part of a
hedging, integrated or conversion transaction, constructive sale or “straddle,” U.S. expatriates, persons subject to the
alternative minimum tax, and dealers or traders in securities or currencies.

     For purposes of this discussion, a “U.S. Holder” is a Holder that is: (1) an individual citizen or resident of the
U.S. for U.S. federal income tax purposes; (2) a corporation (or other entity treated as a corporation for U.S. federal
income tax purposes) created or organized under the laws of the U.S. or any state thereof or the District of
Columbia; (3) an estate the income of which is subject to U.S. federal income taxation regardless of its source; or (4)
a trust (A) if a court within the U.S. is able to exercise primary jurisdiction over its administration and one or more
U.S. persons have authority to control all substantial decisions of the trust or (B) that has a valid election in effect
under applicable Treasury regulations to be treated as a U.S. person.




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    For purposes of this discussion, a “Non-U.S. Holder” is a Holder that is: (1) a nonresident alien individual; (2) a
corporation (or other entity treated as a corporation for U.S. federal income tax purposes) that is not created or
organized under the laws of the United States or any state thereof or the District of Columbia; or (3) a trust or estate
other than a trust or estate described in the immediately preceding paragraph.

     If a partnership or other pass-through entity is a Holder, the tax treatment of a partner or other owner generally
will depend upon the status of the partner (or other owner) and the activities of the entity. Partners (or other owners)
of pass-through entities that are Holders should consult their own tax advisors regarding the tax consequences of the
Restructuring.

    THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE RESTRUCTURING ARE
COMPLEX. THE FOLLOWING DISCUSSION IS FOR GENERAL INFORMATION ONLY, DOES NOT
DISCUSS ALL ASPECTS OF U.S. FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A
PARTICULAR HOLDER IN LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND INCOME TAX
SITUATION, AND IS NOT INTENDED TO BE, NOR SHOULD IT BE CONSTRUED TO BE, LEGAL OR
TAX ADVICE TO ANY HOLDER. NO OPINION OR REPRESENTATION WITH RESPECT TO THE
U.S. FEDERAL INCOME TAX CONSEQUENCES TO ANY SUCH HOLDER IS MADE. EACH HOLDER
IS URGED TO CONSULT THE HOLDER’S OWN TAX ADVISOR REGARDING THE PARTICULAR
TAX CONSEQUENCES TO IT OF THE TRANSACTIONS CONTEMPLATED BY THE
RESTRUCTURING, INCLUDING THE APPLICATION OF U.S. FEDERAL, STATE AND LOCAL TAX
LAWS, AS WELL AS ANY APPLICABLE FOREIGN TAX LAWS, TO A HOLDER’S PARTICULAR
SITUATION, AND OF ANY CHANGE IN APPLICABLE TAX LAWS.

U.S. Federal Income Tax Consequences of the Restructuring to the Company

Introduction

     The U.S. federal income tax consequences of the Restructuring to the Company are complex and somewhat
uncertain. Section I.B. of this Disclosure Statement describes certain U.S. federal income tax rules that govern the
Company’s analysis of the U.S. federal income tax consequences to the Company of the Restructuring, and certain
related matters. Section I.C. discusses the Company’s analysis and current views on the tax consequences of the
Restructuring.

General U.S. Federal Income Tax Rules Applicable to the Restructuring

    Cancellation of Indebtedness Income and Reduction of Tax Attributes

     In general, absent an exception, a U.S. taxpayer must include in gross income the amount of any discharge of
indebtedness (cancellation of debt or “COD”) income realized during the taxable year. The amount of COD income
generally equals the difference between (a) the “adjusted issue price” of the indebtedness discharged and (b) the sum
of (i) the amount of cash and (ii) the fair market value of any other property (“issue price” in the case of debt)
transferred in satisfaction of such discharged indebtedness.

     A debtor is not required to include any amount of COD income in gross income if such debtor is under the
jurisdiction of a court in a title 11 bankruptcy proceeding and the discharge of debt occurs pursuant to that
proceeding. Instead, as the price for the exclusion of COD income under the foregoing rule, the Tax Code requires
the debtor to reduce its tax attributes by the amount of COD income that is excluded from gross income. The
reduction in tax attributes occurs at the beginning of the taxable year following the taxable year in which the
discharge of indebtedness occurs. As a general rule, tax attributes will be reduced in the following order: (a) net
operating losses (“NOLs”), (b) most tax credits, (c) capital loss carryovers, (d) tax basis in assets (but not below the
amount of liabilities to which the debtor remains subject), and (e) foreign tax credits. For the purpose of attribute
reduction, any limitations on the use of NOLs, as discussed below in “Limitations on NOLs and Other Tax
Benefits”, are disregarded. In the context of a consolidated group of corporations, the Tax Code provides for a
complex ordering mechanism to determine how the tax attributes of one member can be reduced in respect of the
COD income of another member.


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    Limitation on NOLs and Other Tax Benefits

     If a corporation undergoes an “ownership change,” Section 382 of the Tax Code generally imposes an annual
limitation (the “Section 382 Limitation”) on a corporation’s use of its NOL carryforwards, and may limit a
corporation’s use of certain built-in losses if such built-in losses are recognized within a five-year period following
an ownership change (such NOL carryforwards and built-in losses collectively, “Pre-Change Losses”).

     The annual Section 382 Limitation on the use of Pre-Change Losses to offset income in any “post change year”
is generally equal to the product of (a) the fair market value of the loss corporation’s outstanding stock immediately
before the ownership change, and (b) the long-term tax-exempt rate in effect for the month in which the ownership
change occurs. The long-term tax-exempt rate (3.26% for ownership changes in May 2012) is published monthly by
the IRS and is intended to reflect current interest rates on long-term tax-exempt debt obligations. Section 383 of the
Tax Code applies a similar limitation to capital loss carryforwards and tax credits.

    If, in any year, the amount of Pre-Change Losses used by a corporation to offset income is less than the Section
382 Limitation, any unused limitation may be carried forward, thereby increasing the Section 382 Limitation (the
amount of Pre-Change Losses which may offset income) in the subsequent taxable year of the corporation. In
addition, a corporation’s Section 382 Limitation may be increased to the extent that the corporation recognizes or is
deemed to recognize certain built-in gains in its assets during the five-year period following the ownership change.
As discussed below, however, special rules may apply in the case of a corporation which experiences an ownership
change as the result of a bankruptcy proceeding.

     In general, an ownership change occurs for Section 382 purposes when the percentage of the corporation’s
stock owned by certain “5 percent shareholders” increases by more than 50 percentage points in the aggregate over
the lowest percentage owned by those shareholders at any time during the applicable “testing period” (generally, the
shorter of (a) the 36-month period preceding the testing date and (b) the period of time since the most recent
ownership change of the corporation). A “5 percent shareholder” for this purpose includes, generally, an individual
or entity that directly or indirectly owns 5% or more of a corporation’s stock at any time during the testing period
and one or more groups of shareholders that individually own less than 5% of the corporation’s stock. Under
applicable Treasury Regulations, an ownership change with respect to an affiliated group of corporations filing a
consolidated return that has consolidated NOLs is generally measured by changes in stock ownership of the parent
corporation of the group.

     In bankruptcy, the Section 382 Limitation may be calculated under a special rule (the “Section 382(l)(5) Rule”)
if the corporation’s pre-bankruptcy shareholders and certain holders of debt receive, in respect of their claims, at
least 50% of the stock of the reorganized corporation (or of a controlling corporation, if such corporation also is in
bankruptcy) pursuant to a confirmed plan of reorganization. If a corporation qualifies for the Section 382(l)(5) Rule,
the corporation will not be treated as having undergone an ownership change, and, therefore, the annual Section 382
Limitation will not apply to the corporation’s Pre-Change Losses. Instead, the corporation’s Pre-Change Losses are
required to be reduced by the amount of any interest deductions claimed during the three taxable years preceding the
effective date, and the portion of the current taxable year ending on the date of the ownership change, in respect of
all debt converted into stock pursuant to the bankruptcy reorganization. Additionally, if the Section 382(l)(5) Rule
applies and the reorganized corporation undergoes another ownership change within two years after consummation
of the plan of reorganization, then the reorganized corporation’s use of any Pre-Change Losses after the subsequent
ownership change would be eliminated. A corporation may elect not to apply the Section 382(l)(5) Rule.

     Alternatively, if the Corporation does not qualify for, or elects not to apply, the Section 382(l)(5) Rule described
above, the provisions of Section 382(l)(6) applicable to corporations under the jurisdiction of a bankruptcy court
would apply in calculating the annual Section 382 limitation (the “Section 382(l)(6) Rule”). Under the Section
382(l)(6) Rule, a corporation in bankruptcy that undergoes an ownership change pursuant to a plan of reorganization
values its stock to be used in computing the Section 382 Limitation by taking into account any increase in value
resulting from the discharge of creditors’ claims in the reorganization (rather than the value without taking into
account such increases, as is the case under the general rule for non-bankruptcy ownership changes).




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COD Income of the Company

      As a result of the exchange of New Common Stock for existing Debt, the Company expects to realize COD in
an amount equal to the difference between (x) the aggregate adjusted issue price of the Debt and (y) the fair market
value of the New Common Stock. Because the value of the New Common Stock cannot be known with certainty
until after the Effective Date of the Restructuring, the Company cannot determine the amount of COD income it will
realize until that time.

     The Company currently expects to rely on the bankruptcy exception to exclude any COD income realized. As a
result of the availability of the bankruptcy exception, the Company currently expects that it will not be required to
pay U.S. federal income taxes in 2012 as a result of the Restructuring.

     The Company, however, will be required to reduce its tax attributes by the amount of the excluded COD
income. The exact amount of such reductions and which attributes will be affected will not be known until after the
Restructuring. However, the Company does anticipate that, due to the attribute reduction described above, most (if
not all) of its NOLs will be eliminated no later than January 1, 2013. The Company also believes that it will be
required to reduce other tax attributes and its basis in certain assets, which will have an impact on the Company’s
tax liability going forward. Any COD income of the Company excluded under the bankruptcy exception which is in
excess of the amount of the Company’s tax attributes available for reduction would not be subject to U.S. federal
income tax.

Limitations on NOLs and Other Tax Benefits of the Company Post-Restructuring

     The issuance under the Restructuring of New Common Stock, along with the cancellation of existing stock of
the Company, may cause an ownership change with respect to the Company. If the Company undergoes an
ownership change, the Company’s Pre-Change Losses will be subject to the Section 382 Limitation (as described
above in “Limitations on NOLs and Other Tax Benefits”). Because the Company anticipates that most, if not all, of
its NOLs will be eliminated no later than January 1, 2013, due to the attribute reduction described above resulting
from the COD excluded from gross income, the Section 382 Limitation should not impact the Company
significantly with respect to NOLs. The Company has certain significant tax assets (other than NOLs) and expects
that these tax assets will not be subject to any limitation under Section 382 or otherwise as a result of the
Restructuring.

U.S. Federal Income Tax Considerations for U.S. Holders

    The following discussion describes certain U.S. federal income tax consequences of the transactions
contemplated by the Restructuring to U.S. Holders of the Debt, U.S. Holders of Existing Common Stock, U.S.
Holders of New Common Stock after the Restructuring, and U.S. Holders of New Warrants after the Restructuring.

     U.S. Holders should consult their own tax advisors for information that may be relevant to their particular
situation and circumstances and the particular tax consequences of the transactions contemplated by the
Restructuring.

Tax Consequences for Holders of Exchanging Debt for New Common Stock and Cash

     The U.S. federal income tax consequences to a U.S. Holder (including the character, timing and amount of
income, gain or loss recognized) will depend on, among other factors: (a) the manner in which the Holder acquired
the Debt; (b) the length of time the Holder has held the Debt; (c) whether the Holder acquired the Debt at a discount;
(d) whether the Holder has taken a bad debt deduction with respect to the Debt (or any portion thereof) in current or
prior years; (e) whether the Holder has previously included in taxable income accrued but unpaid interest with
respect to the Debt; and (f) the Holder’s method of accounting.




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    Consequences for Holders of Exchanging Debt for New Common Stock Generally

     Pursuant to the Plan, each Holder of the Debt will receive its pro rata share of the New Common Stock and
Cash in full satisfaction of their Senior Creditor Claims. Each Holder will recognize gain or loss for United States
federal income tax purposes in an amount equal to the difference between (1) the amount of Cash received and the
fair market value of its share of the New Common Stock and (2) the Holder’s adjusted tax basis in its Debt. Except
to the extent such payment is received in discharge of accrued but unpaid interest, such gain or loss should be capital
gain or loss (subject to the “market discount” rules described below) and should be long-term capital gain or loss if
the Debt was held for more than one year by the Holder. Long-term capital gains of an individual taxpayer generally
are taxed at preferential rates. The deductibility of capital losses is subject to limitations. A Holder’s basis in the
New Common Stock will be the fair market value of the New Common Stock, and a Holder’s holding period will
begin the day after the Restructuring.

    Accrued Interest

     A portion of the New Common Stock and Cash received by Holders of the Debt may be attributable to accrued
but unpaid interest with respect to such Debt. Such amount should be taxable to a Holder as ordinary interest income
if the accrued interest has not been previously included in the Holder’s gross income for U.S. federal income tax
purposes. Conversely, a Holder may recognize a loss (which may be capital) to the extent that any accrued interest
was previously included in income and is not paid in full.

     If the fair value of the New Common Stock and Cash received by Holders of the Debt is not sufficient to satisfy
fully all principal and interest on the Debt, the extent to which such New Common Stock and Cash will be
attributable to accrued but untaxed interest is unclear. Pursuant to the Plan, the Company will allocate for U.S.
federal income tax purposes all distributions in respect of any Claim first to the principal amount of such Claim, and
thereafter to accrued but unpaid interest. Certain legislative history indicates that an allocation of consideration
between principal and interest provided for in a bankruptcy plan of reorganization is binding for U.S. federal income
tax purposes. However, no assurance can be given that the IRS will not challenge such allocation. If a distribution
with respect to a Claim is allocated entirely to the principal amount of such Claim, a Holder may be entitled to claim
a loss to the extent of any accrued but unpaid interest on the Claim that was previously included in the Holder’s
gross income. Holders of Debt should consult their tax advisors regarding the proper allocation of the consideration
received by them under the Plan, as well as the character of any loss claimed with respect to accrued but unpaid
interest previously included in gross income.

    Market Discount

     The market discount provisions of the Tax Code may apply to certain Holders. In general, a debt obligation
other than a debt obligation with a fixed maturity of one year or less that is acquired by a holder in the secondary
market (or, in certain circumstances, upon original issuance) is a “market discount bond” as to that holder if its
stated redemption price at maturity (or, in the case of a debt obligation having original issue discount, its revised
issue price) exceeds the holder’s adjusted tax basis in the debt obligation immediately after such holder’s acquisition
of the debt obligation by more than a statutory de minimis amount. Gain recognized by a holder upon a disposition
of a “market discount bond” generally will be treated as ordinary interest income to the extent of the market discount
accrued on such bond during the holder’s period of ownership, unless the holder elected to include accrued market
discount in taxable income currently. Absent such an election, a holder of a market discount bond is required under
the market discount rules of the Tax Code to defer deduction of all or a portion of the interest on indebtedness
incurred or maintained to acquire or carry the bond. In such circumstances, the holder will be allowed to deduct
such interest, in whole or in part, on the disposition of such bond.

Tax Consequences for Holders of Exchanging Existing Common Stock for New Warrants

     If the Existing Common Stockholders Class votes to accept the Plan, the holders of Existing Common Stock
will receive their pro rata shares of the New Warrants and the Existing Common Stock will be cancelled. If the
Existing Common Stockholders Class does not vote to accept the plan, the holders of Existing Common Stock will
not receive New Warrants, and the Existing Common Stock will be cancelled. The treatment of receipt of the New
Warrants by holders of Existing Common Stock for U.S. federal income tax purposes is not entirely clear.

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     The Company currently intends to take the position that the New Warrants should be treated as issued in
exchange for Existing Common Stock. The exchange of the Existing Common Stock for the New Warrants would
be treated as a taxable transaction for U.S. Holders of Existing Common Stock. In such case, a U.S. Holder of
Existing Common Stock would recognize gain or loss for United States federal income tax purposes in an amount
equal to the difference between (1) the fair market value of its share of the New Warrants and (2) the Holder’s
adjusted tax basis in its Existing Common Stock. Such gain or loss should be capital gain or loss (subject to the
“market discount” rules described below) and should be long-term capital gain or loss if the Existing Common Stock
was held for more than one year by the Holder. Long-term capital gains of an individual taxpayer generally are
taxed at preferential rates. The deductibility of capital losses is subject to limitations. A Holder’s initial tax basis in
the New Warrants will be the fair market value of the New Warrants, and a Holder’s holding period will begin the
day after the Restructuring. If a Holder owns Existing Common Stock that was acquired in a non-recognition
transaction received in exchange for property that had market discount (as discussed above), the market discount
may have carried over into the Existing Common Stock, in which event any gain recognized on the exchange of
Existing Common Stock for New Warrants would be subject to the market discount rules and treated as ordinary
income to the extent of such accrued but unrecognized market discount. Holders should consult with their own tax
advisors regarding this issue.

    Alternatively, because the New Warrants are issued only if the Existing Common Stockholders Class votes to
accept the Plan, it is possible that the New Warrants would be treated as a fee paid to such Holders, in which case
the Holders would generally be taxed on the value of such New Warrants as ordinary income and would recognize a
capital loss on the cancellation of their Existing Common Stock.

    Each Holder should consult its own tax advisor with respect to the consequences to it with respect to this issue.

Ownership and Disposition of New Common Stock

    Distributions of Cash or Property on New Common Stock

     Generally, the gross amount of any distribution of cash or property made with respect to New Common Stock
will be includible by a Holder in gross income as dividend income to the extent that such distributions are paid out
of the current or accumulated “earnings and profits” of HMH Holdings as determined under U.S. federal income tax
principles.

     A distribution in excess of HMH Holdings’s current and accumulated earnings and profits will first be treated as
a return of capital to the extent of a Holder’s adjusted tax basis in New Common Stock and will be applied against
and reduce such basis dollar-for-dollar (thereby increasing the amount of gain and decreasing the amount of loss
recognized on a subsequent taxable disposition of the New Common Stock). To the extent that such distribution
exceeds a Holder’s adjusted tax basis in New Common Stock the distribution generally will be treated as capital
gain, subject to the “Market Discount” rules discussed above, and will be treated as long-term capital gain if the
Holder’s holding period in such stock exceeds one year as of the date of the distribution. Dividends received by
non-corporate holders in taxable years beginning before January 1, 2013, may qualify for a reduced rate of taxation
if certain holding period and other requirements are met.

    Sale, Exchange or Other Taxable Disposition of New Common Stock and New Warrants

     Upon the sale, retirement or other taxable disposition of a share of New Common Stock or a New Warrant, a
Holder generally will recognize gain or loss in an amount equal to the difference between the sum of cash plus the
fair market value of any property received and the Holder’s adjusted tax basis in such New Common Stock or New
Warrant, subject to the “Market Discount” rules discussed above. Such gain or loss generally will constitute capital
gain or loss, and will be long-term capital gain or loss if at the time of the sale, exchange, retirement or other taxable
disposition, the Holder held the share of New Common Stock or New Warrant for more than one year. Long-term
capital gains of an individual taxpayer generally are taxed at preferential rates. The deductibility of capital losses is
subject to certain limitations.




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    Exercise or Expiration of New Warrants

     A U.S. Holder generally will not recognize gain or loss upon the exercise of a New Warrant. New Common
Stock that a Holder acquires pursuant to the exercise of the New Warrants will have a tax basis equal to the U.S.
Holder’s adjusted basis in the New Warrants so exercised, increased by any amount paid to exercise the New
Warrants. The holding period for the New Common Stock that a Holder acquires pursuant to the exercise of the
New Warrants will commence on the date following the date of exercise (or possibly on the date of exercise). If the
terms of the New Warrants provide for any adjustment to the number of shares of New Common Stock for which
the New Warrants may be exercised or to the exercise price of the New Warrants, such adjustment may, under
limited circumstances, result in a constructive distribution that could be taxable as a dividend to a U.S. Holder.
Conversely, the absence of an appropriate adjustment may result in a constructive distribution that could be taxable
as a dividend to U.S. Holders of the New Common Stock. If the New Warrants are allowed to lapse unexercised, a
U.S. Holder will have a capital loss equal to the U.S. Holder’s adjusted basis in the New Warrants, which will be
treated as a long-term capital loss if the U.S. Holder’s holding period in the New Warrants exceeds one year as of
the date of the expiration. The deductibility of capital losses is subject to certain limitations

Information Reporting and Backup Withholding

    Certain payments (“reportable payments”) generally are subject to information reporting by the payor to the
IRS. Moreover, reportable payments are subject to backup withholding (currently at a rate of twenty eight percent
(28%)) under certain circumstances. Under the backup withholding rules set forth in the Tax Code, a Holder
receiving a payment or distribution of cash or other property pursuant to the Restructuring or distributions on New
Common Stock, may be subject to backup withholding with respect to such payment or distribution unless it: (i) is
an exempt recipient, such as a corporation, and when required, demonstrates this exemption, or (ii) timely provides a
correct U.S. taxpayer identification number and makes certain certifications under penalties of perjury.

    Backup withholding is not an additional tax. Amounts withheld under the backup withholding rules may be
credited against the Holder’s U.S. federal income tax liability, and it may obtain a refund of excess amounts
withheld under the backup withholding tax rules by timely filing an appropriate claim for refund with the IRS.

Additional Tax on Passive Income

     For tax years beginning after December 31, 2012, certain individuals, estates and trusts whose income exceeds
certain thresholds will be required to pay a 3.8% Medicare surtax on “net investment income” including, among
other things, dividends and net gain from disposition of property (other than property held in a trade or business),
including the New Common Stock. U.S. Holders should consult with their own tax advisors regarding the effect, if
any, of this tax on their ownership and disposition of the New Common Stock.

U.S. Federal Income Tax Considerations for Non-U.S. Holders

     This subsection applies to a Holder who is a Non-U.S. Holder. The rules governing U.S. federal income
taxation of Non-U.S. Holders are complex. Each non-U.S. Holder should consult with its own tax advisor to
determine the effect of U.S. federal, state, local and foreign income tax laws, as well as treaties, with regard to its
participation in the transactions contemplated by the Restructuring and its ownership of New Common Stock or
New Warrants, including any reporting requirements.

Tax Consequences for Existing Non-U.S. Holders of Debt

    As discussed above, it is expected that the exchange of the Debt for New Common Stock and Cash in the
Restructuring will result in a taxable exchange for Holders. Each Holder will realize net income, gain or loss for
United States federal income tax purposes in an amount equal to the difference between (1) the amount of Cash
received and the fair market value of its share of the New Common Stock and (2) the Holder’s adjusted tax basis in
the Debt.




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     Subject to the discussion below in “Information Reporting and Backup Withholding,” however, any gain or loss
realized by a Non-U.S. Holder in connection with the Debt for Stock Exchange should not be subject to U.S. federal
income tax unless:

    •    the gain or loss is effectively connected with such Non-U.S. Holder’s conduct of a trade or business in the
         U.S. (and, if required by an applicable income tax treaty, is attributable to a U.S. permanent establishment
         that such Non-U.S. Holder maintains within the U.S.), in which case the gain or loss will be treated in the
         manner described below in “Effectively Connected Income and Loss;”

    •    the Non-U.S. Holder is an individual who is present in the U.S. for 183 days or more during the taxable
         year of the Restructuring, and certain other conditions are met, in which case the gain (reduced by any
         U.S.-source capital losses) will be subject to thirty percent (30%) tax (subject to possible reduction if
         provided by treaty); or

    •    the Non-U.S. Holder is subject to the Tax Code provisions applicable to certain former citizens or residents.

         Any amounts that are attributable to accrued and unpaid interest on the Debt generally will not be subject to
U.S. federal income tax or withholding tax, if the Non-U.S. Holder:

         •   does not own, actually or constructively, for U.S. federal income tax purposes, ten percent (10%) or
             more of the total combined voting power of all classes of the voting stock of the Company that is the
             applicable borrower;

         •   is not, for U.S. federal income tax purposes, a “controlled foreign corporation” related, directly or
             indirectly, to the Company through stock ownership under applicable rules of the Code;

         •   is not a bank receiving interest described in Section 881(c)(3)(A) of the Tax Code; and

         •   in each case, the certification requirement, as described below, is fulfilled with respect to the beneficial
             owner of the Debt.

     The certification requirement referred to above generally will be fulfilled if the Non-U.S. Holder provides to the
Company or its paying agent an IRS Form W-8BEN (or successor form), signed under penalties of perjury, which
includes the Non-U.S. Holder’s name and address and a certification as to the Non-U.S. Holder’s non-U.S. status.
Other methods might be available to satisfy the certification requirements described above, depending on a Non-
U.S. Holder’s particular circumstances.

    In general, the gross amount of payments of interest that do not qualify for the exception from withholding
described above will be subject to U.S. withholding tax at a rate of thirty percent (30%) unless (A) the Non-U.S.
Holder provides a properly completed IRS Form W-8BEN (or successor form) claiming an exemption from or
reduction in withholding under an applicable tax treaty, or (B) such interest is effectively connected with the Non-
U.S. Holder’s conduct of a U.S. trade or business and the Non-U.S. Holder provides a properly completed IRS Form
W-8ECI (or successor form).

Tax Consequences for Non-U.S. Holders of Exchanging Existing Common Stock for New Warrants

     If the Existing Common Stockholders Class votes to accept the Plan, the holders of Existing Common Stock
will receive their pro rata shares of the New Warrants and the Existing Common Stock will be cancelled. If the
Existing Common Stockholders Class does not vote to accept the plan, the holders of Existing Common Stock will
not receive New Warrants, and the Existing Common Stock will be cancelled. The treatment of receipt of the New
Warrants by holders of Existing Common Stock for U.S. federal income tax purposes is not entirely clear.

     The Company currently intends to take the position that the New Warrants should be treated as issued in
exchange for Existing Common Stock. The exchange of the Existing Common Stock for the New Warrants would
be treated as a taxable transaction. In such case, a Non-U.S. Holder of Existing Common Stock would generally not


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be subject to U.S. federal income tax with respect to any gain, unless the Non-U.S. Holder is an individual who is
present in the U.S. for 183 days or more in the taxable year of disposition, and certain other conditions are met; or
any such gain is effectively connected with the Non-U.S. Holder’s conduct of a trade or business in the U.S. (see
“Effectively Connected Income and Loss”).

    Alternatively, because the New Warrants are issued only to Holders of Existing Common Stock if the Existing
Common Stockholders Class votes to accept the Plan, it is possible that the New Warrants would be treated as a fee
paid to such Holders. It is uncertain whether this type of fee income would be U.S. source income or foreign source
income, and thus whether such income would be subject to U.S. withholding tax, and, in the absence of such
withholding, to U.S. income tax (with associated filing obligations) for the Non-U.S. Holder.

    Non-U.S. Holders are advised to consult their tax advisors with respect to this issue.

Ownership of New Common Stock; Distributions on New Common Stock

     Distributions of cash and property that HMH Holdings makes in respect of New Common Stock will constitute
dividends for U.S. federal income tax purposes to the extent of its current or accumulated earnings and profits (as
determined under U.S. federal income tax principles). Distributions of cash and property that constitute dividends
for U.S. federal income tax purposes generally will be subject to U.S. federal withholding at a thirty percent (30%)
rate unless a reduced rate is prescribed by an applicable income tax treaty. If the amount of a distribution exceeds
HMH Holdings’s current and accumulated earnings and profits, such excess first will be treated as a return of capital
to the extent of a Non-U.S. Holder’s tax basis in the New Common Stock and thereafter will be treated as gain from
the disposition of such share of New Common Stock, subject to tax as described below in “Sale, Exchange or
Disposition of New Common Stock”

    In order to obtain a reduced rate of U.S. withholding tax under an applicable income tax treaty, a Non-U.S.
Holder will be required to provide a properly executed IRS Form W-8BEN certifying its entitlement to benefits
under the treaty. If a Non-U.S. Holder is eligible for a reduced rate of U.S. withholding tax under a treaty, the Non-
U.S. Holder may obtain a refund or credit of any excess amounts withheld by filing an appropriate claim for a
refund with the IRS. Each Non-U.S. Holder should consult its own tax advisor regarding its possible entitlement to
benefits under a treaty.

    The U.S. federal withholding tax described above will not apply to dividends paid to a Non-U.S. Holder if such
dividends represent U.S. trade or business income for the Non-U.S. Holder and the Non-U.S. Holder provides a
properly executed IRS Form W-8ECI certifying that the dividends are effectively connected with the Non-U.S.
Holder’s conduct of a trade or business within the U.S., as the dividends will be subject to tax as described below
under “Effectively Connected Income and Loss.”

Effectively Connected Income and Loss

     If a Non-U.S. Holder is engaged in a trade or business in the U.S. and if dividends received in respect of New
Common Stock, or gain or loss realized on the disposition of a share of New Common Stock or New Warrants are
“effectively connected” with the conduct of such U.S. trade or business, any such interest, dividends, gain or loss
realized by a Non-U.S. Holder will be subject to full net-basis U.S. federal income tax in the same manner as if the
Non-U.S. Holder were a U.S. Holder, unless an applicable income tax treaty provides otherwise. In addition, if the
Non-U.S. Holder is a foreign corporation, the Non-U.S. Holder may also be subject to a “branch profits tax” on
earnings and profits effectively connected with such U.S. trade or business (subject to certain adjustments) at a rate
of thirty percent (30%), unless the branch profits tax is reduced or eliminated by an applicable income tax treaty.
Even though any such effectively connected income would be subject to income tax, and might also be subject to
branch profits tax, it would not be subject to withholding tax if the Non-U.S. Holder satisfied the applicable
certification requirements described above. Non-U.S. Holders should discuss the applicability of the “effectively
connected” rules with their tax advisors.




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Sale, Exchange or Disposition of New Common Stock and New Warrants

    Subject to the discussion below concerning backup withholding, if a Non-U.S. Holder owns New Common
Stock or New Warrants, the Non-U.S. Holder generally will not be subject to U.S. federal income tax with respect to
any gain or loss realized on the sale, exchange or other taxable disposition of such New Common Stock or New
Warrant, unless:

              •    the Non-U.S. Holder is an individual who is present in the U.S. for 183 days or more in the
                   taxable year of disposition, and certain other conditions are met; or
              •    such gain is effectively connected with the Non-U.S. Holder’s conduct of a trade or business in
                   the U.S. (see “Effectively Connected Income and Loss”).

Information Reporting and Backup Withholding

     Unless certain exceptions apply, the Company must report annually to the IRS and to each Non-U.S. Holder any
interest paid during the taxable year, as well as the amount of any dividends paid to the Non-U.S. Holder (whether
such dividend income is subject to U.S. withholding tax or is exempt from such tax pursuant to an income tax
treaty). Copies of these information returns may also be made available under the provisions of a specific treaty or
other agreement to the tax authorities of the country in which a Non-U.S. Holder resides.

     Under current U.S. federal income tax law, backup withholding tax will not apply to payments of dividends or
interest by the Company or its paying agent if the Non-U.S. Holder provides a properly executed IRS Form W-
8BEN (or successor form), or otherwise establishes its eligibility for an exemption, provided that the Company or its
paying agent, as the case may be, does not have actual knowledge or reason to know that the payee Non-U.S. Holder
is a U.S. person.

    Backup withholding is not an additional tax. Any amounts withheld from a payment to a Non-U.S. Holder
under the backup withholding rules will be allowed as a credit against such holder’s U.S. federal income tax liability
and may entitle the holder to a refund, provided that the holder furnishes the required information to the IRS. A
Non-U.S. Holder should consult its tax advisor regarding the application of information reporting and backup
withholding in such holder’s particular situation, the availability of an exemption from backup withholding and the
procedure for obtaining such an exemption, if available.

FATCA

     Under the Foreign Account Tax Compliance Act (or “FATCA”), which was enacted in 2010, foreign financial
institutions and certain other foreign entities must comply with information reporting rules with respect to their U.S.
account holders and investors or confront a withholding tax on U.S. source payments made to them (whether
received as a beneficial owner or as an intermediary for another party). More specifically, a foreign financial
institution or other foreign entity that does not comply with the FATCA reporting requirements will generally be
subject to a 30% withholding tax with respect to any “withholdable payments.” For this purpose, withholdable
payments are generally U.S.-source payments otherwise subject to nonresident withholding tax and also include the
entire gross proceeds from the sale of any equity or debt instruments of U.S. issuers (which would include the New
Common Stock). The FATCA withholding tax will apply even if the payment would otherwise not be subject to
U.S. nonresident withholding tax (e.g., because it is capital gain treated as foreign source income under the Code).
Recently released Proposed Treasury Regulations implementing FATCA defer this withholding obligation until
January 1, 2014 for payments of dividends on U.S. common stock and until January 1, 2015 for gross proceeds from
dispositions of U.S. common stock. FATCA withholding will not apply to withholdable payments made directly to
foreign governments, international organizations, foreign central banks of issue and individuals, and Treasury is
authorized to provide additional exceptions.

    Non-U.S. Holders are urged to consult with their own tax advisors regarding the effect, if any, of the FATCA
provisions to them based on their ownership of New Common Stock and their particular circumstances.




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                                         APPLICABLE SECURITIES LAWS

     We intend to issue New Common Stock and the New Warrants pursuant to the Plan. We believe that, subject to
certain exceptions described below, various provisions of the Securities Act, the Bankruptcy Code, and state
securities laws exempt from federal and state securities registration requirements (a) the offer and the sale of
securities pursuant to the Plan and (b) subsequent transfers of such securities.

Offer and Sale of New Securities: Bankruptcy Code Exemption

    This solicitation is being made only to those Senior Creditors and Existing Common Stockholders who are
accredited investors as defined in Regulation D of the Securities Act. The Debtors are relying on Section 4(2) of the
Securities Act and similar “blue sky” law provisions in connection with the solicitation of votes on the Plan.

     Pursuant to the Plan, Senior Creditors will receive shares of New Common Stock and Existing Common
Stockholders will receive the New Warrants (if issued). Section 1145(a)(1) of the Bankruptcy Code exempts the
offer or sale of securities under a plan of reorganization from registration under Section 5 of the Securities Act and
state laws if three principal requirements are satisfied: (1) the securities must be issued “under a plan” of
reorganization by the debtor or its successor under a plan or by an affiliate participating in a joint plan of
reorganization with the debtor; (2) the recipients of the securities must hold a claim against, an interest in, or a claim
for administrative expenses in the case concerning the debtor or such affiliate; and (3) the securities must be issued
in exchange for the recipient’s claim against or interest in the debtor, or such affiliate, or “principally” in such
exchange and “partly” for cash or property. In reliance upon this exemption, the Debtors believe that the offer and
sale, under the Plan, of the New Common Stock and the New Warrants (if issued) will be exempt from registration
under the Securities Act and state securities laws with respect to any Senior Creditor or Existing Common
Stockholder who is not deemed to be an “underwriter” as defined in section 1145(b) of the Bankruptcy Code.

     In addition, the Debtors will seek to obtain, as part of the Confirmation Order, a provision confirming such
exemption. Accordingly, such securities generally may be resold without registration under the Securities Act or
other federal securities laws pursuant to an exemption provided by Section 4(1) of the Securities Act, unless the
holder is an “underwriter” (see discussion below) with respect to such securities, as that term is defined under the
Bankruptcy Code. In addition, such securities generally may be resold without registration under state securities or
“blue sky” laws pursuant to various exemptions provided by the respective laws of the several states. However,
recipients of securities issued under the Plan are advised to consult with their own legal advisors as to the
availability of any such exemption from registration under state law in any given instance and as to any applicable
requirement or conditions to such availability.

Subsequent Transfers of New Securities

     Section 1145(b) of the Bankruptcy Code defines the term “underwriter” for purposes of the Securities Act as
one who, except with respect to “ordinary trading transactions” of an entity that is not an “issuer,” (1) purchases a
claim against, interest in, or claim for an administrative expense in the case concerning the debtor, if such purchase
is with a view to distributing any security received in exchange for such a claim or interest; (2) offers to sell
securities offered or sold under a plan for the holders of such securities; (3) offers to buy securities offered or sold
under the plan from the holders of such securities, if the offer to buy is: (a) with a view to distribution of such
securities and (b) under an agreement made in connection with the plan, with the consummation of the plan, or with
the offer or sale of securities under the plan; or (4) is an “issuer” with respect to the securities, as the term “issuer” is
defined in Section 2(a)(11) of the Securities Act.

     The term “issuer” is defined in Section 2(a)(4) of the Securities Act; however, the reference contained in
section 1145(b)(1)(D) of the Bankruptcy Code to Section 2(11) of the Securities Act purports to include as statutory
underwriters all persons who, directly or indirectly, through one or more intermediaries, control, are controlled by,
or are under common control with, an issuer of securities. “Control” (as such term is defined in Rule 405 of
Regulation C under the Securities Act) means the possession, direct or indirect, of the power to direct or cause the
direction of the policies of a person, whether through the ownership of voting securities, by contract, or otherwise.
Accordingly, an officer or director of a reorganized debtor (or its successor) under a plan of reorganization may be
deemed to be a “control person,” particularly if such management position is coupled with the ownership of a

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significant percentage of the debtor’s (or successor’s) voting securities. Ownership of a significant amount of voting
securities of a reorganized debtor could also result in a person being considered to be a “control person.”

     To the extent that persons deemed to be “underwriters” receive New Common Stock or New Warrants pursuant
to the Plan, resales by such persons would not be exempted by section 1145 of the Bankruptcy Code from
registration under the Securities Act or other applicable law. Such persons would not be permitted to resell such
New Common Stock or the New Warrants, unless such securities were registered under the Securities Act or an
exemption from such registration requirements were available. Entities deemed to be statutory underwriters for
purposes of section 1145 of the Bankruptcy Code may, however, be able, at a future time and under certain
conditions, to sell securities without registration pursuant to the resale provisions of Rule 144 under the Securities
Act or another available exemption under the Securities Act.

    Whether or not any particular person would be deemed to be an “underwriter” with respect to the New Common
Stock or the New Warrants to be issued pursuant to the Plan, or an “affiliate” of HMH Holdings, would depend
upon various facts and circumstances applicable to that person. Accordingly, we express no view as to whether any
such person would be such an “underwriter” or “affiliate.” PERSONS WHO RECEIVE NEW COMMON STOCK
AND/OR THE NEW WARRANTS UNDER THE PLAN ARE URGED TO CONSULT THEIR OWN LEGAL
ADVISOR WITH RESPECT TO THE RESTRICTIONS APPLICABLE UNDER THE SECURITIES LAWS AND
THE CIRCUMSTANCES UNDER WHICH SECURITIES MAY BE SOLD IN RELIANCE ON SUCH LAWS.

    THE FOREGOING SUMMARY DISCUSSION IS GENERAL IN NATURE AND HAS BEEN INCLUDED
IN THIS DISCLOSURE STATEMENT SOLELY FOR INFORMATIONAL PURPOSES. THE DEBTORS MAKE
NO REPRESENTATIONS CONCERNING, AND DO NOT PROVIDE, ANY OPINIONS OR ADVICE WITH
RESPECT TO THE NEW COMMON STOCK, THE NEW WARRANTS OR THE BANKRUPTCY MATTERS
DESCRIBED IN THIS DISCLOSURE STATEMENT. IN LIGHT OF THE UNCERTAINTY CONCERNING
THE AVAILABILITY OF EXEMPTIONS FROM THE RELEVANT PROVISIONS OF FEDERAL AND STATE
SECURITIES LAWS, THE DEBTORS ENCOURAGE EACH SENIOR CREDITOR, EXISTING COMMON
STOCKHOLDER AND PARTY-IN-INTEREST TO CONSIDER CAREFULLY AND CONSULT WITH ITS
OWN LEGAL ADVISOR WITH RESPECT TO ALL SUCH MATTERS. BECAUSE OF THE COMPLEX,
SUBJECTIVE NATURE OF THE QUESTION OF WHETHER A PARTICULAR HOLDER MAY BE AN
UNDERWRITER, THE DEBTORS MAKE NO REPRESENTATION CONCERNING THE ABILITY OF A
PERSON TO DISPOSE OF THE NEW COMMON STOCK OR THE NEW WARRANTS.




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                                          PROCEDURES FOR VOTING

 SOLICITATION OF ACCEPTANCES OF THE PREPACKAGED PLAN FOR THE FIRST LIEN BANK
 LENDERS WILL EXPIRE AT 5:00 P.M., NEW YORK CITY TIME, ON MAY 18, 2012, AND AT 5:00
 P.M., NEW YORK CITY TIME, ON JUNE 11, 2012 FOR THE BONDHOLDERS AND THE EXISTING
 COMMON STOCKHOLDERS UNLESS EXTENDED BY THE DEBTORS, WITH THE CONSENT OF
 THE REQUISITE PARTICIPATING LENDERS. SENIOR CREDITORS AND EXISTING COMMON
 STOCKHOLDERS SHOULD REFER TO THE BALLOTS RECEIVED WITH THIS DISCLOSURE
 STATEMENT FOR INSTRUCTIONS ON HOW TO TENDER AND VOTE ON THE PLAN.

Notice to Senior Creditors and Existing Common Stockholders

     This Disclosure Statement is being transmitted to Senior Creditors and Existing Common Stockholders, which
are the only holders of Claims or Equity Interests entitled to vote on the Plan. All other creditors or interest holders
of the Debtors will either be paid in full under the Restructuring and their claims or interests unimpaired or their
interests will be Impaired and they are deemed to reject the Plan. Therefore, unless you are a Senior Creditor or
Existing Common Stockholder, you do not need to take any action hereunder. The purpose of this Disclosure
Statement is to provide adequate information to enable Senior Creditors and Existing Common Stockholders to
make a reasonably informed decision with respect to the Plan prior to exercising their right to vote to accept or reject
the Plan. Any capitalized terms used in this section and not otherwise defined herein shall have the meanings
ascribed to such terms in the Plan.

    ALL SENIOR CREDITORS AND EXISTING COMMON STOCKHOLDERS ARE ENCOURAGED TO
READ THIS DISCLOSURE STATEMENT AND ITS APPENDICES CAREFULLY AND IN THEIR ENTIRETY
BEFORE DECIDING TO VOTE EITHER TO ACCEPT OR TO REJECT THE PLAN. This Disclosure Statement
contains important information about the Plan and considerations pertinent to acceptance or rejection of the Plan.

     THIS DISCLOSURE STATEMENT IS THE ONLY DOCUMENT TO BE USED IN CONNECTION WITH
THE SOLICITATION OF VOTES ON THE PLAN. No solicitation of votes may be made except after distribution
of this Disclosure Statement, and no person has been authorized to distribute any information concerning the
Debtors other than the information contained herein.

     CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS BY ITS
NATURE FORWARD LOOKING AND CONTAINS ESTIMATES, ASSUMPTIONS, AND PROJECTIONS
THAT MAY BE MATERIALLY DIFFERENT FROM ACTUAL, FUTURE RESULTS. Except with respect to the
Projections and except as otherwise specifically and expressly stated herein, this Disclosure Statement does not
reflect any events that may occur subsequent to the date hereof and that may have a material impact on the
information contained in this Disclosure Statement. The Debtors do not intend to update the Projections; thus, the
Projections will not reflect the impact of any subsequent events not already accounted for in the assumptions
underlying the Projections. Further, the Debtors do not anticipate that any amendments or supplements to this
Disclosure Statement will be distributed to reflect such occurrences. Accordingly, the delivery of this Disclosure
Statement will not under any circumstance imply that the information herein is correct or complete as of any time
subsequent to the date hereof.

   EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL INFORMATION CONTAINED HEREIN
HAS NOT BEEN AUDITED BY AN INDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM AND HAS
NOT BEEN PREPARED IN ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES.

Solicitation Package

    In soliciting votes for the Plan pursuant to this Disclosure Statement from the Senior Creditors and the Existing
Common Stockholders, the Debtors are also sending copies of the Plan and a ballot (a “Ballot”) (together with the
Disclosure Statement, the “Solicitation Package”) to such holders.




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Voting Procedures and Ballots and Voting Deadline

     The “Voting Record Date” for purposes of determining claimants and interest holders that are eligible to vote
on the Plan is May 10, 2012 at 5:00 p.m., New York City time.

    There are two different voting options for Senior Creditors and Existing Common Stockholders in connection
with the Plan, which are outlined in greater detail below. Each Ballot was designed to assist Senior Creditors and
Existing Common Stockholders to understand the voting process. Senior Creditors and Existing Common
Stockholders should return the Ballot to the Voting Agent or to their Voting Nominee, as appropriate, to cast their
vote.

     Senior Creditors and Existing Common Stockholders have two voting options in connection with the Plan, as
follows:

    OPTION (1).         Vote to ACCEPT the Plan.

    OPTION (2).         Vote to REJECT the Plan.

     Senior Creditors and Existing Common Stockholders that vote to reject the Plan, take no action, or fail to
provide or timely cast their Class 3 Ballot or Class 8 Ballot, respectively, may nevertheless be bound by the terms of
the Plan and have the relevant treatment applied to their Claim or Equity Interest if the Plan is consummated. You
must check the box on your Ballot to opt-out of the releases granted under the Plan. If Class 8 (Existing Common
Stock) votes to reject the Plan, Existing Common Stockholders will receive no distributions under the Plan.

     Selection of OPTION (1) on the Class 3 Ballot by a First Lien Bank Lender will be deemed a direction
(evidenced by the Class 3 Ballot), effective upon the Petition Date, to the First Lien Administrative Agent and the
First Lien Collateral Agent to forbear from exercising all rights and remedies with respect to defaults under the First
Lien Credit Facility, including, but not limited to, rights and remedies exercisable in respect of guarantees by non-
Debtor affiliates and against Collateral. Selection of OPTION (1) on the Class 3 Ballot by a Bondholder shall
constitute an agreement (evidenced by the Class 3 Ballot), effective upon the Petition Date, by such Bondholder to
forbear from exercising all rights and remedies with respect to defaults under the 10.5% Notes Indenture, including,
but not limited to, rights and remedies exercisable in respect of guarantees by non-Debtor affiliates and against
Collateral.

    In addition to the voting options set forth above, the Senior Creditors and Existing Common Stockholders must
identify themselves as an accredited investor as defined in Regulation D under the Securities Act.

Parties in Interest Entitled to Vote on the Plan

     Under section 1124 of the Bankruptcy Code, a class of claims or interests is deemed to be “impaired” under a
Plan unless (i) the plan leaves unaltered the legal, equitable, and contractual rights to which such claim or interest
entitles the holder thereof or (ii) notwithstanding any legal right to an accelerated payment of such claim or interest,
the plan cures all existing defaults (other than defaults resulting from the occurrence of events related to bankruptcy)
and reinstates the maturity of such claim or interest as it existed before the default.

     In general, a holder of a claim or interest may vote to accept or to reject a Plan if (i) the claim or interest is
“allowed,” which means generally that no party in interest has objected to such claim or interest, and (ii) the claim
or interest is impaired by the plan. If a claim or interest is not impaired by the plan, the Bankruptcy Code deems the
holder of such claim or interest to have accepted the plan and, accordingly, holders of such claims and interests are
not entitled to vote on the plan. Claims in Classes 1, 2, 4, 5, 6, and 7 are unimpaired under the Plan, and holders of
such Claims are therefore not entitled to vote. Claims in Class 3 and Existing Common Stock in Class 8 are
Impaired under the Plan, and holders of such Claims and Equity Interests are therefore entitled to vote. Equity
Interests in Class 9 are Impaired under the Plan, are deemed to reject the Plan and, therefore, are not entitled to vote
to accept or reject the Plan. Accordingly, only holders of Claims in Class 3 and holders of Existing Common Stock
in Class 8 are entitled to vote on the Plan.


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     By executing a Ballot, each Senior Creditor or Existing Common Stockholder will be confirming that (i) it is
the holder of a Senior Creditor Claim or Existing Common Stock to which the Ballot pertains or is an authorized
signatory and has full power and authority to vote to accept or reject the Plan; (ii) it has been provided with a copy
of the Plan and the Disclosure Statement, and acknowledges that the votes set forth on the Ballot are subject to all of
the terms and conditions set forth in the Plan and the Disclosure Statement; (iii) it has not submitted any other
Ballots relating to the Senior Creditor Claim or Existing Common Stock that are inconsistent with the votes set forth
in the Ballot or if such other Ballots were previously submitted, they have been revoked or changed to reflect the
votes set forth in the new Ballot; and (iv) with respect to each Senior Creditor, such holder is an Accredited Investor,
as the term is defined in Regulation D of the Securities Act; provided, however, the failure to return such
certification will not affect such holders’ right to receive a distribution under the Plan; and (v) either (a) the Ballot is
the only Ballot submitted for the Senior Creditor Claim or Existing Common Stock or (b) in addition to the Ballot,
one or more Ballots for the Senior Creditor Claim or Existing Common Stock have been submitted as indicated on
the Ballot.

     By executing a Ballot each Senior Creditor also acknowledges that the interests being offered pursuant to the
Plan are not being offered pursuant to a registration statement filed with the Securities and Exchange Commission
and represents that any such securities will be acquired for its own account solely for investment, not as agent or
nominee, and not with a view to, or for resale in connection with, any distribution of, or with any present intention
of distributing or selling in connection with any distribution, all or any portion thereof within the meaning of the
Exchange Act.

Voting Instructions Specific to Bondholders

    If you are a Bondholder, you must deliver your Ballot to your broker, bank, dealer, agent, or other nominee
(each of the foregoing, a “Nominee”). Please return your Ballot to your Nominee in order to allow for sufficient
time to permit your Nominee to deliver a master ballot (the “Master Ballot”) including your vote to the Voting
Agent by June 11, 2012 (the “Voting Deadline”).

     Prior to the Solicitation Mailing Date, the Voting Agent will determine the identity of those registered record
owners and intermediary record owners (collectively, “Record Owners”) holding 10.5% Notes on behalf of
Bondholders as of the applicable Voting Record Date utilizing security positions reports provided by the Depository
Trust Company (“DTC”) and will distribute an appropriate number of Solicitation Packages to such Record Owners
to allow them to forward one to each applicable Bondholder. Intermediate Record Owners will distribute
Solicitation Packages to the respective Bondholders within five (5) days of receiving Solicitation Packages.

Withdrawal of Ballots; Revocation

     A notice of withdrawal, to be valid, must (i) contain the description of the Claim(s) or Equity Interest(s) to
which it relates and the aggregate principal amount represented by such Claim(s) or Equity Interest(s), (ii) be signed
by the withdrawing party in the same manner as the Ballot being withdrawn, (iii) contain a certification that the
withdrawing party owns the Claim(s) or Equity Interest(s) and possesses the right to withdraw the vote sought to be
withdrawn and (iv) be received by the Voting Agent in a timely manner at the address set forth on the Ballot. The
Debtors will determine whether any withdrawals of Ballots are valid and expressly reserve the absolute right to
contest the validity of any such withdrawals of Ballots. Unless otherwise directed by the Court, a purported notice
of withdrawal of a Ballot which is not received in a timely manner by the Debtors will not be effective to withdraw a
timely cast Ballot.

     Any party who has previously submitted to the Voting Agent prior to the Voting Deadline a properly completed
Ballot or Master Ballot may revoke such Ballot or Master Ballot and change his or its vote by submitting to the
Voting Agent prior to the Voting Deadline a subsequent properly completed Ballot or Master Ballot for acceptance
or rejection of the Plan. In the case where more than one timely, properly completed Ballot or Master Ballot is
received, only the Ballot or Master Ballot which bears the latest date of receipt by the Voting Agent will be counted
for purposes of determining whether the requisite acceptances have been received. In the case where more than one
timely, properly completed Master Ballot is received, provided that the underlying beneficial accounts on such
Master Ballots are determined to not be duplicative, each such Master Ballot will be counted.


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Voting Agent and Financial Advisor

     In connection with the Plan, the Debtors intend to retain KCC to act as Voting Agent and Blackstone, as
financial advisor (together the “Agents”), each of which will receive customary fees for their services. The Debtors
have agreed to reimburse each of the Agents’ respective out-of-pocket expenses and to indemnify each Agent
against certain liabilities, including liabilities under federal securities laws and to contribute to payments that such
Agent may be required to make in respect thereof. No fees or commissions have been or will be paid by the Debtors
to any broker, dealer or other person, other than the Agents, in connection with the solicitation of acceptances of the
Plan.

    Questions and requests for assistance or additional copies of this Disclosure Statement or the related Ballot may
be directed to the Voting Agent at (877) 833-4150.

    Ballots and all correspondence in connection with the Plan should be sent or delivered to the Voting Agent in
accordance with the instructions contained in the Ballot. Any Senior Creditor or Existing Common Stockholder that
has questions concerning the Plan should contact the Voting Agent at (877) 833-4150.

     None of the Agents assumes any responsibility for the accuracy or completeness of the information concerning
the Debtors contained or incorporated by reference in this Disclosure Statement or for any failure by the Debtors to
disclose events that may have occurred and may affect the significance or accuracy of such information.

Further Information; Additional Copies

     If you have any questions or require further information about the voting procedure for voting your Claim or
Equity Interest or about the packet of material you received, please contact the Voting Agent, whose contact
information is set forth above and on the Ballot. If you wish to obtain an additional copy of the Plan, the Disclosure
Statement, or any exhibits or appendices to such documents, please contact the Voting Agent.




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                                                    RISK FACTORS

     The restructuring transactions involve a high degree of risk and uncertainty. You should carefully consider the
risks and uncertainties described below as well as the other information appearing elsewhere in this Disclosure
Statement before making a decision whether to vote to accept the Plan.

Risks Related to Failure to Consummate the Restructuring Plan

If the Plan is not accepted by the requisite number of creditors for its approval, the Debtors will likely need to
seek relief under the Bankruptcy Code without the benefit of a pre-negotiated Plan.

    If the Debtors do not consummate the Plan, they will likely need to seek relief under the Bankruptcy Code
without the benefit of a pre-negotiated Plan.

    The Debtors believe that seeking relief under the Bankruptcy Code other than in connection with the pre-
packaged Plan could materially adversely affect the relationships between the Debtors and their existing and
potential customers, employees, partners and other stakeholders. For example:

    •    such a filing may substantially erode our customers’ confidence and that as a result there could be a
         significant and precipitous decline in our global revenues, profitability and cash flow;

    •    employees could be distracted from performance of their duties, or more easily attracted to other career
         opportunities;

    •    it may be more difficult to attract or replace key employees;

    •    lenders and other partners could seek to terminate their relationships with the Debtors, require financial
         assurances or enhanced returns, or refuse to provide credit on the same terms as prior to the reorganization
         case under chapter 11 of the Bankruptcy Code or at all;

    •    lenders to subsidiaries that are not subject to the bankruptcy proceedings could, in certain cases, terminate
         financing agreements, accelerate amounts due thereunder or otherwise claim an event of default has
         occurred thereunder;

    •    the Debtors could be forced to operate in bankruptcy for an extended period of time while they try to
         develop a reorganization plan that could be confirmed;

    •    certain of the Debtors’ Foreign Affiliates may be required to seek bankruptcy or similar relief under
         proceedings outside the United States, which would adversely affect their businesses;

    •    If the Debtors were unable to obtain debtor in possession financing during the Chapter 11 Cases, the
         Debtors may need to consider liquidation under chapter 7 of the Bankruptcy Code;

    •    if the Debtors were not able to confirm and implement a Plan, the Debtors may be forced to liquidate under
         chapter 7 of the Bankruptcy Code; and

    •    any distributions that you may receive under a liquidation or under a protracted reorganization case or cases
         under chapter 11 of the Bankruptcy Code would likely be substantially delayed and the value of any
         potential recovery likely would be adversely impacted by such delay.

Risks Related to the Chapter 11 Cases and the Plan

    The commencement of a chapter 11 case for the purpose of implementing the Plan may result in a number of
adverse consequences.


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The Chapter 11 environment may adversely affect our business.

    The filing of chapter 11 petitions by the Debtors, and the publicity attendant thereto, may adversely affect the
Debtors’ business. The Debtors believe that any such adverse effects may worsen during the pendency of protracted
chapter 11 cases if the Plan is not confirmed as expected.

     Some state and local procurement laws and guidelines require the school district or department of education to
award contracts only to financially “responsible” bidders. Accordingly, the Debtors’ state and local government
customers may take into account a chapter 11 petition in determining the Debtors’ financial responsibility, which
may in turn impact not only the award of new contracts but potentially also renewals or extensions of existing
contracts. Furthermore, many jurisdictions specifically require a vendor to disclose a bankruptcy filing for several
years after such filing is made. Such disclosure may affect customer decisions regarding the future award of
contracts. While certain anti-discrimination provisions of the Bankruptcy Code protect government vendors against
discrimination solely on the basis of having sought bankruptcy protection, it is unclear if such provisions can be
successfully used to protect future business.

The Restructuring Plan, which contemplates transactions that will modify our debt and equity structure is based
in large part upon assumptions and analyses developed by us regarding our business, the economic environment
and other factors. If these assumptions and analyses prove to be incorrect, our plan may be unsuccessful in its
execution.

     The Restructuring Plan, which constitutes transactions that will affect both our debt and equity structure, is
based upon assumptions and analyses based on our experience and perception of historical trends, current conditions
and expected future developments, as well as other factors that we consider appropriate under the circumstances.
Whether actual future results and developments will be consistent with our expectations and assumptions depends
on a number of factors, including but not limited to (i) our ability to obtain adequate liquidity and financing sources
and establish an appropriate level of debt, including our ability to implement the Restructuring Plan; (ii) our ability
to maintain customers’ confidence in our viability as a continuing entity and to attract and retain sufficient
customers; (iii) our ability to retain key employees in those businesses that we intend to continue to emphasize, and
(iv) the overall strength and stability of general economic conditions of the financial industry, both in the United
States and in global markets. The failure of any of these factors could materially adversely affect the successful
execution of the restructuring of our businesses.

     In addition, the Restructuring Plan relies upon financial forecasts, including with respect to revenue growth,
improved earnings before interest, taxes, depreciation and amortization, improved interest margins, and growth in
cash flow. Financial forecasts are necessarily speculative, and it is likely that one or more of the assumptions and
estimates that are the basis of these financial forecasts will not be accurate. In our case, the forecasts are even more
speculative than normal, because they involve fundamental changes in the nature of our business. Accordingly, we
expect that our actual financial condition and results of operations will differ, perhaps materially, from what we have
anticipated. Consequently, there can be no assurance that the results or developments contemplated by the
Restructuring Plan will occur or, even if they do occur, that they will have the anticipated effects on us and our
subsidiaries or our businesses or operations. The failure of any such results or developments to materialize as
anticipated could materially adversely affect the successful execution of the transactions contemplated by the
Restructuring Plan.

Failure to Satisfy Vote Requirement.

     In the event that sufficient votes are not received in favor of the Plan, the Debtors may or may not file petitions
for relief under chapter 11 or chapter 7 of the Bankruptcy Code. In such event, the Debtors may seek to accomplish
an alternative restructuring of their capitalization and their obligations to creditors.

Non-Confirmation or Delay of Confirmation of the Plan.

   The Court, which sits as a court of equity, may exercise substantial discretion. Section 1129 of the Bankruptcy
Code sets forth the requirements for confirmation and requires, among other things, that the confirmation of the Plan


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not be followed by a need for further financial reorganization and that the value of distributions to dissenting
creditors and shareholders not be less than the value of distributions such creditors and shareholders would receive if
the Debtors were liquidated under chapter 7 of the Bankruptcy Code. Although the Debtors believe that the Plan
will meet such tests, there can be no assurance that the Court would reach the same conclusion.

Risk of Non-Occurrence or Delay of the Effective Date.

     Although the Debtors believe that the Effective Date will occur reasonably soon after the Confirmation Date,
there can be no assurance as to such timing or as to whether it will occur.

Classification and Treatment of Claims and Equity Interests.

     Section 1122 of the Bankruptcy Code requires that the Plan classify Claims against, and Equity Interests in, the
Debtors. The Bankruptcy Code also provides that the Plan may place a Claim or Equity Interest in a particular
Class only if such Claim or Equity Interest is substantially similar to the other Claims or Equity Interests of such
Class. If it is determined that the Plan has not appropriately classified Claims and Equity Interests, any required
reclassification could require the Debtors to resolicit acceptances, and, in that event, confirmation of the Plan could
be delayed and possibly jeopardized.

If the Court determines that our solicitation of votes did not comply with the requirements of the Bankruptcy
Code, we may need to resolicit acceptances which would delay confirmation of the Plan.

    Section 1126(b) of the Bankruptcy Code provides that the holder of a claim against, or interest in, a debtor who
accepts or rejects a plan before the commencement of a chapter 11 case is deemed to have accepted or rejected such
plan under the Bankruptcy Code so long as the solicitation of such acceptance was made in compliance with
applicable nonbankruptcy law governing the adequacy of disclosure in connection with such solicitations, or, if such
laws do not exist, such acceptance was solicited after disclosure of “adequate information,” as defined in section
1125 of the Bankruptcy Code.

     In addition, Bankruptcy Rule 3018(b) provides that a holder of a claim or interest who has accepted or rejected
a plan before the commencement of the case under the Bankruptcy Code will not be deemed to have accepted or
rejected the plan if the court finds after notice and a hearing that the plan was not transmitted in accordance with
reasonable solicitation procedures.

     The Debtors believe that the solicitation of votes to accept or reject the Plan from holders of Claims in Class 3
and the holders of Equity Interests in Class 8 is proper under applicable nonbankruptcy law, rules, and regulations,
and contains adequate information as defined by section 1125(a) of the Bankruptcy Code. The Debtors also believe
that they are not required to solicit any other Class under the Bankruptcy Code or applicable nonbankruptcy law,
rules, or regulations. The Debtors cannot be certain, however, that the solicitation of acceptances or rejections will
be approved by the Court. There is also a risk that confirmation of the Plan could be denied by the Court.

     The Debtors believe that the use of the Disclosure Statement and Ballots for the purpose of obtaining
acceptances of the Plan and the solicitation complies with the Bankruptcy Code. The Court may decide, however,
that the solicitation failed to meet the requirements of section 1126(b) of the Bankruptcy Code. If the Court
determines that the solicitation did not comply with the requirements of section 1126(b) of the Bankruptcy Code, the
Debtors may seek to resolicit acceptances, and, in that event, confirmation of the Plan could be delayed and possibly
jeopardized.

The Restructuring will be a Taxable Transaction for Holders of Senior Creditor Claims, and Holders of Senior
Creditor Claims may not receive Cash in the Transactions in an amount sufficient to pay taxes.

     As described in more detail in “Certain U.S. Federal Income Tax Considerations” above, the Restructuring
transactions will be taxable to holders of Senior Creditor Claims who receive New Common Stock and Cash.
Whether the transaction will result in taxable gain or loss will depend on a holder’s tax basis in the Senior Creditor
Claims. Holders that recognize taxable gain will receive Cash in the transaction, but the amount of such Cash may


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not be sufficient to pay all taxes attributable to taxable gain on the transaction, and therefore, holders may need cash
from other sources to pay any tax attributable to such gain. Holders are urged to consult their own tax advisors with
respect to these and other consequences of the Plan in light of their particular circumstances.

Existing Common Stockholders that are Non-U.S. Holders that receive New Warrants may be required to file
U.S. tax returns as a result of receiving the New Warrants.

     The treatment of the receipt of New Warrants is not entirely clear. If the receipt of the New Warrants is treated
as a fee, Non-U.S. Holders may be required to file tax returns with respect to, and be subject to US federal income
tax on, the fee. Non-U.S. Holders of Existing Common Stock are urged to speak with their own tax advisors. See
“Certain U.S. Federal Income Tax Considerations - U.S. Federal Income Tax Considerations for Non-U.S. Holders
- U.S. Federal Income Tax Considerations for Non-U.S. Holders” for more information.

The Restructuring is expected to be a Taxable Transaction Existing Common Stockholders, and Existing
Common Stockholders will not receive Cash in the Transactions.

     As described in more detail in “Certain U.S. Federal Income Tax Considerations” above, the Restructuring
transactions are expected to be taxable to holders of Existing Common Stock who receive New Warrants. Whether
the transaction will result in taxable gain or loss will depend on a holder’s tax basis in the Existing Common Stock.
Holders that recognize taxable gain will not receive Cash in the transaction and may need Cash from other sources
to pay any tax attributable to taxable gain on the transaction. Holders are urged to consult their own tax advisors
with respect to these and other consequences of the Plan in light of their particular circumstances.

Risks Related to the Capital Stock of Reorganized HMH Holdings

There can be no assurance as to the liquidity of the trading market for the New Common Stock or the New
Warrants or that a trading market for such securities will develop.

     There is currently no public market through which the New Common Stock or the New Warrants offered
hereby may be sold and we do not intend to immediately apply for the listing of such securities on any securities
exchange. This may negatively affect the value and the pricing of the New Common Stock and the New Warrants in
the secondary market, the transparency and availability of trading prices, and the liquidity of such securities. As a
result, holders of such securities may be unable to resell such securities at an acceptable price or at all. In addition,
pursuant to the Amended and Restated Articles of Incorporation of HMH Holdings, in certain cases, the HMH
Holdings Board of Directors may institute trading restrictions with respect to the New Common Stock to protect
certain tax assets of the Companies, which could also affect the liquidity, transparency, and trading prices of the
New Common Stock.

Risks Related to Liquidity and Capital

Even if we successfully consummate the Plan, inadequate liquidity could materially adversely affect our future
business operations.

    Even if the Plan is consummated successfully, we may require additional funding during the remainder of 2012
and beyond to manage and operate our businesses. Given the current business environment, our liquidity needs
could be significantly higher than we currently anticipate. Our ability to maintain adequate liquidity through 2012
and beyond will depend on entering into a new credit facility, successfully consummating the Plan, successfully
operating our business, continuing to curtail operating expenses and capital spending, and, potentially, completing
various asset sales. Our forecasted liquidity needs are highly sensitive to changes in each of these and other factors.

     Even if we successfully consummate the Plan, implement our business restructuring strategy, obtain sufficient
financing from third party sources to continue operations, and successfully operate our business, we may be required
to execute asset sales or other capital generating actions over and above our normal finance activities and cut back or
eliminate programs that are important to the future success of our business. In addition, our customers and
counterparties might respond to further weakening of our liquidity position by requesting quicker payment, requiring


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additional collateral and increasing draws on our outstanding commitments. If this were to happen, our need for
cash would be intensified and we may be unable to operate our business successfully.

Even if we successfully consummate the Plan, the Reorganized Debtors will continue to face risks beyond their
control.

     Even if the Plan is consummated, the Reorganized Debtors will continue to face a number of risks, including
certain risks that are beyond their control, including changes in economic conditions, changes in the industry,
legislative changes, changes in consumer demand for, and acceptance of, products produced by Houghton Mifflin
Harcourt, inflation and other costs and purchase obligations. As a result of these risks and others, there is no
certainty that the Restructuring will achieve Houghton Mifflin Harcourt’s stated goals.

We may be adversely affected by significant changes in interest rates.

     The Reorganized Debtors’ new financing indebtedness, including borrowings under a revolver, bears interest at
variable rates. If market interest rates increase, variable-rate debt will create higher debt service requirements,
which could adversely affect our cash flow. While we may enter into agreements limiting exposure to higher
interest rates, these agreements may not offer complete protection from this risk.

We are subject to contingent liabilities that may affect liquidity and our ability to meet our obligations.

     In the ordinary course of business, we issue performance-related surety bonds and letters of credit posted as
security for our operating activities, some of which obligate us to make payments if we fail to perform under certain
contracts in connection with the sale of instructional materials and assessment tests. The surety bonds are partially
backstopped by letters of credit. As of December 31, 2011, our contingent liability for all letters of credit was
approximately $26.2 million, of which $6.4 million were issued to backstop $11.6 million of surety bonds. The
gross amount of letters of credit is 100% cash collateralized. As a result, letters of credit reduce operating cash,
which could affect liquidity and, therefore, our ability to meet our obligations. We may increase the number and
amount of contracts that require the use of letters of credit, which may further restrict liquidity and, therefore, our
ability to meet our obligations in the future. Furthermore, there is a risk that surety providers may require that letters
of credit be issued to backstop a higher percentage of any new performance bonds.

Risks Related to Our Business

     The following factors affect our business and the industry in which we operate. The risks and uncertainties
described below are not the only ones we face. Additional risks and uncertainties not presently known or that we
currently consider immaterial may also have an adverse effect on our business. If any of the matters discussed in the
following risk factors were to occur, our business, financial position, results of operations, cash flows, or prospects
could be materially adversely affected.

Our U.S. educational comprehensive curriculum, supplemental and assessment businesses may be adversely
affected by changes in state and local educational funding resulting from either general economic conditions,
changes in government educational funding, programs and legislation (both at the federal and state level), and/or
changes in the state procurement process.

     The results and growth of our U.S. educational comprehensive curriculum, supplemental and assessment
businesses are dependent on the level of federal and state educational funding, which in turn is dependent on the
robustness of state finances and the level of funding allocated to educational programs. State, local and municipal
finances have been adversely affected by the U.S. recession and continuing economic weakness as well as the
increasing costs and financial liabilities from under-funded public pension plans. In response to budget shortfalls,
states and districts may reduce educational spending as they seek cost savings to mitigate budget deficits. Most
public school districts, the primary customers for K-12 products and services, are largely dependent on state and
local funding to purchase materials. In school districts in states that primarily rely on local tax proceeds, significant
reductions in those proceeds for any reason can severely restrict district purchases of instructional materials. In



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districts and states that primarily rely on state funding for instructional materials, a reduction in state funds or
loosening of restrictions on the use of those funds may reduce net sales.

     Federal and/or state legislative changes can also affect the funding available for educational expenditure, which
include the impact of education reform such as the reauthorization of the Elementary and Secondary Education Act
(“ESEA”), the implementation of Common Core State Standards, and Race to the Top funding. Existing programs
and funding streams could be changed or eliminated in connection with legislation to reauthorize the ESEA and/or
the federal appropriations process, in ways that could negatively affect demand and sources of funding for our
products and services. Similarly, changes in the state procurement process for textbooks, supplemental material and
student tests, particularly in adoption states, can also affect our markets and sales. For example, changes in
curricula, delays in the timing of the adoptions of use adoption funds and changes in student testing requirements
can all affect these programs and therefore the size of our market in any given year. The transition to Common Core
State Standards in many states could delay or otherwise affect purchases of curriculum materials and other products.

    There are multiple competing demands for educational funds and there is no guarantee that states will fund the
purchase of new textbooks or testing programs, or that we will win this business.

A significant portion of net sales is derived from sales of K-12 instructional materials pursuant to cyclical
adoption schedules, and if we are unable to maintain residual sales and continue to generate new business, net
sales could be materially and adversely affected.

     Due to the revolving and staggered nature of state adoption schedules, sales of K-12 instructional materials have
traditionally been cyclical, with some years offering more sales opportunities than others. Furthermore, we cannot
make assurances that states that have adopted our programs, or that schools and school districts that have purchased
our products and services, will do so again in the future. A significant portion of net sales is dependent upon our
ability to maintain residual sales and to continue to generate new business. For example, from 2012 through 2016,
adoptions are scheduled or will be implemented in the primary subjects of reading, language arts and literature,
social studies, science and mathematics in, among others, the states of Texas and Florida, two of the largest adoption
states. The inability to succeed in these two states, or reductions in their anticipated funding levels, could materially
and adversely affect net sales for subsequent years. Texas recently enacted legislation (SB 6) allowing districts
flexibility to use State funds previously dedicated exclusively to the purchase of instructional materials for things
such as technology hardware and training, which could adversely affect district expenditures on state-adopted
instructional materials in the future.

Our operating results fluctuate on a seasonal and quarterly basis and in the event we do not generate sufficient
net sales in the third quarter, we may not be able to generate sufficient income to support operating needs.

     Our business is seasonal. For the year ended December 31, 2011, we derived approximately 90% of net sales
from educational publishing in the Education business. For sales of educational products, purchases typically are
made primarily in the second and third quarters of the calendar year, in preparation for the beginning of the school
year, though testing net sales are primarily generated in the second and fourth quarters. We typically realize a
significant portion of net sales during the third quarter, making third-quarter results material to full-year
performance. For example, we realized approximately 44.4% of our net sales for the year ended December 31, 2011
in the third quarter. This sales seasonality affects operating cash flow from quarter to quarter. We normally incur a
net cash deficit from all of our activities through the middle of the third quarter of the year. We cannot make
assurances that our third quarter net sales will continue to be sufficient to meet our obligations or that they will be
higher than net sales for our other quarters. In the event we do not derive sufficient net sales in the third quarter, we
may not be able to generate sufficient income to support our capital and operating needs.

The presence and development of open-sourced content could continue to increase as foundations and other
parties fund development of educational content to be offered to schools and the public at no cost, which could
adversely affect our revenue.

    In recent years there have been initiatives by non-profit organizations such as the Gates Foundation, the Hewlett
Foundation and the General Electric Foundation to develop educational content that can be “open sourced” and
made available to educational institutions for free or nominal cost. To the extent that such open sourced content is


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developed and made available to educational customers and is competitive with our instructional materials, our sales
opportunities and net sales could be adversely affected.

We operate in a highly competitive environment that is subject to rapid change and we must continue to invest
and adapt to remain competitive.

     Our businesses operate in highly competitive markets. These markets continue to change in response to
technological innovations and other factors. Profitability is affected by developments in our markets beyond our
control, including: changing U.S. federal and state standards for educational materials; rising development costs due
to customers’ requirements for more customized instructional materials, instructional platforms, and assessment
programs; changes in prevailing educational and testing methods and philosophies; higher technology costs due to
the trend toward delivering more educational content in both traditional print and electronic formats; market
acceptance of new technology products, including online or computer-based testing; an increase in the amount of
materials given away in the K-12 markets as part of a bundled pack; the impact of the expected increase in turnover
of K-12 teachers and instructors on the market acceptance of our products; customer consolidation in the retail and
wholesale book market and the increased dependence on fewer but stronger customers; rising advances for popular
authors and market pressures to maintain competitive retail pricing; a material increase in product returns or in
certain costs such as paper; and overall uncertain economic issues that affect all markets.

     We cannot predict with certainty the changes that may occur and the effect of those changes on the
competitiveness of our businesses, and the acceleration of any of these developments may materially and adversely
affect our profitability.

    The means of delivering our products may be subject to rapid technological change. Although we have
undertaken several initiatives and invested significant amounts of capital to adapt to and benefit from these changes,
we cannot predict whether technological innovations will, in the future, make some of our products, particularly
those printed in traditional formats, wholly or partially obsolete. If this were to occur, we might be required to
invest significant resources to further adapt to the changing competitive environment. In addition, we cannot predict
whether end customers will have sufficient funding to purchase the equipment needed to use our new technology
products.

     In order to maintain a competitive position, we must continue to invest in new offerings and new ways to
deliver our products and services. These investments may not be profitable or may be less profitable than what we
have experienced historically. If we do not adapt quickly to technology driven changes, we could experience threats
to our existing businesses from the rise of competitors who can adapt rapidly and who increasingly are non-
traditional competitors such as technology providers.

Our ability to enforce our intellectual property and proprietary rights may be limited, which may harm our
competitive position and materially and adversely affect our business and results of operations.

     Our products are largely comprised of intellectual property content delivered through a variety of media,
including books and digital and web-based media. We rely on copyright, trademark and other intellectual property
laws to establish and protect our proprietary rights in these products. However, we cannot make assurances that our
proprietary rights will not be challenged, invalidated or circumvented. We conduct business in other countries
where the extent of effective legal protection for intellectual property rights is uncertain, and this uncertainty could
affect future growth. Moreover, despite the existence of copyright and trademark protection under applicable laws,
third parties may nonetheless violate our intellectual property rights, and our ability to remedy such violations,
particularly in foreign countries, may be limited. In addition, the copying and distribution of content over the
Internet creates additional challenges for us in protecting our proprietary rights. If we are unable to adequately
protect and enforce our intellectual property and proprietary rights, our competitive position may be harmed and our
business and financial results could be materially and adversely affected.




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We operate in markets which are dependent on Information Technology (“IT”) systems and technological
innovation.

     Our business is dependent on information technology. We either provide software and/or internet based
services to our customers or we use complex IT systems and products to support our business activities, particularly
in infrastructure and as we move our products and services to an increasingly digital delivery platform.

     We face several technological risks associated with software product development and service delivery in our
educational businesses, information technology security (including virus and hacker attacks), e-commerce,
enterprise resource planning system implementations and upgrades. The failure to recruit and retain staff with
relevant skills may constrain our ability to grow as we combine traditional publishing products with online service
offerings.

A major data privacy breach or unanticipated IT system failure may cause reputational damage to our brands
and financial loss.

    Across our businesses we hold large volumes of personal data, including that of employees, customers and
students. Failure to adequately protect personal data could lead to penalties, significant remediation costs,
reputational damage, potential cancellation of existing contracts and inability to compete for future business. We
have policies, processes and internal controls to ensure the stability of our information technology, provide security
from unauthorized access to our systems and maintain business continuity, but our operating results may be
adversely impacted by unanticipated system failures, data corruption or breaches in security.

We are reliant on third-party software development as part of our digital platform.

     Some of the technologies and software that compose our instruction and assessment technologies, including a
core component of certain of our digital learning solutions, are developed by third parties. We are reliant on those
third parties for the development of future components and modules. Thus, we face risks associated with software
product development and the ability of those third parties to meet our needs and their obligations under our contracts
with them.

We are a party to at-will contracts with significant customers and the termination of these contracts could harm
our business.

     We currently provide or have agreements to provide products and services to governmental agencies, school
districts and educational facilities under contracts that are generally terminable at-will. The fact that these customers
have at-will contracts with us gives rise to the possibility that we may have no recourse in the event of customer
cancellation of a contract (except as may be provided under the Bankruptcy Code). In addition, contracts awarded
by states pursuant to a procurement process are subject to challenge by competitors and other parties during and
after that process. We anticipate that we will continue to rely predominately upon customers under such at-will
contractual arrangements. As a result of this reliance, the election by these customers to terminate any or all of their
at-will contracts with us, or the loss of or decrease in business from several of our large customers, could materially
and adversely affect our business, prospects, financial condition and results of operations.

We may not be able to identify successful business models for generating sales of technology based programs.
Furthermore, customers’ expectations for the number and sophistication of technology-based programs that are
given to them at no additional charge may increase, as may development costs.

     The basal elementary school, basal secondary school and educational testing customers have become
accustomed to being given technology-based products at no additional charge from publishers, such as us, as
incentives to adopt programs and other products. The sophistication and expense of technology-based products
continues to grow. Our profitability may decrease materially if: we are unable to realize sales of these products;
customers continue to rely on an increasing number of technology-based materials of increasing quality being given
to them; or costs of these products continue to rise.




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Changes in product distribution channels and/or customer bankruptcy may restrict our ability to grow and affect
our profitability.

     New distribution channels such as digital format, the internet, online retailers, growing delivery platforms (e.g.
e-readers), combined with the concentration of retailer power, pose threats and provide opportunities to our
traditional consumer publishing models in our Trade and Reference business, potentially impacting both sales
volumes and pricing. The economic slowdown combined with the trend to e-books has created contraction in the
consumer books retail market that has increased the risk of bankruptcy of major retail customers as evidenced by the
bankruptcy filing of the Borders book chain, which resulted in the write-off of a receivable of $4.4 million.
Additional bankruptcies of traditional “bricks and mortar” retailers of Trade and Reference books could negatively
affect our financial performance.

Expansion of our investments and business outside of our traditional core U.S. market may result in lower than
expected returns and incremental risks.

     To take advantage of international growth opportunities and to reduce our reliance on our core U.S. market, we
are increasing our investments in a number of countries and emerging markets, including Asia and the Middle East,
some of which are inherently more risky than our investments in the U.S. market. Political, economic, currency,
reputational and corporate governance risks (including fraud) as well as unmanaged expansion are all factors which
could limit our returns on investments made in these markets. For example, current political instability in the
Middle East has caused uncertainty in the region, which could affect our results of operations in the region. Also,
certain international customers require longer payment terms, increasing our credit risk. As we expand
internationally, these risks will become more pertinent to us and could have a bigger impact on our business.

We may not be able to complete, or achieve the expected benefits from, any future acquisitions, which could
materially and adversely affect our growth.

     We have at times used acquisitions as a means of expanding our business and expect that we will continue to do
so. If we do not successfully integrate acquisitions, anticipated operating advantages and cost savings may not be
realized. The acquisition and integration of companies involve a number of risks, including: use of available cash,
new borrowings or borrowings under our accounts receivable securitization facility to consummate the acquisition;
demands on management related to the increase in our size after an acquisition; diversion of management’s attention
from existing operations to the integration of acquired companies; integration of companies existing systems into
our systems; difficulties in the assimilation and retention of employees; and potential adverse effects on our
operating results.

     We may not be able to maintain the levels of operating efficiency that acquired companies achieved separately.
Successful integration of acquired operations will depend upon our ability to manage those operations and to
eliminate redundant and excess costs. We may not be able to achieve the cost savings and other benefits that we
would hope to achieve from acquisitions, which could materially and adversely affect our financial condition and
results.

We may not be able to retain or attract the key management, creative, editorial and sales personnel that we need
to remain competitive and grow.

    Our success depends, in part, on our ability to continue to retain key management and other personnel. We
operate in a number of highly visible industry segments where there is intense competition for experienced and
highly effective individuals, including authors. Our successful operations in these segments may increase the
market visibility of members of key management, creative and editorial teams and result in their recruitment by
other businesses. There can be no assurance that we can continue to attract and retain the necessary talented
employees, including executive officers and other key members of management and, if we fail to do so, it could
adversely affect our business.

     In addition, our sales personnel make up approximately 20% of our employees, and our business results depend
largely upon the experience, knowledge of local market dynamics and long-standing customer relationships of such


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personnel. Our inability to retain or hire effective sales people at economically reasonable compensation levels
could materially and adversely affect our ability to operate profitably and grow our business.

A significant increase in operating costs and expenses could have a material adverse effect on our profitability.

     Our major expenses include employee compensation and printing, paper and distribution costs for product-
related manufacturing. We offer competitive salary and benefit packages in order to attract and retain the quality
employees required to grow and expand our businesses. Compensation costs are influenced by general economic
factors, including those affecting the cost of health insurance and postretirement benefits, and any trends specific to
the employee skill sets we require. We could experience changes in pension costs and funding requirements due to
poor investment returns and/or changes in pension laws and regulations.

     Paper prices fluctuate based on the worldwide demand and supply for paper in general and for the specific types
of paper used by us. Paper is one of our principal raw materials and, for the year ended December 31, 2011, our
paper purchases totaled approximately $65 million while our manufacturing costs totaled approximately $248
million. Our books and workbooks are printed by third parties and we typically have multi-year contracts for the
production of books and workbooks in order to reduce price fluctuations over the contract term. Increases in any of
our operating costs and expenses could materially and adversely affect our profitability and our results of operations.

     We make significant investments in information technology data centers and other technology initiatives as well
as significant investments in the development of programs for the K-12 marketplace. Although we believe we are
prudent in our investment strategies and execution of our implementation plans, there is no assurance as to the
ultimate recoverability of these investments.

Exposure to litigation could have a material effect on our financial position and results of operations.

     We are involved in legal actions and claims arising from our business practices and face the risk that additional
actions and claims will be filed in the future. Litigation alleging infringement of copyrights and other intellectual
property rights has become extensive in the educational publishing industry. At present, there are various suits
pending or threatened which claim that we exceeded the print run limitation or other restrictions in licenses granted
to us to reproduce photographs in our textbooks. A number of similar claims against us have already been settled.
While management does not expect any of these matters to have a material adverse effect on our results of
operations, financial position or cash flows, due to the inherent uncertainty of the litigation process, the resolution of
any particular legal proceeding or change in applicable legal standards could have a material effect on our financial
position and results of operations.

    We have insurance in such amounts and with such coverage and deductibles as management believes is
reasonable. However, there can be no assurance that our liability insurance will cover all events or that the limits of
coverage will be sufficient to fully cover all liabilities.

Operational disruption to our business caused by a major disaster and/or external threats could restrict our
ability to supply products and services to our customers.

    Across all our businesses, we manage complex operational and logistical arrangements including distribution
centers, data centers and large office facilities as well as relationships with third party print vendors. We have also
outsourced some support functions, including application maintenance support, to third party providers. Failure to
recover from a major disaster (such as fire, flood or other natural disaster) at a key facility or the disruption of
supply from a key third party vendor or partner (for example, due to bankruptcy) could restrict our ability to service
our customers. External threats, such as terrorist attacks, strikes, weather and political upheaval, could affect our
business and employees, disrupting our daily business activities.

Uncertainties related to our business may result in the loss of or decreased business with customers.

    Our business depends upon our customers believing that we will be able to provide a wide range of quality
products on a timely basis to our customers. Our ability to provide our products on a reliable and timely basis


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affects our ability to attract new customers. If our customers are uncertain as to our ability to continue to provide
them with products on a timely basis or to provide the same breadth and quality of products, we may be unable to
attract new customers and we may experience lower business with or a loss of customers.

Uncertainties related to our business may create a distraction for or cause a loss of employees and may otherwise
materially adversely affect our ability to attract new employees.

     Our future results of operations will depend in part upon our ability to retain existing highly skilled and
qualified employees and to attract new employees. Failure to continue to attract and retain such individuals could
materially adversely affect our ability to compete. Uncertainties about the future prospects and viability of our
business and the possibility of seeking relief under the Bankruptcy Code is impacting and is likely to continue to
impact our ability to attract and retain key management, technical and other personnel, and is creating a distraction
for existing employees. If we are significantly limited or unable to attract and retain key personnel, or if we lose a
significant number of key employees, or if employees continue to be distracted due to the uncertainties about the
future prospects and viability of our business, it could have a material adverse effect on our ability to successfully
operate our business or to meet our operations, risk management, compliance, regulatory, and financial reporting
requirements.

We may be adversely affected by further deterioration in economic conditions that is general or specific to
industries, products or geographic areas.

    A continued and prolonged recession would likely exacerbate our current difficulties in originating new
business, given the resultant availability of credit. In addition, a continued downturn in state revenues and funding
may result in a reduced demand for the products that we produce.

We may record future goodwill impairment charges related to one or more of our business units, which could
materially adversely impact our results of operations.

     We test our goodwill balances for impairment during the fourth quarter of each year, or more frequently if
indicators are present or changes in circumstances suggest that impairment may exist. We assess goodwill for
impairment at the reporting unit level and, in evaluating the potential for impairment of goodwill, we make
assumptions regarding estimated revenue projections, growth rates, cash flows and discount rates. Although we use
consistent methodologies in developing the assumptions and estimates underlying the fair value calculations used in
our impairment tests, these estimates are uncertain by nature and can vary from actual results. Declines in the future
performance and cash flows of the reporting unit or small changes in other key assumptions may result future
goodwill impairment charges, which could materially adversely impact our results of operations.




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                                    CONCLUSION AND RECOMMENDATION

    The Debtors believe that confirmation of the Plan in the Chapter 11 Cases is preferable to the alternatives
described above because it provides the greatest distributions to holders of Claims against and Equity Interests in the
Debtors. In addition, any alternative to confirmation of the Plan in the Chapter 11 Cases could result in extensive
delays and increased expenses and have a material adverse effect on the Debtors. Accordingly, the Debtors urge all
Senior Creditors and Existing Common Stockholders to vote to accept the Plan.




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                                   APPENDIX A

                                    THE PLAN

                                   See Attached.
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
                                                  x
                                                  :   Chapter 11
   In re:                                         :
                                                  :   Case No. 12-____ (___)
   HOUGHTON MIFFLIN HARCOURT                      :
   PUBLISHING COMPANY, et al.,                    :   (Jointly Administered)
                                                  :
                               Debtors.           :
                                                  :
                                                  x



                       PREPACKAGED JOINT PLAN OF
                    REORGANIZATION OF THE DEBTORS
                UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

   Dated:   New York, New York
            May 11, 2012




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   Houghton Mifflin Harcourt Publishing Company (―HMH‖), Houghton Mifflin Harcourt
   Publishers Inc. (―HMH Publishers, Inc.‖), HMH Publishers LLC (―HMH Publishers
   LLC‖), Houghton Mifflin Holding Company, Inc., Houghton Mifflin, LLC, Houghton
   Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc., HM Publishing Corp., Riverdeep
   Inc., a Limited Liability Company, Broderbund LLC, RVDP, Inc., HRW Distributors,
   Inc., Greenwood Publishing Group, Inc., Classroom Connect, Inc., ACHIEVE! Data
   Solutions, LLC, Steck-Vaughn Publishing LLC, HMH Supplemental Publishers Inc.,
   HMH Holdings (Delaware), Inc., Sentry Realty Corporation, Houghton Mifflin Company
   International, Inc., The Riverside Publishing Company, Classwell Learning Group Inc.,
   Cognitive Concepts, Inc., Edusoft, and Advanced Learning Centers, Inc., the above-
   captioned debtors and debtors in possession (collectively, the ―Debtors‖), hereby propose
   the following prepackaged joint plan of reorganization under section 1121(a) of the
   Bankruptcy Code.

   Reference is made to the Disclosure Statement accompanying the Plan, including the
   exhibits thereto, for a discussion of the Debtors’ history, business, properties, results of
   operations, projections for future operations and risk factors, together with a summary
   and analysis of the Plan. Certain documents to be entered into in connection with
   consummation of the Plan are summarized herein. To the extent any inconsistency exists
   between the summaries contained herein and the documents to be entered into in
   connection with consummation of the Plan, the terms of such documents shall control.
   All Creditors and Equity Interest holders entitled to vote on the Plan are encouraged to
   consult the Disclosure Statement, including the documents attached thereto as exhibits,
   and to read the Plan carefully before voting to accept or reject the Plan.

                                                I.

                   DEFINITIONS AND CONSTRUCTION OF TERMS

                  A.      Definitions.

   Unless otherwise defined herein, or the context otherwise requires, the following terms
   shall have the respective meanings set forth below:

   10.5% Indenture Trustee                means The Bank of New York Mellon Trust
                                          Company, N.A. and any successor thereto in its
                                          capacity as indenture trustee under the 10.5%
                                          Notes Indenture.

   10.5% Notes                            means the 10.5% Senior Secured Notes due 2019
                                          issued pursuant to the 10.5% Notes Indenture.




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   10.5% Notes Claim                  means all Claims in respect of the 10.5% Notes
                                      (including interest accrued thereon as of the
                                      Petition Date) other than the Indenture Trustee
                                      Expenses.

   10.5% Notes Indenture              means the Indenture (as amended, supplemented,
                                      restated or otherwise modified), dated as of May
                                      26, 2011 among The Bank of New York Mellon
                                      Trust Company, N.A., as Trustee and Collateral
                                      Agent, Houghton Mifflin Harcourt Publishers Inc.,
                                      Houghton Mifflin Harcourt Publishing Company
                                      and the Guarantors named on the signature pages
                                      thereto

   Adequate Protection Payments       means the payments to the Senior Creditors as
                                      adequate protection for, among other things, the
                                      priming of their liens, any diminution in value of
                                      the collateral securing their Claims and the
                                      imposition of the automatic stay, pursuant to
                                      sections 105, 361 and 364 of the Bankruptcy Code,
                                      in the aggregate amount of $69.7 million in Cash,
                                      which will be (i) allocated 6.2% to holders of the
                                      First Lien Revolver Claims, 67.6% to holders of
                                      the First Lien Term Loan Claims and 26.2% to
                                      holders of the 10.5% Notes Claims and (ii)
                                      indefeasibly payable upon entry of the Interim DIP
                                      Order.

   Administrative Claim               means any right to payment constituting a cost or
                                      expense of administration of the Chapter 11 Cases
                                      of a kind specified under section 503(b) of the
                                      Bankruptcy Code and entitled to priority under
                                      section 507(a)(1), 507(b) or 1114(e)(2) of the
                                      Bankruptcy Code, including, without limitation,
                                      any actual and necessary costs and expenses of
                                      preserving the Estates, any actual and necessary
                                      costs and expenses of operating the Debtors’
                                      businesses, any indebtedness or obligations
                                      incurred or assumed by the Debtors in Possession
                                      in connection with the conduct of their businesses,
                                      including, without limitation, for the acquisition or
                                      lease of property or an interest in property or the
                                      rendition of services, all valid and existing
                                      reclamation claims, all compensation and
                                      reimbursement of expenses to the extent awarded
                                      by the Court under sections 330, 331 or 503 of the
                                      Bankruptcy Code, any fees or charges assessed

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                                    against the Debtors’ Estates under section 1930 of
                                    title 28 of the United States Code, and all
                                    reasonable fees and expenses incurred by the
                                    Informal Creditor Group Professionals, pursuant to
                                    the terms of their respective prepetition
                                    engagement letters, each of the foregoing only to
                                    the extent not paid as adequate protection.

   Allowed                          means, with reference to any Claim or Equity
                                    Interest, (a) any Claim against or Equity Interest in
                                    any of the Debtors that has been listed by the
                                    Debtors in the Schedules, as such Schedules (if
                                    filed) may have been amended by the Debtors
                                    from time to time in accordance with Bankruptcy
                                    Rule 1009, as liquidated in amount and not
                                    disputed or contingent, and with respect to which
                                    no contrary proof of claim or interest has been
                                    filed, (b) any Claim or Equity Interest specifically
                                    allowed under the Plan or the Confirmation Order,
                                    (c) any Claim or Equity Interest that is not
                                    Disputed, (d) any Claim or Equity Interest, the
                                    amount or existence of which, if Disputed, has
                                    been determined or allowed by a Final Order, or
                                    (e) any Claim or Equity Interest as to which no
                                    objection to the allowance thereof has been filed;
                                    provided, however, that the term Allowed, with
                                    reference to any Claim, shall not include interest
                                    on such Claim from and after the Petition Date
                                    unless otherwise expressly provided for in this
                                    Plan.

   Amended and Restated Governing   means with respect to each of the Reorganized
   Documents                        Debtors, such entity’s amended and restated
                                    certificate of incorporation and bylaws, or
                                    operating agreement, as the case may be, which
                                    will be in form and substance acceptable to the
                                    Requisite Participating Lenders and be in effect on
                                    the Effective Date, and shall be in substantially the
                                    form contained in the Plan Supplement.

   Ballots                          means the documents for accepting or rejecting the
                                    Plan, which were distributed with the Disclosure
                                    Statement to parties entitled to vote on the Plan.

   Bankruptcy Code                  means title 11 of the United States Code,
                                    11 U.S.C. §§ 101 et seq., as in effect on the
                                    Petition Date or as otherwise applicable to these

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                                    Chapter 11 Cases.

   Bankruptcy Rules                 means the Federal Rules of Bankruptcy Procedure
                                    as promulgated by the United States Supreme
                                    Court under section 2075 of title 28 of the United
                                    States Code, and local rules of the Court, as the
                                    context may require, as in effect on the Petition
                                    Date or as otherwise applicable to these Chapter
                                    11 Cases.

   Bondholder                       means a holder of 10.5% Notes.

   Business Day                     means any day not designated as a legal holiday by
                                    Bankruptcy Rule 9006(a) and any day on which
                                    commercial banks are open for business, and not
                                    authorized, by law or executive order, to close, in
                                    the City of New York, New York.

   Cash                             means cash and cash equivalents denominated in
                                    legal tender of the United States of America.

   Causes of Action                 means any and all actions, causes of action, suits,
                                    accounts, controversies, agreements, promises,
                                    rights to legal remedies, rights to equitable
                                    remedies, rights to payment and claims, whether
                                    known, unknown, reduced to judgment, not
                                    reduced to judgment, liquidated, unliquidated,
                                    fixed, contingent, matured, unmatured, disputed,
                                    undisputed, secured or unsecured and whether
                                    asserted or assertable directly or derivatively, in
                                    law, equity or otherwise, now owned or hereafter
                                    acquired by the Debtors, whether arising under the
                                    Bankruptcy Code or other federal, state or foreign
                                    law, equity or otherwise, including, without
                                    limitation, any causes of action arising under
                                    sections 510, 544, 547, 548, 549, 550, 551 or any
                                    other section of the Bankruptcy Code, and the
                                    Cash and non-Cash proceeds of any of the
                                    foregoing.

   Chapter 11 Cases                 means the chapter 11 cases commenced by the
                                    Debtors.

   Claim                            means any claim, as such term is defined in section
                                    101(5) of the Bankruptcy Code.

   Class                            means each category or group of Claims or Equity
                                    Interests as classified or designated in Article II of

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                                     the Plan.

   Co-Borrower Percentages           has the meaning set forth in Article VII.B of the
                                     Plan.

   Collateral                        means any property or interest in property of the
                                     Debtors’ estates subject to a Lien to secure the
                                     payment or performance of a Claim, which Lien
                                     has not been avoided or is not subject to avoidance
                                     under the Bankruptcy Code or is otherwise invalid
                                     under the Bankruptcy Code or applicable state law.

   Confirmation                      means ―confirmation‖ as used in section 1129 of
                                     the Bankruptcy Code.

   Confirmation Date                 means the date on which the Confirmation Order is
                                     entered on the Court’s docket.

   Confirmation Hearing              means the hearing to consider Confirmation of the
                                     Plan pursuant to section 1128 of the Bankruptcy
                                     Code, as it may be adjourned or continued from
                                     time to time.

   Confirmation Order                means the order entered by the Court confirming
                                     the Plan pursuant to section 1129 of the
                                     Bankruptcy Code, which order shall be in form
                                     and substance acceptable to the Requisite
                                     Participating Lenders and the Debtors.

   Court                             means the United States Bankruptcy Court for the
                                     Southern District of New York having jurisdiction
                                     over the Chapter 11 Cases, or any other court
                                     having jurisdiction over the Chapter 11 Cases.

   Creditor                          means ―creditor‖ as defined in section 101(10) of
                                     the Bankruptcy Code.

   Creditors’ Committee              means the official committee of unsecured
                                     creditors (if any) appointed in the Debtors’
                                     Chapter 11 Cases by the United States Trustee for
                                     Region 2, pursuant to section 1102(a) of the
                                     Bankruptcy Code, as constituted from time to
                                     time.

   Debtors                           has the meaning set forth in the introductory
                                     paragraph of the Plan.



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   Debtors in Possession              means the Debtors in their capacity as debtors in
                                      possession in the Chapter 11 Cases pursuant to
                                      sections 1107(a) and 1108 of the Bankruptcy
                                      Code.

   DIP Credit Facility                means that certain Debtor-In-Possession Credit
                                      Agreement (as amended, restated, supplemented or
                                      otherwise modified), by and among the Debtors,
                                      the DIP Credit Facility Agent and the lenders party
                                      thereto, which shall be entered into on or about the
                                      Petition Date and shall be in form and substance
                                      acceptable to the Requisite Participating Lenders
                                      and the Debtors.

   DIP Credit Facility Agent          means the administrative agent under the DIP
                                      Credit Facility.

   DIP Financing Claims               means all Claims arising under or relating to the
                                      DIP Credit Facility and all agreements and
                                      instruments relating thereto.

   DIP Lenders                        means the lenders that are parties to the DIP Credit
                                      Facility.

   DIP Motion                         means the Debtors’ Motion for an Order Pursuant
                                      to Sections 361, 363, and 364 of the Bankruptcy
                                      Code (1) Authorizing the Debtors to Obtain
                                      Postpetition Financing, (2) Authorizing Use of
                                      Cash Collateral, (3) Granting Liens and Super-
                                      Priority Administrative Expense Status,
                                      (4) Providing Adequate Protection and
                                      (5) Scheduling and Approving the Form and
                                      Method of Notice of Final Hearing, which shall be
                                      in form and substance acceptable to the Requisite
                                      Participating Lenders and the Debtors.

   DIP Order                          means the Final Order entered by the Court,
                                      granting final approval of the DIP Motion, as
                                      amended or otherwise modified and in form and
                                      substance acceptable to the Requisite Participating
                                      Lenders and the Debtors.

   Disclosure Statement               means the written offering memorandum and
                                      disclosure statement and all schedules and
                                      exhibits attached thereto that relates to the Plan, as
                                      such disclosure statement may be amended,
                                      modified or supplemented from time to time and


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                                       shall be in form and substance acceptable to the
                                       Requisite Participating Lenders and the Debtors.

   Disputed                            means, with respect to Claims or Equity Interests,
                                       any such Claim or Equity Interests (a) that is listed
                                       on the Schedules (if any) as unliquidated, disputed
                                       or contingent; (b) as to which any Debtor or any
                                       other party in interest has interposed a timely
                                       objection or request for estimation in accordance
                                       with the Bankruptcy Code and the Bankruptcy
                                       Rules or which is otherwise disputed in
                                       accordance with applicable law, which objection,
                                       request for estimation or dispute has not been
                                       withdrawn or determined by a Final Order; or (c)
                                       is not listed in the Debtors’ books or records as
                                       due and owing or outstanding.

   Distribution Record Date            means the Effective Date.

   Distributions                       means the Cash, New Common Stock, New
                                       Warrants, if any, or other distributions to be made
                                       pursuant to, and in accordance with, this Plan.

   Effective Date                      means the first Business Day on which all of the
                                       conditions specified in Article XIII.B. of the Plan
                                       have been satisfied or waived in accordance with
                                       Article XIII.C of the Plan; provided, however, that
                                       if a stay of the Confirmation Order is in effect on
                                       such date, the Effective Date will be the first
                                       Business Day after such stay is no longer in effect.

   Equity Interest                     means, excluding New Common Stock, any equity
                                       security within the meaning of section 101(16) of
                                       the Bankruptcy Code or any other instrument
                                       evidencing an ownership interest in any of the
                                       Debtors, whether or not transferable, and any right
                                       to acquire any such equity security or instrument,
                                       including any option, warrant or other right,
                                       contractual or otherwise, to acquire, sell or
                                       subscribe for any such security or instrument.

   ERISA                               has the meaning set forth in Article VIII.K.2. of
                                       the Plan.

   Estates                             means the estates of the Debtors, individually or
                                       collectively, as is appropriate in the context,
                                       created in the Chapter 11 Cases pursuant to section


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                                       541 of the Bankruptcy Code.

   Existing Equity                     means, collectively, the Existing Common Stock
                                       and the Other Holdings Equity Interests.

   Existing Equity Holders             means the holders of the Existing Equity.

   Existing Common Stock               means the common stock of HMH Holdings
                                       immediately preceding the Effective Date, par
                                       value $0.01 per share (which will be cancelled in
                                       Step 3 of the Restructuring).

   Existing Common Stockholders        means the holders of Existing Common Stock.

   Exit Facility                       means that certain Superpriority Senior Secured
                                       Debtor-in-Possession and Exit Revolving Credit
                                       Agreement and Superpriority Senior Secured
                                       Debtor-in-Possession and Exit Term Loan Credit
                                       Agreement each dated May [21], 2012, entered
                                       into, by and among the Reorganized Debtors,
                                       Citibank N.A. as administrative agent and the
                                       lenders party thereto, and all ancillary agreements,
                                       as may be amended or modified, from time to time
                                       in accordance with their terms.

   Federal Judgment Rate               means the rate of interest provided for in 28 U.S.C.
                                       § 1961, as in effect on the Petition Date.

   Fee Claims                          means an Administrative Claim under section
                                       330(a), 331 or 503 of the Bankruptcy Code for
                                       compensation of a Professional or other Person for
                                       services rendered or expenses incurred in the
                                       Chapter 11 Cases on or prior to the Effective Date
                                       (including, to the extent applicable, the reasonable
                                       non-legal expenses of the individual members of
                                       the Creditors’ Committee incurred in the discharge
                                       of their duties as members of the Creditors’
                                       Committee, but not the fees and expenses of the
                                       Informal Creditor Group Professionals).




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   Final Order                       means an order or judgment of the Court, or other
                                     court of competent jurisdiction, as entered on the
                                     docket of such court, the operation or effect of
                                     which has not been stayed, reversed, vacated or
                                     amended, and as to which order or judgment (or
                                     any revision, modification, or amendment thereof)
                                     the time to appeal, petition for certiorari, or seek
                                     review or rehearing has expired and as to which no
                                     appeal, petition for certiorari, or petition for review
                                     or rehearing was filed or, if filed, remains pending;
                                     provided, however, that the possibility that a
                                     motion may be filed pursuant to Rule 9024 of the
                                     Bankruptcy Rules or Rule 60(b) of the Federal
                                     Rules of Civil Procedure shall not mean that an
                                     order is not a Final Order.

   First Lien Administrative Agent   means Citibank, N.A., as successor in interest to
                                     Wilmington Trust FSB, as administrative agent
                                     under the First Lien Credit Agreement.

   First Lien Agent Expenses         means any reasonable fees and documented out-of-
                                     pocket costs and expenses incurred prior to or after
                                     the Petition Date by the First Lien Agents under
                                     the First Lien Credit Agreement, the
                                     reasonableness of which shall, if disputed by the
                                     Debtors, be determined by the Court. Such costs
                                     shall include, without limitation, the reasonable,
                                     documented out-of-pocket costs and expenses of,
                                     and reasonable documented unpaid legal fees
                                     actually incurred by, counsel to the First Lien
                                     Agents in connection with the Chapter 11 Cases
                                     and Distributions to the holders of First Lien Bank
                                     Claims.

   First Lien Agents                 means the First Lien Administrative Agent and the
                                     First Lien Collateral Agent.

   First Lien Bank Claims            means, collectively, the First Lien Term Loan
                                     Claims and the First Lien Revolver Claims.

   First Lien Bank Lenders           means the lenders party to the First Lien Credit
                                     Agreement.

   First Lien Collateral Agent       means Citibank, N.A., in its capacity as collateral
                                     agent under the First Lien Credit Agreement.



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   First Lien Credit Agreement       means that certain First Lien Credit Agreement
                                     dated as of December 12, 2007 among the First
                                     Lien Administrative Agent, the First Lien
                                     Collateral Agent, certain of the Debtors, and the
                                     lenders from time to time party thereto (as
                                     amended, modified, or otherwise supplemented
                                     from time to time) consisting of a term loan in the
                                     aggregate principal amount of $2.571 billion (the
                                     ―First Lien Term Loan‖) and a revolving loan in
                                     the aggregate principal amount of $235.8 million
                                     (the ―First Lien Revolving Loan‖).

   First Lien Revolver Claims        means all Claims in respect of the First Lien
                                     Revolving Loan (including interest accrued
                                     thereon as of the Petition Date) other than the First
                                     Lien Agent Expenses.

   First Lien Revolving Loan         has the meaning set forth in the definition of the
                                     First Lien Credit Agreement.

   First Lien Term Loan              has the meaning set forth in the definition of First
                                     Lien Credit Agreement.

   First Lien Term Loan Claims       means all Claims in respect of the First Lien Term
                                     Loan other than the First Lien Agent Expenses.

   Foreign Affiliates                means HMH Education Company (Ireland), HMH
                                     IP Company (Ireland), HMH Publishing Company
                                     (Ireland), Riverdeep UK Limited, HMH Consumer
                                     Company (Ireland), Houghton Mifflin Harcourt
                                     (Asia) Pte. Ltd (Singapore), Houghton Mifflin
                                     PLC (UK) and HMH Publishing Company (IOM)
                                     Unlimited.

   General Unsecured Claim           means a Claim against any of the Debtors that is
                                     not an Administrative Claim, Priority Tax Claim,
                                     Fee Claim, DIP Financing Claim, Other Priority
                                     Claim, Other Secured Claim, Senior Creditor
                                     Claim, Letter of Credit Facility Claim or
                                     Intercompany Claim.

   Government                        has the meaning set forth in Article VIII.K.2 of the
                                     Plan.

   HMH Holdings                      means HMH Holdings (Delaware), Inc., a
                                     Delaware corporation and its successors, assigns
                                     and/or designees, as applicable.


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   Impaired                           has the meaning as used in section 1124 of the
                                      Bankruptcy Code.

   Indenture Trustee Charging Lien    means a lien that secures repayment of the
                                      Indenture Trustee Expenses, to the extent provided
                                      for in the 10.5% Notes Indenture.

   Indenture Trustee Expenses         means any reasonable fees and documented out-of-
                                      pocket costs and expenses, incurred prior to or
                                      after the Petition Date by the 10.5% Indenture
                                      Trustee under the 10.5% Notes Indenture, the
                                      reasonableness of which shall, if disputed by the
                                      Debtors, be determined by the Court. Such
                                      amounts shall include, without limitation, the
                                      reasonable, documented, out-of-pocket costs and
                                      expenses of, and reasonable, documented unpaid
                                      legal fees actually incurred by, counsel to the
                                      10.5% Indenture Trustee in connection with the
                                      Chapter 11 Cases and the Distributions to the
                                      Bondholders.

   Informal Creditor Group            means the informal group of unaffiliated investors
                                      that are party to the Restructuring Support
                                      Agreement.

   Informal Creditor Group            means the advisors to the Informal Creditor Group,
   Professionals                      including, without limitation, Akin Gump Strauss
                                      Hauer & Feld LLP, Houlihan Lokey Capital, Inc.,
                                      Heidrick & Struggles and Lyons, Beneson &
                                      Company, Inc.

   Initial Distribution Date          means the Effective Date or as soon thereafter as is
                                      practicable upon which Distributions shall
                                      commence.

   Insured Claim                      means any Claim arising from an incident or
                                      occurrence alleged to have occurred prior to the
                                      Effective Date that is covered under an insurance
                                      policy applicable to the Debtors or their
                                      businesses.

   Intercompany Claims                means any Claim held by one Debtor (or a non-
                                      debtor that is a direct or indirect subsidiary, a
                                      direct or indirect parent, or an affiliate of a Debtor)
                                      against any other Debtor(s), including, without
                                      limitation, (a) any account reflecting intercompany
                                      book entries by such Debtor (or non-debtor that is


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                                      a direct or indirect subsidiary, a direct or indirect
                                      parent, or an affiliate of such Debtor) with respect
                                      to any other Debtor(s), (b) any Claim not reflected
                                      in book entries that is held by such Debtor (or non-
                                      debtor that is a direct or indirect subsidiary, a
                                      direct or indirect parent, or an affiliate of such
                                      Debtor), and (c) any derivative Claim asserted or
                                      assertable by or on behalf of such Debtor (or non-
                                      debtor that is a direct or indirect subsidiary, a
                                      direct or indirect parent, or an affiliate of such
                                      Debtor) against any other Debtor(s).

   Interim DIP Order                  means the interim order in form and substance
                                      acceptable to the Requisite Participating Lenders
                                      and the Debtors, entered by the Court, granting
                                      interim approval of the DIP Motion and
                                      authorizing and directing the payment of the
                                      Adequate Protection Payments.

   IPO                                means an initial public offering of New Common
                                      Stock.

   Letter of Credit Facility          means that certain $50 million standby letter of
                                      credit facility dated as of October 26, 2010, with
                                      Wells Fargo Bank, National Association, as issuer
                                      (as amended from time to time).

   Letter of Credit Facility Claims   means all Claims arising under the Letter of Credit
                                      Facility.

   Lien                               has the meaning set forth in section 101(37) of the
                                      Bankruptcy Code.

   Management Incentive Plan          means the incentive plan substantially in the form
                                      contained in the Plan Supplement, to be applicable
                                      to, among others, senior management of
                                      Reorganized HMH Holdings and the Reorganized
                                      Debtors that provides for the issuance of, among
                                      other things, the Management Options.

   Management Options                 means the options, the terms of which are set forth
                                      in the Management Incentive Plan, issued pursuant
                                      to the Management Incentive Plan.




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   New Common Stock                  means, following the Effective Date, the common
                                     stock of Reorganized HMH Holdings, par value
                                     $0.01 per share, to be originally issued by HMH
                                     Holdings (which will initially be issued to HMH
                                     and HMH Publishers Inc. as described in more
                                     detail in Step 1 of the Restructuring and will be
                                     exchanged for Senior Creditor Claims, as
                                     described in Step 2 of the Restructuring).

   New Warrant Agreement             means the warrant agreement pursuant to which
                                     the New Warrants will be issued, which shall be
                                     included the Plan Supplement and be in form and
                                     substance acceptable to the Requisite Participating
                                     Lenders and the Debtors.

   New Warrants                      means seven (7) year warrants to purchase, in the
                                     aggregate, 5% of the New Common Stock subject
                                     to dilution by equity distributed in connection with
                                     the Management Incentive Plan, with a strike price
                                     based on a $3.1 billion enterprise value for the
                                     Reorganized Debtors, which, if Class 8 votes to
                                     accept the Plan, shall be issued to the Existing
                                     Common Stockholders pursuant to the New
                                     Warrant Agreement.

   Other Holdings Equity Interest    means the holders of Other Holdings Equity
   Holders                           Interests.

   Other Holdings Equity Interests   means all Equity Interests in HMH Holdings other
                                     than Existing Common Stock and New Common
                                     Stock.

   Other Priority Claim              means a Claim entitled to priority pursuant to
                                     section 507(a) of the Bankruptcy Code (other than
                                     Administrative Claims and Priority Tax Claims).

   Other Secured Claim               means any Secured Claim, other than the DIP
                                     Financing Claims, the Senior Creditor Claims and
                                     the Letter of Credit Facility Claims or, in the event
                                     that such Claim is subject to setoff under section
                                     553 of the Bankruptcy Code, the amount of such
                                     Claim that is subject to such setoff.

   Paulson                           has the meaning set forth in Article VII.D. of the
                                     Plan.

   PBGC                              has the meaning set forth in Article VIII.K.2 of the


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                                       Plan.

   Person                              means any individual, corporation, partnership,
                                       limited liability company, association, indenture
                                       trustee, organization, joint stock company, joint
                                       venture, estate, trust, governmental unit or any
                                       political subdivision thereof, or any other entity.

   Petition Date                       means the date on which the Debtors filed their
                                       voluntary petitions for relief commencing the
                                       Chapter 11 Cases.

   Plan                                means this Plan, as it may be amended or modified
                                       from time to time, together with all addenda,
                                       exhibits, schedules, supplements or other
                                       attachments, if any, which shall, in each case, be in
                                       form and substance acceptable to the Requisite
                                       Participating Lenders and the Debtors.

   Plan Supplement                     means the supplement to the Plan containing the
                                       Plan Supplement Documents, which shall be filed
                                       with the Court no later than ten days before the
                                       Confirmation Hearing.

   Plan Supplement Documents           means the documents to be included in the Plan
                                       Supplement, including those identified in
                                       Article X.J. of the Plan, each of which shall be in
                                       form and substance acceptable to the Requisite
                                       Participating Lenders and the Debtors.

   Post-Petition Interest              means with respect to:

                                       (a)     Priority Tax Claims, interest accruing from
                                               the Petition Date through the Effective
                                               Date (i) with respect to federal taxes, at a
                                               fixed annual rate equal to the federal
                                               statutory rate as provided in 26 U.S.C.
                                               § 6621, and (ii) with respect to state and
                                               local taxes, at the Prime Rate of interest as
                                               in effect for the period to which the Priority
                                               Tax Claim pertains or (iii) in either case, as
                                               otherwise agreed to by the holder of such
                                               Priority Tax Claim and the Debtors with
                                               the consent of the Requisite Participating
                                               Lenders;

                                       (b)     Other Secured Claims and Other Priority
                                               Claims, interest accruing on such claims

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                                              from the Petition Date through the
                                              Effective Date at the rate set forth in the
                                              contract or other applicable document
                                              giving rise to such claims (to the extent
                                              lawful) or, if the applicable instrument
                                              does not specify a rate of interest, at the
                                              Federal Judgment Rate; and

                                       (c)    General Unsecured Claims, interest,
                                              accruing from the Petition Date through the
                                              Effective Date at the Federal Judgment
                                              Rate or such other rate ordered by the
                                              Court.

                                      For the avoidance of doubt, except as required
                                      under applicable non-bankruptcy law, Post-
                                      Petition Interest will not be paid on the following
                                      Claims: Senior Creditor Claims, Intercompany
                                      Claims and General Unsecured Claims paid in the
                                      ordinary course of business.

   Prime Rate                         means the rate of interest published from time to
                                      time in The Wall Street Journal, Eastern Edition,
                                      and designated as the prime rate.

   Priority Tax Claim                 means any Claim that is entitled to a priority in
                                      right of payment under section 502(i) or 507(a)(8)
                                      of the Bankruptcy Code.

   pro rata                           means, with respect to any Claim, at any time, the
                                      proportion that the amount of a Claim in a
                                      particular Class bears to the aggregate amount of
                                      all Claims (including Disputed Claims) in such
                                      Class, unless the Plan provides otherwise with
                                      respect to such Claim or Claims.

   Professional                       means (i) any professional employed in the
                                      Chapter 11 Cases pursuant to section 327, 328,
                                      363 or 1103 of the Bankruptcy Code or otherwise
                                      and (ii) any professional or other entity seeking
                                      compensation or reimbursement of expenses in
                                      connection with the Chapter 11 Cases pursuant to
                                      section 503(b)(4) of the Bankruptcy Code
                                      provided that the Informal Creditor Group
                                      Professionals shall not be Professionals as used in
                                      the Plan.



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   Qualified Institutional Buyer     has the meaning ascribed to it in Rule 144A
                                     promulgated under the Securities Act.

   Registration Rights Agreement     means a registration rights agreement by
                                     Reorganized HMH Holdings in favor of holders of
                                     New Common Stock, which shall be in form and
                                     substance acceptable to the Requisite Participating
                                     Lenders and contained in the Plan Supplement.

   Released Parties                  has the meaning set forth in Article VIII.I. of the
                                     Plan.

   Reorganized Debtors               means the Debtors, or any successors thereto by
                                     merger, consolidation, or otherwise, on and after
                                     the Effective Date.

   Reorganized HMH Holdings          means HMH Holdings, as reorganized, on and
                                     after the Effective Date.

   Reorganized HMH Holdings          has the meaning set forth in Article VII.D. of the
   Board of Directors                Plan.

   Reorganized HMH Holdings          means Reorganized HMH Holdings’ certificate of
   Certificate of Incorporation      incorporation, which will be in effect on the
                                     Effective Date, and shall be in form and substance
                                     acceptable to the Requisite Participating Lenders
                                     and contained in the Plan Supplement.

   Reorganized HMH Holdings          means Reorganized HMH Holdings’ bylaws,
   Bylaws                            which will be in effect on the Effective Date, and
                                     shall be in form and substance acceptable to the
                                     Requisite Participating Lenders and contained in
                                     the Plan Supplement.

   Restructuring                     has the meaning set forth in Article VII.B of the
                                     Plan.

   Restructuring Support Agreement   means that certain restructuring support agreement
                                     among the Debtors and the members of the
                                     Informal Creditor Group dated as of May 10, 2012
                                     as attached to the Disclosure Statement.

   Requisite Participating Lenders   means holders of at least 75% of the Senior
                                     Creditor Claims held by the members of the
                                     Informal Creditor Group.




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   Scheduled                           means, with respect to any Claim or Equity
                                       Interest, the status and amount, if any, of such
                                       Claim or Equity Interest as set forth in the
                                       Schedules (if any).

   Schedules                           means the schedules, if any, of assets and
                                       liabilities, statements of financial affairs, and lists
                                       of holders of Claims and Equity Interests filed
                                       with the Court by the Debtors, including any
                                       amendments, modifications or supplements
                                       thereto.

   SEC                                 means the United States Securities and Exchange
                                       Commission.

   Secured Claim                       means a Claim that is secured by a Lien on
                                       Collateral, to the extent of the value (as of the
                                       Effective Date or such other date as may be
                                       established by the Court) of such Collateral
                                       determined by a Final Order of the Court pursuant
                                       to section 506 of the Bankruptcy Code or as
                                       otherwise Allowed herein.

   Securities Act                      means the Securities Act of 1933, as amended, and
                                       the rules and regulations promulgated thereunder.

   Senior Creditors                    means all First Lien Bank Lenders and all
                                       Bondholders, collectively.

   Senior Creditor Claims              means all First Lien Bank Claims and 10.5% Note
                                       Claims, collectively.

   Substantive Consolidation Order     means the Confirmation Order or such other order
                                       of the Court providing for the substantive
                                       consolidation of the Debtors.

   Substantively Consolidated          means the Debtors, as substantively consolidated
   Debtors                             pursuant to the Substantive Consolidation Order.

   Voting Agent                        means Kurtzman Carson Consultants, LLC.

   Voting Deadline                     means May 18, 2012 at 5:00 P.M. prevailing
                                       Eastern Time for First Lien Bank Lenders and
                                       June 11, 2012 at 5:00 P.M. prevailing Eastern
                                       Time for Bondholders and Existing Common
                                       Stockholders.



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   Voting Record Date                       means May 10, 2012.


                   B.      Interpretation, Application of Definitions and Rules of
                           Construction.

   Wherever from the context it appears appropriate, each term stated in either the singular
   or the plural shall include both the singular and plural, and pronouns stated in the
   masculine, feminine or neuter gender shall include the masculine, feminine and neuter,
   such meanings to be applicable to both the singular and plural forms of the terms defined.
   Capitalized terms in the Plan that are not defined herein shall have the same meanings
   assigned to such terms by the Bankruptcy Code or Bankruptcy Rules, as the case may be.
   The words ―herein,‖ ―hereof,‖ and ―hereunder‖ and other words of similar import refer to
   the Plan as a whole and not to any particular section or subsection in the Plan unless
   expressly provided otherwise. The words ―includes‖ and ―including‖ are not limiting and
   mean that the things specifically identified are set forth for purposes of illustration, clarity
   or specificity and do not in any respect qualify, characterize or limit the generality of the
   class within which such things are included. Captions and headings to articles, sections
   and exhibits are inserted for convenience of reference only, are not a part of this Plan, and
   shall not be used to interpret this Plan. The rules of construction set forth in section 102
   of the Bankruptcy Code shall apply to this Plan. In computing any period of time
   prescribed or allowed by this Plan, the provisions of Bankruptcy Rule 9006(a) shall
   apply.

                                                 II.

               CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

                   A.      Introduction.

   All Claims and Equity Interests, except Administrative Claims, Priority Tax Claims, and
   DIP Financing Claims, are placed in the Classes set forth below. In accordance with
   section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority Tax Claims
   and DIP Financing Claims, as described below, have not been classified.

   A Claim or Equity Interest is placed in a particular Class only to the extent that the Claim
   or Equity Interest falls within the description of that Class, and is classified in other
   Classes to the extent that any portion of the Claim or Equity Interest falls within the
   description of such other Classes. A Claim or Equity Interest is also placed in a
   particular Class for the purpose of receiving Distributions pursuant to the Plan only to the
   extent that such Claim or Equity Interest is an Allowed Claim or Allowed Equity Interest
   in that Class and such Claim or Equity Interest has not been paid, released, or otherwise
   satisfied prior to the Effective Date.

                           1.      Unclassified Claims (not entitled to vote on the Plan).

                                   (a)     Administrative Claims.


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                             (b)    Priority Tax Claims.

                             (c)    DIP Financing Claims.

                        2.   Unimpaired Classes of Claims and Equity Interests
                             (deemed to have accepted the Plan and, therefore, not
                             entitled to vote on the Plan).

                             (a)    Class 1: Other Priority Claims.

                             Class 1 consists of all Other Priority Claims.

                             (b)    Class 2: Other Secured Claims.

                             Class 2 consists of all Other Secured Claims.

                             (c)    Class 4: Letter of Credit Facility Claims.

                             Class 4 consists of all Letter of Credit Facility Claims.

                             (d)    Class 5: General Unsecured Claims.

                             Class 5 consists of all General Unsecured Claims.


                             (e)    Class 6: Intercompany Claims.

                             Class 6 consists of all Intercompany Claims.

                             (f)    Class 7: Equity Interests in Debtors other than
                                    HMH Holdings.

                             Class 7 consists of all Equity Interests in Debtors other than
                             HMH Holdings.


                        3.   Impaired Classes (entitled to vote on the Plan).

                             (a)    Class 3: Senior Creditor Claims.

                             Class 3 consists of all Senior Creditor Claims.




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                                 (b)     Class 8: Existing Common Stock.

                                 Class 8 consists of all Existing Common Stock.

                          4.     Impaired Classes (deemed to have rejected the Plan
                                 and, therefore, not entitled to vote on the Plan).

                                 (a)     Class 9: Other Holdings Equity Interests.

                                 Class 9 consists of all Other Holdings Equity Interests.

                                               III.

                   TREATMENT OF ADMINISTRATIVE CLAIMS,
               PRIORITY TAX CLAIMS AND DIP FINANCING CLAIMS

                  A.      Administrative Claims.

   Subject to the provisions of sections 330(a) and 331 of the Bankruptcy Code, as
   applicable, each holder of an Allowed Administrative Claim shall receive in full and final
   satisfaction of such Claim, (a) Cash in the full amount of such Allowed Claim, without
   interest, or (b) such amount at such other date and upon such other terms as may be
   agreed upon in writing by such holder and the Debtors, with the consent of the Requisite
   Participating Lenders or otherwise approved by Final Order of the Court on or as soon as
   practicable after the later of (i) the Effective Date, (ii) the date on which such
   Administrative Claim becomes Allowed, (iii) the date on which such Allowed
   Administrative Claim is due to be paid in the ordinary course of business with the
   Debtors, and (iv) the date on which the holder of such Allowed Administrative Claim and
   the Debtors, with the consent of the Requisite Participating Lenders, otherwise agree in
   writing. Notwithstanding anything herein to the contrary, except with respect to Fee
   Claims and except with respect to subsection (iv) hereof, the Debtors or Reorganized
   Debtors, as applicable, shall object to any Administrative Claims before the later of
   (x) sixty (60) days after the Effective Date and (y) sixty (60) days after the filing of the
   request for payment of an Administrative Claim.

                  B.      Fee Claims.

   All requests for compensation or reimbursement of Fee Claims pursuant to sections 327,
   328, 330, 331, 503 or 1103 of the Bankruptcy Code for services rendered prior to the
   Effective Date shall be filed and served on the Reorganized Debtors and their counsel,
   the United States Trustee, counsel to the Creditors’ Committee (if any), counsel to the
   Informal Creditor Group and such other entities who are designated by the Bankruptcy
   Rules, the Confirmation Order or any other order(s) of the Court, no later than forty-five
   (45) days after the Effective Date. Holders of Fee Claims that are required to file and
   serve applications for final allowance of their Fee Claims and that do not file and serve
   such applications by the required deadline shall be forever barred from asserting such Fee
   Claims against the Debtors, the Reorganized Debtors or their respective properties, and


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   such Fee Claims shall be deemed discharged as of the Effective Date. Objections to any
   Fee Claims must be filed and served on the Reorganized Debtors and their counsel and
   the requesting party no later than seventy-five (75) days (or such longer period as may be
   allowed by order of the Court) after the Effective Date.

                  C.      Priority Tax Claims.

   Except to the extent that a holder of an Allowed Priority Tax Claim and the Debtors, with
   the consent of the Requisite Participating Lenders, agree to a different treatment, each
   holder of an Allowed Priority Tax Claim shall receive Cash in an amount equal to such
   Allowed Priority Tax Claim plus Post-Petition Interest on the later of the Initial
   Distribution Date and the date such Priority Tax Claim becomes an Allowed Priority Tax
   Claim, or as soon thereafter as is practicable. All Allowed Priority Tax Claims that are
   not due and payable on or before the Effective Date shall be paid in the ordinary course
   of business without Post-Petition Interest.

                  D.      DIP Financing Claims.

   On the Effective Date, except to the extent that the holders of the DIP Financing Claims
   and the Debtors, with the consent of the Requisite Participating Lenders, agree to a
   different treatment, in full and final satisfaction of such Claims, the DIP Financing
   Claims shall be satisfied as provided under the Exit Facility.

                                                IV.

                               TREATMENT OF CLAIMS AND
                                   EQUITY INTERESTS

                  A.      Class 1 — Other Priority Claims.

                          1.      Distributions.

   Except to the extent that a holder of an Allowed Other Priority Claim and the Debtors,
   with the consent of the Requisite Participating Lenders, agree to a different treatment,
   each holder of an Allowed Other Priority Claim shall receive, in full and final satisfaction
   of such Claim, payment in full in Cash in an amount equal to such Allowed Other
   Priority Claim plus Post-Petition Interest on or as soon as practicable after the later of the
   Initial Distribution Date and the date when such Other Priority Claim becomes an
   Allowed Other Priority Claim. All Allowed Other Priority Claims that are not due and
   payable on or before the Effective Date shall be paid in the ordinary course of business
   without Post-Petition Interest.

                          2.      Impairment and Voting.

   Class 1 is unimpaired under the Plan. Holders of Allowed Other Priority Claims in Class
   1 are presumed to accept the Plan and are not entitled to vote to accept or reject the Plan.



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                  B.      Class 2 — Other Secured Claims.

                          1.     Distributions.

   Except to the extent that a holder of an Allowed Other Secured Claim and the Debtors,
   with the consent of the Requisite Participating Lenders, agree to a different treatment, in
   full and final satisfaction of such Claim, (i) each Allowed Other Secured Claim shall be
   reinstated and rendered unimpaired in accordance with section 1124(2) of the Bankruptcy
   Code, notwithstanding any contractual provision or applicable nonbankruptcy law that
   entitles the holder of an Allowed Other Secured Claim to demand or to receive payment
   of such Allowed Other Secured Claim prior to the stated maturity of such Allowed Other
   Secured Claim from and after the occurrence of a default, (ii) each holder of an Allowed
   Other Secured Claim shall receive Cash in an amount equal to such Allowed Other
   Secured Claim plus Post-Petition Interest in full and complete satisfaction of such
   Allowed Other Secured Claim on the later of the Initial Distribution Date and the date
   such Other Secured Claim becomes an Allowed Other Secured Claim, or as soon
   thereafter as is practicable, or (iii) each holder of an Allowed Other Secured Claim shall
   receive the Collateral securing its Allowed Other Secured Claim plus Post-Petition
   Interest in full and complete satisfaction of such Allowed Other Secured Claim on the
   later of the Initial Distribution Date and the date such Other Secured Claim becomes an
   Allowed Other Secured Claim, or as soon thereafter as is practicable, in each case as
   determined by the Debtors, with the consent of the Requisite Participating Lenders.

                          2.     Impairment and Voting.

   Class 2 is unimpaired under the Plan. The holders of Allowed Other Secured Claims in
   Class 2 are presumed to accept the Plan and are not entitled to vote to accept or reject the
   Plan.

                  C.      Class 3 — Senior Creditor Claims.

                          1.     Allowance of Senior Creditor Claims and Distribution.

   Senior Creditor Claims shall be deemed Allowed in the following amounts: (a) the First
   Lien Term Loan Claims shall be deemed Allowed in the amount of $2.571 billion plus
   accrued interest as of the Petition Date; (b) the First Lien Revolver Claims shall be
   deemed Allowed in the amount of $235.8 million plus accrued and unpaid interest as of
   the Petition Date; and (c) the 10.5% Notes Claims shall be allowed in the amount of $300
   million plus accrued interest as of the Petition Date. On the Initial Distribution Date,
   subject to the occurrence of the Restructuring (as provided in Article VII.B), each holder
   of an Allowed Senior Creditor Claim shall receive, in full and final satisfaction of such
   Claim, its pro rata share of (i) 100% of the New Common Stock, subject to dilution for
   the New Common Stock to be issued pursuant to the Management Incentive Plan and, if
   applicable, New Common Stock to be issued upon exercise of the New Warrants and (ii)
   $30.3 million in Cash.




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                          2.      Impairment and Voting.

   Class 3 is Impaired under the Plan. Each holder of an Allowed Senior Creditor Claim in
   Class 3 is entitled to vote to accept or reject the Plan.

                  D.      Class 4 — Letter of Credit Facility Claims.

                          1.      Distributions.

   Except to the extent that a holder of an Allowed Letter of Credit Facility Claim and the
   Debtors, with the consent of the Requisite Participating Lenders, agree to a different
   treatment, the outstanding letters of credit issued under the Letter of Credit Facility shall
   either continue unaffected upon consummation of the Plan or be replaced from the
   proceeds of the Exit Facility and the Letter of Credit Facility shall be deemed terminated.

                          2.      Impairment and Voting.

   Class 4 is unimpaired under the Plan. Each holder of an Allowed Letter of Credit Facility
   Claim in Class 4 is presumed to accept the Plan and is not entitled to vote to accept or
   reject the Plan.

                  E.      Class 5 — General Unsecured Claims.

                          1.      Distributions.

   Each holder of an Allowed General Unsecured Claim shall receive, in full and final
   satisfaction of such Claims, Cash in amount equal to such holder’s Allowed General
   Unsecured Claim plus accrued and unpaid Post-Petition Interest; provided, however, that
   the Debtors may, with the consent of the Requisite Participating Lenders, seek authority
   from the Court to pay certain General Unsecured Claims in advance of the Effective Date
   pursuant to certain ―first day motions‖ the Debtors intend to file in the Chapter 11 Cases,
   as described in the Disclosure Statement; provided, further, that any General Unsecured
   Claim that becomes due and owing after the Effective Date shall be paid in the ordinary
   course of business when such claim is due and owing, without Post-Petition Interest.

                          2.      Impairment and Voting.

   Class 5 is unimpaired under the Plan. Each holder of an Allowed General Unsecured
   Claim in Class 5 is presumed to accept the Plan and is not entitled to vote to accept or
   reject the Plan.




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                  F.     Class 6 — Intercompany Claims.

                         1.      Distributions.

   On or as soon as practicable after the Effective Date, all Allowed Intercompany Claims
   shall be adjusted, continued, or discharged to the extent determined appropriate by the
   Debtors, with the consent of the, Requisite Participating Lenders.

                         2.      Impairment and Voting.

   Class 6 is unimpaired under the Plan. Holders of Intercompany Claims in Class 6 are
   presumed to accept the Plan and are not entitled to vote to accept or reject the Plan.

                  G.     Class 7 — Equity Interests in Debtors other than HMH
                         Holdings.

                         1.      Distributions.

   The holders of Equity Interests in Debtors other than HMH Holdings shall retain such
   Equity Interests.

                         2.      Impairment and Voting.

   Class 7 is unimpaired under the Plan. The holders of Equity Interests in Debtors other
   than HMH Holdings in Class 7 are presumed to accept the Plan and are not entitled to
   vote to accept or reject the Plan.

                  H.     Class 8 — Existing Common Stock.

                         1.      Distribution.

   If the Class 8 Existing Common Stock votes to accept the Plan, each holder of Existing
   Common Stock shall receive its pro rata share of the New Warrants. If the Class 8
   Existing Common Stock votes to reject the Plan, the holders of the Existing Common
   Stock shall neither receive distributions nor retain any property under the Plan on account
   of such Existing Common Stock.

                         2.      Impairment and Voting.

   Class 8 is Impaired under the Plan. Each Existing Common Stockholder is entitled to
   vote to accept or reject the Plan.




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                  I.      Class 9 — Other Holdings Equity Interests.

                          1.      Distribution.

   Each Other Holdings Equity Interest Holder shall neither receive distributions nor retain
   any property under the Plan on account of such Other Holdings Equity Interest. The
   Other Holdings Equity Interests will be cancelled on the Effective Date.

                          2.      Impairment and Voting.

   Class 9 is Impaired under the Plan. Each Other Holdings Equity Interest Holder is
   presumed to reject the Plan and is not entitled to vote to accept or reject the Plan.

                                                  V.

    PROVISIONS REGARDING VOTING, DISTRIBUTIONS, AND TREATMENT
     OF DISPUTED, CONTINGENT AND UNLIQUIDATED ADMINISTRATIVE
            EXPENSE CLAIMS, CLAIMS AND EQUITY INTERESTS


                  A.      Voting on the Plan.

   Each holder of an Allowed Claim in Class 3 and each Existing Common Stockholder in
   Class 8 is Impaired and is entitled to vote to accept or reject the Plan. Classes 1, 2, 4, 5, 6
   and 7 are unimpaired and are not to entitled to vote to accept or reject the Plan as they are
   presumed to accept the Plan. Class 9 is Impaired, will not receive or retain any property
   under the Plan, and is not entitled to vote to accept or reject the Plan as it is deemed to
   reject the Plan.

                  B.      Distributions.

                          1.      Allowed Claims.

                                  (a)      Delivery of Distributions.

   Distributions under the Plan shall be made by the Reorganized Debtors or their designee
   to the holders of Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed
   Other Priority Claims, Allowed Other Secured Claims, and Allowed General Unsecured
   Claims at the addresses set forth in the Debtors’ books and records, unless such addresses
   are superseded by proofs of claim or transfers of claim filed pursuant to Bankruptcy Rule
   3001 on or prior to the Voting Record Date (or at the last known addresses of such
   holders if the Debtors or the Reorganized Debtors have been notified in writing of a
   change of address). Distributions on account of the Allowed Senior Creditor Claims shall
   be made initially to the First Lien Administrative Agent and the 10.5% Indenture Trustee,
   or to such other entity(ies) as may be determined by the First Lien Administrative Agent
   and/or the 10.5% Indenture Trustee, for distribution to holders of Allowed Senior
   Creditor Claims. Distributions on account of the Existing Common Stock, if any, shall


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   be made to the Debtors’ transfer agent, for distribution to Existing Common
   Stockholders.

                                 (b)     Distribution of Cash.

   Any payment of Cash by the Reorganized Debtors pursuant to the Plan shall be made at
   the option and in the sole discretion of the Reorganized Debtors by (i) a check drawn on,
   or (ii) wire transfer from, a domestic bank selected by the Reorganized Debtors.

                                 (c)     Fractional Cents.

   Any other provision of the Plan to the contrary notwithstanding, no payment of fractions
   of cents will be made. Whenever any payment of a fraction of a cent would otherwise be
   called for, the actual payment shall reflect a rounding down of such fraction to the nearest
   whole cent.

                                 (d)     Fractional Securities.

   Any other provision of the Plan to the contrary notwithstanding, no distributions of
   fractional shares of New Common Stock or fractional New Warrants will be made.
   Whenever any distribution of a fraction of a share of New Common Stock or a fraction of
   a New Warrant would otherwise be called for, the actual distribution shall reflect a
   rounding down of such fraction to the nearest whole share of New Common Stock or
   New Warrant.

                                 (e)     Unclaimed Distributions.

   Any Distribution of Cash under the Plan to the holder of an Allowed Claim which
   remains unclaimed for a period of ninety (90) days after it has been delivered (or
   attempted to be delivered) in accordance with the Plan shall be transferred to and become
   property of the Reorganized Debtors notwithstanding state or other escheat or similar
   laws to the contrary, and any and all entitlement by the holder of such Claim to such
   Distribution shall be extinguished and forever barred. The failure by a holder of the
   Senior Creditor Claims to execute the Registration Rights Agreement within 180 days of
   the Effective Date shall result in the forfeiture of such holders allocation of New
   Common Stock. After such date, all forfeited New Common Stock shall revert to the
   Reorganized Debtors and the Senior Creditor Claim of such holder to such New Common
   Stock shall be discharged and forever barred.




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                                   (f)   Saturdays, Sundays, or Legal Holidays.

   If any payment or act under the Plan is required to be made or performed on a date that is
   not a Business Day, then the making of such payment or the performance of such act may
   be completed on the next succeeding Business Day, and shall be deemed to have been
   completed as of the required date.

                                   (g)   Distributions to Holders of Allowed Claims as of
   the Distribution Record Date.

   As of the close of business on the Distribution Record Date, the Claims register shall be
   closed, and there shall be no further changes in the record holders of any Claims. The
   Debtors and the Reorganized Debtors shall have no obligation to recognize any Claim
   filed or transfer of any Claims occurring after the Distribution Record Date. The Debtors
   and the Reorganized Debtors shall instead be entitled to recognize and deal for purposes
   under the Plan with only those record holders stated on the Claims register as of the close
   of business on the Distribution Record Date.

                                   (h)   Third Party Agreements; Subordination.

   Distributions shall be subject to and modified by any Final Order directing distributions
   other than as provided in the Plan. The right of the Debtors to seek subordination of any
   Claim or Equity Interest pursuant to section 510 of the Bankruptcy Code is fully
   reserved, and the treatment afforded any Claim or Equity Interest that becomes a
   subordinated Claim or subordinated Equity Interest at any time shall be modified to
   reflect such subordination. Unless the Confirmation Order provides otherwise, no
   Distributions shall be made on account of any subordinated Claim or subordinated Equity
   Interest.

                  C.     Objections to and Resolution of Claims.

                         1.        Objections to and Resolution of Administrative Claims
                                   and Claims.

   The Reorganized Debtors shall have the exclusive right to make and to file objections to
   Administrative Claims (other than Fee Claims) and Claims subsequent to the Effective
   Date. Unless otherwise ordered by the Court, objections to Administrative Claims and
   Claims shall be filed and served upon the holders of the Administrative Claims or Claims
   as to which the objection is made as soon as practicable. Objections to Fee Claims shall
   be filed and served within seventy-five (75) days (or such longer period as may be
   allowed by order of the Court) after the Effective Date.

   Objections to Administrative Claims and Claims may be litigated to judgment, settled or
   withdrawn, in the Reorganized Debtors’ sole discretion. The Reorganized Debtors may
   settle any such objections without Court approval.




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                  D.      Estimation.

   The Debtors or the Reorganized Debtors, as the case may be, may at any time request that
   the Court estimate, subject to 28 U.S.C. § 157, any Disputed Claim pursuant to section
   502(c) of the Bankruptcy Code regardless of whether the Debtors or the Reorganized
   Debtors have previously objected to such Claim. The Court will retain jurisdiction to
   estimate any Claim at any time, including during proceedings concerning any objection
   to such Claim. In the event that the Court estimates any Disputed Claim, such estimated
   amount may constitute either (a) the Allowed amount of such Claim, (b) the estimate to
   be used by the Debtors in calculating potential Distributions under the Plan, or (c) a
   maximum limitation on such Claim, as determined by the Court. In the case of Claims
   arising from personal injury tort or wrongful death actions, the Court may estimate such
   Claims for the purpose of confirming the Plan. If the estimated amount constitutes a
   maximum limitation on such Claim, the Debtors or the Reorganized Debtors may elect to
   object to ultimate payment of such Claim. All of the aforementioned Claims objection,
   estimation and resolution procedures are cumulative and not necessarily exclusive of one
   another.

                  E.      Indenture Trustee Expenses and First Lien Agent Expenses.

   In addition to any other Claim that may be filed by the 10.5% Indenture Trustee or the
   First Lien Agents pursuant to the provisions set forth herein, the 10.5% Indenture Trustee
   and the First Lien Agents shall have an Allowed Administrative Claim in an amount
   equal to the Indenture Trustee Expenses or the First Lien Agent Expenses. If the Debtors
   or the Reorganized Debtors dispute the reasonableness of the Indenture Trustee Expenses
   or the First Lien Agent Expenses, the Debtors, the Reorganized Debtors, or the 10.5%
   Indenture Trustee or the First Lien Agents, as applicable, may submit such dispute to the
   Court for a determination of the reasonableness of such fees or expenses and the disputed
   portion of the Indenture Trustee Expenses or the First Lien Agent Expenses shall not be
   paid until the dispute is resolved. The undisputed portion of the Indenture Trustee
   Expenses or the First Lien Agent Expenses shall be paid as provided herein. The 10.5%
   Indenture Trustee shall not be entitled to payment of or assertion of its Indenture Trustee
   Charging Lien for any disputed Indenture Trustee Expenses to the extent the Court
   determines that such Indenture Trustee Expenses are unreasonable under the terms of the
   10.5% Notes Indenture. Nothing contained herein shall otherwise affect the right of the
   10.5% Indenture Trustee from asserting its Indenture Trustee Charging Lien, to the extent
   applicable under the terms of the 10.5% Notes Indenture, provided, however, that upon
   the full and indefeasible payment of the Indenture Trustee Expenses, the Indenture
   Trustee Charging Lien shall be deemed released and discharged in full.

                  F.      Cancellation and Surrender of Existing Securities and
                          Agreements.

   On the Effective Date, except as otherwise specifically provided for in the Plan, after the
   Restructuring, the obligations under the 10.5% Notes Indenture and the First Lien Credit
   Agreement and any other certificate, share, note, bond, indenture, purchase right, option,
   warrant or other instrument or document directly or indirectly evidencing or creating any

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   indebtedness or obligation of or ownership interest in the Debtors giving rise to any
   Claim, including Equity Interests , shall be deemed cancelled and the obligations of the
   Debtors pursuant, relating, or pertaining to any agreements, indentures, certificates of
   designation, bylaws or certificate or articles of incorporation or similar documents
   governing the shares, certificates, notes, bonds, indentures, purchase rights, options,
   warrants or other instruments or documents evidencing or creating any indebtedness or
   obligations of the Debtors shall be released and discharged, provided, however,
   notwithstanding Confirmation or the occurrence of the Effective Date, any agreement that
   governs the rights of the holder of a Claim shall continue in effect solely for purposes of
   allowing holders to receive distributions under the Plan as provided in the Plan; provided,
   however, that (a) the 10.5% Notes Indenture and the First Lien Credit Agreement shall
   continue to survive and be in full force and effect only for the purposes of (i) making
   distributions under the Plan, (ii) asserting any Indenture Trustee Charging Lien
   thereunder, (iii) permitting the 10.5% Indenture Trustee to appear in the Chapter 11
   Cases, and (iv) any function necessary in connection with the forgoing clauses (a)(i)-
   (a)(iii) and (b) the First Lien Credit Agreement shall continue to survive and be in full
   force and effect only for purposes of (i) making distributions under the Plan; (ii)
   permitting the First Lien Agents to appear in the Chapter 11 Cases and (iii) any function
   necessary in connection with the foregoing clauses (b)(i) and (b)(ii); provided, however,
   that for the avoidance of doubt, the 10.5% Notes Indenture shall be deemed to be fully
   and completely terminated and discharged upon the making of all of the distributions set
   forth in clause (a)(i) and (b)(i) of this Article V.F, respectively.

                  G.      Nonconsensual Confirmation.

   Classes 3 and 8 are Impaired and are entitled to vote to accept or reject the Plan. Class 9
   is Impaired, is not entitled to vote to accept or reject the Plan, and is deemed to reject the
   Plan. As such, the Debtors will seek to have the Court confirm the Plan under section
   1129(b) of the Bankruptcy Code with respect to Class 8 if it votes to reject the Plan and
   Class 9.

                                                VI.

                 SUBSTANTIVE CONSOLIDATION OF THE DEBTORS

   The Plan is predicated upon, and it is a condition precedent to confirmation of the Plan,
   that the Court provide in the Substantive Consolidation Order for the substantive
   consolidation of the Chapter 11 Cases of the Debtors into a single Chapter 11 Case for
   purposes of the Plan and the Distributions hereunder. Pursuant to such Substantive
   Consolidation Order (i) all assets and liabilities of the Substantively Consolidated
   Debtors will be merged, (ii) the obligations of each Debtor will be deemed to be the
   obligations of the Substantively Consolidated Debtors, (iii) any Claims filed or to be filed
   in connection with any such obligations will be deemed Claims against the Substantively
   Consolidated Debtors, (iv) each Claim filed in the Chapter 11 Cases of any Debtor will
   be deemed filed against the Debtors in the consolidated Chapter 11 Cases in accordance
   with the substantive consolidation of the assets and liabilities of the Debtors, (v) all


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   transfers, disbursements and distributions made by any Debtor under the Plan will be
   deemed to be made by the Substantively Consolidated Debtors, and (vi) all guarantees of
   the Debtors of the obligations of any other Debtors shall be deemed eliminated so that
   any Claim against any Debtor and any guarantee thereof executed by any other Debtor
   and any joint or several liability of any of the Debtors shall be deemed to be one
   obligation of the Substantively Consolidated Debtors. Holders of Allowed Claims in
   each Class shall be entitled to their share of assets available for distribution to such Class
   without regard to which Debtor was originally liable for such Claim. Such substantive
   consolidation shall not (other than for purposes related to the Plan) affect (a) the legal and
   corporate structure of the Reorganized Debtors (b) Intercompany Claims or (c) other pre-
   and post-Petition Date guarantees that are required to be maintained (i) in connection
   with executory contracts or unexpired leases that were entered into during the Chapter 11
   Cases or that have been, or will hereunder be, assumed, (ii) pursuant to the express terms
   of the Plan, or (iii) in connection with the Exit Facility. The proposed substantive
   consolidation shall not affect each Debtor’s obligation to file the necessary operating
   reports and pay any required fees pursuant to 28 U.S.C. § 1930(a)(6) and such obligations
   shall continue until an order is entered closing, dismissing or converting such Debtor’s
   Chapter 11 Case.

   Unless the Court has approved the substantive consolidation of the Estates by a prior
   order, the Plan shall serve as, and shall be deemed to be, a motion for entry of an order
   substantively consolidating the Debtors’ estates. If no objection to substantive
   consolidation is timely filed and served, then the proposed substantive consolidation of
   the Substantively Consolidated Debtors may be approved by the Court. If any such
   objection is timely filed and served, a hearing with respect to the substantive
   consolidation of the Estates and the objections thereto shall be scheduled by the Court,
   which hearing may coincide with the Confirmation Hearing.

   In the event the Court determines not to approve the substantive consolidation of the
   Substantively Consolidated Debtors, the Plan shall constitute a separate chapter 11 plan
   of reorganization for each Debtor, each of which shall include the classifications set forth
   herein. For the avoidance of doubt, to the extent a Class contains Allowed Claims or
   Equity Interests with respect to a particular Debtor, such Class is designated with respect
   to such Debtor. To the extent there are no Allowed Claims or Equity Interests with
   respect to a particular Debtor, such Class is deemed to be omitted with respect to such
   Debtor.

                                               VII.

               PROVISIONS REGARDING IMPLEMENTATION OF PLAN

                  A.      Exit Facility.

   The Debtors shall have closed on the Exit Facility on or prior to the Effective Date, to be
   entered into by the Reorganized Debtors, the administrative agent and the lenders party
   thereto with the consent of the Requisite Participating Lenders, and all ancillary
   agreements, substantially in the form included in the Plan Supplement, which must be

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   acceptable to the Requisite Participating Lenders. On the Effective Date, the
   Reorganized Debtors are authorized to execute and deliver those documents necessary or
   appropriate to obtain the Exit Facility without further notice to or order of the Court, act
   or action under applicable law, regulation, order, or rule or vote, consent, authorization,
   or approval of any person.

   The amounts borrowed under the Exit Facility shall be used to make the required
   Distributions under the Plan, to satisfy certain plan-related expenses and to fund the
   Reorganized Debtors’ working capital needs.

                   B.      The Restructuring.

   To implement the Plan, on the Effective Date, the Debtors will undergo a restructuring
   (the ―Restructuring‖), that will include the following steps:

       Step (1): HMH Holdings will contribute the New Common Stock (through
   intermediate subsidiaries) to HMH Publishers Inc. (on its own behalf and on behalf of
   HMH Publishers LLC) and to HMH, so that HMH Publishers Inc. and HMH own the
   New Common Stock of HMH Holdings. HMH Publishers Inc. (on its own behalf and on
   behalf of Reorganized HMH Publishers LLC) and HMH will receive New Common
   Stock in proportion to the benefit each derived from the proceeds of the indebtedness
   under the First Lien Credit Agreement and the 10.5% Notes) (the ―Co-Borrower
   Percentages‖). The Debtors will contribute or distribute (through intermediate
   subsidiaries or parent entities), as necessary, an aggregate amount of $30.3 million of
   Cash to HMH and HMH Publishers Inc. (on its own behalf and on behalf of Reorganized
   HMH Publishers LLC) so that each holds Cash (in proportion to the Co-Borrower
   Percentages) necessary to engage in the exchanges described in Step 2.

      Step (2):

          (A) The Senior Creditor Claims will be transferred to HMH Publishers Inc. (on its
   own behalf and on behalf of Reorganized HMH Publishers LLC) and to HMH in
   accordance with the Co-Borrower Percentages and the Senior Creditor Claims will be
   cancelled.

           (B) In exchange for their Senior Creditor Claims, Senior Creditors will receive
   from each of HMH Publishers Inc. and HMH, a pro rata share of the New Common Stock
   that HMH Publishers Inc. and HMH held after Step (1) of the Restructuring and a pro
   rata share of $30.3 million in Cash. HMH Publishers Inc. and HMH shall hold no New
   Common Stock after this Step (2).

       Step (3): The Existing Common Stock will be cancelled, either (x) in exchange for
   the New Warrants if Class 8 votes to approve the Plan, or (z) for no consideration if Class
   8 votes to reject the Plan. All Other Holdings Equity Interests will be cancelled.

   For U.S. federal income tax purposes, and for state, local, and non-U.S. tax purposes, to
   the extent applicable, (x) the Senior Creditors and the Debtors shall report the


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   transactions described in Step 1 and Step 2 (taken together) as a taxable exchange of the
   Senior Creditor Claims for New Common Stock and Cash and (y) the Existing Common
   Stockholders and the Debtors shall report the transactions described in Step (3), to the
   extent the Existing Common Stockholders receive New Warrants, as a taxable exchange
   of their Existing Common Stock for New Warrants.

                  C.      Sources of Cash for Plan Distribution and Transfers of Funds
                          Among Debtors

   All consideration necessary for the Reorganized Debtors to make payments or
   distributions pursuant to the Plan shall be obtained from the Exit Facility or other Cash
   from the Debtors, including Cash from business operations. Further, the Debtors, the
   Foreign Affiliates and the Reorganized Debtors will be entitled to transfer funds between
   and among themselves as they determine to be necessary or appropriate to enable the
   Reorganized Debtors to satisfy their obligations under the Plan. Except as set forth in the
   Plan, any changes in intercompany account balances resulting from such transfers will be
   accounted for and settled in accordance with the Debtors’ historical intercompany
   account settlement practices and will not violate the terms of the Plan.

                  D.      The Initial Board of Directors.

   Immediately following the Effective Date, the board of directors of Reorganized HMH
   Holdings (―Reorganized HMH Holdings Board of Directors‖) shall be comprised of nine
   (9) members, one (1) of whom shall be the chief executive officer and eight (8) of whom,
   including the chairperson, shall be initially chosen by the Informal Creditor Group with
   the participation and input of the chief executive officer, provided, that, Paulson & Co.
   Inc. (―Paulson‖) shall have the right to designate two (2) initial directors, one of whom
   will be ―independent‖ and selected from the pool of candidates identified with the
   assistance of a consultant. All initial members of the Reorganized HMH Holdings Board
   of Directors (other than the two (2) nominated by Paulson, one of whom shall be chosen
   from the pool of independent director candidates), whether designated prior to or after the
   Effective Date, will be designated for an initial term of one (1) year by the consensus of
   the Informal Creditor Group from a pool of director candidates that has been generated
   by the Informal Creditor Group with the participation and input of the chief executive
   officer and an outside consulting firm selected by the Informal Creditor Group. The pool
   of director candidates may include existing directors as well as new director candidates.
   Thereafter, all members of the Reorganized HMH Holdings Board of Directors (until an
   IPO, other than those directors nominated pursuant to a Nomination Agreement) will be
   designated by the nominating committee of the Reorganized HMH Holdings Board of
   Directors or the holders of a majority of outstanding shares of New Common Stock.
   After the Effective Date, in any uncontested election for directors, a director must receive
   the approval of a majority of the shares of New Common Stock voted at the meeting.

   A majority of the Reorganized HMH Holdings Board of Directors, including the
   Chairperson, will be ―independent‖ under NYSE standards. The Reorganized HMH
   Holdings Board of Directors will have an audit committee, a compensation committee, a
   nominating committee and an ethics and governance committee.

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   The identities, affiliations and the nature of compensation of the directors shall be
   disclosed in the Plan Supplement. The directors of each Debtor on the day immediately
   preceding the Effective Date that are not otherwise appointed as members of the initial
   board of directors or the equivalent governing body for the corresponding Reorganized
   Debtor shall be deemed to have resigned from the board of directors of such Debtor as of
   the Effective Date. To the extent there are open seats on the Reorganized HMH Holdings
   Board of Directors on the Effective Date, the nominating committee, which shall consist
   of the members of the Informal Creditor Group, shall be empowered to appoint new
   members of the Reorganized HMH Holdings Board of Directors and the board of
   directors for the other Reorganized Debtors to fill the empty seats on and after the
   Effective Date.

                  E.      Securities to Be Issued Pursuant to the Plan.

   The New Common Stock offered in the Plan shall be the common stock in Reorganized
   HMH Holdings. The issuance of the New Common Stock, the New Warrants, the
   Management Options or other equity awards reserved for the Management Incentive
   Plan, and the New Common Stock issuable upon exercise of the New Warrants is
   authorized without the need for any further corporate action or without any further action
   by a holder of a Claim. Computershare Limited will be the transfer agent, registrar and
   redemption agent for the New Common Stock. Reorganized HMH Holdings shall
   authorize and issue or reserve for issuance such number of shares of New Common Stock
   as may be necessary to be issued upon exercise of the New Warrants or to effectuate the
   Management Incentive Plan. All of the shares of New Common Stock and New
   Warrants issued pursuant to the Plan shall be duly authorized, validly issued and fully
   paid and non-assessable.

                  F.      Management of Reorganized Debtors.

   Upon the Effective Date, the officers of the Reorganized Debtors shall be substantially
   the same as the officers of the Debtors on the Petition Date. The Reorganized Debtors’
   officers shall serve in accordance with any employment agreement with the Reorganized
   Debtors and applicable nonbankruptcy law. The Debtors will disclose the identities of
   senior management and any related employment agreements in the Plan Supplement.

                  G.      Reorganized HMH Holdings Certificate of Incorporation,
                          Reorganized HMH Holdings Bylaws and Other Amended and
                          Restated Governing Documents.

   The adoption of the Amended and Restated Governing Documents shall be deemed to
   have occurred and be effective as of the Effective Date without any further action by the
   directors, stockholders, partners or members (as the case may be) of the Debtors or
   Reorganized Debtors. The Amended and Restated Governing Documents will, among
   other things, contain appropriate provisions prohibiting the issuance of nonvoting equity
   securities to the extent required by section 1123(a)(6) of the Bankruptcy Code. On or
   prior to the Effective Date, the Debtors will, if required by applicable state law, file with


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   the Secretary of State of the appropriate jurisdiction the Amended and Restated
   Governing Documents.

                  H.      Registration Rights Agreeement

   Upon the Effective Date, the Registration Rights Agreement shall be deemed to become
   valid, binding and enforceable in accordance with its terms, and each holder of New
   Common Stock shall be bound thereby, in each case, without need for execution by any
   party thereto other than Reorganized HMH Holdings, provided, however, that each
   holder of a Senior Creditor Claim must register its New Common Stock with
   Reorganized HMH Holdings and execute a signature page to and be bound by the
   Registration Rights Agreement as a condition precedent to receiving its allocation of New
   Common Stock. The Registration Rights Agreement shall contain provisions relating to
   the listing of the New Common Stock on a national securities exchange, the registration
   of securities held by certain stockholders with the SEC, access to information regarding
   the Reorganized Debtors and preemptive rights to purchase securities.

                  I.      Reorganized Debtors’ Management Incentive Plan.

   On the Effective Date of the Plan, the Management Incentive Plan will be implemented
   and will be comprised of the Management Options which are to be options to acquire up
   to ten (10) percent of the total number of fully diluted shares of New Common Stock to
   be outstanding after the Restructuring. The terms of the Management Incentive Plan and
   the Management Options, each of which shall be acceptable to the Debtors and the
   Requisite Participating Lenders, will be set forth in the Plan Supplement.

                  J.      Informal Creditor Group Professionals Fees.

   On the Effective Date, the Reorganized Debtors shall pay the reasonable fees and
   expenses of the Informal Creditor Group Professionals, whether incurred prior to or after
   the Petition Date, in full in Cash without the need for application to, or approval of, the
   Court.

                  K.      Corporate Action.

   Each of the matters provided for by the Plan involving the corporate structure of the
   Debtors or corporate related actions to be taken by or required of the Reorganized
   Debtors shall, as of the Effective Date, have occurred and be effective as provided in the
   Plan (except to the extent otherwise indicated), and shall be authorized, approved, and, to
   the extent taken prior to the Effective Date, ratified in all respects without any
   requirement of further action by holders of Claims or Equity Interests, directors of the
   Debtors, or any other entity.

                  L.      Effectuating Documents; Further Transactions.

   On and after the Effective Date, the Reorganized Debtors and the officers and members
   of the boards of directors thereof, are authorized to and may issue, execute, deliver, file,


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   or record such contracts, securities, instruments, releases, and other agreements or
   documents and take such actions as may be necessary or appropriate to effectuate,
   implement, and further evidence the terms and conditions of the Plan and the securities
   issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors,
   without the need for any approvals, authorization, or consents except for those expressly
   required pursuant to the Plan.

                  M.      Exemption from Certain Taxes and Fees.

   Pursuant to section 1146(a) of the Bankruptcy Code, any transfer from a Debtor to a
   Reorganized Debtor or to any entity pursuant to, in contemplation of, or in connection
   with the Plan or pursuant to: (a) the issuance, distribution, transfer, or exchange of any
   debt, equity security, or other interest in the Debtors or the Reorganized Debtors; (b) the
   creation, modification, consolidation, or recording of any mortgage, deed of trust, or
   other security interest, or the securing of additional indebtedness by such or other means;
   (c) the making, assignment, or recording of any lease or sublease; or (d) the making,
   delivery, or recording of any deed or other instrument of transfer under, in furtherance of,
   or in connection with, the Plan, including any deeds, bills of sale, assignments, or other
   instrument of transfer executed in connection with any transaction arising out of,
   contemplated by, or in any way related to the Plan, shall not be subject to any document
   recording tax, stamp tax, conveyance fee, intangibles, or similar tax, mortgage tax, real
   estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording
   fee, or other similar tax or governmental assessment, and the Confirmation Order shall
   direct the appropriate state or local governmental officials or agents to forego the
   collection of any such tax or governmental assessment and to accept for filing and
   recordation any of the foregoing instruments or other documents without the payment of
   any such tax or governmental assessment.

                  N.      Powers of Officers.

   The officers of the Debtors or the Reorganized Debtors, as the case may be, shall have
   the power to enter into and to execute any Plan Supplement Document to which the
   Debtors, or the Reorganized Debtors are to be a party and to take such other or further
   action as they deem reasonable and appropriate to effectuate the terms of the Plan.

                                              VIII.

                       EFFECT OF CONFIRMATION OF THE PLAN

                  A.      Continued Corporate Existence.

   The Debtors, as Reorganized Debtors, shall continue to exist after the Effective Date with
   all of the powers of a corporation, partnership or limited liability company, as the case
   may be, under the laws of the State of Delaware or their state of incorporation or
   formation and without prejudice to any right to alter or terminate such existence (whether
   by merger or otherwise) under such applicable state law, except as such rights may be
   limited and conditioned by the Plan and the documents and instruments executed and

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   delivered in connection therewith. In addition, the Reorganized Debtors may operate
   their businesses free of any restrictions imposed by the Bankruptcy Code, the Bankruptcy
   Rules or by the Court, subject only to the terms and conditions of the Plan, the
   Confirmation Order, and the documents and instruments executed and delivered in
   connection with the Plan, including without limitation, the documents and instruments
   included in the Plan Supplement. Notwithstanding the foregoing, on or as of the
   Effective Date or as soon as practicable thereafter and without need for any further
   action, the Reorganized Debtors (with the consent of the Requisite Participating Lenders)
   may (a) cause any or all of the Reorganized Debtors or Foreign Affiliates to be merged
   into one or more of the Reorganized Debtors or Foreign Affiliates, dissolved or otherwise
   consolidated; (b) cause the transfer of assets between or among the Reorganized Debtors
   or Foreign Affiliates; or (c) engage in any other transaction in furtherance of the Plan.

                  B.      Releases of Guarantees and Collateral.

   Upon the Effective Date, the First Lien Agents and the 10.5% Indenture Trustee shall
   release any and all collateral and guarantees with respect to the First Lien Credit
   Agreement and the 10.5% Notes.

                  C.      Dissolution of Creditors’ Committee.

   The Creditors’ Committee (if one is appointed) shall continue in existence until the
   Effective Date and shall continue to exercise those powers and perform those duties
   specified in section 1103 of the Bankruptcy Code and shall perform such other duties as
   it may have been assigned by the Court prior to the Effective Date. On the Effective
   Date, the Creditors’ Committee shall be dissolved and its members shall be deemed
   released of all of their duties, responsibilities and obligations in connection with the
   Chapter 11 Cases or the Plan and its implementation, and the retention or employment of
   the Creditors’ Committee’s attorneys, financial advisors, and other agents, if any, shall
   terminate except that the Creditors’ Committee shall continue to have standing and a
   right to be heard with respect to (i) all Fee Claims, (ii) any appeals of the Confirmation
   Order, (iii) any adversary proceedings pending as of the Effective Date to which it may
   be a party and (iv) post-Effective Date modifications to the Plan.

                  D.      Vesting of Property.

   Except as otherwise expressly provided in the Plan, on the Effective Date, or as soon as
   practicable thereafter, the Reorganized Debtors shall be vested with all of the property of
   the Debtors’ estates free and clear of all Claims, Liens, encumbrances, charges and other
   interests of creditors and equity security holders.

                  E.      Discharge of the Debtors.

   Except as otherwise provided in the Plan, the rights afforded in the Plan, and the
   treatment of all Claims and Equity Interests herein shall be in exchange for and in
   complete satisfaction, discharge, and release of all Claims or Equity Interests of any
   kind or nature whatsoever, whether known or unknown, including any interest

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   accrued or expenses incurred thereon, against or in the Debtors, the Reorganized
   Debtors or any of their respective assets or properties, arising prior to the Effective
   Date. Except as otherwise expressly specified in the Plan, the Confirmation Order
   shall act as of the Effective Date as a discharge of all debts of, Claims against, Liens
   on, and Equity Interests in the Debtors, their respective assets and properties,
   arising at any time before the Effective Date, regardless of whether a proof of Claim
   or Equity Interest with respect thereto was filed, whether the Claim or Equity
   Interest is Allowed, or whether the holder thereof votes to accept the Plan or is
   entitled to receive a Distribution hereunder. Except as otherwise expressly specified
   in the Plan, after the Effective Date, any holder of such discharged Claim or Equity
   Interest shall be precluded from asserting any other or further Claim against, or
   Equity Interest in, the Debtors, the Reorganized Debtors, or any of their respective
   assets or properties, based on any document, instrument, act, omission, transaction,
   or other activity of any kind or nature that occurred before the Effective Date.
   Notwithstanding any provision in the Plan to the contrary, the distribution on
   account, and discharge of Allowed 10.5% Notes Claims will not be dependent on the
   surrender or cancellation of the 10.5% Notes. The 10.5% Indenture Trustee will
   send such notices and take such other actions as are reasonably requested by the
   Debtors to effect the cancellation of the 10.5% Notes held by Cede & Co.

                  F.      Injunction.

   Except as otherwise expressly provided in the Plan, the Confirmation Order, the
   Plan Supplement Documents, or a separate order of the Bankruptcy Court, all
   Persons who have held, hold, or may hold Claims against, or Equity Interests in, the
   Debtors that arose before or were held as of the Effective Date, shall be permanently
   enjoined, on and after the Effective Date, from (a) commencing or continuing in any
   manner any action or other proceeding of any kind against the Debtors or the
   Reorganized Debtors with respect to any such Claim or Equity Interest, (b) the
   enforcement, attachment, collection, or recovery by any manner or means of any
   judgment, award, decree, or order against the Debtors or the Reorganized Debtors
   on account of any such Claim or Equity Interest, (c) creating, perfecting, or
   enforcing any encumbrance of any kind against the Debtors or the Reorganized
   Debtors or against the property or interests in property of the Debtors or the
   Reorganized Debtors on account of any such Claim or Equity Interest and
   (d) asserting any right of setoff or subrogation of any kind against any obligation
   due from the Debtors or the Reorganized Debtors or against the property or
   interests in property of the Debtors or the Reorganized Debtors on account of any
   such Claim or Equity Interest. Such injunction shall extend to successors of the
   Debtors (including, without limitation, the Reorganized Debtors) and their
   respective properties and interests in property.

                  G.      Preservation of Causes of Action.

   The Reorganized Debtors shall retain all rights and all Causes of Action accruing to them
   and their estates, including but not limited to, those arising under sections 505, 544, 547,


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   548, 549, 550, 551, 553 and 1123(b)(3)(B) of the Bankruptcy Code, including all tax
   setoff and refund rights arising under section 505, other than as expressly provided
   below. Except as expressly provided in the Plan or the Confirmation Order, nothing
   contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
   relinquishment of any such rights or Causes of Action. Nothing contained in the Plan or
   the Confirmation Order shall be deemed a waiver or relinquishment of any Claim, Cause
   of Action, right of setoff, or other legal or equitable defense that the Debtors have that is
   not specifically waived or relinquished by the Plan. The Reorganized Debtors shall have,
   retain, reserve and be entitled to assert all such Claims, Causes of Action, rights of setoff
   and other legal or equitable defenses that the Debtors have as fully as if the Chapter 11
   Cases had not been commenced, and all of the Reorganized Debtors’ legal and equitable
   rights respecting any Claim that are not specifically waived or relinquished by the Plan
   may be asserted after the Effective Date to the same extent as if the Chapter 11 Cases had
   not been commenced.

                  H.      Votes Solicited in Good Faith.

   The Debtors have, and upon confirmation of the Plan shall be deemed to have, solicited
   acceptances of the Plan in good faith and in compliance with the applicable provisions of
   the Bankruptcy Code. The Debtors (and each of their respective affiliates, agents,
   directors, officers, members, employees, advisors and attorneys) have participated in
   good faith and in compliance with the applicable provisions of the Bankruptcy Code in
   connection with the Distributions contemplated hereunder and therefore have not been,
   and on account thereof will not be, liable at any time for the violation of any applicable
   law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan
   or the Distributions contemplated hereunder.

                  I.      Mutual Releases.

       On the Effective Date, (a) the Debtors and any non-Debtor guarantors under the
   First Lien Credit Agreement and the 10.5% Notes Indenture, (b) the Senior
   Creditors in their capacity as a First Lien Bank Lender and/or a Bondholder, as
   applicable, (c) the members of the Creditors’ Committee (if any), (d) the DIP
   Lenders and DIP Agents, (e) the First Lien Agents, (f) the 10.5% Indenture Trustee,
   (g) the Existing Equity Holders and (h) each of the respective current and former
   direct and indirect equity holders, members, partners, subsidiaries, affiliates, funds,
   managers, managing members, officers, directors, employees, advisors, principals,
   attorneys, professionals, accountants, investment bankers, consultants, agents, and
   other representatives (including their respective equity holders, members, partners,
   subsidiaries, affiliates, funds, managers, managing members, officers, directors,
   employees, advisors, principals, attorneys, professionals, accountants, investment
   bankers, consultants, agents, and other representatives) and other professionals of
   the parties listed in clauses (a) through (g), including the Informal Creditor Group
   Professionals, in each case, in their respective capacities as such, (collectively clauses
   (a) through (g) being the “Released Parties,” and each a “Released Party”) shall be
   deemed to and hereby unconditionally release and irrevocably discharge each other
   from any and all claims, obligations, suits, judgments, damages, rights, Causes of

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   Action and liabilities whatsoever, whether known or unknown, foreseen or
   unforeseen, existing or hereafter arising, in law, equity or otherwise, based in whole
   or in part on any act, omission, transaction or occurrence from the beginning of
   time through the Effective Date except that (i) no Released Party shall be released
   from any act or omission that constitutes gross negligence, fraud or willful
   misconduct, (ii) the foregoing release shall not apply to (a) any obligations under
   existing contracts and other agreements between any of the Released Parties that
   are not being terminated, extinguished or cancelled pursuant to, in connection with,
   or contemplated by, the Plan and (b) any obligations arising under any contract or
   agreement entered into between any of the Released Parties pursuant to, in
   connection with, or contemplated by, the Plan.

                 J.      Releases by Non-Debtors.

   On and as of the Effective Date, all Persons who directly or indirectly have held,
   hold or may hold Claims or Equity Interests and do not, on their Ballots, opt out of
   providing the releases contemplated by this section, shall be deemed, by virtue of
   their treatment contemplated under the Plan, to have forever released and
   covenanted with the Reorganized Debtors and the other Released Parties not to
   (y) sue or otherwise seek recovery from any of the Reorganized Debtors or any
   other Released Party on account of any Claims or Equity Interests, including but
   not limited to any claim based upon tort, breach of contract, violations of federal,
   state or foreign securities laws or otherwise, based upon any act, occurrence, or
   failure to act from the beginning of time through the Effective Date in any way
   relating to the Debtors or their businesses and affairs or (z) assert against any of the
   Reorganized Debtors or any other Released Party any claim, obligation, right,
   Cause of Action or liability that any holder of Claims or Equity Interests may be
   entitled to assert, whether known or unknown, foreseen or unforeseen, existing or
   hereafter arising, based in whole or in part on any act or omission, transaction, or
   occurrence from the beginning of time through the Effective Date in any way
   relating to the Debtors, the Restructuring Support Agreement, the Chapter 11
   Cases, or the Plan; provided, however, that (i) none of the Released Parties shall be
   released from any act or omission that constitutes gross negligence, fraud or willful
   misconduct, (ii) the foregoing release shall not apply to (a) any obligations under
   existing contracts and other agreements between any of the Released Parties that
   are not being terminated, extinguished or cancelled pursuant to, in connection with,
   or contemplated by, the Plan and (b) any obligations arising under any contract or
   agreement entered into between any of the Released Parties pursuant to, in
   connection with, or contemplated by, the Plan, and (iii) the foregoing release shall
   not be construed to prohibit a party in interest from seeking to enforce the terms of
   the Plan or any contract or agreement entered into pursuant to, in connection with,
   or contemplated by, the Plan. Notwithstanding anything to the contrary in the Plan,
   the releases of the Released Parties shall extend only to claims arising against such
   Released Parties in their capacities as parties in interest in the Chapter 11 Cases.
   Notwithstanding anything to the contrary in the Plan, to the extent a holder of a
   Claim or Equity Interest elects on its Ballot not to grant the releases of the Released


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   Parties, such holder of a Claim or Equity Interest will not be deemed to be a
   Released Party to the extent it would have otherwise qualified as such.

                  K.     Exculpation.

                         1.      Exculpation and Limitation of Liability.

   The Debtors, the Reorganized Debtors and the other Released Parties (i) shall have
   no liability whatsoever to any holder or purported holder of a Claim or Equity
   Interest for any act or omission in connection with, or arising out of, the Plan, the
   Disclosure Statement, the Restructuring Support Agreement, the negotiation of the
   Plan and the Restructuring Support Agreement, the negotiation of the Plan
   Supplement Documents, the Exit Facility, the pursuit of approval of the Disclosure
   Statement or the solicitation of votes for confirmation of the Plan, the Chapter 11
   Cases, the consummation of the Plan, the administration of the Plan or the property
   to be distributed under the Plan, or any transaction contemplated by the Plan, the
   Restructuring Support Agreement or Disclosure Statement or in furtherance
   thereof except for any act or omission that constitutes fraud, willful misconduct or
   gross negligence as determined by a Final Order, and (ii) in all respects, shall be
   entitled to rely upon the advice of counsel with respect to their duties and
   responsibilities under or in connection with the Plan. This exculpation shall be in
   addition to, and not in limitation of, all other releases, indemnities, exculpations and
   any other applicable law or rules protecting such Released Parties from liability.

                         2.      Limitation of Governmental Releases.

   Notwithstanding Articles VIII.J and VIII.K.1 of the Plan, the Plan shall not release,
   discharge, or exculpate any non-Debtor party from any debt owed to the United
   States Government ( the “Government”) and/or its agencies, including the Pension
   Benefit Guaranty Corporation (the “PBGC”), or from any liability arising under
   the Internal Revenue Code, the Employee Retirement Income Security Act of 1974,
   as amended (“ERISA”), or the environmental laws, securities laws or criminal laws
   of the United States. In addition, notwithstanding Articles VIII.J and VIII.K.1 of
   the Plan, the Plan shall not enjoin or prevent the Government from collecting any
   such liability from any such non-Debtor party under the provisions of applicable
   law.

                  L.     Term of Bankruptcy Injunction or Stays.

   All injunctions or stays provided for in the Chapter 11 Cases under sections 105 or 362 of
   the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
   remain in full force and effect until the Effective Date.




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                  M.      Preservation of Insurance.

                          1.      Limitations on Amounts to Be Distributed to Holders of
                                  Allowed Insured Claims

   Distributions under the Plan to each holder of an Allowed Claim that is an Insured Claim
   shall be in accordance with the treatment provided under the Plan for the Class in which
   such Allowed Claim is classified, but solely to the extent that such Allowed Claim is not
   satisfied from proceeds payable to the holder thereof under any pertinent insurance
   policies and applicable law. Nothing in Article VIII.M.1 of the Plan shall constitute a
   waiver of any claims, obligations, suits, judgments, damages, demands, debts, rights,
   causes of action or liabilities that any Person may hold against any other Person,
   including the Debtors’ insurance carriers.

                          2.      Reinstatement and Continuation of Insurance Policies

   Unless otherwise assumed during the pendency of the Chapter 11 Cases, from and after
   the Effective Date, each of the Debtors’ insurance policies in existence on and as of the
   Effective Date shall be reinstated and continued in accordance with its terms and, to the
   extent applicable, shall be deemed assumed by the applicable Reorganized Debtor
   pursuant to section 365 of the Bankruptcy Code.

   The Debtors’ discharge and release from all Claims and Equity Interests, under the Plan,
   shall not diminish or impair the enforceability of any insurance policy that may cover
   Claims against the Debtors, the Reorganized Debtors (including, without limitation, its
   officers and directors) or any other person or entity. Notwithstanding any other provision
   of the Plan or the Confirmation Order, nothing in the Plan shall (i) impair (w) the right of
   any insurer to defend against any claim asserted against such insurer, (x) an insurer’s
   status as a secured creditor to the extent applicable under the terms of the Plan, including
   the right to recover from any Collateral (in accordance with the applicable insurance
   policy), (y) an insurer’s right to draw on third-party letters of credit (in accordance with
   the terms of the applicable insurance policy and letter of credit) or (z) any insurer’s right
   of setoff pursuant to section 553 of the Bankruptcy Code to the extent applicable and/or
   (ii) affect an insurer’s right to seek arbitration of disputes between the Debtors and such
   insurer to the extent provided for under the terms of the applicable insurance agreement.

                  N.      Officers’ and Directors’ Indemnification Rights and Insurance.

   Notwithstanding any other provisions of the Plan, the obligations of the Debtors to
   indemnify their directors, officers, managers and employees against any obligations,
   liabilities, costs or expenses pursuant to the articles of incorporation, bylaws, partnership
   agreements or limited liability company operating agreements of the Debtors, as the case
   may be, applicable state law, specific agreement, or any combination of the foregoing,
   shall survive the Effective Date in all respects.




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                                               IX.

                             RETENTION OF JURISDICTION

   The Court shall have exclusive jurisdiction over all matters arising out of, and related to,
   the Chapter 11 Cases and the Plan pursuant to, and for the purposes of, section 105(a) and
   section 1142 of the Bankruptcy Code and for, among other things, the following
   purposes: (1) to hear and determine applications for the assumption or rejection of
   executory contracts or unexpired leases pending on the Confirmation Date, and the
   allowance of Claims resulting therefrom; (2) to determine any other applications,
   adversary proceedings, and contested matters pending on the Effective Date; (3) to ensure
   that Distributions to holders of Allowed Claims and Equity Interests are accomplished as
   provided herein; (4) to resolve disputes as to the ownership of any Claim or Equity
   Interest; (5) to hear and determine timely objections to Claims and Equity Interests; (6) to
   hear and determine any disputes arising as to the reasonableness of the Indenture Trustee
   Expenses or First Lien Agent Expenses; (7) to enter and implement such orders as may
   be appropriate in the event the Confirmation Order is for any reason stayed, revoked,
   modified or vacated; (8) to issue orders in aid of execution of the Plan, to the extent
   authorized by section 1142 of the Bankruptcy Code; (9) to consider any modifications of
   the Plan, to cure any defect or omission, or to reconcile any inconsistency in any order of
   the Court, including, without limitation, the Confirmation Order; (10) to hear and
   determine all applications for compensation and reimbursement of expenses of
   professionals under sections 330, 331 and 503(b) of the Bankruptcy Code; (11) to hear
   and determine disputes arising in connection with the interpretation, implementation, or
   enforcement of the Plan; (12) to hear and determine any issue for which the Plan requires
   a Final Order of the Court; (13) to hear and determine matters concerning state, local, and
   federal taxes in accordance with sections 346, 505 and 1146 of the Bankruptcy Code;
   (14) to hear and determine any Causes of Action preserved under the Plan under sections
   544, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code; (15) to hear and determine
   any matter regarding the existence, nature and scope of the Debtors’ discharge; (16) to
   hear and determine any matter regarding the existence, nature, and scope of the releases
   and exculpation provided in Article VIII of the Plan; and (17) to enter a final decree
   closing the Chapter 11 Cases.

                                               X.

                             MISCELLANEOUS PROVISIONS

                  A.      Payment of Statutory Fees.

   All fees payable on or before the Effective Date pursuant to section 1930 of title 28 of the
   United States Code shall be paid by the Debtors on or before the Effective Date and all
   such fees payable after the Effective Date shall be paid by the applicable Reorganized
   Debtor as and when such fees become due.




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                  B.     Modification of the Plan.

                         1.      Pre-Confirmation Modifications.

   The Debtors, with the written consent of the Requisite Participating Lenders, may amend,
   modify or supplement the Plan before the Confirmation Date as provided for in section
   1127 of the Bankruptcy Code; provided, however, that with respect to modifications to
   the treatment of Senior Creditors, the prior written consent of each member of the
   Informal Creditor Group shall be required.

                         2.      Post-Confirmation Immaterial Modifications.

   After the Confirmation Date, the Debtors may, with the written consent of the Requisite
   Participating Lenders, and with the approval of the Court and without notice to all
   holders of Claims or Equity Interests, insofar as it does not materially and adversely
   affect the holders of Claims or Equity Interests, correct any defect, omission or
   inconsistency in the Plan in such manner and to such extent as may be necessary to
   expedite consummation of the Plan; provided, however, that with respect to
   modifications to the treatment of Senior Creditors, the prior written consent of each
   member of the Informal Creditor Group shall be required.

                         3.      Post-Confirmation Material Modifications.

   After the Confirmation Date, the Debtors may, with the written consent of the Requisite
   Participating Lenders, alter, amend or modify the Plan in a manner which, as determined
   by the Court, materially and adversely affects holders of Claims or Equity Interests;
   provided that such alteration, amendment or modification is made after a hearing as
   provided in section 1127 of the Bankruptcy Code; provided, further that, with respect to
   modifications to the treatment of Senior Creditors, the prior written consent of each
   member of the Informal Creditor Group shall be required.

                  C.     Governing Law.

   Unless a rule of law or procedure is supplied by Federal law (including the Bankruptcy
   Code and Bankruptcy Rules), the laws of the State of New York (without reference to the
   conflicts of law provisions thereof) shall govern the construction and implementation of
   the Plan and any agreements, documents, and instruments executed in connection with
   the Plan, unless otherwise specified.

                  D.     Filing or Execution of Additional Documents.

   On or before the Effective Date, the Debtors shall file with the Court or execute, as
   appropriate, such agreements and other documents, in each case, in form and substance
   acceptable to the Requisite Participating Lenders, as may be necessary or appropriate to
   effectuate and further evidence the terms and conditions of the Plan.




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                  E.      Withholding and Reporting Requirements.

   In connection with the Plan and all instruments issued in connection herewith and
   Distributions hereunder, the Debtors and the Reorganized Debtors shall comply with all
   withholding and reporting requirements imposed by any federal, state, local or foreign
   taxing authority and all Distributions hereunder shall be subject to any such withholding
   and reporting requirements.

                  F.      Allocation Between Principal and Accrued Interest.

   For tax purposes, the aggregate consideration paid to holders with respect to their
   Allowed Claims shall be treated pursuant to the Plan as allocated first to the principal
   amount of such Allowed Claim (to the extent thereof) and, thereafter, to interest, if any,
   accrued through the Effective Date.

                  G.      Waiver of Bankruptcy Rule 3020(e) and Federal Rule of Civil
                          Procedure 62(a).

   The Debtors may, with the consent of the Requisite Participating Lenders, request that
   the Confirmation Order include (a) a finding that Bankruptcy Rule 3020(e) and Fed. R.
   Civ. P. 62(a) shall not apply to the Confirmation Order and (b) authorization for the
   Debtors to consummate the Plan immediately after entry of the Confirmation Order.

                  H.      Exhibits/Schedules.

   All exhibits and schedules to the Plan and the Plan Supplement are incorporated into and
   constitute a part of the Plan as if fully set forth herein.

                  I.      Notices.

   All notices, requests, and demands hereunder to be effective shall be in writing and,
   unless otherwise expressly provided herein, shall be deemed to have been duly given or
   made when actually delivered or, in the case of notice by facsimile transmission, when
   received and telephonically confirmed, addressed as follows:

   To the Debtors: Houghton Mifflin Harcourt Publishing Company, 222 Berkeley Street,
   Boston, Massachusetts 02116, attention: Mr. Bill Bayers, with a copy to (i) Paul, Weiss,
   Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York
   10019-6064, attention: Alan W. Kornberg and Jeffrey D. Saferstein,
   Tel.: (212) 373-3000, Fax: (212) 757-3990.

   To the Informal Creditor Group: In care of (i) Akin Gump Strauss Hauer & Feld LLP,
   One Bryant Park, New York, New York 10036, Attn: Ira Dizengoff and Philip Dublin,
   Tel: (212) 872-8012, Fax: (212) 872-1002.

   To the Creditors’ Committee (if any): In care of counsel to the Committee.



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                  J.      Plan Supplement.

   Forms of the documents relating to the Registration Rights Agreement, the New Warrant
   Agreement, the Reorganized HMH Holdings Certificate of Incorporation, the
   Reorganized HMH Holdings Bylaws, the identities, terms and nature of the compensation
   of the Reorganized Debtors’ senior officers and directors, the other Amended and
   Restated Governing Documents, documents relating to the Management Incentive Plan
   and such other documents and information as the Debtors, with the consent of the
   Requisite Participating Lenders, determine to be necessary or appropriate to the
   implementation and/or confirmation of the Plan shall be contained in the Plan
   Supplement, which will be filed with the Clerk of the Court no later than ten (10) days
   prior to the Confirmation Hearing; provided, however, that the Debtors, with the consent
   of the Requisite Participating Lenders, may alter, amend or modify any of the Plan
   Supplement Documents through and including the Effective Date in a manner consistent
   with the Plan.

   The Plan Supplement may be inspected in the office of the Clerk of the Court during
   normal Court hours and shall be available online at the Voting Agent’s website at HMH’s
   dedicated web page: kccllc.net/hmhco. Holders of Claims or Equity Interests may also
   obtain a copy of the Plan Supplement upon written request to the Debtors in accordance
   with Article X.I. of the Plan.

                  K.      Conflicts.

   The terms of the Plan shall govern in the event of any inconsistency between the Plan and
   the summary of the Plan set forth in the Disclosure Statement. The terms of the
   Confirmation Order shall govern in the event of any inconsistency between the
   Confirmation Order and the Plan or the summary of the Plan set forth in the Disclosure
   Statement.

                  L.      Setoff by the United States.

   The valid setoff rights, if any, of the United States of America will be unaffected by the
   Plan or confirmation hereof.

                                               XI.

                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                  A.      Assumption and Rejection of Executory Contracts and
                          Unexpired Leases.

   Except as otherwise provided in the Plan, or in any contract, instrument, release,
   indenture, or other agreement or document entered into in connection with the Plan, as of
   the Effective Date, the Debtors shall be deemed to have assumed each executory contract
   and unexpired lease to which they are party, unless such contract or lease (i) was
   previously assumed or rejected by the Debtors, (ii) previously expired or terminated


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   pursuant to its terms, (iii) is the subject of a motion to reject filed by the Debtors on or
   before the Confirmation Date, or (iv) is set forth in a schedule, as an executory contract
   or unexpired lease to be rejected, if any, filed by the Debtors as part of the Plan
   Supplement. The Confirmation Order shall constitute an order of the Court under
   sections 365 and 1123(b) of the Bankruptcy Code approving the contract and lease
   assumptions or rejections described above, as of the Effective Date. For the avoidance of
   doubt, as described herein, the forgoing does not apply to (x) benefit plans, which are
   specifically dealt with in Article XII of the Plan, or (y) insurance policies, which are
   specifically dealt with in Article VIII.M of the Plan.

   Each executory contract and unexpired lease that is assumed and relates to the use, ability
   to acquire, or occupancy of real property shall include (a) all modifications, amendments,
   supplements, restatements, or other agreements made directly or indirectly by any
   agreement, instrument or other document that in any manner affects such executory
   contract or unexpired lease and (b) all executory contracts or unexpired leases
   appurtenant to the premises, including all easements, licenses, permits, rights, privileges,
   immunities, options, rights of first refusal, powers, uses, usufructs, reciprocal easement
   agreements, vaults, tunnel or bridge agreements or franchises, and any other interests in
   real estate or rights in rem related to such premises, unless any of the foregoing
   agreements have been rejected pursuant to an order of the Court.

                  B.      Cure.

   Any monetary amounts by which any executory contract or unexpired lease to be
   assumed under the Plan is in default shall be satisfied, under section 365(b)(1) of the
   Bankruptcy Code, by the Reorganized Debtors upon assumption thereof or as soon as
   practicable thereafter. If there is a dispute regarding (i) the nature or amount of any cure,
   (ii) the ability of the Debtors or any assignee to provide ―adequate assurance of future
   performance‖ (within the meaning of section 365 of the Bankruptcy Code) under the
   contract or lease to be assumed or (iii) any other matter pertaining to assumption, any
   cure shall occur following the entry of a Final Order resolving the dispute and approving
   the assumption or assumption and assignment, as applicable.

                  C.      Rejection Damage Claims.

   All Claims for damages arising from the rejection of executory contracts or unexpired
   leases must be served upon the Debtors and their counsel within thirty (30) days after the
   date of entry of an order of the Court approving such rejection. Any Claims not filed
   within such time shall be forever barred from assertion against the Debtors, their
   respective estates and the Reorganized Debtors and their respective property. All
   Allowed Claims arising from the rejection of executory contracts or unexpired leases
   shall be treated as Class 5 –General Unsecured Claims.




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                                              XII.

                                      BENEFIT PLANS

   As, and subject to the occurrence, of the Effective Date, all employee compensation and
   benefit plans, policies and programs of the Debtors applicable generally to their
   employees, including agreements and programs subject to section 1114 of the Bankruptcy
   Code, as in effect on the Effective Date, including, without limitation, all savings plans,
   retirement plans, health care plans, disability plans, severance benefit plans, incentive
   plans, and life, accidental death, and dismemberment insurance plans and workers’
   compensation programs, shall be deemed to be, and shall be treated as though they are,
   executory contracts that are assumed under the Plan, and the Debtors’ obligations under
   such agreements and programs shall survive the Effective Date of the Plan, without
   prejudice to the Reorganized Debtors’ rights under applicable non-bankruptcy law to
   modify, amend, or terminate the foregoing arrangements, except for (i) such executory
   contracts or plans specifically rejected pursuant to the Plan (to the extent such rejection
   does not violate section 1114 of the Bankruptcy Code) and (ii) such executory contracts
   or plans that have previously been terminated or rejected, pursuant to a Final Order, or
   specifically waived by the beneficiaries of such plans, contracts or programs.

   The Debtors and the Reorganized Debtors, as the case may be, will continue to be the
   contributing sponsors of all pension plans which are defined as benefit pension plans by
   the PBGC under Title IV of ERISA. The Confirmation Order shall provide that (i) such
   pension plans are subject to minimum funding requirements of ERISA and section 412 of
   the Internal Revenue Code, (ii) no provision of the Plan, the Confirmation Order, or
   section 1141 of the Bankruptcy Code, shall, or shall be construed to, discharge, release or
   relieve the Debtors or any other party, in any capacity, from any liability with respect to
   such pension plans under ERISA or under Internal Revenue Code section 412 and
   (iii) neither the PBGC nor such pension plans shall be enjoined from enforcing such
   liability as a result of the Plan’s provisions for satisfaction, release and discharge of
   Claims.

                                             XIII.

               CONFIRMATION AND EFFECTIVENESS OF THE PLAN

                  A.     Conditions Precedent to Confirmation.

   The Plan shall not be confirmed by the Court unless and until the following conditions
   have been satisfied in full or waived pursuant to Article XIII.C. of the Plan:

                  1.     The Plan shall be in form and substance acceptable to the Debtors
                         and the Requisite Participating Lenders and, with respect to the
                         treatment of Senior Creditors, each of the members of the Informal
                         Creditor Group;




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                  2.     The Debtors shall have submitted to the Court a proposed
                         Confirmation Order, in form and substance acceptable to the
                         Debtors and the Requisite Participating Lenders;

                  3.     The Interim DIP Order shall have been entered in form and
                         substance acceptable to the Debtors and the Requisite Participating
                         Lenders, and the Debtors shall have indefeasibly paid the Adequate
                         Protection Payments to the Senior Creditors; and

                  4.     All documents to be executed, delivered or filed pursuant to the
                         Plan, including all Plan Supplement Documents, shall be in form
                         and substance acceptable to the Debtors and the Requisite
                         Participating Lenders.

                  B.     Conditions Precedent to Effectiveness.

   The Plan shall not become effective unless and until it has been confirmed and the
   following conditions have been satisfied in full or waived pursuant to Article XIII.C. of
   the Plan:

                  1.      The Plan shall be in form and substance acceptable to the Debtors
                         and the Requisite Participating Lenders and, with respect to the
                         treatment of Senior Creditors, each of the members of the Informal
                         Creditor Group;

                  2.      The Confirmation Order shall have been entered in form and
                          substance acceptable to the Debtors and the Requisite Participating
                          Lenders, and no stay or injunction shall be in effect precluding the
                          consummation of the transactions contemplated by the Plan;

                  3.      The Exit Facility, which shall be in form and substance acceptable
                          to the Debtors and the Requisite Participating Lenders, shall have
                          been entered into by the Reorganized Debtors and the other parties
                          thereto and all conditions to the initial borrowings under the Exit
                          Facility shall have been satisfied in accordance with the terms
                          thereof (but for the occurrence of the Effective Date);

                  4.      All undisputed statutory fees then due and payable to the United
                          States Trustee shall have been paid in full;

                  5.      All documents to be executed, delivered or filed pursuant to the
                          Plan, including all Plan Supplement Documents, shall be in form
                          and substance acceptable to the Debtors and the Requisite
                          Participating Lenders and such documents shall be executed,
                          delivered or filed, as the case may be; and

                 6.      All actions, authorizations, filings, consents and regulatory
                         approvals required (if any) shall have been obtained, effected or

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                          executed in a manner acceptable to the Debtors and the Requisite
                          Participating Lenders and shall remain in full force and effect.

                  C.      Waiver of Conditions.

   The Debtors may waive any or all of the conditions set forth in Article XIII.A. or XIII.B.
   (other than XIII.B.2.) of the Plan at any time, with the prior written consent of the
   Requisite Participating Lenders without leave or order of the Court and without any
   formal action; provided, however, that the prior written consent of each member of the
   Informal Creditor Group shall be required to waive the Plan treatment conditions in
   Articles XIII.A.1 and XIII.B.1.

                  D.      Effect of Failure of Conditions.

   In the event that the Effective Date does not occur on or prior to thirty (30) days after the
   Confirmation Order is entered by the Court or such later date as may be agreed to by the
   Debtors and the Requisite Participating Lenders upon notification submitted by the
   Debtors to the Court: (a) the Confirmation Order shall be vacated, (b) no Distributions
   under the Plan shall be made, (c) the Debtors and all holders of Claims and Equity
   Interests shall be restored to the status quo ante as of the day immediately preceding the
   Confirmation Date as though the Confirmation Date had never occurred, and (d) the
   Debtors’ obligations with respect to the Claims and Equity Interests shall remain
   unchanged and nothing contained in the Plan shall constitute or be deemed a waiver or
   release of any Claims or Equity Interests by or against the Debtors or any other person or
   to prejudice in any manner the rights of the Debtors or any person in any further
   proceedings involving the Debtors.

                  E.      Denial of Confirmation/Vacatur of Confirmation Order.

   If a Final Order denying confirmation of the Plan is entered, or if the Confirmation Order
   is vacated, then the Plan shall be null and void in all respects, and nothing contained in
   the Plan shall (a) constitute a waiver or release of any Claims against or Equity Interests
   in the Debtors; (b) prejudice in any manner the rights of the holder of any Claim against,
   or Equity Interest in, the Debtors; (c) prejudice in any manner any right, remedy or claim
   of the Debtors; or (d) be deemed an admission against interest by the Debtors.

                  F.      Revocation, Withdrawal, or Non-Consummation.

                          1.      Right to Revoke or Withdraw.

   The Debtors reserve the right to revoke or withdraw the Plan in accordance with their
   fiduciary duties or otherwise with the consent of the Requisite Participating Lenders at
   any time prior to the Effective Date.




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                         2.      Effect of Withdrawal, Revocation, or
                                 Non-Consummation.

   If the Debtors revoke or withdraw the Plan prior to the Effective Date, or if the
   Confirmation Date or the Effective Date does not occur, the Plan, any settlement or
   compromise embodied in the Plan (including the fixing or limiting to an amount certain
   any Claim or Equity Interest or Class of Claims or Equity Interests), the assumption or
   rejection of executory contracts, unexpired leases, insurance policies or benefit plans
   effected by the Plan, any release, exculpation or indemnification provided for in the Plan,
   and any document or agreement executed pursuant to the Plan shall be null and void. In
   such event, nothing contained herein, and no acts taken in preparation for consummation
   of the Plan, shall be deemed to constitute a waiver or release of any Claims by or against
   or Equity Interests in the Debtors or any other Person, to prejudice in any manner the
   rights of the Debtors or any Person in any further proceedings involving the Debtors, or
   to constitute an admission of any sort by the Debtors or any other Person.




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   Dated: May 11, 2012


                                    HOUGHTON MIFFLIN HARCOURT
                                    PUBLISHING COMPANY


                                    By:
                                    Name:
                                    Title:


                                    HOUGHTON MIFFLIN HARCOURT
                                    PUBLISHERS INC.


                                    By:
                                    Name:
                                    Title:


                                    HMH PUBLISHERS, LLC


                                    By:
                                    Name:
                                    Title:


                                    HOUGHTON MIFFLIN HOLDING
                                    COMPANY, INC.


                                    By:
                                    Name:
                                    Title:


                                    HOUGHTON MIFFLIN, LLC


                                    By:
                                    Name:
                                    Title:




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                                   HOUGHTON MIFFLIN FINANCE, INC.


                                   By:
                                   Name:
                                   Title:


                                   HOUGHTON MIFFLIN HOLDINGS, INC.


                                   By:
                                   Name:
                                   Title:


                                   HM PUBLISHING CORP.


                                   By:
                                   Name:
                                   Title:


                                   RIVERDEEP INC., A LIMITED LIABILITY
                                   COMPANY


                                   By:
                                   Name:
                                   Title:


                                   BRODERBUND LLC


                                   By:
                                   Name:
                                   Title:


                                   RVDP, INC.


                                   By:
                                   Name:
                                   Title:




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                                   HRW DISTRIBUTORS, INC.


                                   By:
                                   Name:
                                   Title:


                                   GREENWOOD PUBLISHING GROUP, INC.


                                   By:
                                   Name:
                                   Title:


                                   CLASSROOM CONNECT, INC.


                                   By:
                                   Name:
                                   Title:


                                   ACHIEVE! DATA SOLUTIONS, LLC


                                   By:
                                   Name:
                                   Title:


                                   STECK-VAUGHN PUBLISHING LLC


                                   By:
                                   Name:
                                   Title:


                                   HMH SUPPLEMENTAL PUBLISHERS INC.


                                   By:
                                   Name:
                                   Title:




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                                   HMH HOLDINGS (DELAWARE), INC.


                                   By:
                                   Name:
                                   Title:


                                   SENTRY REALTY CORPORATION


                                   By:
                                   Name:
                                   Title:


                                   HOUGHTON MIFFLIN COMPANY
                                   INTERNATIONAL, INC.


                                   By:
                                   Name:
                                   Title:


                                   THE RIVERSIDE PUBLISHING COMPANY


                                   By:
                                   Name:
                                   Title:


                                   CLASSWELL LEARNING GROUP INC.


                                   By:
                                   Name:
                                   Title:


                                   COGNITIVE CONCEPTS, INC.


                                   By:
                                   Name:
                                   Title:




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                                   EDUSOFT


                                   By:
                                   Name:
                                   Title:


                                   ADVANCED LEARNING CENTERS, INC.

                                   By:
                                   Name:
                                   Title




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                                                   APPENDIX B

     PROJECTIONS OF CERTAIN FINANCIAL DATA FOLLOWING CONSUMMATION OF PLAN

      In connection with the restructuring pursuant to the Plan, management of the Debtors analyzed the Debtors’
ability to meet its obligations upon consummation of such restructuring with sufficient liquidity and capital
resources to conduct its businesses. The Debtors’ management has also developed a business plan for the Debtors
and prepared certain projections of the Debtors’ operations for the fiscal years 2012 through 2017 (the “Projection
Period”). Such projections, summarized below, are based upon assumptions and have been adjusted to reflect the
terms of the restructuring pursuant to the Plan, certain subsequent events and additional assumptions, including
those set forth below (as adjusted, the “Projections”).

   THE DEBTORS DO NOT, AS A MATTER OF COURSE, PUBLISH THEIR BUSINESS PLANS,
BUDGETS OR STRATEGIES OR MAKE EXTERNAL PROJECTIONS OR FORECASTS OF THEIR
ANTICIPATED FINANCIAL POSITION OR RESULTS OF OPERATIONS. ACCORDINGLY, THE
DEBTORS DO NOT ANTICIPATE THAT THEY WILL, AND DISCLAIM ANY OBLIGATION TO,
FURNISH UPDATED BUSINESS PLANS, BUDGETS OR PROJECTIONS TO CREDITORS AND
EQUITY HOLDERS PRIOR TO OR AFTER THE EFFECTIVE DATE OF ANY PLAN OR TO INCLUDE
SUCH INFORMATION IN DOCUMENTS REQUIRED TO BE FILED WITH THE SECURITIES AND
EXCHANGE COMMISSION (“SEC”) OR OTHERWISE MAKE SUCH INFORMATION PUBLICLY
AVAILABLE.

     The following Projections were not prepared with a view toward compliance with published rules of the SEC or
the American Institute of Certified Public Accountants regarding projections. The prospective financial information
included in this offering document has been prepared by and is the responsibility of the Debtors’ management. The
Debtors and their management believe that the following Projections have been prepared on a reasonable basis,
reflecting management’s best estimates and judgments, and represent, to the best of management’s knowledge and
opinion, the Debtors’ expected course of action. However, because this information is highly subjective, it should
not be relied on as necessarily indicative of future results.

     The Debtors’ independent auditor has not examined, compiled or performed any procedures with respect to the
prospective financial information contained in this appendix and, accordingly, it does not express an opinion or any
other form of assurance on such information or its achievability. The Debtors’ independent auditor assumes no
responsibility for and denies any association with the prospective financial information. The
PricewaterhouseCoopers LLP report included in this solicitation document refers exclusively to the Debtors’
historical financial information. PricewaterhouseCoopers LLP’s report does not cover any other information in this
solicitation document and should not be read to do so.

     The Projections should be read in conjunction with the entire Disclosure Statement including the assumptions,
qualifications and explanations set forth herein and the “Summary,” “Risk Factors,” and “Selected Historical
Consolidated Financial Data,” included in this Disclosure Statement.

Principal Assumptions for the Projections

     The Projections are based on, and assume the successful implementation of, the Debtors’ business plan. Both
the business plan and the Projections reflect numerous assumptions, including various assumptions regarding the
anticipated future performance of the Debtors, industry performance, general business and economic conditions, and
other matters, many of which are beyond the control of the Debtors. In addition, the assumptions do not take into
account the uncertainty and disruption of business that may accompany a restructuring in Court. Therefore,
although the Projections are necessarily presented with numerical specificity, the actual results achieved during the
Projection Period will likely vary from the projected results. These variations may be material. Accordingly, no
representation can be or is being made with respect to the accuracy of the Projections or the ability of the Debtors or
the Reorganized Debtors to achieve the projected results of operations. THE INDEPENDENT AUDITOR FOR
THE DEBTORS HAS NOT EXAMINED, COMPILED, OR OTHERWISE PERFORMED ANY PROCEDURES
ON THE PROSPECTIVE FINANCIAL INFORMATION AND, CONSEQUENTLY, DOES NOT EXPRESS AN
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OPINION OR ANY OTHER FORM OR ASSURANCE WITH RESPECT TO THE PROSPECTIVE FINANCIAL
INFORMATION. See “Risk Factors”.

      Although the Debtors’ management believes that the assumptions underlying the Projections, when considered
on an overall basis, are reasonable in light of current circumstances, no assurance can be or is given that the
Projections will be realized. In deciding whether to vote to accept or reject the proposed Plan, creditors must make
their own determinations as to the reasonableness of such assumptions and the reliability of the Projections. See
“Risk Factors”. Moreover, the Projections were prepared solely in connection with the restructuring pursuant to the
Plan.

     Under Accounting Standards Codification “ASC” 852, “Reorganizations” (“ASC 852”), the Debtors do not
anticipate being required to apply fresh-start accounting. Accordingly, the reorganization value of the Debtors will
not be allocated among the assets of the Debtors, and the discharge of the debt may be recorded as an
extinguishment of the debt in accordance with accounting guidance ASC 470, “Debt”. For purposes of the
Projections, the enterprise value of the Reorganized Debtors is assumed to be approximately $1.75 billion, which is
the mid-point of the $1.6 billion to $1.9 billion range of estimated enterprise values of the Reorganized Debtors
provided by Blackstone as of an assumed Effective Date of June 30, 2012 in connection with its valuation analysis.
The actual reorganization value that will be used by the Debtors may differ materially from this estimate.

Select Risk Factors Related to the Projections

    A potential impact of chapter 11 not incorporated into the Projections are risks associated with a decline in
revenue associated with the stigma of having filed for reorganization under chapter 11 of the bankruptcy laws.

    Another potential impact of a chapter 11 filing, which is not incorporated into the Projections, is employee
turnover at the management and sales force levels. Loss of employees from these and other parts of the Debtors
could have an adverse impact on the Debtors’ financial performance.

    The Projections are based on the currently expected state-by-state educational adoption calendar and anticipated
open territory purchases. To the extent that state spending deviates from management’s expectations, financial
performance could be materially different than shown in the Projections.

     The foregoing assumptions and resulting computations were made solely for purposes of preparing the
Projections. Upon emergence from any chapter 11 case, the Debtors will be required to determine the amount by
which its reorganization value as of the Effective Date exceeds, or is less than, the fair value of its assets as of the
Effective Date. Such determination will be based upon the fair values at that time, which may be based on, among
other things, a different methodology than the above-mentioned valuation. In any event, such valuations, as well as
the determination of the fair value of the Debtors’ assets and liabilities, will be made as of the Effective Date. The
changes between the amounts of any or all of the foregoing items as assumed in the Projections and the actual
amounts thereof as of the Effective Date may be material.
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                                                     Projections

          The Projections set forth below have been prepared based on the assumption that the Effective Date is June
30, 2012. Although the Debtors will seek the Effective Date to occur as soon as practicable, there can be no
assurance as to when the Effective Date will actually occur. The Debtors’ Projected Consolidated Balance Sheets as
of June 30, 2012 set forth below present: (a) the projected pre-restructuring financial position as of June 30, 2012;
(b) Reorganization Adjustments and Financing Adjustments; and (c) the projected post-restructuring consolidated
financial position of the Debtors after giving effect to the Reorganization, as of June 30, 2012. The Balance Sheet
Adjustments set forth in the columns captioned “Conversion of Debt,” and “Issuance of New Debt” reflect the
assumed effects of confirmation and significant financings contemplated by the Plan, including the settlement of
various liabilities and related securities issuances, cash payments, and borrowings. The Balance Sheet Adjustments
are illustrative and take into account reorganization adjustments.

        The Debtors’ Consolidated Financial Statements, including Balance Sheet, Income Statement and
Statement of Cash Flows for the Projection Period set forth on the following pages present the projected
consolidated position of the Debtors after giving effect to confirmation and the consummation of the transactions
contemplated by the Plan, as of the end of each fiscal year in the Projection Period. THE INDEPENDENT
AUDITOR FOR THE DEBTORS HAS NOT EXAMINED, COMPILED, OR OTHERWISE PERFORMED ANY
PROCEDURES ON THE PROSPECTIVE FINANCIAL INFORMATION AND, CONSEQUENTLY, DOES NOT
EXPRESS AN OPINION OR ANY OTHER FORM OR ASSURANCE WITH RESPECT TO THE
PROSPECTIVE FINANCIAL INFORMATION.

                                       ILLUSTRATIVE ACCOUNTING ADJUSTMENTS
($ in millions)                                                         Projected         Transaction Adj.
                                                                       Book Value    Conversion     Issuance of      Pro Forma
                                                                       (6/30/2012)    of Debt        New Debt       (6/30/2012)

 Cash & Cash Equivalents                                      Note A          $ 36         $ (100)         $ 206          $ 141
 Accounts Receivable                                                           351                                          351
 Inventory                                                                     331                                          331
 Other Current Assets                                                           26                                           26
Total Current Assets                                                        $ 743          $ (100)        $ 206          $ 849

 Net Property, Plant & Equipment                                               156                                          156
 Net Pre-Publication Costs                                                     280                                          280
 Net Royalty Advances                                                           45                                           45
 Net Intangible Assets & Goodwill                                            1,670                                        1,670
 Other Assets                                                 Note B           104            (99)            5              11
Total Assets                                                              $ 2,998         $ (199)         $ 211        $ 3,010

 Accounts Payable                                                             137                                          137
 Other Current Liabilities                                                    100             (36)                          64
Total Current Liabilities                                                   $ 237           $ (36)           $-          $ 202

 First Lien Revolver                                          Note C         $ 236         $ (236)                          $-
 First Lien Term Loan                                         Note C         2,571         (2,571)                           -
 A/R Securitization Facility                                  Note D             -              -                            -
 10.5% Notes                                                                   300           (300)                           -
 DIP / New Revolving Credit Facility                          Note E             -                            -              -
 New Term Loan                                                Note E             -                          250            250
 Accrued Benefits                                                               95                                          95
 Deferred Revenue                                                              330                                         330
 Other Liabilities                                                             194                                         194
Total Liabilitie s                                                        $ 3,963        $ (3,142)        $ 250        $ 1,071

Total Owners' Equity                                          Note F       $ (966)       $ 2,944           $ (39)      $ 1,939

Total Liabilitie s + Owners' Equity                                       $ 2,998         $ (199)         $ 211        $ 3,010
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                                           UNAUDITED PROJECTED BALANCE SHEET
($ in millions)                                               Pro Forma                                          Projected as of December 31,
                                                             (6/30/2012)          2012E               2013E          2014E         2015E           2016E         2017E

 Cash & Cash Equivalents                        Note G               $ 141               $ 485           $ 490           $ 524         $ 594          $ 678         $ 829
 Accounts Receivable                            Note H                 351                 296             314             317           322            326           332
 Inventory                                      Note H                 331                 230             243             294           294            314           320
 Other Current Assets                                                   26                  26              26              26            26             26            26
Total Current Assets                                                $ 849             $ 1,037          $ 1,073         $ 1,160       $ 1,236        $ 1,343       $ 1,507

 Net Property, Plant & Equipment                                       156                 179              255             273           292            283           261
 Net Pre-Publication Costs                                             280                 271              342             366           341            319           308
 Net Royalty Advances                                                   45                  45               47              49            50             51            51
 Net Intangible Assets & Goodwill                                    1,670               1,549            1,391           1,279         1,193          1,127         1,077
 Other Assets                                                           11                  10                9               9             8              7             6
Total Assets                                                      $ 3,010             $ 3,091          $ 3,117         $ 3,136       $ 3,118        $ 3,130       $ 3,211

 Accounts Payable                               Note H               $ 137              $ 105            $ 112           $ 102          $ 87           $ 91          $ 95
 Other Liabilities                                                      64                110              120             131           130            130           133
Total Current Liabilities                                           $ 202              $ 215            $ 232           $ 233         $ 217          $ 221         $ 229

 First Lien Revolver                                                   $-                  $-               $-              $-           $-             $-            $-
 First Lien Term Loan                                                   -                   -                -               -            -              -             -
 A/R Securitization Facility                                            -                   -                -               -            -              -             -
 10.5% Notes                                                            -                   -                -               -            -              -             -
 New Revolving Credit Facility                                          -                   -                -               -            -              -             -
 New Term Loan                                                        250                 249              241             205          133             46             -
 Accrued Benefits                                                      95                  88               74              61           48             34            21
 Deferred Revenue                                                     330                 351              382             427          441            428           437
 Other Liabilities                                                    194                 173              160             150          140            132           126
Total Liabilities                                                 $ 1,071             $ 1,075          $ 1,090         $ 1,077        $ 979          $ 862         $ 813

Total Owners' Equity                                              $ 1,939             $ 2,016          $ 2,027         $ 2,060       $ 2,139        $ 2,268       $ 2,398

Total Liabilities + Owners' Equity                                $ 3,010             $ 3,091          $ 3,117         $ 3,136       $ 3,118        $ 3,130       $ 3,211


                                    UNAUDITED PROJECTED INCOME STATEMENT (Note I)
($ in millions)                                                                                                    Proje cted as of December 31,
                                                Q1-Q2 2012        Q3-Q4 2012            2012E            2013E          2014E         2015E         2016E        2017E

 Revenue                              Note J             $ 509           $ 922             $ 1,431         $ 1,499        $ 1,554       $ 1,617       $ 1,681      $ 1,680
  % growth                                                                                                  4.8%           3.6%          4.1%          4.0%        (0.0%)
 Less: COGS                           Note K            (171)             (295)               (466)           (490)          (512)         (518)         (525)        (528)
Gross Profit                                          $ 338             $ 626               $ 964         $ 1,009        $ 1,042       $ 1,098       $ 1,156      $ 1,152
  % margin                                           66.4%             68.0%               67.4%           67.3%          67.1%         67.9%         68.8%        68.6%

 Less: Operating Expenses             Note K              (301)           (332)               (634)           (653)          (675)        (688)          (699)        (711)
EBITDA                                                    $ 36          $ 294               $ 330           $ 356          $ 367        $ 411          $ 457        $ 441
  % margin                                               7.2%          31.9%               23.1%           23.8%          23.6%        25.4%          27.2%        26.2%

 Less: Depreciation                                    $ (23)                $ (17)          $ (41)           $ (35)        $ (53)        $ (65)        $ (89)      $ (103)
 Less: Amortization                                     (124)                 (122)           (245)            (158)         (112)          (86)          (66)         (50)
 Less: Plate Amortization                                (65)                  (65)           (130)            (116)         (136)         (150)         (148)        (140)
EBIT                                                 $ (176)                 $ 90           $ (86)            $ 47          $ 66         $ 110         $ 153        $ 149
 Less: Net Interest Expense           Note L            (205)                  (10)           (215)             (23)          (21)          (17)          (10)          (5)
 Less: Other Expenses / Gains                          1,251                    (5)          1,246              (16)          (16)          (11)           (9)          (9)
EBT                                                   $ 870                  $ 74           $ 945               $8          $ 29          $ 82         $ 134        $ 134
 Less: Taxes                          Note M              (9)                   (1)            (10)              (3)           (4)           (4)           (5)          (5)
Net Income                                            $ 861                  $ 74           $ 935               $5          $ 26          $ 78         $ 129        $ 129
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                                      UNAUDITED PROJECTED INDIRECT CASH FLOWS
($ in millions)                                                                                       Proje cted as of December 31,
                                                  Q1-Q2 2012      Q3-Q4 2012      2012E       2013E        2014E         2015E        2016E        2017E

 EBITDA (Pre-plate)                                       $ 36           $ 294       $ 330       $ 356        $ 367         $ 411        $ 457        $ 441
 Less: Plate Capital Expenditures       Note N             (56)            (57)       (113)       (186)        (161)         (124)        (127)        (129)
EBITDA (Post-plate)                                     $ (19)          $ 237       $ 218       $ 170        $ 206         $ 287        $ 330        $ 312
 Less: Other Capital Expenditures       Note N            ($27)            (41)        (67)       (112)         (71)          (83)         (81)         (80)
 Change in Working Capital              Note O            (205)            169         (36)        (17)         (54)          (22)         (21)          (5)
 Deferred Revenue                       Note P             (20)             21           1          31           44            14          (13)           9
 Less: Other                            Note Q             (28)            (31)        (59)        (35)         (33)          (33)         (31)         (29)
 Less: Cash Taxes                                           (9)             (1)        (10)         (3)           (4)           (4)          (5)         (5)
Unlevered Fre e Cash Flow                              $ (308)          $ 355         $ 47        $ 34         $ 90        $ 159        $ 180        $ 202
 Less: Cash Interest                                       (86)            (10)        (95)        (22)         (20)          (16)           (9)         (4)
Free Cash Flow for Debt Amortization                   $ (394)          $ 345       $ (49)        $ 12         $ 70        $ 143        $ 170        $ 198
 Plus: Revolver Draw / (Payment)                            $0               -           -           -             -             -            -           -
 Less: Scheduled Amortization           Note R             (11)             (1)        (12)         (3)           (3)           (3)          (3)         (3)
 Less: Debt Paydown                                       (100)              -        (100)         (5)         (34)          (70)         (84)         (44)
 Plus: New Financing (Net Transaction Fees)                206               -         206           -             -             -            -           -
Change in Cash                                         $ (299)          $ 344         $ 45         $5          $ 34          $ 70         $ 84       $ 152

 Beginning Cash Balance                                  $440             141         440         485          490           524          594          678
 Change in Cash                                           (299)           344          45           5           34            70           84          152
Ending Cash Balance                                     $ 141           $ 485       $ 485       $ 490        $ 524         $ 594        $ 678        $ 829


                                                 NOTES TO FINANCIAL PROJECTIONS

Note A – Cash & Cash Equivalents

         The proceeds from the new financings will be used to refinance any drawn amounts under the existing
Receivables Facility and provide liquidity for working capital and for other general corporate purposes of the
Debtors (including payment of fees and expenses in connection with the transactions contemplated under the Plan
and adequate protection payments in the form of $69.7 million of Cash (such adequate protection payments, the
“Adequate Protection Payments”) and additionally may include the payment of the fees and expenses of (a) the First
Lien Agents and (b) the 10.5% Indenture Trustee and its counsel. In addition, the DIP Facility will be used to fund
assumed chapter 11 administrative costs, general corporate expenses during the chapter 11 case, commitment fees
on the DIP Facility and interest expense and fees on the drawn and undrawn portions of the DIP Facility.

Note B – Other Assets

        Adjustment to Other Assets represents capitalizing of original issuance discount on the New Term Loan
and expensing all original issue discount and deferred financing fees related to existing debt.

Note C – First Lien Debt

          Approximately $2.6 billion of the Debtors’ First Lien Term Loan, approximately $236 million of the
Debtors’ First Lien Revolving Loan and approximately $300 million of the Debtors’ 10.5% Notes are assumed to
convert into equity pursuant to the Plan. The conversion is assumed to be based on the projected debt balances as of
the Petition Date, excluding original issue discount.

Note D – Receivables Facility / DIP Facility

         Any balance on the existing Receivables Facility will be repaid using proceeds from the DIP Facility upon
filing. At emergence, the DIP Facility will be converted into the New ABL Credit Facility.

Note E – New Credit Facility

         As part of the transaction, the Debtors will enter into a $500 million credit facility comprised of a $250
million New Term Loan and a $250 million New ABL Credit Facility.

Note F – Owners’ Equity
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        Adjustments to Owners’ Equity reflects gain on extinguishment of debt, expensed transaction fees and
expensing all original issue discount and deferred financing fees related to existing debt.

Note G – Cash & Cash Equivalents

         Cash is forecasted to accumulate on the Debtors’ balance sheet throughout the projection period. Fifty
percent of excess cash generated by the business is assumed to repay New Term Loan commitments.

Note H – Working Capital Accounts

         Accounts receivable, inventory and accounts payable balances are projected based on days outstanding
calculations and forecasted to be generally in-line with historical ratios. These accounts fluctuate significantly
within years depending on seasonality.

Note I – Basis For Projections

          The Projections take into account the current difficult economic environment and challenged state and
municipal budgets, which are negatively impacting the Debtors. The Projections assume that the general weakness
in economic activity will continue to affect the Debtors’ near-term financial performance. The Projections are based
on an assumed Effective Date of June 30, 2012 and assume no material disruptions to the business during the
pendency of a chapter 11 filing. The exhibits reflect the projected financial performance of all the Debtor entities as
well as the assets of the foreign non-Debtor entities including HMH Publishing Company, HMH Education
Company, HMH IP Company, HMH Consumer Company and Riverdeep UK Limited, which are all guarantors
under the First Lien Credit Agreement and 10.5% Notes, and Houghton Mifflin Harcourt (Asia) Pte. Ltd – the assets
of these foreign non-Debtor entities are considered immaterial relative to the total value of the estate and, as such,
are not being provided separately.

Note J – Revenue

          The 2012 revenue forecast is based on management’s view of the Debtors’ market position, product
strategies, specific adoption schedules and overall economic outlook. The core basal revenue build-up is based on
detailed adoption schedules and open territory is forecasted by state and subject. While average program cycles
within specific subject areas in both adoption and open territories typically span 5 to 7 years, backlist sales (i.e.,
sales in contract) serve as a recurring revenue stream that offsets the decline in new sales (frontlist sales) that
follows the initial launch of each new program. Due to the nature of the business, the Debtors are largely a price
taker and typically compete on a combination of product differentiation and provision of “gratis” materials
(supplemental teachers’ editions, workbooks and other materials) designed to heighten specific programs’
attractiveness to decision makers.

        Forecasts of the Debtors’ businesses outside of the basal market are based on historical performance and
expected growth, taking into consideration a variety of factors including economic conditions, product launches, and
expected orders.

Note K – Variable & Fixed Costs

         Approximately 65% of the Debtors’ expense base consists of variable costs. Approximately 35% of the
Debtors’ expense base is fixed and largely consists of labor-related costs. Approximately 33% of revenues relate to
manufacturing, royalty, inventory obsolescence and gratis, and 9% of revenues is related to commissions, samples,
transportation and depository fees. Variable expenses are projected to remain roughly 39%- 41% of revenues from
2012 to 2017.

Note L – Interest Expense

          Interest expense for the Debtors’ New Term Loan is assumed to be LIBOR plus 625 basis points cash
interest with a LIBOR floor of 150 basis points. Interest expense for the Debtors’ Revolver under the DIP Facility
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and New Revolving Credit Facility issued at exit is assumed to be LIBOR plus 325 basis points and LIBOR plus
225 to 275 basis points cash interest based on availability, respectively with no LIBOR floor. Both facilities are
projected based on a forward LIBOR curve.

Note M – Income Taxes

          Under the auspices of the bankruptcy court, the debt restructuring is not anticipated to result in any U.S.
income tax consequences to cash flow during the Projections period. However, as a result of the restructuring, it is
anticipated that the carried forward net operating losses and credits of the U.S. group will be eliminated and certain
tax basis in the Debtors’ IP may be reduced. Because of deferred interest deductions that survive the restructuring
and the Debtors’ remaining IP amortization deductions, there are no material federal taxes anticipated to be incurred
prior to 2018. The Debtors project minimal state income taxes. There may also be some non-income state taxes and
alternative minimum taxes generated. For simplicity, the Projections only include anticipated cash taxes.

Note N –Capital Expenditures

          The Debtors’ projected plate capital expenditures take into consideration the adoption calendar and open
territory market share forecast. Plate capital expenditures are required to be spent beginning 18 to 24 months prior
to the scheduled adoption. Plate capital expenditures are forecasted to increase in 2013 due to the large upcoming
adoptions schedule for Texas and Florida.

         Projected non-plate capital expenditures are driven by platform investment to support the enterprise
solutions businesses and limited maintenance spending.

Note O – Net Working Capital

        Changes in Net Working Capital are primarily driven by changes in Accounts Receivable, Inventory,
Accounts Payable, Accrued Salaries and Royalties.

Note P – Deferred Revenue

         Changes in deferred revenue are primarily driven by increases in adoption and enterprise sales along with
subscription sales, all of which have certain future deliverables by the Debtors for which a portion of the revenue
needs to be deferred until such future deliverables are fully satisfied.

Note Q – Other

        Other cash flows include restructuring costs, pension and other post-employment benefit payments,
severance payments, payments made related to vacant space net of sublet income and other accrued liabilities.

Note R – Scheduled Debt Amortization

       Reflects mandatory debt amortization of 1% annually, consistent with the terms of the anticipated New
Term Loan.
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                                                     APPENDIX C

                                             LIQUIDATION ANALYSIS

     The Bankruptcy Code requires that each holder of an Impaired Claim or Equity Interest either (a) accept the
Plan or (b) receive or retain property of a value, as of the Effective Date, that is not less than the value such holder
would receive or retain if the Debtors were liquidated under chapter 7 of the Bankruptcy Code. The first step in
determining whether this test has been met is to determine the estimated amount that would be generated from the
liquidation of the Debtors’ assets and properties in the context of a chapter 7 liquidation case. The gross amount of
cash available to the holders of Impaired Claims or Equity Interests would be the sum of the proceeds from the
disposition of the Debtors’ assets through the liquidation proceedings and the cash held by the Debtors at the time of
the commencement of the chapter 7 case. This gross amount of cash available is reduced by the amount of any
Claims secured by the estate’s assets, the costs and expenses of the liquidation, and additional administrative
expenses that may result from the termination of the Debtors’ businesses and the use of chapter 7 for the purposes of
liquidation. Any remaining net cash would be allocated to creditors and equity holders in strict priority in
accordance with section 726 of the Bankruptcy Code. For purposes of this liquidation analysis, it is assumed that
the assets of the Debtors are liquidated for the benefit of the Debtors’ creditors. A general summary of the
assumptions used by the Debtors’ management in preparing this liquidation analysis follows. The more specific
assumptions are discussed below.

Estimate of Net Proceeds

     Estimates were made of the cash proceeds which might be realized from the liquidation of the assets of the
Debtor and non-Debtor entities (see Note A). The chapter 7 liquidation period is assumed to commence on June 30,
2012 and to last twelve months following the appointment of a chapter 7 trustee. For purposes of the analysis,
unaudited asset balances as of March 31, 2012 were used to estimate recoveries. There can be no assurance that the
liquidation would be completed in a limited time frame, nor is there any assurance that the recoveries assigned to the
assets would in fact be realized. Under section 704 of the Bankruptcy Code, a trustee must, among other duties,
collect and convert the property of the estate as expeditiously (generally at distressed prices) as is compatible with
the best interests of parties-in-interest. The liquidation analysis assumes that there would be pressure to complete
the sales process within 12 months.

Estimate of Costs

     The Debtors’ cost of liquidation under chapter 7 would include fees payable to a chapter 7 trustee, as well as
those which might be payable to attorneys and other professionals that such a trustee may engage. Further, costs of
liquidation would include any obligations and unpaid expenses incurred by the Debtors’ until conclusion of the
chapter 7 case.

     Additional Claims would arise by reason of the breach or rejection of obligations incurred under executory
contracts and leases entered into by the Debtors. It is possible that in a chapter 7 case, the wind-down expenses may
be greater or less than the estimated amount. Such expenses are in part dependent on the length of time of the
liquidation.

Distribution of Net Proceeds Under Absolute Priority

      After consideration of the effects that a chapter 7 liquidation would have on the ultimate proceeds available for
distribution to creditors, including (i) the increased costs and expenses of a liquidation under chapter 7 arising from
fees payable to a trustee and professional advisors to such trustee, (ii) an erosion in the value of assets in the chapter
7 case in the context of the expeditious liquidation required under chapter 7 and the forced sale atmosphere that
would likely prevail, and (iii) the substantial increase in Claims that would need to be satisfied on a priority basis,
THE DEBTORS HAVE DETERMINED, AS SUMMARIZED ON THE FOLLOWING CHART, THAT
CONFIRMATION OF THE PLAN WILL PROVIDE EACH CREDITOR AND EQUITY HOLDER WITH A
RECOVERY EQUAL OR GREATER THAN IT WOULD RECEIVE PURSUANT TO A LIQUIDATION OF
THE DEBTORS UNDER CHAPTER 7 OF THE BANKRUPTCY CODE.
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      THE DEBTORS’ LIQUIDATION ANALYSIS IS AN ESTIMATE OF THE PROCEEDS THAT MAY BE
GENERATED AS A RESULT OF A HYPOTHETICAL CHAPTER 7 LIQUIDATION OF THE ASSETS OF THE
DEBTORS. Underlying the liquidation analysis are a number of estimates and assumptions that are inherently
subject to significant economic, competitive, and operational uncertainties, and contingencies beyond the control of
the Debtors or a chapter 7 trustee. In addition, various liquidation decisions upon which certain assumptions are
based are subject to change. Therefore, there can be no assurance that the assumptions and estimates employed in
determining the liquidation values of the assets will result in an accurate estimate of the proceeds that would be
realized were the Debtors to undergo an actual liquidation. The actual amounts of Claims against the estate could
vary significantly from the estimates set forth herein, depending on the Claims asserted during the pendency of the
chapter 7 case. Moreover, this liquidation analysis does not include liabilities that may arise as a result of litigation,
certain additional tax assessments, or other potential Claims. This analysis also does not include potential recoveries
from avoidance actions. Therefore, the actual liquidation value of the Debtors could vary materially from the
estimates provided herein.

   THE LIQUIDATION ANALYSIS SET FORTH HEREIN WAS BASED ON THE VALUES OF DEBTORS’
ASSETS ON MARCH 31, 2012 AND ASSUMES THE CHAPTER 7 PROCESS BEGINS JUNE 30, 2012. THE
INDEPENDENT AUDITOR FOR THE DEBTORS’ HAS NOT EXAMINED, COMPILED OR OTHERWISE
PERFORMED ANY PROCEDURES ON THESE VALUES AND, CONSEQUENTLY, DOES NOT EXPRESS
AN OPINION OR ANY OTHER FORM OF ASSURANCE WITH RESPECT TO THE VALUES IN THE
LIQUIDATION ANALYSIS.

     Estimated net proceeds may be realized from the liquidation of the Debtors’ non-Debtor subsidiaries. The
method of liquidation may vary greatly from subsidiary to subsidiary depending on the jurisdiction or country in
which it is principally located or was formed. The obligations are assumed to be satisfied at the individual entity
level, and the excess would then flow upward to the next ownership level and ultimately to the Debtors, to the extent
available.
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                                          HYPOTHETICAL LIQUIDATION ANALYSIS

($ in millions)
                                                      Book Value (A)   Estimated Recovery Rate   Estimated Recovery Amount
                                                       (3/31/2012)       Low           High         Low            High

 Unrestricted Cash and Cash Equivalents     Note B           $217          100%          100%          $ 217          $ 217
 Accounts Receivable                        Note C            184           68%           79%            126            146
 Inventory                                  Note D
   Education                                                  235           15%           25%            35             59
   Trade                                                       16           85%           85%            14             14
   Materials and Other                                          6           85%           85%             5              5
 Other Current Assets                       Note E             26            9%           12%             2              3
Total Current Assets                                         $684                                      $399           $443

 Property, Plant, and Equipment              Note F            148
  Land, net                                                      7          80%           80%             5               5
  Buildings, Machine, Lease & Equipment, net                    11          80%          100%             9              11
  Computer Equipment, net                                        9          30%           30%             3               3
  Software - Internally Developed, net                          60             -          25%             -              15
  Software - Externally Purchased, net                           6             -             -            -               -
  Furniture and Fixtures, net                                    2             -          10%             -               0
  Leasehold Improvements                                        19             -             -            -               -
  AUC                                                           32             -             -            -               -
  PP&E Accrual                                                   2             -             -            -               -
 Net Pre-Publication Costs                   Note G            284             -             -            -               -
 Net Royalty Advances                        Note H             44             -             -            -               -
 Net Intangibles                             Note I          1,210
  Trade Name - HMH School                                      161          50%           75%            81             121
  Trade Name - Holt McDougal                                   111          50%           75%            56              83
  Trade Name - Supplemental                                     49          50%           75%            25              37
  Trade Name - HMHLT                                             5          50%           75%             3               4
  Trade Name - Assessment                                       39          50%           75%            20              29
  Trade Name - Heineman                                         44          50%           75%            22              33
  Trade Name - Trade                                            30          50%           75%            15              23
  Trade Name - Leadership and Learning Centers                   3             -             -            -               -
  Other Intangibles                                            768          15%           20%           115             154
 Goodwill                                    Note J            520             -             -            -               -
 Other Assets                                Note K             18          11%           13%             2               2
Total Assets                                               $2,908                                      $752            $963
 Less: A/R Securitization Facility           Note L              -                                        -               -
Net Assets                                                 $2,908                                     $ 752           $ 963
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                                     CALCULATION OF FEES AND EXPENSES
($ in millions)                                                                                Estimated Costs
                                                                                              Low          High

 Chapter 7 Trustee Fees and Expenses                                          Note M              $16            $22
 Chapter 7 Professional Fees and Expenses                                     Note N               12             12
 Employee Expenses and Wind-down Costs                                        Note O              135            135
Total Chapter 7 Fees & Expenses                                                                  $163           $169



                                       NOTES TO LIQUIDATION ANALYSIS

Note A – Book Value as of March 31, 2012

     The book values used in the Liquidation Analysis for cash and cash equivalents, accounts receivable,
inventories, property, plant and equipment, intangible assets and other assets, which are used as a reference point for
the analysis, represent unaudited figures as of March 31, 2012 and are assumed to be representative of the Debtors’
assets.

     The book values used in the Liquidation Analysis include all the domestic Debtor entities as well as the assets
of the foreign non-Debtor entities including HMH Publishing Company, HMH Consumer Company, HMH
Education Company, HMH IP Company, Riverdeep UK Limited, Houghton Mifflin Harcourt (Asia) Pte. Ltd. and
Houghton Mifflin PLC, which are all guarantors under the First Lien Credit Agreement, – the assets of these foreign
non-Debtor entities are considered immaterial relative to the total value of the estate and, as such, are not being
provided separately.

Note B – Cash and Cash Equivalents

     Cash consists of all unrestricted cash, in banks or operating accounts and held at divisions as of March 31, 2012,
including float and cash under certain control account agreements. Cash is assumed to be fully recoverable. The
cash recovered may be materially different if financial institutions have rights of off-set against cash, or if cash is
unrecoverable from the non-U.S. subsidiaries.

    Balance excludes restricted cash, which is cash collateralized against the Debtors’ outstanding letters of credit
and assumed to be drawn in a liquidation.

Note C – Accounts Receivable

     Estimated proceeds realizable from short-term and long-term accounts receivable are based on the Debtors’
management’s ability to collect on its accounts, taking into consideration the credit quality and aging of the
accounts. The Liquidation Analysis for accounts receivable is based on estimated recoveries of aging receivables
using a declining scale of recoveries. Despite historical low write-downs on accounts receivable, given the current
deficits of state budgets and certain dated components of the booked accounts receivable, the inevitable difficulty in
collecting receivables and any concessions that might be required to facilitate the collection of certain accounts
receivable needs to be considered. Additionally, ceasing all operations would terminate various contracts and
business relationships, which would also impact collection of receivables.

Note D – Inventory

    Estimated inventory recoveries are based on the type of product (i.e., paper and books by segment) and the
market in which the inventory is sold. This estimate assumes obsolescence as well as diminished market demand for
product volumes and a general discount for liquidation and the limited market in which the product is sold. Both
raw material (paper) and finished goods of the Trade and Reference divisions, which are sold through the retail
channel, have a higher liquidation valuation range because they may be sold to a broader market. Finished products
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relating to the Education Segment (e.g., K-12 textbooks) will likely only be sold to districts needing fill-in product
and have therefore been ascribed lower liquidation values.

Note E – Other Current Assets

    Other Current Assets consist primarily of current deferred taxes, prepaid rent and other items. The estimated
recovery is based on the benefit and likelihood of such prepayments being refunded.

Note F – Net Property, Plant and Equipment

     Property, plant and equipment includes (x) the sum of (i) land (ii) buildings, machine, lease & equipment (iii)
computer equipment (iv) software, internally developed (v) software, externally developed (vi) furniture and fixtures
(vii) leasehold improvements and (viii) assets under construction less (y) accumulated depreciation. The
hypothetical recovery rates are applied to net book values.

Note G – Net Pre-publication Costs

         Net Pre-publication Costs represent the capitalized art, pre-press, manuscript and other costs incurred in the
creation of the master copy of a book or other media. Since this asset represents expenses that are deferred and
recognized over a period representative of the remaining life of the product, no recovery value has been ascribed to
Net Pre-publication Costs.

Note H – Net Royalty Advances

     Net Royalty Advances represent author advances that will be earned against future royalties associated with the
sale of such product. The estimate recovery is based upon the sale of only the existing inventory taking into
consideration the discounted sale price to sell the inventory. Accordingly, it is anticipated that none of the book
royalty advances will be earned and collected.

Note I – Net Intangibles

     Net Intangibles consist primarily of trade names, publishing rights and other intangibles. The trade names have
a carrying value based on recent appraisals which applied the Royalty Relief Methodology on trade name valuation
assuming the Debtors generate royalties as a going concern. The estimated valuation range of the trade names is
based on the recent appraisals with a discount to reflect the diminished value resulting from an orderly liquidation
for post intangible categories.

     Other intangibles consists primarily of publishing rights, which allow the Debtors to publish and republish
existing and future works as well as create new works based on previously published materials. The liquidation
value of the publishing rights is based on the estimated value of the content.

Note J – Goodwill

        Since Goodwill represents residual value paid in excess of net tangible assets in prior acquisitions, no
recovery value has been ascribed to Goodwill.

Note K – Other Assets and Long-Term Receivables

     Other Assets and Long-term Receivables include deferred financing fees and receivables due from affiliated
entities. The deferred financing fees have no value and the affiliated entities which owe the Debtors funds have no
underlying liquid assets.

     Other assets also includes sub-rights, which represent receivables related to contracts where the Debtors sell the
rights to certain titles when books convert from hardcover to paperback, and are assumed to have some recovery
value.
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Note L – Receivables Facility

     The Debtors’ accounts receivable are sold to a bankruptcy-remote, special purpose vehicle under a receivables
sale agreement as part of the pre-petition Receivables Facility. HM Receivables LLC is the legal entity which
purchases all of the receivables on the Debtors’ balance sheet. While the asset summary exhibit includes the value
of the accounts receivable held by HMH Receivables LLC, it is not among the Debtor entities and the accounts
receivable serve as collateral to the pre-petition Receivables Facility. As such, the expected outstanding amount of
the Receivables Facility as of June 30, 2012 would be deducted from the total estimated liquidation value to estimate
distributable proceeds to the estate. There was no amount outstanding as of March 31, 2012.

Note M – Chapter 7 Trustee Fees and Expenses

     Compensation for the chapter 7 trustee will be limited to fee guidelines in section 326(a) of the Bankruptcy
Code. The Debtors’ management has assumed trustee fees of 3% of the gross proceeds (excluding cash) from the
liquidation.

Note N – Chapter 7 Professional Fees and Expenses

     Compensation for the chapter 7 trustee’s counsel and other legal, financial and professional services during the
chapter 7 case is estimated to be approximately $1 million per month beginning at the commencement of the
liquidation proceedings and continuing throughout the wind-down Period.

Note O – Employee Expenses and Wind-down Costs

     The Debtors’ assume the chapter 7 liquidation process will take 12 months to complete. Corporate payroll and
operating costs during liquidation are based on the assumption that certain functions would be required during the
liquidation process in order for an orderly wind-down of the business and the plants. Costs would include costs
associated with shutting down the production lines as well as salaries of certain operating and maintenance
employees, severance and bonus pay that would be incurred during a chapter 7 liquidation. These expenses are
estimated to be $135 million in total over 12 months.

THE DEBTORS’ LIQUIDATION ANALYSIS IS AN ESTIMATE OF THE PROCEEDS THAT MAY BE
GENERATED AS A RESULT OF A HYPOTHETICAL CHAPTER 7 LIQUIDATION OF THE DEBTORS’
ASSETS. Underlying the liquidation analysis are a number of estimates and assumptions that are inherently subject
to significant economic, competitive, and operational uncertainties and contingencies beyond the control of the
Debtors or a chapter 7 trustee. In addition, various liquidation decisions upon which certain assumptions are based
are subject to change. Therefore, there can be no assurance that the assumptions and estimates employed in
determining the liquidation values of the Debtors will result in an accurate estimate of the proceeds that would be
realized were the Debtors to undergo an actual liquidation. This liquidation analysis does not include liabilities that
may arise as a result of litigation, certain new tax assessments, or other potential Claims. This analysis also does not
include potential recoveries from avoidance actions. Therefore, the actual liquidation value of the Debtors could
vary materially from the estimates provided herein.
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                                   APPENDIX D

      AUDITED FINANCIAL STATEMENTS FOR THE YEAR ENDED DECEMBER 31, 2011
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         HMH Holdings (Delaware), Inc.
         Consolidated Financial Statements
         December 31, 2011, 2010 and 2009




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    Report of Independent Auditors

    To the Board of Directors and Stockholders of
    HMH Holdings (Delaware), Inc.

    In our opinion, the accompanying consolidated balance sheets as of December 31, 2011 and 2010 and
    the related consolidated statements of operations, of stockholders' equity (deficit) and comprehensive
    income (loss), and of cash flows for the year ended December 31, 2011 and for the period from March 10,
    2010 to December 31, 2010 prese present
                                          nt fairly, in all material respects, the financial position of HMH Holdings
    (Delaware), Inc. and its subsidiaries (Successor) at December 31, 2011 and 2010, and the results of their
    operations and their cash flows for the year ended December 31, 2011 and ffor        or the period from March 10,
    2010 to December 31, 2010 in conformity with accounting principles generally accepted in the United
    States of America. These financial statements are the responsibility of the Company’s management. Our
    responsibility is to express
                           press an opinion on these financial statements based on our audits. We conducted
    our audits of these statements in accordance with auditing standards generally accepted in the United
    States of America. Those standards require that we plan and perform the audit to obtain reasonable
    assurance about whether the financial statements are free of material misstatement. An audit includes
    examining, on a test basis, evidence supporting the amounts and disclosures in the financial statements,
    assessing the accountingting principles used and significant estimates made by management, and evaluating
    the overall financial statement presentation. We believe that our audits provide a reasonable basis for our
    opinion.

    We have not audited any financial statements of the Comp
                                                        Companyany for any period subsequent to December 31,
    2011. However, as described
                         escribed in Note 15 to the consolidated financial statements, on May 10, 2012 the
    Company entered into a restructuring support agreement with participating borrowers to restructure the
    Company's debt pursuant to a joint prepackaged plan of reorganization under Chapter
                                                                                    hapter 11 of the U.S
    Bankruptcy Code. This raisess substantial doubt about the Company's ability to continue as a going
    concern. Management's plans in regard to these matters are also described in Note 15. The
    accompanying consolidated financial statements do not include any adjustments that might result from the
    outcome of this uncertainty and have b
                                         been
                                           een prepared assuming that the Company will continue as a going
    concern.




    March 30, 2012,, except with respect to our opinion on the consolidated financial statements insofar as it
    relates to Note 15,, as to which the date is May 10, 2012




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                                          Report of Independent Auditors

    To the Board of Directors and Stockholders of
    HMH Holdings (Delaware), Inc.

    In our opinion, the accompanying consolidated statements of operations, of stockholders' equity (deficit)
    and comprehensive income (loss), and of cash flows for the period from January 1, 2010 to March 9, 2010
    and for the year ended December 31, 2009 present fairly, in all material respects, the results of operations
    and cash flows
                 ws of HMH Publishing Company and its subsidiaries (Predecessor) for the period from
    January 1, 2010 to March 9, 2010 and for the year ended December 31, 2009 in conformity with
    accounting principles generally accepted in the United States of America. Thes
                                                                                 These e financial statements are
    the responsibility of the Company’s management. Our responsibility is to express an opinion on these
    financial statements based on our audits. We conducted our audits of these statements in accordance
    with auditing standards generally
                                nerally accepted in the United States of America. Those standards require that
    we plan and perform the audit to obtain reasonable assurance about whether the financial statements are
    free of material misstatement. An audit includes examining, on a test b  basis,
                                                                              asis, evidence supporting the
    amounts and disclosures in the financial statements, assessing the accounting principles used and
    significant estimates made by management, and evaluating the overall financial statement presentation.
    We believe that our auditsts provide a reasonable basis for our opinion.




    March 30, 2011




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HMH Holdings (Delaware), Inc.
Consolidated Balance Sheets




                                                                           December 31,     December 31,
  (in thousands of dollars, except share information)                         2011              2010

  Assets
  Current assets
   Cash and cash equivalents                                           $        413,610     $    380,073
   Restricted cash                                                               26,495           43,246
   Short-term investments                                                             -           17,667
   Accounts receivable, net of allowance for bad debts and book
    returns of $43.8 million and $30.4 million, respectively                    256,271          252,065
   Inventories                                                                  242,162          281,987
   Deferred income taxes                                                         14,152                -
   Prepaid expenses and other assets                                             13,811           17,347
           Total current assets                                                 966,501          992,385

  Property, plant, and equipment, net                                           152,212          144,139
  Pre-publication costs, net                                                    289,125          373,442
  Royalty advances to authors, net of allowance of $12.3 million and
  $3.7 million, respectively                                                      42,700           44,414
  Goodwill                                                                       520,088        1,956,071
  Other intangible assets, net                                                 1,274,213        1,734,810
  Other assets and long-term receivables                                          19,064           11,894
            Total assets                                               $       3,263,903    $   5,257,155
  Liabilities and Stockholders' Equity (Deficit)
  Current liabilities
    Current portion of long-term debt                                  $         43,500     $    193,064
    Accounts payable                                                            130,128           98,615
    Royalties payable                                                            52,294           47,468
    Salaries, wages, and commissions payable                                     43,515           52,990
    Deferred revenue                                                            141,763          112,045
    Interest payable                                                             30,843           12,830
    Severance and other charges                                                  35,750           31,180
    Accrued postretirement benefits                                               2,252            2,450
    Other liabilities                                                            45,612           61,065
            Total current liabilities                                           525,657          611,707

  Long-term debt                                                               2,968,088        2,668,530
  Royalties payable                                                                1,313            2,075
  Long-term deferred revenue                                                     208,173          126,896
  Accrued pension benefits                                                        64,490           59,973
  Accrued postretirement benefits                                                 33,718           34,096
  Deferred income taxes                                                           32,072          135,536
  Other liabilities                                                              104,944          100,514
           Total liabilities                                                   3,938,455        3,739,327

  Commitments and contingencies (Note 13)

  Stockholders' equity (deficit)
   Common stock, $0.001 par value: authorized 600,000,000
    shares; issued and outstanding 283,636,235 shares                                284              284
   Capital in excess of par value                                              2,038,714        2,030,155
   Accumulated deficit                                                        (2,690,097)        (507,727)
   Accumulated other comprehensive income (loss)                                 (23,453)          (4,884)
          Total stockholders' equity (deficit)                                  (674,552)       1,517,828
          Total liabilities and stockholders' equity (deficit)         $       3,263,903    $   5,257,155




        The accompanying notes are an integral part of these consolidated financial statements.

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HMH Holdings (Delaware), Inc.
Consolidated Statements of Operations

                                                                       Successor                             Predecessor
                                                                               For the Period    For the Period
                                                                                 March 10,         January 1,
                                                            For the Year           2010 to           2010 to        For the Year
(in thousands of dollars)                                 Ended December       December 31,         March 9,      Ended December
                                                              31, 2011              2010              2010            31, 2009

Net sales                                                 $        1,295,295   $   1,397,142     $    109,905     $     1,562,415
Costs and expenses
Cost of sales, excluding pre-publication and publishing
 rights amortization                                                512,612          559,593           45,270            586,159
Publishing rights amortization                                      230,624          235,977           48,336            334,022
Pre-publication amortization                                        176,829          181,521           37,923            242,045
           Cost of sales                                            920,065          977,091          131,529          1,162,226
Selling and administrative                                          640,023          598,807          119,039            740,068
Other intangible asset amortization                                  67,372           57,601            2,006             28,857
Impairment charge for goodwill, intangible assets, pre-
publication costs and fixed assets                               1,674,164           103,933            4,028             953,587
Severance and other charges                                         32,801           (11,243)               -              75,882
Gain on sale of assets                                              (2,000)           (1,179)               -              (5,937)
                                                                 3,332,425         1,725,010          256,602           2,954,683
           Operating income (loss)                              (2,037,130)         (327,868)        (146,697)         (1,392,268)
Other income (expense)
Interest expense                                                  (244,582)         (258,174)        (157,947)           (860,042)
Other (loss) income, net                                                  -                (6)               9                (631)
Change in fair value of derivative instruments                         (811)           90,250           (7,361)             46,401
                                                                   (245,393)         (167,930)        (165,299)           (814,272)
          Loss before taxes                                     (2,282,523)         (495,798)        (311,996)         (2,206,540)
Income tax expense (benefit)                                      (100,153)            11,929             (220)            (61,393)
          Net income (loss)                               $     (2,182,370)    $    (507,727)    $   (311,776)    $    (2,145,147)




           The accompanying notes are an integral part of these consolidated financial statements.

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               HMH Holdings (Delaware), Inc.
               Consolidated Statements of Cash Flows


                                                                                      Successor                           Predecessor
                                                                                             For the Period     For the Period
                                                                            For the Year        March 10,         January 1,     For the Year
                                                                               Ended             2010 to            2010 to         Ended
                                                                            December 31,     December 31,          March 9,     December 31,
(in thousands of dollars)                                                       2011              2010               2010             2009

Cash flows from operating activities
Net loss                                                                $       (2,182,370)     $   (507,727)   $    (311,776)   $   (2,145,147)
Adjustments to reconcile net loss to net cash
 provided by (used in) operating activities
   Noncash interest expense                                                                -              -           20,737           344,524
   Gain on sale of assets                                                             (2,000)        (1,179)               -            (5,937)
   Depreciation and amortization expense                                             532,996        523,651           99,260           680,622
   Amortization of debt discount and deferred financing costs                         46,249         37,040           13,680            71,295
   Deferred income taxes (benefit)                                                  (117,616)        11,708             (220)          (63,728)
   Noncash stock-based compensation expense                                            8,559          4,274              925             7,970
   Impairment charge for goodwill, intangible assets, pre-publication
   costs and fixed assets                                                        1,674,164           103,933            4,028          953,587
   Allowance for loan receivable from officer                                            -            18,875                -                -
   Change in fair value of derivative instruments                                     811            (90,250)           7,361          (15,163)
   Changes in operating assets and liabilities, net of acquisitions
     Accounts receivable                                                             (2,356)        (27,996)          86,787            17,433
     Inventories                                                                     39,825          98,329          (22,741)           90,867
     Accounts payable and accrued expenses                                           18,488         (13,145)         (30,990)          (34,799)
     Royalties, net                                                                   5,778          11,653           (9,867)           (3,571)
     Deferred revenue                                                               110,993         130,683           (9,539)           34,697
     Interest payable                                                                18,013         (49,328)         118,423           (38,770)
     Severance and other charges                                                      4,570         (30,977)          (4,257)           42,142
     Accrued pension and postretirement benefits                                    (10,568)        (19,003)           1,297           (11,053)
     Other, net                                                                     (12,740)        (17,575)          (4,404)         (132,354)
            Net cash provided by (used in) operating activities                     132,796         182,966          (41,296)         (207,385)
Cash flows from investing activities
Proceeds from (deposits into) restricted cash accounts                                16,751         (42,745)               -                -
Proceeds from sale of short-term investments                                          17,800               -                -                -
Purchases of short-term investments                                                        -         (17,978)               -                -
Additions to pre-publication costs                                                  (122,592)        (96,613)         (22,057)        (138,440)
Additions to property, plant, and equipment                                          (71,817)        (64,139)          (3,559)         (30,659)
Proceeds from sale of assets                                                             150           2,177                -           14,000
Acquisition of intangible asset                                                      (30,000)              -                -                -
Acquisition of business, net of cash acquired                                         (5,592)        (12,824)               -                -
            Net cash (used in) provided by investing activities                     (195,300)       (232,122)         (25,616)        (155,099)
Cash flows from financing activities
(Payments) borrowings under receivables funding agreement                                  -        (140,000)           2,350            87,650
Proceeds from revolving credit facility                                                    -               -                -          258,539
Payments of long-term debt                                                           (43,500)        (43,640)               -          (32,625)
Payments of short-term debt                                                         (150,000)              -                -                 -
Proceeds from secured notes offering                                                 300,000               -                -                 -
Payments of deferred financing fees                                                  (10,459)              -                -                 -
Dividend to affiliate                                                                      -               -           (2,500)                -
Proceeds from issuance of common stock, net                                                -         649,600                -                 -
Loan advances to officer                                                                   -         (20,000)               -                 -
Payment of restructuring costs                                                             -         (43,671)               -                 -
Payment to parent, net                                                                     -               -                -          (10,486)
            Net cash provided by (used in) financing activities                       96,041         402,289             (150)         303,078
            Net increase (decrease) in cash and cash equivalents                      33,537         353,133          (67,062)          (59,406)
Cash and cash equivalents
Beginning of period                                                                 380,073          26,940            94,002          153,408
Net increase (decrease) in cash and cash equivalents                                 33,537         353,133           (67,062)         (59,406)
End of period                                                           $           413,610     $   380,073     $      26,940    $      94,002
Supplementary disclosure of cash flow information
Income taxes (refunded) paid                                            $             2,825     $    (2,210)    $        855     $       3,702
Interest paid                                                                       180,647         268,925            4,847           421,735
Deferred/contingent consideration for acquisitions, net                               4,695         (15,626)               -                 -
Restructuring (See Note 1)


                            The accompanying notes are an integral part of these consolidated financial statements.

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      HMH Holdings (Delaware), Inc.
      Consolidated Statements of Stockholders’ Equity (Deficit) and Comprehensive
      Income (Loss)

                                                                                                 Predece ssor Com pany
                                                              Com m on Stock                    Capital                                  Accum ulated
                                                                            $0.001             in e xcess                                   Other
                                                                           Par Value            of Par              Accum ulated     Com prehe nsive
(in thousands of dollars, except share information)      Shares            Am ount              Value                  Deficit       Incom e (Loss )          Total


Balance at January 1, 2009                                     3,100   $               -   $     1,748,460      $      (2,586,960)   $        (17,560)    $     (856,060)
Comprehensive income (loss)
  Net loss                                                        -                    -                    -          (2,145,147)                    -       (2,145,147)
  Net change in pension liability                                 -                    -                    -                    -              1,275             1,275
  Cumulative translation adjustment                               -                    -                    -                    -                  193               193
             Total comprehensive income (loss)                                                                                                                (2,143,679)
Recapitalization of amounts due to Parent                         -                    -           379,368                       -                    -         379,368
Stock compensation                                                -                    -             7,970                       -                    -           7,970
Effects of adoption of accounting standard
on uncertainties in income taxes                                  -                    -                    -              (2,335)                    -           (2,335)
Balance at De cem ber 31, 2009                                 3,100                   -         2,135,798             (4,734,442)            (16,092)        (2,614,736)
Comprehensive income (loss)
  Net loss                                                        -                    -                    -           (311,776)                     -        (311,776)
  Net change in pension liability                                 -                    -                    -                    -             (1,313)            (1,313)
  Cumulative translation adjustment                               -                    -                    -                    -                  392               392
             Total comprehensive income (loss)                                                                                                                 (312,697)
Stock compensation                                                -                    -                 925                     -                    -               925
Dividend to affiliate                                             -                    -            (2,500)                      -                    -           (2,500)
Recapitalization of amounts due from Parent                       -                    -            (1,154)                      -                    -           (1,154)
Balance at March 9, 2010                                       3,100   $               -   $     2,133,069      $      (5,046,218)   $        (17,013)    $   (2,930,162)


                                                                                                   Success or Com pany
                                                              Com m on Stock                    Capital                                  Accum ulated
                                                                            $0.001             in e xcess                                   Other
                                                                           Par Value            of Par              Accum ulated     Com prehe nsive
(in thousands of dollars, except share information)      Shares            Am ount              Value                  Deficit       Incom e (Loss )          Total


Balance at March 10, 2010                                129,999,970   $             130   $     1,376,435      $                -   $                -   $    1,376,565
Comprehensive income (loss)
  Net loss                                                        -                    -                    -           (507,727)                     -        (507,727)
  Net change in pension liability                                 -                    -                    -                    -             (6,533)            (6,533)
  Cumulative translation adjustment                               -                    -                    -                    -              1,829             1,829
  Unrealized loss on short-term investments                       -                    -                    -                    -              (180)              (180)
             Total comprehensive income (loss)                                                                                                                 (512,611)
Issuance of common stock, net                           153,636,265                 154            649,446                       -                    -         649,600
Stock compensation                                                -                    -             4,274                       -                    -           4,274
Balance at De cem ber 31, 2010                           283,636,235                 284         2,030,155               (507,727)             (4,884)         1,517,828
Comprehensive income (loss)
  Net loss                                                        -                    -                    -          (2,182,370)                    -       (2,182,370)
  Net change in pension liability                                 -                    -                    -                    -            (14,509)          (14,509)
  Cumulative translation adjustment                               -                    -                    -                    -             (4,241)            (4,241)
  Unrealized gain on short-term investments                       -                    -                    -                    -                  181               181
             Total comprehensive income (loss)                                                                                                                (2,200,939)
Stock compensation                                                -                    -             8,559                       -                    -           8,559
Balance at De cem ber 31, 2011                           283,636,235   $             284   $     2,038,714      $      (2,690,097)    $       (23,453)    $     (674,552)




                        The accompanying notes are an integral part of these consolidated financial statements.

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HMH Holdings (Delaware), Inc.
Notes to Consolidated Financial Statements
December 31, 2011, 2010 and 2009

(in thousands of dollars, except share information)

1.    Basis of Presentation

      HMH Holdings (Delaware), Inc., ("HMH", “Houghton Mifflin Harcourt”, “we”, “us”, “our”, or the
      “Company”), is a leading global education and learning company providing innovative solutions and
      approaches to the challenges facing education today. We are the world’s largest provider of
      educational products and solutions for pre-K–12 learning and we also develop and deliver
      interactive, results-driven learning solutions that advance teacher effectiveness and student
      achievement in the Education market. Furthermore, since 1832, we have published trade and
      reference materials including award-winning adult and children’s books, fiction, and nonfiction.

      The consolidated December 31, 2011 and 2010 financial statements of HMH include the accounts
      of all of our wholly-owned subsidiaries as of and for the periods ended December 31, 2011,
      December 31, 2010, March 9, 2010 and December 31, 2009. Prior to the Restructuring noted
      below, our operations were held by HMH Publishing Company ("HMH Publishing" or
      “Predecessor”), a wholly-owned subsidiary of Education Media and Publishing Group Limited
      ("EMPG" or "Former Parent") formed through the combination of Houghton Mifflin and Harcourt
      Education (both education learning companies) and Riverdeep Group Limited, a digital publishing
      business. Throughout the notes to the consolidated financial statements, both HMH and HMH
      Publishing are referred to collectively as the “Company”.

      The accompanying consolidated financial statements have been prepared in accordance with
      principles generally accepted in the United States of America (“GAAP”). All intercompany accounts
      and transactions have been eliminated.

      March 2010 Restructuring
      As a result of lower than expected operating results beginning in the latter half of 2008 and
      continuing through 2009, primarily due to a downturn in the economy and state budget deficits
      adversely affecting many of our customers, we failed several of our debt covenants and faced
      liquidity constraints. Waivers were obtained from our first lien lenders and mezzanine lenders for
      the covenant violations through March 9, 2010.

      On March 9, 2010, the Company and its first lien and mezzanine lenders and its shareholders
      consummated a restructuring of the Company (the “Restructuring”). As part of the Restructuring, a
      new legal entity was formed, HMH Holdings (Delaware), Inc., to hold all of the assets of the
      operating companies. On March 9, 2010, the then-existing senior secured lenders in the first lien
      credit facility received 90% (pre-dilution from the rights offering noted below) of the equity in HMH,
      in exchange for converting $1,983.7 million of their senior secured position in the first lien credit
      agreement to equity in HMH. The then-existing mezzanine lenders received 10% of the equity of
      HMH (pre-dilution from the rights offering) and 40,519,431 warrants at a strike price of $12.26, in
      exchange for converting all of their $2,124.8 million subordinated secured position in the
      mezzanine credit agreement to equity. The former shareholder, EMPG, cancelled its equity
      ownership in the Company in exchange for 18,956,473 warrants with a strike price of $22.32.
      Upon conclusion of the Restructuring, EMPG no longer had an ownership interest in us.

      Additionally, on March 9, 2010, HMH raised $650.0 million of new equity capital through a rights
      offering from the then-existing senior secured and mezzanine lenders who agreed to convert a
      portion of their first lien and mezzanine positions to equity. The proceeds were used to pay
      transaction fees, accrued interest and fund working capital needs.




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HMH Holdings (Delaware), Inc.
Notes to Consolidated Financial Statements
December 31, 2011, 2010 and 2009

(in thousands of dollars, except share information)

      As a result of this change in control, we applied the acquisition method of accounting, as required
      by authoritative literature. Accordingly, the consolidated financial statements prior to the closing of
      the Restructuring reflect the historical accounting basis in the assets and liabilities and are labeled
      Predecessor Company, while such records subsequent to the Restructuring are labeled Successor
      Company and reflect the fair values determined as part of applying the acquisition method. This is
      presented in the consolidated financial statements by a vertical black line division which appears
      between the columns labeled Predecessor and Successor in the financial statements and the
      relevant notes. The black line signifies that the periods prior to the Restructuring are not
      comparable.

      A valuation was performed to determine the acquisition price using the Income Approach
      employing a Discounted Cash Flow (“DCF”) methodology. The DCF method explicitly recognizes
      that the value of a business enterprise is equal to the present value of the cash flows that are
      expected to be available for distribution to the equity and/or debt holders of a company. In the
      valuation of a business enterprise, indications of value are developed by discounting future net
      cash flows available for distribution to their present worth at a rate that reflects both the current
      return requirements of the market and the risk inherent in the specific investment.

      We used a multi-year DCF model to derive a Total Invested Capital value which was adjusted for
      cash, non-operating assets, debt and any negative net working capital to calculate a Business
      Enterprise Value of approximately $5.0 billion which was then used to value our equity. In
      connection with the Income Approach portion of this exercise, we made the following assumptions:
      (1) the discount rate was based on an average of a range of scenarios with rates between 8.6%
      and 11.4%; (2) management’s estimates of future performance of our operations; and (3) a
      terminal growth rate of 3.5%. The discount rate and market growth rate reflect the risks associated
      with the general economic pressure impacting both the economy in general and more specifically
      the publishing industry. Costs and professional fees incurred as part of the refinancing totaled
      $43.7 million and were recorded in other assets and long-term receivables in the Predecessor
      Company and were treated as a reduction to the equity value in the Successor Company.




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HMH Holdings (Delaware), Inc.
Notes to Consolidated Financial Statements
December 31, 2011, 2010 and 2009

(in thousands of dollars, except share information)

      We finalized the valuation and completed the allocation of the business enterprise value. The
      allocation of the business enterprise value at March 10, 2010 was as follows:

       Cash and cash equivalents                                                             $       22,995
       Accounts receivable                                                                          222,213
       Inventories                                                                                  380,243
       Note receivable - related party                                                                   73
       Prepaid expenses and other assets                                                             12,191
       Property, plant, and equipment                                                               128,282
       Pre-publication costs                                                                        463,459
       Royalty advances to authors                                                                   44,415
       Goodwill                                                                                   1,935,965
       Other intangible assets                                                                    2,108,538
       Other assets and long-term receivables                                                         9,123
       Accounts payable                                                                            (105,688)
       Royalties payable                                                                            (34,621)
       Salaries, wages, and commissions payable                                                     (46,872)
       Deferred revenue                                                                            (107,609)
       Interest payable                                                                             (30,517)
       Interest rate swap liability                                                                (121,891)
       Severance and other charges                                                                  (62,157)
       Accrued postretirement benefits                                                               (2,443)
       Other liabilities                                                                           (124,761)
       Debt                                                                                      (3,009,212)
       Royalties payable                                                                             (3,243)
       Accrued pension benefits                                                                     (80,026)
       Accrued postretirement benefits                                                              (31,526)
       Deferred income taxes                                                                       (153,003)
       Other liabilities                                                                            (37,363)
                  Total net assets acquired                                                 $    1,376,565


      Liquidity
      Our liquidity and our ability to service our debt, as well as fund future acquisitions, other purchase
      commitments, operating leases, working capital and capital expenditure requirements, is
      dependent on our future financial performance, which is subject to general economic, financial and
      other factors certain of which are beyond our control. We expect our cash flows from operations,
      combined with our cash on hand and availability under our accounts receivable securitization
      facility, to provide sufficient liquidity to fund our current obligations, debt service requirements,
      projected working capital requirements, debt principal repayments, and capital spending over the
      next twelve months; however, there can be no assurance that our business will generate sufficient
      cash flow from operations, that anticipated net sales will be realized or that future borrowings will
      be available under our accounts receivable securitization facility, or any other facility, in an amount
      sufficient to enable us to service our indebtedness or to fund our other liquidity needs beyond such
      period. We anticipate that to the extent additional liquidity is necessary to fund our operations, it
      would be funded through an expansion of our accounts receivable securitization facility, the
      incurrence of other indebtedness, additional equity financings or a combination of these potential
      sources of liquidity, however, there can be no assurance that we will be able to raise additional
      debt or equity or whether such debt or equity could be obtained on commercially reasonable terms.



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      All previous debt covenants were amended under the Restructuring described above and were
      further amended in December 2011 to provide for additional covenant expansion. We are in
      compliance with our amended debt covenant as of December 31, 2011. The economic downturn
      has resulted in a contraction of spending in the education market for 2011 materially beyond what
      we had forecasted and it appears that this will continue through 2012. As a direct result of the
      lower sales generated in 2011 and expected for 2012, we have enacted cost saving initiatives to
      help align our cost structure with anticipated revenues. With the financial covenant expansion and
      cost reductions, we expect to be in compliance with our financial covenant over the next twelve
      months. If we were to not comply with any of our financial covenants, we would expect to pursue
      an amendment of or waiver under our credit facilities, however, there can be no assurance that we
      would be able to obtain such amendment or waiver and thus have sufficient liquidity. The failure to
      comply with our financial covenants and to obtain a waiver or amendment of such covenants would
      cause an event of default under the senior secured credit facilities and the accounts receivable
      securitization facility which would allow the lenders to terminate their commitments under the credit
      facilities, and also, subject to certain cure periods, allow the lenders to accelerate the repayment of
      amounts outstanding under the credit facilities. Also, if the lenders were to accelerate
      indebtedness under the credit facilities, and such indebtedness were not discharged within a
      specific period of time, it would be the basis for an event of default under our Senior Notes, which
      would allow the holders of the Senior Notes to accelerate the maturity of the Senior Notes.

      As of December 31, 2011, we had approximately $2.8 billion (face value) outstanding under our
      senior secured credit facility and $300.0 million outstanding under our Senior Notes. $235.8 million
      of the amount outstanding under the senior secured credit facility is due in December 2013 and
      $2.6 billion is due in June 2014. The $300.0 million outstanding under the Senior Notes is due in
      June 2019. We do not currently have sufficient funds to repay the debt upon maturity or an
      acceleration of maturity and we would need to raise additional funds to do so. We cannot assure
      you that any necessary additional financing would be available to us on commercially reasonable
      terms, or at all. If adequate funds were not available and we were unable to repay the amounts
      due and payable under our senior secured credit facilities, the lenders could proceed against the
      collateral granted to them to secure that indebtedness. Further, in the event we cannot repay such
      indebtedness, we may not be able to sustain our future operations and may be required to delay,
      reduce and/or cease our operations. Also, if lenders were to terminate their commitment under our
      accounts receivable securitization facility, our inability to draw on the facility would affect our
      working capital, would impact our ability to make capital improvements and may also impact our
      ability to acquire inventory and products because vendors may be unwilling to extend credit to us.
      Borrowings under the accounts receivable securitization facility are subject to meeting certain
      requirements and borrowing base availability. As of December 31, 2011, we have borrowing
      capacity of $250.0 million, of which $110.6 million is available to us. We also had approximately
      $26.2 million of outstanding letters of credit under our $50.0 million standby letter of credit facility,
      all of which were cash collateralized. We are currently assessing strategic alternatives to
      restructure our debt obligations. In the event we are unable to complete a consensual restructuring
      with our lenders, we may consider other actions, including the restructuring of the debt through an
      in-court process.

      Subsequent Events
      The Company has performed an evaluation of subsequent events through March 30, 2012, which
      is the date the financial statements were issued.




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2.    Significant Accounting Policies

      Principles of Consolidation
      Our accompanying consolidated financial statements include the results of operations of the
      Company and our wholly-owned subsidiaries. All material intercompany accounts and transactions
      are eliminated in consolidation.

      Use of Estimates
      The preparation of financial statements in conformity with accounting principles generally accepted
      in the United States of America requires the use of estimates, assumptions and judgments by
      management that affect the reported amounts of assets, liabilities, revenues, expenses, and
      related disclosure of contingent assets and liabilities in the amounts reported in the financial
      statements and accompanying notes. On an ongoing basis, we evaluate our estimates
      andassumptions including, but not limited to, book returns, allowance for bad debts, recoverability
      of advances to authors, valuation of inventory, depreciation and amortization periods, recoverability
      of long-term assets such as property, plant, and equipment, capitalized pre-publication costs, other
      identified intangibles, goodwill, deferred revenue, income taxes, pensions and other postretirement
      benefits, contingencies, and litigation. We base our estimates on historical experience and on
      various other assumptions that we believe to be reasonable under the circumstances, the results of
      which form the basis for making judgments about the carrying value of assets and liabilities that are
      not readily apparent from other sources. Actual results may differ from those estimates.

      Revenue Recognition
      We derive revenue primarily from the sale of print and digital textbooks and instructional materials,
      trade books, reference materials, multimedia instructional programs, license fees for book rights,
      content, software and services that include test development, test scoring, consulting and training.
      Revenue from print and digital textbooks and instructional materials, trade books, reference
      materials, assessment materials and multimedia instructional programs is recognized in the period
      when persuasive evidence of an arrangement with the customer exists, the products are shipped,
      title and risk of loss have transferred to the customer, all significant obligations have been
      performed and collection is reasonably assured.

      We enter into certain contractual arrangements that have multiple elements, one or more of which
      may be delivered subsequent to the initial sale. These multiple deliverable arrangements may
      include print and digital media, professional development, training services, software, software as a
      service (SaaS), and various services related to the software including but not limited to hosting,
      maintenance and support, and implementation. At the inception of these arrangements,
      consideration is allocated using the Relative Sales Value (RSV) method. For each element, we
      determine whether the element falls under the accounting guidance within multiple element
      arrangements or software revenue recognition. For elements which fall under the accounting
      guidance for multiple element arrangements, we apply the highest applicable relative selling price
      guidance available, Vendor Specific Objective Evidence (VSOE), Third Party Evidence (TPE), or
      Best Estimate of Selling Price (BESP). For elements which fall under the accounting guidance for
      software revenue recognition, we apply VSOE and the residual method. If we are not able to
      establish VSOE, we estimate relative selling price based on TPE or BESP for purposes of
      allocation of total project discount, and defer until all such elements are fulfilled assuming all other
      revenue recognition criteria have been met. For multiple deliverable arrangements, fair value is
      determined for all elements and the relative sales value of revenue for items to be delivered after
      the initial sale is deferred until such time as the items are delivered. A significant component of
      revenue that is deferred relates to gratis items delivered in connection with sales to customers
      within adoption states. As our business model shifts to more digital and on-line learning
      components, additional revenue could be deferred. As products are shipped with right of return, a

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      provision for estimated returns on these sales is made at the time of sale based on historical
      experience.

      License fees for software products without future obligations are recognized upon delivery. Certain
      contracts include software and on-going fees for maintenance and other support. If vendor-specific
      objective evidence of the fair value of each element of the arrangement exists, the elements of the
      contract are unbundled and the revenue is recognized for each element when or as delivered.
      Revenue for test delivery, test scoring and training are recognized when the services have been
      completed, the fee is fixed or determinable and collection is reasonably assured. Revenue for test
      development is recognized as the services are provided. Differences between what has been
      billed and what has been recognized as revenue is recorded as deferred revenue. We enter into
      agreements to license certain book publishing rights and content. We recognize revenue on such
      arrangements when all materials have been delivered to the customer and collection is reasonably
      assured.

      Advertising Costs and Sample Expenses
      Advertising costs are charged to selling and administrative expenses as incurred. For the year
      ended December 31, 2011, advertising costs were $7.4 million. For the period January 1, 2010 to
      March 9, 2010, advertising costs were $1.1 million and for the period March 10, 2010 to
      December 31, 2010 advertising costs were $5.1 million. For the year ended December 31, 2009,
      advertising costs were $7.2 million. Sample expenses are charged to selling and administrative
      expenses when the samples are shipped.

      Cash and Cash Equivalents
      Cash and cash equivalents consist primarily of cash in banks and highly liquid investment
      securities that have maturities of three months or less when purchased. The carrying amount of
      cash equivalents approximates fair value because of the short term maturity of these investments.

      Restricted Cash
      Restricted cash consists primarily of cash collateral for irrevocable standby letters of credit in
      connection with property that we currently lease and performance and surety bonds.

      Accounts Receivable
      Accounts receivable are recorded net of allowances for doubtful accounts and reserves for book
      returns. In the normal course of business, we extend credit to customers that satisfy predefined
      criteria. We estimate the collectability of our receivables. Allowances for doubtful accounts are
      established through the evaluation of accounts receivable aging and prior collection experience to
      estimate the ultimate collectability of these receivables. Reserves for book returns are based on
      historical return rates and sales patterns.

      Inventories
      Inventories are stated at the lower of weighted average cost or net realizable value. The level of
      obsolete and excess inventory is estimated on a program or title level-basis by comparing the
      number of units in stock with the expected future demand. The expected future demand of a
      program or title is determined by the copyright year, the previous years’ sales history, the
      subsequent year’s sales forecast, known forward-looking trends including our development cycle to
      replace the title or program and competing titles or programs.

      Property, Plant, and Equipment
      Property, plant, and equipment are stated at cost, or in the case of assets acquired in business
      combinations, at fair value as of the acquisition date, less accumulated depreciation. Equipment

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      under capital lease is stated at fair value at inception of the lease, less accumulated depreciation.
      Maintenance and repair costs are charged to expense as incurred, and renewals and
      improvements that extend the useful life of the assets are capitalized.

      Depreciation on property, plant, and equipment is calculated using the straight-line method over the
      estimated useful lives of the assets or, in the case of assets acquired in business combinations,
      over their remaining lives. Equipment held under capital leases and leasehold improvements are
      amortized using the straight-line method over the shorter of the lease term or estimated useful life
      of the asset. Estimated useful lives of property, plant, and equipment are as follows:


      Capitalized Internal-Use and External-Use Software
      Capitalized internal-use and external-use software is included in property, plant and equipment on
      the consolidated balance sheets.

      We capitalize certain costs related to obtaining or developing computer software for internal use.
      Costs incurred during the application development stage, including external direct costs of
      materials and services, and payroll and payroll related costs for employees who are directly
      associated with the internal-use software project, are capitalized and amortized on a straight-line
      basis over the expected useful life of the related software. The application development stage
      includes design, software configuration and integration, coding, hardware installation and testing.
      Costs incurred during the preliminary stage, as well as maintenance, training and upgrades that do
      not result in additional functionality are expensed as incurred.

      Certain computer software development costs for software that is to be sold or marketed are
      capitalized in the consolidated balance sheets. Capitalization of computer software development
      costs begins upon the establishment of technological feasibility. We define the establishment of
      technological feasibility as a working model. Amortization of capitalized computer software
      development costs is provided on a product-by-product basis using the straight-line method,
      beginning upon commercial release of the product, and continuing over the remaining estimated
      economic life of the product. The carrying amounts of computer software development costs are
      periodically compared to net realizable value and impairment charges are recorded, as appropriate,
      when amounts expected to be realized are lower.

      We review internal and external software development costs for impairment. For the year ended
      December 31, 2011 and for the period January 1, 2010 to March 9, 2010, software development
      costs of $5.6 million and $4.0 million, respectively, were deemed impaired and included as a
      charge to the statement of operations in the impairment charge for pre-publication costs and fixed
      assets caption. There were no software development cost impairments for the period March 10,
      2010 to September 30, 2010 and for the year ended December 31, 2009.




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      Pre-publication costs
      We capitalize the art, prepress, manuscript and other costs incurred in the creation of the master
      copy of a book or other media (the “pre-publication costs”). Pre-publication costs are primarily
      amortized from the year of copyright, or sale if earlier, over five years using the sum-of-the years-
      digits method. This policy is used throughout the Company, except for the Trade and Reference
      division’s consumer trade books, which expenses such costs as incurred, and the assessment
      products, which uses the straight-line amortization method. The amortization methods and periods
      chosen best reflect the pattern of expected sales generated from individual titles or programs. We
      periodically evaluate the remaining lives and recoverability of capitalized pre-publication costs,
      which are often dependent upon program acceptance by state adoption authorities.

      Amortization expense related to pre-publication costs was $176.8 million for the year ended
      December 31, 2011. For the period January 1, 2010 to March 9, 2010 amortization expense
      related to pre-publication costs was $37.9 million and for the period March 10, 2010 to
      December 31, 2010 amortization expense related to pre-publication costs was $181.5 million. For
      the year ended December 31, 2009, amortization expense related to pre-publication costs was
      $242.0 million.

      Pre-publication costs recorded on the balance sheet are periodically reviewed for impairment by
      comparing the unamortized capitalized costs of the assets to the net realizable value of those
      assets. The net realizable value approximates the fair value of the assets. For the year ended
      December 31, 2011, the period January 1, 2010 to March 9, 2010, and the period March 10, 2010
      to December 31, 2010, pre-publication costs of $33.5 million, zero and $16.9 million, respectively,
      were deemed to be impaired. For the year ended December 31, 2009, pre-publication costs of
      $20.3 million were deemed to be impaired. The impairment was included as a charge to the
      statement of operations in the impairment charge for goodwill, intangible assets, pre-publication
      costs and fixed assets caption by comparing the unamortized capital costs of the assets to the net
      realizable value of those assets.

      Goodwill and indefinite-lived intangible assets
      Goodwill is the excess of the purchase price paid over the fair value of the net assets of the
      business acquired. Other intangible assets principally consist of branded trademarks and trade
      names, acquired publishing rights and customer relationships. Goodwill and indefinite-lived
      intangible assets (certain trade names) are not amortized but are reviewed at least annually for
      impairment or earlier, if an indication of impairment exists. Recoverability of goodwill and indefinite
      lived intangibles is evaluated using a two-step process. In the first step, the fair value of a reporting
      unit is compared to its carrying value. If the fair value of a reporting unit exceeds the carrying value
      of the net assets assigned to a reporting unit, goodwill is considered not impaired and no further
      testing is required. If the carrying value of the net assets assigned to a reporting unit exceeds the
      fair value of a reporting unit, the second step of the impairment test is performed in order to
      determine the implied fair value of a reporting unit’s goodwill. Determining the implied fair value of
      goodwill requires valuation of a reporting unit’s tangible and intangible assets and liabilities in a
      manner similar to the allocation of purchase price in a business combination. If the carrying value
      of a reporting unit’s goodwill exceeds its implied fair value, goodwill is deemed impaired and is
      written down to the extent of the difference. We estimate total fair value of each reporting unit
      using discounted cash flow analysis, and make assumptions regarding future revenue, gross
      margins, working capital levels, investments in new products, capital spending, tax, cash flows and
      the terminal value of the reporting unit. With regard to other intangibles with indefinite lives, we
      determine the fair value by asset, which is then compared to its carrying value to determine if the
      assets are impaired.


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      Goodwill is allocated entirely to our Education reporting unit. Determining the fair value of a
      reporting unit is judgmental in nature, and involves the use of significant estimates and
      assumptions. These estimates and assumptions may include revenue growth rates sand operating
      margins used to calculate projected future cash flows, risk-adjusted discount rates, future economic
      and market conditions, the determination of appropriate market comparables as well as the fair
      value of individual assets and liabilities. Consistent with prior years, we used an income approach
      to establish the fair value of the reporting unit as of October 1, 2011. As in prior years, we used the
      most recent five year strategic plan as the initial basis of our analysis. We also assessed the fair
      values of the assets and liabilities attributed to our education business. Under this approach, the
      fair value of each asset and liability were determined based on the methodology we believe is most
      appropriate for each. Significant estimates and judgments were involved in this assessment.
      Those estimates and judgments include the use of valuation methods for determining the fair value
      of the intangible assets and the applicable assumptions utilized to arrive at the market values of the
      fixed assets and the realizability of other assets within the Education business.

      We completed our annual goodwill and indefinite-lived intangible asset impairment tests as of
      October 1, 2011, 2010 and 2009 and recorded a noncash impairment charge of $1,635.1 million for
      the year ended December 31, 2011 and $87.0 million for the period March 10, 2010 to
      December 31, 2010. There was no impairment for the period January 1, 2010 to March 9, 2010.
      For the year ended December 31, 2009, impairment charges were $933.3 million. The impairments
      principally related to goodwill and tradenames within the Education business in 2011, and related
      to tradenames within the Education business and Trade Division in 2010, and principally related to
      tradenames and goodwill within the Education business in 2009. The impairment charges resulted
      primarily from a decline in revenue from previously projected amounts as a result of the economic
      downturn and reduced educational spending by states and school districts. All impairment charges
      are included in operating income.

      Publishing Rights
      A publishing right allows us to publish and republish existing and future works as well as create
      new works based on previously published materials. We determine the fair market value of the
      publishing rights arising from business combinations by discounting the after-tax cash flows
      projected to be derived from the publishing rights and titles to their net present value using a rate of
      return that accounts for the time value of money and the appropriate degree of risk. The useful life
      of the publishing rights is based on the lives of the various copyrights involved. We calculate
      amortization using the percentage of the projected operating income before taxes derived from the
      titles in the current year as a percentage of the total estimated operating income before taxes over
      the remaining useful life. Acquired publication rights, as well as customer-related intangibles with
      definitive lives, are primarily amortized on an accelerated basis over periods ranging from three to
      20 years.




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      Impairment of other long-lived assets
      We review our other long-lived assets for impairment whenever events or changes in
      circumstances indicate that the carrying amount of an asset may not be fully recoverable. If the
      future undiscounted cash flows are less than their book value, impairment exists. The impairment
      is measured as the difference between the book value and the fair value of the underlying asset.
      Fair value is normally determined using a discounted cash flow model.

      Severance
      We accrue postemployment benefits if the obligation is attributable to services already rendered,
      rights to those benefits accumulate, payment of benefits is probable, and amount of benefit is
      reasonably estimated. Postemployment benefits include severance benefits.

      Subsequent to recording such accrued severance liabilities, changes in market or other conditions
      may result in changes to assumptions upon which the original liabilities were recorded that could
      result in an adjustment to the liabilities.

      Royalty advances
      Royalty advances to authors are capitalized and represent amounts paid in advance of the sale of
      an author’s product and are recovered as earned. As advances are recorded, a partial reserve
      may be recorded immediately based primarily upon historical sales experience. Advances are
      evaluated periodically to determine if they are expected to be recovered. Any portion of a royalty
      advance that is not expected to be recovered is fully reserved.

      Income taxes
      We record income taxes using the asset and liability method. Deferred income tax assets and
      liabilities are recognized for future tax consequences attributable to differences between the
      financial statement carrying amounts of existing assets and liabilities and their respective income
      tax basis, and operating loss and tax credit carryforwards. Our consolidated financial statements
      contain certain deferred tax assets which have arisen primarily as a result of operating losses, as
      well as other temporary differences between financial and tax accounting. We establish a valuation
      allowance if the likelihood of realization of the deferred tax assets is reduced based on an
      evaluation of objective verifiable evidence. Significant management judgment is required in
      determining our provision for income taxes, our deferred tax assets and liabilities and any valuation
      allowance recorded against those net deferred tax assets. We evaluate the weight of all available
      evidence to determine whether it is more likely than not that some portion or all of the net deferred
      income tax assets will not be realized.

      We also evaluate any uncertain tax positions and only recognize the tax benefit from an uncertain
      tax position if it is more likely than not that the tax position will be sustained on examination by the
      taxing authorities, based on the technical merits of the position. The tax benefits recognized in the
      financial statements from such positions are then measured based on the largest benefit that has a
      greater than 50 percent likelihood of being realized upon ultimate settlement. We record a liability
      for unrecognized tax benefits resulting from uncertain tax positions taken or expected to be taken in
      a tax return. Any change in judgment related to the expected ultimate resolution of uncertain tax
      positions is recognized in earnings in the period in which such change occurs. Interest and
      penalties, if any, related to unrecognized tax benefits are recorded in income tax expense.

      Share-Based Compensation
      Certain employees and or directors have been granted stock options and restricted stock awards in
      both the predecessor and successor companys’ common stock. Stock based compensation


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      expense reflects the fair value of stock-based awards measured at the grant date and recognized
      over the relevant service period. We estimate the fair value of each stock-based award on the
      measurement date using either the current market price or the Black-Scholes option valuation
      model. The Black-Scholes option valuation model incorporates assumptions as to stock volatility,
      the expected life of the options, risk-free interest rate and dividend yield for time-vested stock
      options and restricted stock. We recognize compensation cost on a straight-line basis over the
      awards' vesting periods.

      Comprehensive Income (Loss)
      Comprehensive income (loss) is defined as changes in the equity of an enterprise except those
      resulting from stockholder transactions. The amounts shown on the consolidated statements of
      stockholders’ equity (deficit) and comprehensive income (loss) relate to the cumulative effect of
      minimum pension liabilities and translation gain and loss adjustments.

      Foreign Currency Translation
      The functional currency for each of our subsidiaries is the currency of the primary economic
      environment in which the subsidiary operates, generally defined as the currency in which the entity
      generates and expends cash. Foreign currency denominated assets and liabilities are translated
      into United States dollars at current rates as of the balance sheet date and the revenue, costs and
      expenses are translated at the average rates established during each reporting period. Cumulative
      translation gains or losses are recorded in equity as an element of accumulated other
      comprehensive income.

      Financial instruments
      Derivative financial instruments are employed to manage risks associated with interest rate
      exposures and are not used for trading or speculative purposes. We recognize all derivative
      instruments, such as interest rate swap agreements, in our consolidated balance sheets at fair
      value. Changes in the fair value of derivatives are recognized periodically either in earnings or in
      stockholders’ equity (deficit) as a component of other comprehensive income (loss), depending on
      whether the derivative financial instrument qualifies for hedge accounting and, if so, whether it
      qualifies as a fair value hedge or a cash flow hedge. Gains and losses on derivatives designated
      as hedges, to the extent they are effective, are recorded in other comprehensive income, and
      subsequently reclassified to earnings to offset the impact of the hedged items when they occur.
      Changes in the fair value of derivatives not qualifying as hedges are reported in earnings. Our
      interest rate swap agreements that existed during 2010 and terminated upon expiration did not
      qualify for hedge accounting because we did not contemporaneously document our hedging
      strategy upon entering into the hedging arrangements. The net interest paid or received on interest
      rate swaps is recognized within net interest expense in the consolidated statement of operations.
      There were no derivative instruments that qualified for hedge accounting during 2011.

      Reclassifications
      Certain 2011 amounts have been reclassified to conform to the 2010 presentation.

      Recent Accounting Pronouncements
      Recent accounting pronouncements, not included below, are not expected to have a material
      impact on our consolidated financial position and results of operations.

      On January 1, 2011, we adopted guidance issued by the Financial Accounting Standards Board
      (“FASB”) on revenue recognition. Under the new guidance, when vendor specific objective
      evidence or third party evidence of the selling price for a deliverable in a multiple element


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      arrangement cannot be determined, a best estimate of the selling price is required to allocate
      arrangement consideration using the relative selling price method. The new guidance includes
      new disclosure requirements on how the application of the relative selling price method affects the
      timing of when revenue is recognized. Adoption of the new guidance did not have a material impact
      to our financial position, results of operations or cash flows

      In May 2011, the FASB issued new guidance for fair value measurements intended to achieve
      common fair value measurement and disclosure requirements in U.S. GAAP and International
      Financial Reporting Standards. The amended guidance provides a consistent definition of fair
      value to ensure that the fair value measurement and disclosure requirements are similar between
      U.S. GAAP and International Financial Reporting Standards. The amended guidance changes
      certain fair value measurement principles and enhances the disclosure requirements, particularly
      for Level 3 fair value measurements. The amended guidance will be effective for us beginning
      January 1, 2012. We do not anticipate that these changes will have a significant impact on our
      financial position, results of operations or cash flows. We have elected not to early adopt this new
      guidance and we do not anticipate that these changes will have a material impact on our financial
      statements.

      In June 2011, the FASB issued guidance that modified how comprehensive income is presented in
      an entity’s financial statements. The guidance issued requires an entity to present the total of
      comprehensive income, the components of net income, and the components of other
      comprehensive income either in a single continuous statement of comprehensive income or in two
      separate but consecutive statements and eliminates the option to present the components of other
      comprehensive income as part of the statement of equity. The revised financial statement
      presentation for comprehensive income will be effective for us beginning January 1, 2012, with
      early adoption permitted.

      In September 2011, the FASB issued new guidance to simplify how entities test goodwill for
      impairment. The amended guidance permits an entity to first assess qualitative factors to
      determine whether it is more likely than not (that is, a likelihood of more than 50 percent) that the
      fair value of a reporting unit is less than its carrying amount. If this is the case, companies will
      need to perform a more detailed two-step goodwill impairment test which is used to identify
      potential goodwill impairments and to measure the amount of goodwill impairment losses to be
      recognized, if any. The amended guidance will be effective for us beginning January 1, 2012. We
      believe the adoption of this update will not have a material impact on our financial statements.




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3.    Acquisitions

      During the period March 10, 2010 to December 31, 2010, we completed the acquisitions of two
      companies (the “Acquired Companies") for a total purchase price of approximately $28.3 million,
      which is net of cash acquired. The purchase price consisted of approximately $12.9 million of cash
      at closing, installment payments due over 5 years with a net present value of approximately $4.1
      million, and approximately $11.6 million of accrued contingent consideration. The Acquired
      Companies provided us with a suite of educational technology software for students along with
      consulting services to school districts throughout the United States.

      During 2011, we reduced the accrued contingent consideration in total for the Acquired Companies
      by $5.6 million, as we have not been able to achieve certain growth targets and the projections for
      future growth are lower than originally anticipated. In accordance with the accounting guidance
      relating to the subsequent remeasurement of contingent consideration, the amount was recorded
      as a decrease to the selling and administrative expenses caption in our statement of operations for
      the year ended December 31, 2011.

      During the year ended December 31, 2011, we completed two acquisitions for a total purchase
      price of approximately $6.5 million, which is net of cash acquired. The purchase price consisted of
      approximately $5.6 million of cash at closing and $0.9 million of accrued contingent consideration.
      The acquisitions provide us with English as a second language course material for the international
      markets.

      The aforementioned transactions were accounted for under the acquisition method of accounting.
      We allocated the purchase price to each company’s assets and liabilities assumed at estimated fair
      values as of the acquisition dates. The excess of the purchase price over the net amounts
      assigned to the fair value of the assets acquired and liabilities assumed was recorded as goodwill.
      Goodwill and intangible assets recorded as part of the acquisitions totaled approximately $6.5
      million and $0 in 2011 and $20.1 million and $6.9 million in 2010, respectively. The financial
      results of each company acquired were included within our financial statements from their
      respective dates of acquisition. These acquisitions were not considered to be material for
      purposes of additional disclosure.




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4.    Balance Sheet Information

      Inventories
      Inventories at December 31, 2011 and 2010 consisted of the following:



                                                                      2011                 2010


       Finished goods                                         $       236,350         $     277,192
       Raw materials                                                    5,812                    4,795
                 Inventory                                    $       242,162         $     281,987




      Property, Plant, and Equipment
      Balances of major classes of assets and accumulated depreciation and amortization at
      December 31, 2011 and 2010 were as follows:

                                                                      2011                2010


       Land and land improvements                              $         6,629    $         6,629
       Building and building equipment                                  16,322             15,708
       Machinery and equipment                                          37,452             30,501
       Capitalized software                                            176,276            126,363
       Leasehold improvements                                           22,131             13,495
                                                                       258,810            192,696
       Less: Accumulated depreciation and amortization                (106,598)            (48,557)
                 Property, plant, and equipment, net              $    152,212    $       144,139



      For the year ended December 31, 2011, depreciation and amortization expense were $58.0 million.
      Depreciation and amortization expense for the period January 1, 2010 to March 9, 2010 was $10.9
      million and for the period March 10, 2010 to December 31, 2010 was $48.6 million. For the year
      ended December 31, 2009, depreciation and amortization expense were $75.7 million.




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5.    Goodwill and Other Intangible Assets

      Goodwill and other intangible assets consisted of the following:

                                               December 31, 2011                  December 31, 2010
                                                              Accumulated                     Accumulated
                                              Cost            Amortization        Cost        Amortization


       Goodwill                           $    520,088    $              -    $ 1,956,071    $              -
       Trademarks and tradenames               440,805                   -        601,805                   -
       Publishing rights                     1,180,000            (466,601)     1,180,000            (235,977)
       Customer related and other              245,470            (125,461)       247,071             (58,089)
                                           $ 2,386,363        $   (592,062)   $ 3,984,947     $      (294,066)




      The changes in the carrying amount of goodwill for the years ended December 31, 2011 and 2010
      are as follows:
                                                                                       Predecessor
                                                                                        Company

       Balance at December 31, 2009
       Goodwill                                                                    $     3,253,384
       Accumulated impairment losses                                                      (895,800)
                                                                                         2,357,584
       Acquisitions                                                                              -
       Impairment losses                                                                         -
       Balance at March 9, 2010                                                          2,357,584
       Goodwill                                                                          3,253,384
       Accumulated impairment losses                                                      (895,800)
       Balance at March 9, 2010                                                     $    2,357,584



                                                                                        Successor
                                                                                        Company

       Balance at March 10, 2010
       Goodwill                                                                    $   1,935,965
       Accumulated impairment losses                                                           -
                                                                                       1,935,965
       Acquisitions                                                                       20,106
       Impairment losses                                                                       -
       Balance at December 31, 2010                                                    1,956,071
       Goodwill                                                                        1,956,071
       Accumulated impairment losses                                                           -
       Balance at December 31, 2010                                                    1,956,071
       Acquisitions                                                                        6,517
       Impairment losses                                                              (1,442,500)
       Balance at December 31, 2011                                                      520,088
       Goodwill                                                                        1,962,588
       Accumulated impairment losses                                                  (1,442,500)
       Balance at December 31, 2011                                                 $    520,088




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      We had goodwill of $520.1 million and $1,956.1 million at December 31, 2011 and 2010,
      respectively. The adjustments to goodwill relate to our acquisitions described in Note 3 of
      approximately $6.5 million and $20.1 million for the years ended December 31, 2011 and 2010,
      respectively. The decrease in goodwill of $1,442.5 million for the year ended December 31, 2011
      was due to goodwill impairment charges. There was no goodwill impairment charge for the period
      January 1, 2010 to March 9, 2010, or for the period March 10, 2010 to December 31, 2010.

      In accordance with the provisions of the accounting standard for goodwill and other intangible
      assets, goodwill and certain indefinite-lived tradenames are not amortized. We recorded an
      impairment charge of approximately $192.6 million, $87.0 million and $291.0 million for certain of
      our intangible assets at October 1, 2011, 2010 and 2009, respectively. Amortization expense for
      publishing rights and customer related and other intangibles were $298.0 million for the year ended
      December 31, 2011, $50.3 million for the period January 1, 2010 to March 9, 2010, $293.6 million
      for the period March 10, 2010 to December 31, 2010, and $362.9 million for the year ended
      December 31, 2009.

      On October 5, 2011, we entered into an agreement with EMPG International Limited (“EMPGI”), a
      former related party, to terminate the 2008 license agreement between us and EMPGI. The
      license agreement had provided EMPGI the rights to translate and prepare localized versions of
      substantially all of our products, as well as change or create derivative versions and redistribute
      such products in territories outside of our current presence. As a result of entering into the
      agreement, certain international intellectual property rights were obtained for consideration of a
      one-time payment of $30.0 million. This amount has been capitalized within other intangible assets
      and is being amortized over a 20 year life.

      Estimated aggregate amortization expense expected for each of the next five years related to
      intangibles subject to amortization is as follows:

                                                                                       Other
                                                                    Publishing       Intangible
                                                                      Rights           Assets


       2012                                                     $      177,747   $       52,243
       2013                                                            139,588           16,978
       2014                                                            105,624            8,255
       2015                                                             81,007            7,434
       2016                                                             61,350            5,873
       Thereafter                                                      148,083           29,226




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6.    Long-Term Debt and Receivables Funding Agreement

      As described in Note 1, we completed our Restructuring on March 9, 2010 converting $1,983.7
      million of our Term Loan and the entire balance of our Mezzanine Loan to equity.

      Long-term debt at December 31, 2011 and 2010 consisted of the following:

                                                                      2011                2010
       $150,000 7.2% Secured Notes due March 15, 2011,
       interest payable semiannually                             $            -   $        149,564
       $2,668,690 Term Loan due June 12, 2014                        2,475,837            2,476,279
       $235,751 Revolving Loan due December 12, 2013                   235,751             235,751
       $300,000 10.5% Secured Notes due June 1, 2019,
       interest payable semiannually                                   300,000                    -
                                                                     3,011,588            2,861,594
       Less: Current portion of long-term debt                          43,500             193,064
                    Total long-term debt, net of discount        $   2,968,088    $       2,668,530



      Long-term debt repayments due (at face value) in each of the next five years and thereafter is as
      follows:

       Year
       2012                                                                           $       43,500
       2013                                                                                  279,251
       2014                                                                                2,494,690
       2015                                                                                           -
       2016                                                                                           -
       Thereafter                                                                             300,000
                                                                                      $     3,117,441



      On March 19, 2001, we issued $150.0 million of 10-year 7.2% notes through a public offering
      ("7.2% Notes") that were priced at 99.847% to yield an effective annual interest rate of 7.22%. The
      notes are secured obligations, ranking equally with our First Lien indebtedness and matured on
      March 15, 2011, at which time they were paid in full.

      On March 9, 2010, in connection with the Restructuring, we entered into Amendment No. 3 to our
      first lien credit agreement (the "First Lien Credit Agreement") in connection with the conversion of
      $1,983.7 million of the senior secured position in the First Lien Credit Agreement to equity in HMH
      and converting all amounts owed under the Mezzanine Credit Agreement (the "Mezzanine Credit
      Agreement"), $2,124.8 million, to equity in HMH. Subsequent to the Restructuring, the face value
      of the First Lien indebtedness was $2,904.6 million.

      The amendment modified certain financial covenants, definitions and provisions of the agreement,
      modified the interest rate to LIBOR plus an applicable percentage of 5.0% (while retaining the 25
      basis point increase every six month up to a maximum applicable percentage of 7.5%), eliminated
      interest paid in kind, eliminated restrictions on transfer of funds with foreign loan parties, reinstated


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      the excess cash prepayments beginning at the end of 2011, eliminated the ability to transfer funds
      to EMPG, and modified certain asset sales and disposition covenants.

      Prior to the Restructuring, our debt consisted of a First Lien Credit Agreement in the amount of
      $4,350.0 million (the "Term Loan"), and a $500.0 million revolving loan (the "Revolving Loan"). A
      related entity of Lehman Brothers, Inc. ("Lehman") was a party to our Revolving Loan. We had the
      option of paying the following floating interest rates: (i) a rate equal to the higher of (A) the rate
      announced from time to time as the prime rate of Credit Suisse's New York City branch, or (B) the
      Federal Funds Effective Rate in effect on such day plus .50% plus an applicable percentage plus
      an applicable percentage of 7.5% or (ii) a rate based on the London Interbank Offered Rate
      (LIBOR) plus an applicable percentage of 4.0% for the Term Loan and a range of 2.0% to 3.5%,
      depending on our consolidated leverage ratio, for the Revolving Loan. The Term Loan matures on
      June 12, 2014 and the Revolving Loan on December 12, 2013, the terms of which were not
      modified with the Restructuring.
      Along with the First Lien Credit Agreement, we were a party to a mezzanine credit agreement in an
      aggregate amount of $1,700.0 million, comprised of a seven-year loan (the "Mezzanine Loan").
      We had the option of paying the following floating interest rates: (i) a rate equal to the higher of (A)
      the rate announced from time to time as the prime rate of Credit Suisse's New York City branch, or
      (B) the Federal Funds Effective Rate in effect on such day plus .50% plus an applicable percentage
      plus an applicable percentage of 7.5% or (ii) a rate based on the London Interbank Offered Rate
      (LIBOR) plus an applicable percentage of 9.5%. A portion of the interest on the Mezzanine Loan
      (550 basis points) was to be paid in kind and added to principal unless an election was made in
      advance to pay this interest in cash. The remaining portion of the interest is to be paid in cash.
      On March 12, 2009, we entered into Amendment No. 1 to our First Lien Credit Agreement, which
      provided us greater near-term financial flexibility, primarily through changes to certain restrictive
      financial covenants, definitions and provisions of the agreements. The amendment also had the
      effect of increasing the interest rate margin on the Term Loan by 300 basis points to be paid in
      kind. The amendment provided for the incremental interest rate margin to be decreased 100 basis
      points for each $600.0 million of debt repaid prior to the maturity date. The cost of the amendment
      was approximately $7.8 million and was being amortized over the remaining term of the debt using
      the effective interest method.
      On August 13, 2009, we entered into Amendment No. 2 to our First Lien Credit Agreement,
      providing us a widening of leverage and interest coverage covenants, increase in permitted
      indebtedness to allow for an increase in the accounts receivable facility, eliminated excess cash
      flow prepayments, amending the inter-creditor agreement to reflect the terms of the Mezzanine
      Loan. In exchange for the amendment, we agreed to the following: (i) to pay an amendment fee of
      approximately $11.6 million which was being amortized over the remaining term of the debt using
      the effective interest method, (ii) an additional 100 basis points of payable in kind interest per
      annum beginning on the amendment effective date, increasing by an additional 25 basis points per
      annum on the date six months after the amendment effective date and each six month anniversary
      thereafter up to 250 basis points, (iii) a shortening of the maturity on the Revolving Loan and the
      Term Loan to June 12, 2013 if by March 12, 2011 indebtedness under the First Lien Credit
      Agreement had not been reduced by $700.0 million (which was achieved), and (iv) a limit on capital
      expenditures, permitted acquisitions and certain other transactions. We incurred approximately
      $7.9 million of professional fees in connection with the amendment which were expensed in
      accordance with the applicable accounting guidance for debt modifications.

      On March 16, 2009 through August 11, 2009, we entered into Amendment No. 2 through
      Amendment No. 12 to the Mezzanine Credit Agreement. These amendments principally deferred

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      the interest payments due along with certain other modifications. The cost of the amendment was
      approximately $8.5 million, all of which was payable in kind, and was being amortized over the
      remaining term of the debt.

      On August 13, 2009, we entered into Amendment No. 13 to the Mezzanine Credit Agreement. This
      agreement amended the Mezzanine Loan at 100% of its accreted value into an all payable in kind
      facility, deferred interest payments that were due on May 27, 2009 and June 30, 2009 which were
      converted to payable in kind rather than cash payments, amended the definition of Receivables
      Facility to allow for increases in the accounts receivable facility from $275.0 million to $400.0
      million, and amended leverage and interest coverage covenants. In exchange for the amendment,
      we agreed to the following: (i) an increase to the interest rate of the Mezzanine Loan to 17.5%
      payable in kind, (ii) a shortening of the maturity to December 12, 2013 if by March 12, 2011
      indebtedness under the First Lien Credit Agreement has not been reduced by $700.0 million, (iii) a
      limit on capital expenditures, permitted acquisitions and certain other transactions, and (iv) to
      provide for additional sale rights as set forth in the Sale Rights Agreement. We incurred
      approximately $12.6 million of professional fees in connection with the amendment which were
      expensed in accordance with the applicable accounting guidance for debt modifications.

      On May 26, 2011, we issued $300.0 million aggregate principal amount of our 10.5% Senior
      Secured Notes due 2019 (“Senior Notes”), which mature on June 1, 2019. The Senior Notes
      accrue interest at 10.5% and interest is paid semi-annually on June 1 and December 1. The
      Senior Notes are pari passu to our existing Term Loan. The proceeds from the Senior Notes were
      used to provide for working capital needs and to repay borrowings under the accounts receivable
      securitization facility. We incurred approximately $8.2 million of professional fees to issue the
      Senior Notes which were capitalized in accordance with the applicable accounting guidance for
      debt issuance costs, and are being amortized over the term of the debt.

      On May 26, 2011, we entered into Amendment No. 5 to our First Lien Credit Agreement, which
      modified certain financial covenants, definitions and provisions of the agreement. The amendment
      was required for the issuance of the 10.5% Senior Secured Notes as well as Amendment No.1 to
      our Receivables Funding and Administration Agreement (see below). We did not incur material
      professional fees in connection with the amendment. The professional fees incurred were
      expensed in accordance with the applicable accounting guidance for debt modifications.

      On October 27, 2011, we entered into Amendment No. 6 to our First Lien Credit Agreement, in
      order to align our quarterly and annual financial reporting requirements under our First Lien Credit
      Agreement and the 10.5% Senior Secured Notes. We did not incur material professional fees in
      connection with the amendment. The professional fees incurred were expensed in accordance
      with the applicable accounting guidance for debt modifications.

      On December 22, 2011, we entered into Amendment No. 7 to our First Lien Credit Agreement.
      Amendment No. 7 modified certain financial covenants, definitions and provisions of the
      agreement. The interest coverage ratio and maximum leverage ratio were suspended until June
      30, 2013 and replaced with a minimum consolidated EBITDA requirement. We did not incur
      material professional fees in connection with the amendment. The professional fees incurred were
      expensed in accordance with the applicable accounting guidance for debt modifications.

      The Term Loan and Revolving Loan were all issued with a discount equal to 4% of the borrowing
      commitment of each instrument. As of December 31, 2011, the effective interest rates were 8.1%
      and 6.4% for the Term Loan and Revolving Loan, respectively. As of December 31, 2010, the
      effective interest rates were 7.40% and 5.75% for the Term Loan and Revolving Loan, respectively.

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      As of December 31, 2009, the effective interest rates were 6.36%, 6.77% and 17.91% for the Term
      Loan, Revolving Loan and Mezzanine Loan, respectively. We have written off the remaining
      balance of deferred financing fees as of March 10, 2010 relating to the issuance of the Term Loan,
      Mezzanine Loan and Revolving Loan. The discounts were being amortized over the life of each
      debt arrangement as additional interest expense.
      Substantially all of our assets and the assets of the guarantors are also pledged as collateral
      pursuant to the terms of our senior secured credit facilities on a pari passu basis with the Senior
      Notes.

      Loan Covenants
      The Company is currently required to meet certain restrictive financial covenants as defined under
      the First Lien Credit Agreement.

      The First Lien Credit Agreement covenants require us to maintain certain minimum consolidated
      EBITDA levels or quarterly ratios related to interest coverage and total leverage. The minimum
      consolidated EBITDA covenant is as follows.

       Four consecutive fiscal quarters ending:

       December 31, 2011                          $276.0 million
       March 31, 2012                              267.0 million
       June 30, 2012                               262.0 million
       September 30, 2012                          228.0 million
       December 31, 2012                           276.0 million
       March 31, 2013                              276.0 million



      The covenants were established based on trailing twelve month EBITDA, as defined in the Credit
      Agreement. The leverage ratio covenant is set at 7.25x at Q2 2013, and 6.75x thereafter. The
      interest coverage ratio is set at 1.5x from Q2 2013 to the maturity of the debt.

      We are also subject to restrictions on certain transactions that can be entered into by us. The First
      Lien Credit Agreement is guaranteed by HMH and secured by the assets of the operating
      companies. In the event of default, the collateral would be split on a pro rata basis with the holders
      of the 10.5% Notes. The Term Loan contains mandatory prepayments of principal in the event that
      cash proceeds from certain asset sales, debt and equity transactions are not reinvested in the
      business within 365 days.

      A breach of any of these covenants, ratios, tests or restrictions, as applicable, for which a waiver is
      not obtained could result in an event of default, in which case our lenders could elect to declare all
      amounts outstanding to be immediately due and payable and result in a cross-default under other
      arrangements containing such provisions. A default would permit lenders to accelerate the
      maturity for the debt under these agreements and to foreclose upon any collateral securing the
      debt owed to these lenders and to terminate any commitments of these lenders to lend to us. If the
      lenders accelerate the payment of the indebtedness, our assets may not be sufficient to repay in
      full the indebtedness and any other indebtedness that would become due as a result of any
      acceleration. Further, in such an event, the lenders would not be required to make further loans to
      us, and assuming similar facilities were not established and we are unable to obtain replacement
      financing, it would materially affect our liquidity and results of operations.




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      Receivables Funding Agreement
      HM Receivables Co., LLC ("HMRC"), a subsidiary of HMH, entered into the Receivables Funding
      Agreement and Administration Agreement (the "Funding Agreement"), which established a $250.0
      million revolving credit facility, with a maturity date of May 31, 2011. The LIBOR rate advance was
      LIBOR plus 1.4% per annum for the first $100.0 million of borrowing and LIBOR plus 1.7% for
      borrowings in excess of $100.0 million. The index rate advance was a base rate, as defined, plus
      1.0% per annum for the first $100.0 million of borrowing and base rate plus 0.7% for borrowings in
      excess of $100.0 million.

      On May 22, 2009, the Funding Agreement was amended primarily to allow HMRC to enter into a
      Second Lien Receivables Funding and Administration Agreement in order to increase the revolving
      loan commitments. This amendment allowed for up to $50.0 million in second lien obligations.
      Simultaneously with the execution of the amendment, on May 22, 2009, HMRC entered into a
      Second Lien Receivables Funding and Administration Agreement with Lehman Commercial Paper,
      Inc., whereby allowing the facility to increase to $50.0 million.

      On February 23, 2010, HMRC entered into an Amended and Restated Receivables Funding and
      Administration Agreement, in the amount of a $140.0 million term loan (collectively “Tranche A1-3
      Term Loans”). The proceeds of the term loan were used to repay the Funding Agreement which
      was terminated. The Tranche A1-3 Term Loans were secured by our accounts receivables. We
      have the option of paying the following interest rates: (i) a rate equal to the lower of (A) the rate
      announced from time to time as the prime rate plus an applicable percentage of 7.5%, or B) 10.0%
      or (ii) a rate based on the London Interbank Offered Rate (subject to a floor between 2.0%-2.25%)
      plus an applicable percentage ranging between 7.75% and 8.0%. Our effective interest rate for the
      Tranche A1-3 Term Loans was 10%. The maturity date was December 31, 2010 although the
      Tranche A1-3 Term Loans had a call feature at 104% from February 23, 2010 to April 24, 2010,
      102% from April 25, 2010 to June 23, 2010, and 101% from June 24, 2010 to July 23, 2010. The
      Tranche A1-3 Term Loans were paid in full on August 4, 2010 in conjunction with obtaining the new
      receivables funding agreement.

      On August 4, 2010, HM Receivables Co. II, LLC (“HMRC II”), a subsidiary of us, entered into a
      Receivables Funding and Administration Agreement (the “New Funding Agreement’), which
      established a $250.0 million revolving credit facility, with a maturity date of August 4, 2013. The
      interest rate is LIBOR based.

      On May 26, 2011, HMRC II entered into Amendment No. 1 to its Receivables Funding and
      Administration Agreement (“RFAA”). The RFAA was amended primarily to extend the maturity of
      the existing facility by one additional year to August 4, 2014 and to allow a second lien debt of up to
      an additional $100.0 million. The amendment modified certain financial covenants, definitions and
      provisions of the agreement to conform to those defined in the amended First Lien Credit
      Agreement. Further, the amendment relaxed the borrowing base calculations to provide greater
      liquidity. We did not incur material professional fees in connection with the amendment. The
      professional fees incurred were capitalized in accordance with the applicable accounting guidance
      for revolving loan modifications.

      On December 29, 2011, HMRC II entered into Amendment No. 2 to its RFAA. The RFAA was
      amended in connection with Amendment No. 7 to the First Lien Credit Agreement. The
      amendment aligned certain definitions, financial covenants, reporting requirements and provisions
      with those of the First Lien Credit Agreement Amendment No. 6 and No. 7.
      The amendment no longer allows for a second lien facility. Further, there were changes to the
      borrowing base calculation to tighten the requirement. We incurred approximately $1.6 million of

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      professional fees in connection with the amendment which were capitalized in accordance with the
      applicable accounting guidance for revolving loan modifications.

      All accounts receivables are held in a subsidiary of HMH, HMRC II, which has entered into the
      aforementioned New Funding Agreement and amendments thereto. Total HMRCII receivables on
      December 31, 2011 and 2010 were $302.1 million and $248.3 million, respectively. As of
      December 31, 2011 and 2010, $156.3 million and $124.4 million, respectively, of eligible
      receivables were pledged as collateral on the revolving credit facility, and the receivables have
      been sold by originating subsidiaries to HMRC II. The assets of HMRC II are not available to
      satisfy the obligations of our other subsidiaries. No LIBOR based rate was elected as of
      December 31, 2011 and 2010 insofar as the HMRCII facility had no borrowings.

7.    Interest Swap Arrangements

      We entered into interest rate swap agreements to manage our exposure to interest rate changes
      as required under our First Lien Credit Agreement which had required, prior to the March 9, 2010
      amendment, that at least 50% of the aggregate principal amount of our debt being effectively
      subject to a fixed or maximum interest. The swaps effectively converted a portion of our variable
      rate debt to a fixed rate, without exchanging the notional principal amounts.

      We had entered into the following interest rate swap agreements with various financial institutions.

                                                  Expiration           Notional         Interest
       Effective date of swap                         Date             Amount           Rates


       3/30/2007                                       3/31/2010   $     814,370    4.999%–5.12%
       12/31/2007                                     12/31/2010        1,875,000   3.00%–4.715%



      Our interest rate swaps were not designated as hedges and therefore did not qualify for hedge
      accounting under the accounting standards for derivative instruments and hedging activities. Our
      interest rate swaps expired in 2010. We had no other interest rate swaps outstanding as of
      December 31, 2011. We recorded an unrealized loss of $7.4 million for the period January 1, 2010
      to March 9, 2010, and a gain of $90.3 million for the period March 10, 2010 to December 31, 2010
      in our statement of operations to account for the changes in fair value of the derivatives. Interest
      rate swap arrangements expensed and recorded in interest expense for the period January 1, 2010
      to March 9, 2010 were $23.3 million and for the period March 10, 2010 to December 31, 2010 were
      $69.8 million. Further, we recorded an unrealized gain of $46.4 million for the year ended
      December 31, 2009. Interest rate swap arrangements expensed and recorded in interest expense
      were $117.8 million for the year ended December 31, 2009.

8.    Severance and Other Charges

      2011
      On November 8, 2011, our Board of Directors approved a restructuring plan that was substantially
      implemented in the fourth quarter of 2011 and with the remainder to be executed in the first two
      quarters of 2012. The plan includes workforce reductions of up to approximately 10% of the
      current workforce as part of an organizational realignment and a reduction of operating costs.
      Accordingly, a severance charge of $28.8 million was recorded in 2011 to reflect the workforce
      reductions due to our organizational realignment. For the year ended December 31, 2011, $18.3

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      million of severance payments were made to employees whose employment ended in 2011 and
      prior years. We expect substantially all of the $16.1 million severance reserve at December 31,
      2011 to be paid during 2012.

      In the year ended December 31, 2011, the vacant space accrual was increased $4.0 million
      primarily as a result of our exiting certain space. Additionally, during 2011, we paid $9.9 million of
      payments for excess space where our committed payment obligations exceeded the sublease
      income received. The lease obligations anticipated to be paid in future years, on a discounted
      basis, are $6.7 million, $3.7 million, $3.2 million, $3.1 million, $2.3 million, $0.5 million, and $0.3
      million in 2012, 2013, 2014, 2015, 2016, 2017 and thereafter, respectively.

      2010
      We recorded a reduction in severance expense for the period March 10, 2010 to December 31,
      2010 of approximately $0.3 million in connection with revised cost estimates in relation to workforce
      reductions of employees. These reductions were part of our continuing strategic integration of the
      former Houghton and Harcourt businesses. During 2010, approximately $11.1 million of severance
      payments were made to employees whose employment ended in 2010 and prior years.

      As part of purchase accounting, we established a $48.0 million accrual for ongoing obligations to
      pay rent for vacant space that could not be sublet or space that is expected to be sublet at rates
      lower than the committed lease arrangements. The length of these obligations varies by lease with
      the longest extending through 2019. Subsequently, we sublet vacant space more quickly and at
      higher rates than previously estimated. Accordingly, the reserve initially established was reduced
      by $11.5 million in the period ended December 31, 2010 to reflect the more recent positive sublet
      experience.

      2009
      During 2009, we recorded a severance charge of approximately $25.9 million in connection with
      workforce reductions of 499 employees. These reductions were part of our continuing strategic
      integration of the former Houghton and Harcourt businesses. During 2009, $33.7 million of
      severance payments were made to employees whose employment ended in 2009 and prior years.

      In connection with the workforce reductions that occurred in 2007, 2008, and 2009, we were able to
      vacate various office spaces throughout the country. Accordingly, we established a $50.0 million
      accrual for ongoing obligations to pay rent for vacant space that could not be sublet or space that is
      expected to be sublet at rates lower than the committed lease arrangements. The length of these
      obligations varies by lease with the longest extending through 2019.

      A summary of the significant components of the severance/restructuring and other charges is as
      follows:




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                                                                  Successor Company
                                                                              2011
                                   Severance/                                                            Severance/
                                  restructuring               Severance/                                restructuring
                                    accrual at                restructuring                               accrual at
                                December 31, 2010               expense          Cash payments        December 31, 2011


Severance costs            $                     5,587    $          28,801      $     (18,317)   $                16,071
Other accruals                               25,593                   4,000             (9,914)                    19,679
                            $                    31,180   $          32,801      $     (28,231)   $                35,750


                                                                  Successor Company
                                                                              2010
                                   Severance/                                                            Severance/
                                  restructuring               Severance/                                restructuring
                                    accrual at                restructuring                               accrual at
                                 March 10, 2010                 expense          Cash payments        December 31, 2010


Severance costs            $                 14,392       $            282       $      (9,087)   $                    5,587
Other accruals                               47,765                (11,525)            (10,647)                    25,593
                            $                    62,157   $        (11,243)      $     (19,734)   $                31,180


                                                                 Predecessor Company
                                                                              2010
                                   Severance/                                                            Severance/
                                  restructuring               Severance/                                restructuring
                                    accrual at                restructuring                               accrual at
                                December 31, 2009               expense          Cash payments          March 9, 2010


Severance costs            $                 16,414       $               -      $      (2,022)   $                14,392
Other accruals                               50,000                       -             (2,235)                    47,765
                            $                    66,414   $                -     $      (4,257)   $                62,157


                                                                 Predecessor Company
                                                                              2009
                                   Severance/                                                            Severance/
                                  restructuring               Severance/                                restructuring
                                    accrual at                restructuring                               accrual at
                                December 31, 2008               expense          Cash payments        December 31, 2009


Severance costs            $                 24,272       $          25,882      $     (33,740)   $                16,414
Other accruals                                       -               50,000                  -                     50,000
                            $                    24,272   $          75,882      $     (33,740)   $                66,414




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9.    Income Taxes



      Total income taxes are as follows:

                                                            Successor                                                   Predecessor
                                                              Company                                                      Company
                                               For the Year                 For the Period                 For the Period              For the Year
                                                 Ended                      March 10, 2010             January 1, 2010 to                   Ended
                                            December 31, 2011       December 31, 2010                      March 9, 2010          December 31, 2009


       Income tax expense (benefit)     $              (100,153)    $                 11,929           $               (220)      $            (61,393)
                                        $               (100,153)   $                 11,929           $                (220)     $             (61,393)




      Significant components of the expense (benefit) for income taxes attributable to loss from
      continuing operations consist of the following:

                                                                    Successor                                                   Predecessor
                                                                    Company                                                       Company
                                                       For the Year               For the Period                 For the Period               For the Year
                                                          Ended                March 10, 2010 to             January 1, 2010 to                 Ended
                                                  December 31, 2011 December 31, 2010                            March 9, 2010           December 31, 2009


       Current
         Foreign                                   $            3,958         $                    -         $                    -     $                    -
         U.S. - Federal                                                 -                    (2,775)                              -                          -
         U.S. - State and other                                13,506                        4,207                              499                    25,340
                   Total current                               17,464                        1,432                              499                    25,340
       Deferred
         Foreign                                                (2,413)                      (6,548)                           (719)                       719
         U.S. - Federal                                        (98,655)                   15,465                                  -                   (74,688)
         U.S. - State and other                                (16,549)                      1,580                                -                   (12,764)
             Total deferred                                   (117,617)                   10,497                               (719)                  (86,733)
             Income tax expense (benefit)          $          (100,153)       $           11,929             $                 (220)    $             (61,393)




      The reconciliation of the income tax rate computed at the statutory tax rate to the reported income
      tax expense (benefit) attributable to continuing operations is as follows:




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                                                              Successor                                                 Predecessor
                                                               Company                                                      Company
                                              For the Year                   For the Period               For the Period              For the Year
                                                    Ended                   March 10, 2010 to            January 1, 2010 to             Ended
                                           December 31, 2011                December 31, 2010              March 9, 2010          December 31, 2009


       Statutory rate                                   (35.0)%                         (35.0)%                      (12.5)%                 (12.5)%
       Permanent items                                      0.1                           0.1                         0.1                       3.3
       Goodwill impairment                              12.0                                     -                            -                       -
       Foreign rate differential                            1.0                           2.4                        (21.8)                  (21.0)
       State and local taxes                                (0.4)                        (2.5)                                -                       -
       Alternative Minimum Tax Credit                               -                    (0.6)                                -                       -
       Increase in valuation allowance                  17.9                             38.0                        34.1                     27.4
                    Effective tax rate                      (4.4)%                        2.4 %                       (0.1)%                  (2.8)%




      The significant components of the net deferred tax assets and liabilities are shown in the following
      table:

                                                                                 2011                         2010


       Tax asset related to
         Net operating loss and other carryforwards                     $           111,185          $             200,190
         Returns reserve/inventory expense                                           86,235                          80,374
         Pension and postretirement benefits                                         26,291                          23,077
         Interest                                                                   507,741                        416,780
         Deferred revenue                                                           130,803                          47,072
         Deferred compensation                                                       30,392                          14,142
         Other, net                                                                  17,943                           9,736
         Valuation allowance                                                       (822,485)                      (434,471)
                                                                                        88,105                     356,900
       Tax liability related to
         Intangible assets                                                          (34,330)                      (216,032)
         Depreciation and amortization expense                                      (70,667)                      (276,404)
         Other, net                                                                     (1,028)                               -
                                                                                    (106,025)                     (492,436)
                     Net deferred tax liabilities                       $            (17,920)        $            (135,536)




      The net deferred tax liability balance is stated at prevailing statutory income tax rates. Deferred tax
      assets and liabilities are reflected on our consolidated balance sheets as follows:




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                                                                    2011              2010


       Current deferred tax assets                         $           14,152     $              -
       Noncurrent deferred tax liability                               (32,072)         (135,536)
                                                           $           (17,920)   $     (135,536)



      A reconciliation of the gross amount of unrecognized tax benefits, excluding accrued interest and
      penalties, is as follows:

                                     Predecessor Company
       Balance at January 1, 2009                                                       $ 16,836
       Additions based on tax positions related to the prior year                                    -
       Additions based on tax positions related to the current year                          48,338
       Reductions based on tax positions related to the prior year                             (519)
       Balance at January 1, 2010                                                            64,655
       Additions based on tax positions related to the prior year                                    -
       Additions based on tax positions related to the current year                                  -
       Balance at March 9, 2010                                                         $ 64,655


                                      Successor Company
       Balance at March 10, 2010                                                        $ 64,655
       Additions based on tax positions related to the prior year                                    -
       Additions based on tax positions related to the current year                                  -
       Reductions based on tax positions related to the prior year                             (243)
       Balance at December 31, 2010                                                     $ 64,412
       Additions based on tax positions related to the prior year                                    -
       Additions based on tax positions related to the current year                                  -
       Balance at December 31, 2011                                                     $ 64,412



      At December 31, 2011, we had $64.4 million of gross unrecognized tax benefits (excluding interest
      and penalties), of which $52.1 million, if recognized, would reduce our effective tax rate. We
      expect the amount of unrecognized tax benefit disclosed above not to change significantly over
      the next 12 months.

      With a few exceptions, we are currently open for audit under the statute of limitation for federal,
      state, and foreign jurisdictions for years 2008 through 2011. However, carryforward attributes from
      prior years may still be adjusted upon examination by tax authorities if they are used in a future
      period.

      We report penalties and tax-related interest expense as a component of the provision for income
      taxes in the accompanying consolidated statement of operations. At December 31, 2011 and
      2010, we had $3.7 million and $1.7 million, respectively, of accrued interest and penalties in the
      accompanying consolidated balance sheet.




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      As part of the Restructuring discussed in Note 1, we realized approximately $2.3 billion of
      cancellation of debt income. We recognized approximately $200.0 million of income from
      cancellation of debt and were able to exclude approximately $2.1 billion from taxable income since
      we were insolvent (liabilities exceeded the fair market value of assets) by this amount at the time of
      the exchange. Although we will not have to pay current cash taxes from this transaction, it will
      reduce our tax attributes, such as net operating loss carryovers and tax credit carryovers, and also
      reduce the tax basis of our assets to offset the $2.1 billion of taxable income that did not have to be
      recognized due to the insolvency. As a result, the net operating losses and credit carryforwards
      have been reduced on January 1, 2011 and a portion of the tax basis in our assets were also
      reduced at that time.

      As of December 31, 2011, we have approximately $206.0 million of federal tax loss carryforwards,
      which expire through 2031. In addition, we have foreign tax credit carryforwards of $4.6 million,
      which will expire through 2021.

      Based on our assessment of historical pretax losses and the fact that we did not anticipate
      sufficient future taxable income in the near term to assure utilization of certain deferred tax assets,
      we recorded a valuation allowance at December 31, 2011 and 2010 of $822.5 million and $434.5
      million, respectively. We increased our valuation allowance by $388.0 million for the year ended
      December 31, 2011, $188.3 million in the period from March 10, 2010 to December 31, 2010,
      $129.6 million in the period from January 1, 2010 to March 9, 2010 and by $629.2 million for the
      year ended December 31, 2009.

      Tax Indemnification
      Vivendi Universal, S.A. (former parent of Houghton Mifflin) agreed to indemnify Houghton Mifflin
      Company for all income taxes of Houghton Mifflin Company and its subsidiaries due with respect to
      tax periods, or any portion of a tax period, ending on or before September 30, 2002. Reed Elsevier
      Plc has agreed to indemnify the Company for all taxes for any of the Harcourt businesses with
      respect to periods prior to the date of acquisition.

10.   Retirement and Postretirement Benefit Plans

      Retirement Plan
      We have a noncontributory, qualified defined benefit pension plan (the "Retirement Plan"), which
      covers certain employees. The Retirement Plan is a cash balance plan, which accrues benefits
      based on pay, length of service, and interest. The funding policy is to contribute amounts subject
      to minimum funding standards set forth by the Employee Retirement Income Security Act of 1974
      and the Internal Revenue Code. The Retirement Plan's assets consist principally of common
      stocks, fixed income securities, investments in registered investment companies, and cash and
      cash equivalents. We also have a nonqualified defined benefit plan, or nonqualified plan, that
      covers employees who earn over the qualified pay limit as determined by the Internal Revenue
      Service. The nonqualified plan accrues benefits for the executive officers based on service and
      pay. Benefits for all other employees accrue based on the cash balance plan calculation. The
      nonqualified plan is not funded. We use a December 31 date to measure the pension and
      postretirement liabilities. In 2007, both the qualified and nonqualified pension plans eliminated
      participation in the plans for new employees hired after October 31, 2007.

      Houghton Mifflin Plc, our subsidiary, has a defined benefit pension plan (the "Kingfisher Pension
      Plan") which has been approved by Inland Revenue. Prior to the elimination of participation in the
      plan in 2007, all permanent employees between ages 21 and 64 were eligible to join the plan. On


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      July 20, 2011, we entered into a bulk annuity policy with a third party which effectively terminated
      the Kingfisher Pension Plan. This policy covers all known plan beneficiaries and liabilities and
      represents a full transfer of the plan’s financial and longevity risk to the third party. The policy is
      held in the name of the plan trustees. This termination did not constitute a settlement of liability
      under applicable accounting guidance for pension plans. Following a full plan data cleansing, the
      bulk annuity policy is expected to be converted into individual annuity policies at which point the
      plan will be discharged of all future liability with respect to the plan beneficiaries. The Kingfisher
      Pension Plan had benefit obligations of $14.3 million and $12.7 million as of December 31, 2011
      and 2010, respectively. The plan had assets of $14.6 million and $13.3 million December 31, 2011
      and 2010, respectively. Further, the plan had a pension benefit asset of $0.2 million and $0.6
      million, at December 31, 2011 and 2010, respectively. Kingfisher's Pension Plan is included in the
      accompanying table for all years presented.

      We are required to recognize the funded status of defined benefit pension and other postretirement
      plans as an asset or liability in the balance sheet and are required to recognize actuarial gains and
      losses and prior service costs and credits in other comprehensive income and subsequently
      amortize those items in the statement of operations. Further, we are required to use a
      measurement date equal to the fiscal year end.

      The following table summarizes the Accumulated Benefit Obligations ("ABO"), the change in
      Projected Benefit Obligation ("PBO"), and the funded status of our plans as of and for the financial
      statement period ended December 31, 2011 and 2010:

                                                                     2011               2010


       ABO at end of period                                     $      196,898    $      186,169
       Change in PBO
       PBO at beginning of period                               $      186,169    $      175,421
       Service cost                                                           -                  -
       Interest cost on PBO                                              9,120             7,816
       Actuarial (gain) loss                                            10,497             9,995
       Benefits paid                                                    (9,045)           (7,165)
       Exchange rates                                                       157                102
                  PBO at end of period                          $      196,898    $      186,169
       Change in plan assets
       Fair market value at beginning of period                 $      126,196    $       95,395
       Actual return (loss)                                              3,628            11,493
       Company contribution                                             11,460            26,366
       Benefits paid                                                    (9,045)           (7,165)
       Exchange rates                                                       169                107
                  Fair market value at end of period            $      132,408    $      126,196


       Funded status                                            $      (64,490)   $       (59,973)




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      Amounts recognized in the consolidated balance sheets at December 31, 2011 and 2010 consist
      of:
                                                                      2011                  2010


       Noncurrent liabilities                                 $        (64,490)     $        (59,973)




      Additional year-end information for pension plans with ABO in excess of plan assets at
      December 31, 2011 and 2010 consist of:

                                                                      2011                  2010


       PBO                                                    $       182,549      $        173,483
       ABO                                                            182,549               173,483
       Fair value of plan assets                                      117,843               112,865




      Amounts not yet reflected in net periodic benefit cost and recognized in accumulated other
      comprehensive income at December 31, 2011 and 2010 consist of:

                                                                         2011                  2010


       Net gain (loss)                                            $          (14,954)   $          (3,945)
                  Accumulated other comprehensive income (loss)   $          (14,954)   $          (3,945)




      Weighted average assumptions used to determine the benefit obligations (both PBO and ABO) at
      December 31, 2011 and 2010 are:

                                                                        2011                   2010


       Discount rate                                                    4.4%                   5.1%
       Increase in future compensation                                  N/A                    N/A




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            Net periodic pension cost includes the following components:


                                                             Sucessor Company                           Predecessor Company
                                                      For the Year      For the Period           For the Period       For the Year
                                                  Ended December        March 10, 2010 to       January 1, 2010 to       Ended December
                                                      31, 2011          December 31, 2010           March 9, 2010            31, 2009


Service cost                                      $                -    $                -      $                 -       $          -
Interest cost on projected benefit obligation                 9,120                 7,816                   1,580               10,881
Expected return on plan assets                                (8,175)              (5,443)                  (1,318)             (9,866)
Amortization of net (gain) loss                                    -                     -                       2                 30
          Net pension expense                                   945                 2,373                     264                1,045
Loss (gain) due to settlement                                    20                      -                          -            5,343
      Net cost (gain) recognized for the period   $             965     $           2,373       $             264         $      6,388




            Significant actuarial assumptions used to determine net periodic pension cost at December 31,
            2011 and 2010 are:

                                                                                     2011                   2010


               Discount rate                                                                 5.1 %               5.6 %
               Increase in future compensation                                                N/A                       N/A
               Expected long-term rate of return on assets                                   6.7 %               7.0 %



            Assumptions on Expected Long-Term Rate of Return as Investment Strategies
            We employ a building block approach in determining the long-term rate of return for plan assets.
            Historical markets are studied and long-term relationships between equities and fixed income are
            preserved congruent with the widely accepted capital market principle that assets with higher
            volatility generate a greater return over the long run. Current market factors such as inflation and
            interest rates are evaluated before long-term capital market assumptions are determined. The
            long-term portfolio return is established via a building block approach and proper consideration of
            diversification and rebalancing. Peer data and historical returns are reviewed for reasonability and
            appropriateness. We regularly review the actual asset allocation and periodically rebalances
            investments to a targeted allocation when appropriate. The current targeted asset allocation is
            50% with equity managers and 50% with fixed income managers. For 2012, we will use a 7.0%
            long-term rate of return for the Retirement Plan. We will continue to evaluate the expected rate of
            return assumption, at least annually, and will adjust as necessary.

            Plan Assets
            Plan assets for the U.S. tax qualified plans consist of a diversified portfolio of fixed income
            securities, equity securities, real estate, and cash equivalents. Plan assets do not include any of
            our securities. The U.S. pension plan assets are invested in a variety of funds within a Collective
            Trust (“Trust”). The Trust is a group trust designed to permit qualified trusts to comingle their assts
            for investment purposes on tax-exempt basis. The U.K pension plan assets are invested in a
            single bulk annuity policy with a third party.

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      Investment Policy and Investment Targets
      The tax qualified plans consist of the U.S. pension plan and the U.K. pension scheme. It is our
      practice to fund amounts for our qualified pension plans at least sufficient to meet minimum
      requirements of local benefit and tax laws. The investment objectives of our pension plan asset
      investments is to provide long-term total growth and return, which includes capital appreciation and
      current income. The nonqualified noncontributory defined benefit pension plan is generally not
      funded. Assets were invested among several asset classes.

      The percentage of assets invested in each asset class at December 31, 2011 and 2010 is shown
      below.

       2011                                                                   Percentage
                                                                                in Each
       Asset Class                                                            Asset Class


       Equity                                                                       44.0 %
       Fixed income                                                                 43.0
       Annuity policies                                                             10.8
       Other                                                                         2.2
                                                                                   100.0 %



       2010                                                                   Percentage
                                                                                in Each
       Asset Class                                                            Asset Class


       Equity                                                                       51.1 %
       Fixed income                                                                 46.2
       Real estate investment trust                                                  0.1
       Other                                                                         2.6
                                                                                   100.0 %




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      Fair Value Measurements
      The fair value of our pension plan assets by asset category and by level (as described in Note 12)
      at December 31 were as follows:

                                                                     Quoted Prices                    Significant
                                                     For the                 in Active                     Other
                                                   Year ended            Markets for                  Observable
                                               December 31,          Identical Assets                      Inputs
                                                      2011                   (Level 1)                    (Level 2)


       Cash and cash equivalents               $          1,005      $            1,005           $                   -
       Equity securities
         U.S. large cap growth                            8,944                           -                    8,944
         U.S. large cap value                             9,333                           -                    9,333
         U.S. large cap passive                         13,034                            -                   13,034
         U.S. small / mid cap growth                      3,877                           -                    3,877
         U.S. small / mid cap value                       3,983                           -                    3,983
         Non-U.S. equities                              19,102                            -                   19,102
       Government bonds                                 17,535                            -                   17,535
       Corporate bonds                                  29,249                            -                   29,249
       Mortgage-backed securities                         9,239                           -                    9,239
       Asset-backed securities                               472                          -                        472
       Commercial Mortgage-Backed Securities                 424                          -                        424
       Annuity policies                                 14,349                                                14,349
       Other                                              1,862                           -                    1,862
                                               $        132,408      $             1,005          $          131,403


                                                                         Quoted Prices                    Significant
                                                     For the                  in Active                     Other
                                                   Year Ended                Markets for                  Observable
                                                   December 31,      Identical Assets                       Inputs
                                                       2010                   (Level 1)                    (Level 2)


       Cash and cash equivalents               $          1,012       $             1,012             $                   -
       Equity securities
         U.S. large cap growth                            9,424                               -                  9,424
         U.S. large cap value                             9,458                               -                  9,458
         U.S. large cap passive                          11,027                               -                 11,027
         U.S. small / mid cap growth                      4,908                               -                  4,908
         U.S. small / mid cap value                       3,905                               -                  3,905
         Non-U.S. equities                               25,704                               -                 25,704
       Government bonds                                  17,731                               -                 17,731
       Corporate bonds                                   30,819                               -                 30,819
       Mortgage-backed securities                         8,724                               -                  8,724
       Asset-backed securities                                 406                            -                       406
       Commercial Mortgage-Backed Securities                   665                            -                       665
       Other                                              2,413                               -                  2,413
                                               $        126,196          $          1,012             $        125,184




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      We recognize that risk and volatility are present to some degree with all types of investments.
      However, high levels of risk are minimized through diversification by asset class, by style of each
      fund.

      Estimated Future Benefit Payments
      The following benefit payments are expected to be paid.

                                                                                       Total
       Fiscal Year Ended                                                              Pension


       2012                                                                       $      13,719
       2013                                                                              18,415
       2014                                                                              19,471
       2015                                                                              18,920
       2016                                                                              10,645
       2017–2021                                                                         58,073



      Expected Contributions
      We expect to contribute approximately $17.2 million in 2012; however, the actual funding decision
      will be made after the 2012 valuation is completed.

      Postretirement Benefit Plan
      We also provide postretirement medical benefits to retired full-time, nonunion employees hired
      before April 1, 1992, who have provided a minimum of five years of service and attained age 55.




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      The following table summarizes the Accumulated Postretirement Benefit Obligation ("APBO"), the
      changes in plan assets, and the funded status of our plan as of and for the financial statement
      periods ended December 31, 2011 and 2010.

                                                                            2011                       2010


       Change in APBO
       APBO at beginning of period                                  $         36,546           $         33,967
       Service cost (benefits earned during the period)                            372                        300
       Interest cost on APBO                                                   1,840                      1,583
       Plan curtailment                                                               -                         -
       Employee contributions                                                      716                    1,198
       Actuarial (gain) loss                                                       (540)                  2,796
       Net transfer in (out) (including any business combination)                     -                         -
       Benefits paid                                                          (2,964)                    (3,298)
                   APBO at end of period                            $         35,970           $         36,546
       Change in plan assets
       Fair market value at beginning of period                     $                 -        $                -
       Company contributions                                                   2,248                      2,100
       Employee contributions                                                      716                    1,198
       Benefits paid                                                          (2,964)                    (3,298)
                   Fair market value at end of period               $                 -        $                -


       Funded status                                                $         35,970           $         36,546



      Amounts for postretirement benefits accrued in the consolidated balance sheets at December 31,
      2011 and 2010 consist of:

                                                                            2011                       2010


       Current liabilities                                          $         (2,252)          $         (2,450)
       Noncurrent liabilities                                                (33,718)                   (34,096)
                  Net amount recognized                             $        (35,970)          $        (36,546)


      Amounts not yet reflected in net periodic benefit cost and recognized in accumulated other
      comprehensive income at December 31, 2011and 2010 consist of:

                                                                             2011                       2010


       Net gain (loss)                                                  $      (2,256)             $      (2,796)
       Prior service cost                                                                  -                        -
                  Accumulated other comprehensive income (loss)         $       (2,256)            $       (2,796)




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      Weighted average actuarial assumptions used to determine APBO at year-end December 31, 2011
      and 2010 are:

                                                                                          2011                2010


       Discount rate                                                                         4.5 %                5.2 %
       Health care cost trend rate assumed for next year                                     7.6 %                7.8 %
       Rate to which the cost trend rate is assumed to decline
       (ultimate trend rate)                                                                 4.5 %                4.5 %
       Year that the rate reaches the ultimate trend rate                                     2027                 2027



      Net periodic postretirement benefit cost included the following components:


                                                                       Successor Company                       Predecessor Company
                                                                                      For the Period      For the Period
                                                                      For the             March 10,           January 1,            For the
                                                                 Year Ended                2010 to             2010 to          Year Ended
                                                                 December 31,         December 31,            March 9,          December 31,
                                                                       2011                  2010               2010                 2009



       Service cost                                         $                   372   $             300   $              57     $           408
       Interest cost on APBO                                                  1,840              1,583                 319              2,281
       Amortization of unrecognized prior service cost                            -                   -                  (15)               (92)
       Amortization of net (gain) loss                                            -                   -                (226)           (1,101)
                 Net periodic postretirement benefit expense $                2,212   $          1,883    $            135      $       1,496




      Significant actuarial assumptions used to determine postretirement benefit cost at December 31,
      2011 and 2010 are:

                                                                                      2011                2010


       Discount rate                                                                       5.2 %               5.8 %
       Health care cost trend rate assumed for next year                                   7.8%                8.1 %
       Rate to which the cost trend rate is assumed to decline
       (ultimate trend rate)                                                               4.5%                4.5 %
       Year that the rate reaches the ultimate trend rate                                   2027                 2027




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      Assumed health care trend rates have a significant effect on the amounts reported for the health
      care plans. A one-percentage-point change in assumed health care cost trend rates would have
      the following effects on the expense recorded in 2011 and 2010 for the postretirement medical
      plan:

                                                                                2011                     2010


       One-percentage-point increase
         Effect on total of service and interest cost components          $             47       $                 48
         Effect on postretirement benefit obligation                                 1,076                       880
       One-percentage-point decrease
         Effect on total of service and interest cost components                        (55)                      (53)
         Effect on postretirement benefit obligation                                 (1,278)                     (996)



      The following table presents the change in other comprehensive income for the year ended
      December 31, 2011 related to our pension and postretirement obligations.

                                                                                Postretirement
                                                                 Pension             Benefit
                                                                  Plans                Plan                 Total


       Sources of change in accumulated other
       comprehensive income (loss)
       Net loss (gain) arising during the period            $       15,049     $             (540)   $           14,509
                 Total accumulated other comprehensive
                  income (loss) recognized during the period $      15,049     $             (540)   $           14,509




      Estimated amounts that will be amortized from accumulated other comprehensive income (loss)
      over the next fiscal year.

                                                                               Total                     Total
                                                                              Pension           Postretirement
                                                                               Plans                     Plan


       Prior service credit (cost)                                        $              -      $                   -
       Net gain (loss)                                                             (12,839)                         -
                                                                          $        (12,839)     $                   -




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      Estimated Future Benefit Payments

      The following benefit payments, which reflect expected future service, are expected to be paid:

                                                                                         Total
                                                                                    Postretirement
       Fiscal Year Ended                                                                 Plan


       2012                                                                         $        2,252
       2013                                                                                  2,257
       2014                                                                                  2,305
       2015                                                                                  2,311
       2016                                                                                  2,308
       2017-2021                                                                            15,812



      Expected Contribution
      We expect to contribute approximately $2.3 million in 2012.

      Defined Contribution Retirement Plan
      We maintain a defined contribution retirement plan, the Houghton Mifflin 401(k) Savings Plan,
      which conforms to Section 401(k) of the Internal Revenue Code, and covers substantially all of our
      eligible employees. Participants may elect to contribute up to 50.0% of their compensation subject
      to an annual limit. We provided a matching contribution in amounts up to 4.5% of employee
      compensation until March 1, 2009 when the employer contribution was suspended. The
      contribution was reinstated on July 1, 2010, where we provide a matching contribution in amounts
      up to 1.5% of employee compensation and further increased to 3.0% of employee contribution
      effective May 2011. The 401(k) contribution expense amounted to $4.0 million for the year ended
      December 31, 2011 and $1.0 million for the period March 10, 2010 through December 31, 2010.
      For the year ended December 31, 2009 the 401(k) contribution expense was $1.8 million. We did
      not make any discretionary contribution in 2011 and 2010.



11.   Share-Based Compensation

      Certain employees participate in various equity plans of the Predecessor and Successor Company
      which provide for the grant of stock options, some with performance conditions, and restricted
      stock to certain executive and management level employees. The stocks underlying such plans for
      the Predecessor Company were held in trust for the equity recipients. The stock related to award
      forfeitures remains outstanding and may be reallocated to new recipients. After the date of the
      Restructuring, the equity awards pertaining to the Predecessor Company were no longer charged
      to our financial results as the employees were no longer related to the Predecessor Company. The
      vesting terms for equity awards generally range from 1 to 5 years over equal annual installments
      and generally expire seven years after the date of grant. Restricted stock is common stock that is
      subject to a risk of forfeiture only upon voluntary termination or termination for cause, as defined.
      Total compensation expense related to stock option grants and restricted stock issuances recorded
      in the year ended December 31, 2011 was approximately $8.6 million and was recorded in selling
      and administrative expense. Total compensation expense related to stock option grants and


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      restricted stock issuances for the period January 1, 2010 to March 9, 2010 was approximately $0.9
      million and for the period March 10, 2010 to December 31, 2010 was approximately $4.3 million.
      Total compensation expense related to stock option grants and restricted stock issuances recorded
      in the year ended December 31, 2009 was approximately $12.4 million.

      Stock Options
      The following tables summarize option activity for HMH employees in stock options for the periods
      ended December 31, 2011, December 31, 2010, March 9, 2010, and December 31, 2009:

                                                                Successor Company
                                                                                     Weighted
                                                                                     Average
                                                             Number of               Exercise
                                                              Shares                     Price


       Balance at March 10, 2010                                         -       $                  -
       Granted                                                26,976,957                     9.54
       Forfeited                                                         -                         -
       Balance at December 31, 2010                           26,976,957         $               9.54
       Granted                                                   468,224                     5.37
       Forfeited                                             (14,522,175)                    8.58
       Cancelled                                               (9,213,225)                       8.67
       Balance at December 31, 2011                            3,709,781         $               5.90
       Options Exercisable at end of year                        648,311         $           5.97



                                                                  Predecessor Company
                                                                                         Weighted
                                                                                          Average
                                                               Number of                  Exercise
                                                                 Shares                    Price


       Balance at December 31, 2008                               7,310,125          $              9.25
       Granted                                                               -                          -
       Forfeited                                                (2,133,332)                       10.00
       Balance at December 31, 2009                               5,176,793          $              8.94
       Granted                                                               -                          -
       Forfeited                                                             -                          -
       Balance at March 9, 2010                                   5,176,793          $              8.94
       Options Exercisable at end of period                      2,269,760           $             7.59



      The intrinsic value of a stock option is the amount by which the current market value of the
      underlying stock exceeds the exercise price of the option as of the balance sheet date. There was
      no intrinsic value of options outstanding and exercisable at December 31, 2011, 2010 and 2009.

      We estimate the fair value of stock options using the Black-Scholes valuation model. Key input
      assumptions used to estimate the fair value of stock options include the exercise price of the



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            award, the expected volatility of our stock over the option's expected term, the risk-free interest rate
            over the option's expected term, and our expected annual dividend yield.

            The fair value of each option granted was estimated on the grant date using the Black-Scholes
            valuation model with the following assumptions:


                                              Successor Company                      Predecessor Company
                                            For the           For the Period    For the period     For the
                                          Year Ended         March 10 2010 to     January 1      Year Ended
                                          December 31,        December 31,         2010 to       December 31,
                                              2011                2010          March 9, 2010        2009

                           (a)
Expected term (years)                                  7.0               7.0         3.92-4.17        3.92-4.17
Expected dividend yield                              0.00%            0.00%             0.00%           0.00%
Expected volatility (b)                          25.88%      22.68%-24.12%      27.25%-28.01%    27.25%-28.01%
                          (c)
Risk-free interest rate                              2.40%      1.77%-3.11%        2.7%-2.95%       2.7%-2.95%




            (a)
                  The expected term is the number of years that we estimate that options will be outstanding
                   prior to exercise.
            (b)
                  We have estimated volatility for options granted based on the historical volatility for a group of
                  companies believed to be a representative peer group, selected based on industry and
                  market capitalization.
            (c)
                  The risk-free interest rate is based on the U.S. Treasury yield for a period commensurate with
                   the expected life of the option.

            The accounting standard for stock-based compensation requires companies to estimate forfeitures
            at the time of grant and periodically revise those estimates in subsequent periods if actual
            forfeitures differ from those estimates. Stock-based compensation expense is recorded only for
            those awards expected to vest using an estimated forfeiture rate based on historical forfeiture data
            coupled with and estimated derived forfeiture rate of peers.

            As of December 31, 2011, there remained approximately $2.4 million of unearned compensation
            expense related to unvested stock options to be recognized over a weighted average term of 3.3
            years.

            The weighted average grant date fair value was $4.54 and $7.01 for options granted in 2011 and
            2010, respectively.




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      The following tables summarize information about stock options outstanding and exercisable under
      the plan at December 31, 2011:

                                                  Successor Company
                                Options Outstanding                                        Options Exercisable
                              Options         Weighted                                Options
           Range of        Outstanding at      Average              Weighted       Exercisable at         Weighted
           Exercise        December 31,       Remaining             Average        December 31,           Average
            Price              2011         Contractual life    Exercise Price         2011           Exercise Price


       $         4.725         2,269,090               3.3      $          4.725           388,267    $          4.725
       $            6.88       1,112,934               3.3                  6.88           194,493                6.88
       $            8.57         140,467               3.3                  8.57            28,093                8.57
       $         12.26           187,290               3.3                 12.26            37,458               12.26
                               3,709,781                3.3     $           5.90           648,311    $           5.97



      Restricted Stock (Successor Company)
      The following table summarizes restricted stock activity for grants to HMH employees in our
      restricted stock units from March 10, 2010 to December 31, 2011:


                                                                               Weighted
                                                                                Average
                                                     Numbers of                Grant Date
                                                       Shares                  Fair Value


       Balance at March 10, 2010                                       -               -
       Granted                                                         -               -
       Vested                                                          -               -
       Forfeited                                                       -               -
       Balance at December 31, 2010                                    -       $       -
       Granted                                                 138,354             4.54
       Vested                                                          -               -
       Forfeited                                                       -               -
       Balance at December 31, 2011                            138,354         $    4.54




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      Restricted Stock (Predecessor Company)
      The following table summarizes restricted stock activity for grants to HMH employees in EMPG
      restricted stock through March 9, 2010:

                                                                                       Weighted
                                                                                        Average
                                                                  Numbers of           Grant Date
                                                                    Shares             Fair Value


       Balance at December 31, 2008                                  1,850,000     $         10.00
       Granted                                                                -                     -
       Vested                                                         (750,000)             10.00
       Forfeited                                                              -                     -
       Balance at December 31, 2009                                  1,100,000    $          10.00
       Granted                                                                -                     -
       Vested                                                         (666,667)             10.00
       Forfeited                                                              -                     -
       Balance at March 9, 2010                                        433,333    $          10.00




      The total intrinsic value of EMPG restricted stock that vested in 2009 was zero. The EMPG
      restricted stock awards had various vesting terms generally over 2 to 3 years, including pro rata
      vesting over one and three years.

      As of March 9, 2010 and December 31, 2009, 0.4 million and 1.1 million shares, respectively, of
      EMPG restricted stock were outstanding and unvested, with an aggregate intrinsic value of zero
      and a weighted average remaining contractual life of less than one year.

12.   Fair Value Measurements

      The accounting standard for fair value measurements among other things, defines fair value,
      establishes a consistent framework for measuring fair value and expands disclosure for each major
      asset and liability category measured at fair value on either a recurring or nonrecurring basis. The
      accounting standard establishes a three-tier fair value hierarchy which prioritizes the inputs used in
      measuring fair value as follows:

      Level 1      Observable input such as quoted prices in active markets for identical assets or
                   liabilities;

      Level 2      Observable inputs, other than the quoted prices in active markets, that are observable
                   either directly or indirectly; and

      Level 3      Unobservable inputs in which there is little or no market data, which require the
                   reporting entity to develop its own assumptions.

      Assets and liabilities measured at fair value are based on one or more of three valuation
      techniques identified in the tables below. Where more than one technique is noted, individual

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      assets or liabilities were valued using one or more of the noted techniques. The valuation
      techniques are as follows:
      (a)
            Market approach: Prices and other relevant information generated by market transactions
            involving identical or comparable assets or liabilities;
      (b)
            Cost approach: Amount that would be currently required to replace the service capacity of an
            asset (current replacement cost); and
      (c)
            Income approach: Valuation techniques to convert future amounts to a single present amount
            based on market expectations (including present value techniques).

      On a recurring basis, we measure certain financial assets and liabilities at fair value, including our
      money market funds, foreign exchange forward contracts and interest rate swaps. The accounting
      standard for fair value measurements defines fair value as the price that would be received to sell
      an asset or paid to transfer a liability in an orderly transaction between market participants at the
      measurement date. As such, fair value is a market-based measurement that should be determined
      based on assumptions that market participants would use in pricing an asset or liability. In
      determining fair value, we utilize valuation techniques that maximize the use of observable inputs
      and minimize the use of unobservable inputs to the extent possible as well as considers
      counterparty and its credit risk in its assessment of fair value.




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      The following tables present our financial assets and liabilities measured at fair value on a recurring
      basis at December 31, 2011 and December 31, 2010:

                                                                 Quoted Prices             Significant
                                                                      in Active              Other
                                                  Successor          Markets for           Observable
                                                  Company        Identical Assets            Inputs             Valuation
                                                    2011              (Level 1)             (Level 2)          Technique


       Financial assets
         Money market funds                   $      368,701     $       368,701       $                 -         (a)
                                              $      368,701     $       368,701       $                 -


       Financial liabilities
         Foreign exchange forward contracts   $        1,113     $            -        $         1,113             (a)
                                              $        1,113     $                 -   $         1,113



                                                                 Quoted Prices             Significant
                                                                      in Active              Other
                                                  Successor          Markets for           Observable
                                                  Company        Identical Assets            Inputs             Valuation
                                                    2010              (Level 1)             (Level 2)          Technique


       Financial assets
         Money market funds                   $      307,612     $       307,612       $                 -         (a)
         US treasury bills and notes                  45,337                       -            45,337             (a)
         Short-term investments                       17,667              17,667                         -         (a)
                                              $      370,616     $       325,279       $        45,337
       Financial liabilities
         Foreign exchange forward contracts   $            413                     -   $             413           (a)
                                              $            413   $                 -   $             413




      Our investments in U.S. treasury bills and notes are classified within Level 2 of the fair value
      hierarchy because they are valued using quoted market prices but are not traded actively on an
      exchange. In addition to $368.7 million and $352.9 million invested in money market funds and
      U.S. treasury bills and notes as of December 31, 2011 and December 31, 2010, respectively, we
      had $44.9 million and $27.0 million of cash invested in bank accounts as of December 31, 2011
      and December 31, 2010, respectively.

      Our short-term investments were investments in debt instruments which matured on March 15,
      2011. These short-term investments are classified within Level 1 of the fair value hierarchy
      because they are valued based on quoted prices.

      Our foreign exchange forward contracts consist of Euro forward contracts and are classified within
      Level 2 of the fair value hierarchy because they are valued based on observable inputs and are
      available for substantially the full term of our derivative instruments.



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      We classified our derivative liabilities within Level 2 of the fair value hierarchy because these
      observable inputs are available for substantially the full term of our derivative instruments.

      We determined there were no nonfinancial liabilities requiring disclosure under the accounting
      standard for fair value measurements. The following table presents our nonfinancial assets
      measured at fair value on a nonrecurring basis at December 31, 2011 and 2010:

                                                                  Significant
                                                Successor     Unobservable
                                                Company             Inputs            Total        Valuation
                                                  2011             (Level 3)        Impairment     Technique


       Nonfinancial assets
         Goodwill                          $       520,088    $       520,088   $     1,442,500     (a) (c)
         Other intangible assets                  1,274,213         1,274,213           192,600     (a) (c)
                                            $     1,794,301   $     1,794,301   $     1,635,100



                                                                  Significant
                                                Successor     Unobservable
                                                Company             Inputs            Total        Valuation
                                                  2010             (Level 3)        Impairment     Technique


       Nonfinancial assets
         Other intangible assets           $      1,734,810   $     1,734,810   $        87,000     (a) (c)
                                            $     1,734,810   $     1,734,810   $        87,000




      In evaluating goodwill for impairment, we first compare our reporting unit's fair value to its carrying
      value. We estimate the fair values of our reporting units by considering market multiple and recent
      transaction values of peer companies, where available, and projected discounted cash flows, if
      reasonably estimable. Impairment recorded for goodwill for the year ended December 31, 2011
      was $1,442.5 million. There was no impairment recorded for the periods January 1, 2010 to March
      9, 2010, and March 10, 2010 to December 31, 2010.

      We perform an impairment test for our other intangible assets by comparing the assets fair value to
      its carrying value. Fair value is estimated based on recent market transactions, where available,
      and projected discounted cash flows, if reasonably estimable. Other intangible assets were written
      down to their fair value of $1,274.2 million resulting in an impairment charge of $192.6 million which
      was included in earnings for the year ended December 31, 2011. There was no impairment
      recorded for the period January 1, 2010 to March 9, 2010. Impairment charges were $87.0 million
      for the period March 10, 2010 to December 31, 2010. The fair value of goodwill and other
      intangible assets are estimates, which are inherently subject to significant uncertainties, and actual
      results could vary significantly from these estimates.




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      Fair Value of Debt
      The following table presents the carrying amounts and estimated fair market values of our debt at
      December 31, 2011 and December 31, 2010. The fair value of debt is deemed to be the amount at
      which the instrument could be exchanged in an orderly transaction between market participants at
      the measurement date.

                                        Successor Company                Successor Company
                                         December 31, 2011                December 31, 2010
                                      Carrying      Estimated          Carrying      Estimated
                                      Amount        Fair Value         Amount        Fair Value

       Debt
       7.2% notes                $             -   $           -   $      149,564   $     150,750
       Term loan                       2,581,690       1,484,472        2,476,279       2,434,864
       Revolving loan                    235,751         135,557          235,751         218,659
       10.5% notes                       300,000         189,000                -               -



      The fair market values of the debt were estimated based on quoted restricted market prices for
      those instruments that are traded or estimated based on publicly traded debt using current discount
      rates for similar instruments with equivalent credit quality at December 31, 2011 and December 31,
      2010. The fair market values require varying degrees of management judgment. The factors used
      to estimate these values may not be valid on any subsequent date. Accordingly, the fair market
      values of the debt presented may not be indicative of their future values.

13.   Commitments and Contingencies

      Lease Obligations
      We have operating leases for various real property, office facilities, and warehouse equipment that
      expire at various dates through 2019. Certain leases contain renewal and escalation clauses for a
      proportionate share of operating expenses.

      The future minimum rental commitments under all noncancelable leases (with initial or remaining
      lease terms in excess of one year) for real estate and equipment are payable as follows:

                                                                                                    Operating
                                                                                                     Leases


       2012                                                                                    $        46,040
       2013                                                                                             44,229
       2014                                                                                             42,773
       2015                                                                                             42,395
       2016                                                                                             34,606
       Thereafter                                                                                       50,869
                    Total minimum lease payments                                               $       260,912
                    Total future minimal rentals under subleases                               $        35,334

      For the year ended December 31, 2011 rent expense, net of sublease income, was $39.3 million.
      The rent expense, net of sublease income, for the period January 1, 2010 to March 9, 2010 was
      $6.3 million and for the period March 10, 2010 to December 31, 2010 was $18.4 million. In the

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      year ended December 31, 2009 rent expense, net of sublease income, was $100.5 million. The
      2009 rent expense included a $50.0 million charge for ongoing obligations to pay rent for vacant
      space that could not be sublet or space that is expected to be sublet at rates lower than the
      committed lease arrangements. On March 10, 2010, in connection with purchase accounting, the
      accrual estimate was revised and the estimate was adjusted to fair value. In the period March 10,
      2010 to December 31, 2010, the accrual for the vacant space was reduced by $11.5 million; thus,
      lowering rent expense, to reflect the subleasing of space sooner and at higher rates than originally
      assumed. For the year ended December 31, 2011, the rent expenses included a $3.5 million
      charge as additional real estate was vacated.

      Purchase Commitments
      During 2008, we entered into a print services agreement with a third party for a term of five years
      commencing January 1, 2009 whereby the third party will provide platemaking, printing, binding
      and disposition services for the Company. The agreement expands the previous relationship
      between the two companies. We are obligated to purchase $175.0 million per contract year for a
      total of $875.0 million over the five-year term. Effective January 1, 2012, the print service
      agreement was amended to extend the agreement for two years and modify some of the aggregate
      spend and savings covenants.

       Contingencies
      We are involved in ordinary and routine litigation and matters incidental to our business. Litigation
      alleging infringement of copyrights and other intellectual property rights has become extensive in
      the educational publishing industry. Specifically, there have been various settled, pending and
      threatened litigation that allege we exceeded the print run limitation or other restrictions in licenses
      granted to us to reproduce photographs in our textbooks. While management believes that there is
      a reasonable possibility we may incur a loss associated with the pending and threatened litigation,
      we are not able to estimate such amount, and we do not expect any of these matters to have a
      material adverse effect on our results of operations, financial position or cash flows. We have
      insurance over such amounts and with coverage and deductibles as management believes is
      reasonable. There can be no assurance that our liability insurance will cover all events or that the
      limits of coverage will be sufficient to fully cover all liabilities. We were contingently liable for $11.6
      million and $12.7 million of performance related surety bonds for our operating activities as of
      December 31, 2011 and 2010, respectively. An aggregate of $26.2 million and $31.8 million of
      letters of credit existed at December 31, 2011 and December 31, 2010, respectively, of which $6.4
      million and $8.7 million backed the aforementioned performance related surety bonds in 2011 and
      2010, respectively.

      We routinely enter into standard indemnification provisions as part of license agreements involving
      use of our intellectual property. These provisions typically require us to indemnify and hold
      harmless licensees in connection with any infringement claim by a third party relating to the
      intellectual property covered by the license agreement. The assessment business routinely enters
      into contracts with customers that contain provisions requiring us to indemnify the customer against
      a broad array of potential liabilities resulting from any breach of the contract or the invalidity of the
      test. Although the term of these provisions and the maximum potential amounts of future payments
      we could be required to make is not limited, we have never incurred any costs to defend or settle
      claims related to these types of indemnification provisions. We therefore believe the estimated fair
      value of these provisions is minimal, and have no liabilities recorded for them as of December 31,
      2011 and December 31, 2010.




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14.   Related Party Transactions

      Officer Loan
      On March 9, 2010, we entered into a credit agreement with an entity controlled by an executive of
      the Company at that time, whereby the entity was granted a loan in the aggregate principal amount
      of $20.0 million for the sole purpose of satisfying certain obligations of that officer with regards to
      the acquisition of equity of the Predecessor Company. The loan bore interest at a rate per annum
      equal to 2.69% and had a maturity date of March 9, 2015.

      On November 16, 2010, we entered into an amended and restated credit agreement whereby the
      loan of $20.0 million was divided into a tranche A loan with an aggregate principal amount of $12.2
      million and a tranche B loan with an aggregate principal amount of $7.8 million. Both tranches of
      the loan continued to bear interest at a rate per annum equal to 2.69%. The tranche A loan had a
      maturity date of March 9, 2015 and the tranche B loan has a maturity date of September 30, 2030.
      There are no required principal or interest payments during the term of the loan with the interest
      accruing to the outstanding balance. While the officer was employed by the Company, the loan
      entity earned a fee equal to approximately $0.1 million per month (“Earned Fee”) that was used to
      repay the amount outstanding under the loan. The Earned Fee was approximately $1.1 million
      which was recorded as professional fees which is a component of administrative expenses in our
      statement of operations for the period March 10, 2010 to December 31, 2010.

      We fully reserved the remaining balance of the loan due to the long term nature of the maturity date
      and uncertainty of collectability. The total amount of $18.9 million was recorded in selling and
      administrative expenses in our statement of operations for the period March 10, 2010 to
      December 31, 2010.

      Officer Separation Agreement
      On May 7, 2011, the Company entered into a separation agreement with an executive of the
      Company. Under the terms on the agreement, the former executive agreed to act as a senior
      advisor to the Company for a year. For these services, the former executive received a consulting
      fee of $2.0 million and the potential to receive an additional $3.0 million in success fees predicated
      upon certain criteria. The success fee was fully earned and paid in October 2011.

      Other Transactions
      We paid $10.0 million to an entity controlled by a former executive of the Company at that time for
      consulting services rendered in connection with the March 9, 2010 financial restructuring. The
      $10.0 million payment has been recorded as professional fees, which is a component of
      administrative expenses, in our statement of operations for the period March 10, 2010 to December
      31, 2010.

15.   Subsequent Events

      Further to our discussions in Note 1, after considering various strategic alternatives to restructure
      our debt obligations, on May 10, 2012 we entered into a Restructuring Support Agreement with our
      participating borrowers to restructure our debt pursuant to a joint prepackaged plan of
      reorganization under Chapter 11 of the U.S. Bankruptcy Code. In conjunction with this agreement,
      we will seek approval for debtor-in-possession financing which we anticipate will become
      permanent financing upon completion of the restructuring. In connection with the reorganization,
      our existing long term debt will be converted to equity and our current equity will be eliminated.
      Although it is management’s expectation that the Company will emerge from bankruptcy as a


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      viable entity, there can be no assurance that the prepackaged bankruptcy will proceed according to
      the prepackaged plan. These actions raise substantial doubt about the Company's ability to
      continue as a going concern. The accompanying consolidated financial statements do not include
      any adjustments that might result from the outcome of this uncertainty and have been prepared
      assuming that the Company will continue as a going concern.




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                                    APPENDIX E

                        RESTRUCTURING SUPPORT AGREEMENT

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